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 ATTORNEYS FOR NEXPOINT ADVISORS, L.P.
                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 In re:                                               §
                                                      §      Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                   §
                                                      §      Case No. 19-34054-sgj11
                               Debtor.                §
                                                      §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                   §
                                                      §
                               Plaintiff,             §      Adversary Proceeding No.
                                                      §
 vs.                                                  §      21-03005-sgj
                                                      §
 NEXPOINT ADVISORS, L.P., JAMES                       §
 DONDERO, NANCY DONDERO, AND THE                      §
 DUGABOY INVESTMENT TRUST,                            §
                                                      §
                               Defendants.            §

           MOTION OF DEFENDANT NEXPOINT ADVISORS, L.P. TO EXTEND
               EXPERT DISCLOSURE AND DISCOVERY DEADLINES

TO THE HONORABLE STACEY G.C. JERNIGAN, U.S. BANKRUPTCY JUDGE:

          COMES NOW NexPoint Advisors, L.P. (“NexPoint”), one of the defendants in the above

styled and numbered Adversary Proceeding initiated by Highland Capital Management, L.P. as

the plaintiff (the “Debtor”), and files this its Motion to Extend Expert Disclosure and Discovery

Deadlines (the “Motion”), respectfully stating as follows:




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                                 I.      RELIEF REQUESTED

       1.      By this Motion, NexPoint requests that the Court extend the deadline, in its Order

Approving Stipulation and Agreed Order Governing Discovery and Other Pre-Trial Issues [docket

no. 70] (the “Scheduling Order”), for the designation of experts and service of expert reports,

through December 13, 2021, with a corresponding extension of expert discovery. Specifically,

NexPoint finds it appropriate and advisable to designate a testifying expert on the standards and

duties of care under the parties’ Shared Services Agreement (defined below) with respect to

Highland’s role in NexPoint’s alleged failure to make a December 21, 2020 payment on the Note

(defined below); specifically, that Highland was responsible for ensuring that NexPoint made this

payment. This request is necessitated by recent deposition testimony of key individuals on October

19 and 21, 2021, prior to which NexPoint did not know or reasonably believe that expert testimony

on the duties of care would be advisable.

                           II.        PROCEDURAL BACKGROUND

       2.      The Debtor initiated this Adversary Proceeding with the filing of its original

complaint against NexPoint on January 22, 2021.

       3.      By this Adversary Proceeding, the Debtor seeks to collect on a promissory note

issued by NexPoint to the Debtor on May 31, 2017 in the original principal amount of

$30,746,812.33 (the “Note”). The Note is a 30-year note and provides for an annual payment of

principal and interest. After prior payments, the Debtor asserts that $23,071,195.03 remains due

and owing on the Note.

       4.      NexPoint has asserted various defenses and affirmative defenses to the Debtor’s

allegations and causes of action. This Motion concerns one such affirmative defense only, to the

effect that the Debtor, through its employees, caused the alleged underlying default.



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       5.      On July 28, 2021, the District Court entered an order adopting this Court’s report

and recommendation and ordering that the reference for this Adversary Proceeding will be

withdrawn once this Court certifies this Adversary Proceeding as being trial ready. As part of the

same, the District Court necessarily agreed and ordered that NexPoint has a right to a trial by jury

of this Adversary Proceeding.

                                           III.   FACTS

       6.      This Motion is supported by the Declaration of Davor Rukavina, attached hereto as

incorporated herein (the “Declaration”).

       7.      The Debtor alleges that the Note required NexPoint to make a payment of principal

and interest on December 31, 2020, and that NexPoint failed to make this payment. Thus, in

January, 2021, the Debtor sent notice that the Note had been accelerated, and the Debtor demanded

full and immediate payment.

       8.      One of NexPoint’s affirmative defenses in this Adversary Proceeding concerns that

certain Amended and Restated Shared Services Agreement (the “Shared Services Agreement”)

between the Debtor and NexPoint dated January 1, 2018. The Agreement was in place as of

December 31, 2020, although the Debtor terminated it later, in 2021. Under the Agreement, the

Debtor provided various services to NexPoint, including so-called “back office” services,

including treasury, accounting, and payables services. NexPoint has alleged that, pursuant to the

Shared Services Agreement, the Debtor was responsible for ensuring that NexPoint made the

allegedly required December 31, 2020 payment, although such payment would be made from

NexPoint’s funds. Indeed, Waterhouse (defined below) testified that it was “reasonable for

NexPoint to rely on the debtors’ employees to inform NexPoint of an upcoming payment due on

the $30 million promissory note.” See Declaration at Exhibit C, 337:22-338:8.



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       9.      NexPoint asserts that the Debtor failed to do so and, therefore, caused the alleged

default, which it now seeks to exploit, and that, but for the Debtor’s negligence, the Note would

remain in place. NexPoint has always asserted this as an affirmative defense. See Docket No. 6.

NexPoint’s defense, however, was based on its belief that the Debtor and its employees, including

Waterhouse, did nothing to facilitate or ensure the payment, as opposed to a conscious decision

not to make the payment.

       10.     On October 19, 2021, the Debtor deposed Frank Waterhouse (“Waterhouse”), as

did NexPoint, in connection with this Adversary Proceeding. Waterhouse was the Debtor’s chief

financial officer in December, 2020, and either the treasurer or chief financial officer (either way

an officer) of NexPoint in December, 2020. To be clear, Waterhouse was the Debtor’s employee,

although he provided services to NexPoint as well pursuant to the Shared Services Agreement.

Among other things, at this deposition, Waterhouse testified that, in early December, 2020, James

Dondero (“Dondero”), who at that time controlled NexPoint but did not control the Debtor,

instructed Waterhouse not to cause NexPoint to pay any more funds to the Debtor, including,

expressly on the Note.

       11.     This changed the potential facts as NexPoint understood them to be from ones

where the Debtor simply failed utterly to facilitate the payment, as it has always done, to one where

the Debtor intentionally, allegedly upon the instructions of Dondero, decided not to facilitate the

payment. Assuming the Dondero instruction to be true, this raises the question of whether the

Debtor thereafter had any affirmative duty with respect to the alleged instruction.

       12.     NexPoint did not know that Waterhouse would provide this testimony. NexPoint

understood that Dondero instructed Waterhouse to make no further payments on the Shared

Services Agreement, because Dondero believed that NexPoint had overpaid by millions of dollars



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on the Shared Services Agreement. But NexPoint did not understand that Waterhouse would

testify that Dondero instructed him also not to pay the Note.

        13.     If Dondero told Waterhouse in early December, 2020 not to pay on the Note, then

the question becomes whether Waterhouse or the Debtor thereafter “put their heads in the sand”

in violation of any affirmative duty or obligation they may have had regarding the matter, such as:

to ask Dondero whether they correctly understood him; to ask Dondero whether he meant

NexPoint and the Note; to inform Dondero of the potential consequences of a default by potentially

accelerating a 30-year promissory note; or to try to dissuade him from his decision. After all, the

Debtor was responsible to facilitate the payment, the Debtor had various duties under the Shared

Services Agreement, and it was in the Debtor’s interest that NexPoint would default, thus creating

a conflict of interest.

        14.     Accordingly, on October 19, 2021, when NexPoint deposed James Seery, NexPoint

asked Mr. Seery about section 6.01 of the Shared Services Agreement, labeled “standard of care,”

which provides that the Debtor and Waterhouse “shall discharge its duties under this Agreement

with the care, skill, prudence, and diligence under the circumstances then prevailing that a prudent

person acting in a like capacity and familiar with like aims.” Mr. Seery testified that he did not

believe that this provision of the Shared Services Agreement obligated the Debtor or Waterhouse

to do anything further after Dondero allegedly instructed Waterhouse not to pay on the Note.

        15.     At that time, NexPoint determined that it was appropriate, and would assist the

finder of fact, to retain an expert on the “standard of care” provided for in the Shared Services

Agreement. This is especially important because this will be a jury trial in the District Court.

NexPoint did not believe that it would need to retain such an expert, and it had no reasonable

grounds to suspect that it would need such an expert, prior to these depositions.



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        16.     NexPoint moved as promptly as it could thereafter. NexPoint decided to retain an

expert on October 22, 2021 and began searching for one on that day. NexPoint located a potential

expert, Steven J. Pully, on October 26, 2021, and after conflicts were cleared and terms agreed to,

Mr. Pully agreed to serve as NexPoint’s expert on October 28, 2021. NexPoint files this motion

just one day later, and less than two weeks after Waterhouse’s deposition triggered the issue.

        17.     It goes without saying that neither Pully nor any reasonable expert can possibly

review the issues, formulate an opinion, and prepare a report one day after they are retained.

Among other things, Pully needs to review all underlying documents and deposition transcripts,

some of which have yet to be returned by the court reporters. Accordingly, NexPoint believes that

approximately six (6) weeks will be sufficient for Pully to prepare a report. NexPoint submits that

the Debtor should have a period of time to then designate a potential rebuttal expert, and a period

of time for expert discovery. Such a procedure would be fair for all involved and would constitute

a minimal delay to what has already been a rapidly advanced case.

                              IV.   ARGUMENT AND AUTHORITIES

        18.     It is appropriate for an expert to consider the issue of Waterhouse’s and the Debtor’s

duties under the Shared Services Agreement—i.e., “duties under this Agreement with the care,

skill, prudence, and diligence under the circumstances then prevailing that a prudent person acting

in a like capacity and familiar with like aims,”—as issues such as “prudent person” and “like

capacity and familiar with like aims” are appropriate for expert analysis and will assist the finder

of fact, especially a jury.

        19.     Rule 16(b) provides that a deadline in a scheduling order may be modified “for

good cause,” although there is some uncertainty as to whether this standard applies only after a

deadline has passed (which is not the case here). See Fed. R. Civ. P. 16(b)(4); Marathon Fin. Ins.



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Inc. RRG v. Ford Motor Co., 591 F.3d 458, 470 (5th Cir. 2009) (“Federal Rule of Civil Procedure

16(b) governs amendment of pleadings after a scheduling order's deadline to amend has expired”).

       20.     When the issue concerns an “untimely submission of expert reports,” the Fifth

Circuit has specified the following for factors as guiding the decision: “(1) the explanation for the

failure to timely move for leave to amend; (2) the importance of the amendment; (3) potential

prejudice in allowing the amendment; and (4) the availability of a continuance to cure such

prejudice.” S&W Enters. v. Southtrust Bank of Ala., 315 F.3d 533, 536 (5th Cir. 2003). Again,

this test applies to a deadline which has already expired. Logically, therefore, a lesser standard

should apply when a party seeks relief prior to the expiration of a deadline, as NexPoint does here.

       21.     Applying these or any factors:

       (i)     this Adversary Proceeding is only some nine (9) months old and the parties have
               moved very quickly, with all discovery almost over;

       (ii)    if this Motion is granted, all discovery in this Adversary Proceeding will have been
               completed by the end of 2021, still less than one (1) year after filing;

       (iii)   the reason for the need to extend the deadline is the most logical reason that most
               frequently appears—that discovery has necessitated some previously unexpected
               action—which is one of the purposes of discovery;

       (iv)    NexPoint’s failure to previously designate an expert was due solely to not having
               the benefit of Waterhouse’s and Seery’s recent deposition testimony, and is not the
               result of any delay or lack of diligence, as evidenced by the fact that NexPoint did
               already and timely designate two other experts on other issues (i.e. NexPoint did
               not sit on its responsibility to consider retaining experts);

       (v)     the matter is important because the duties of care as specified in the Shared Services
               Agreement are terms of art necessitating an expert analysis, especially before a jury,
               and the matter goes to the heart of NexPoint’s affirmative defense, and is
               necessitated by Waterhouse’s testimony and not any prior action or inaction of
               NexPoint;

       (vi)    there is no prejudice to the Debtor, which will have sufficient time to retain a
               rebuttal expert and take expert discovery (i.e. no witnesses or documents have been
               lost); and



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        (vii)   a continuance is easily available to avoid any prejudice to the Debtor—indeed, there
                is no need for a continuance even as the Adversary Proceeding has yet to be
                certified as trial ready and it is likely that the District Court will not schedule the
                Adversary Proceeding for trial for some time.

        22.     NexPoint submits that this Motion cannot come as a surprise to the Debtor.

NexPoint has asserted its affirmative defense since the beginning. The only difference now is that,

instead of a wholesale disregard of any duty to facilitate the Note payment, the issue has evolved

to whether the Debtor or Waterhouse had any affirmative duty to act after the alleged instruction

from Dondero. As it can be presumed that Waterhouse previously informed the Debtor or its

counsel of this alleged instruction (as he apparently informed other employees at the Debtor), the

Debtor likely knew what Waterhouse’s testimony would be well before NexPoint learned of that

testimony. It is reasonable to conclude that the Debtor knew or should have known that the

“standard of care” under the Shared Services Agreement would then become a material issue.

        23.     Accordingly, “good cause” to amend the Scheduling Order exists, if that higher

standard even applies, and approving such amendment will not prejudice the Debtor and will

instead serve the interests of justice.

                                          V.      PRAYER

        WHEREFORE, PREMISES CONSIDERED, NexPoint respectfully requests that the Court

enter an order: (i) granting this Motion; (ii) modifying the Scheduling Order to extend the deadline

to designate experts and serve expert reports through December 13, 2021; (iii) modifying the

Scheduling Order accordingly for the potential designation of rebuttal experts and service of

rebuttal expert reports, and extending expert discovery; and (iv) granting NexPoint such other and

further relief as may be proper.




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        RESPECTFULLY SUBMITTED this 29th day of October, 2021.

                                             MUNSCH HARDT KOPF & HARR, P.C.

                                             By: /s/ Davor Rukavina
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                                                Email: jvasek@munsch.com

                                             ATTORNEYS FOR NEXPOINT ADVISORS,
                                             L.P.




                             CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that, on October 28, 2021, he conferred with counsel for
 the Debtor, John Morris, and the Debtor opposes the relief requested herein.

                                            /s/ Davor Rukavina
                                            Davor Rukavina




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                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on October 29, 2021, a true and correct copy of the
 foregoing document, including the exhibit thereto, was served on the following recipients via the
 Court’s CM/ECF system:

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 zannable@haywardfirm.com

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 lcollins@hellerdraper.com

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 dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

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                                                    /s/ Davor Rukavina
                                                    Davor Rukavina




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             AMENDED AND RESTATED SHARED SERVICES AGREEMENT

         This Amended and Restated Shared Services Agteement (as amended, modified, waived,
 su:pplemei1ted or restated from time to tiine in accordance wlth the tetms hereof, this
 '·Agreement"), dated effective as of January 1, 2018, is entered into by and between NexPoint
 Advisors; LP ., a Delaware Hniited partnership, as. the management company· hereunder (in such
 capacity, the ''Management Company''); and Highland Capital Managemertt1 L.P., a Delaware
 limited partnership ("Highland"), ~s the staff mid .services provider hereunder (in such capacity,
 the "Staffand Services Provider" and together With.the Management Company,the "Parties"). ·



        WHEREAS, tl1e Staff anci Servic.es Provider is a registered investment adviser under the
 Tnvestnient Advisers Act of 1940, as atnended (the "Advisers Act");

         WHEREAS,the :S taffandServices Provider and the Management Company are engaged
 in the business of providing investment management services;          ·            ·

         WHEREAS, the Parties e11tered into that certain Shared Services Agreement, dated
 effective as of Januaty l, 2013 (the "Original Agreem:ent");

         WHEREAS, the Parties desire to amend and restated the Original Agreement and the Staff
 andServices Provider is hereby being reta~nedto provide certain back., and middle-office services
 and ad1nirtistrative, infrastructure and other Services to assist the Management Comparty in
 conducting its business, and the Staff and Services Provider is willing to make such ~ervices
 available to the Management Company, in each case, on the te1ms and conditions hereof;

         WHEREAS, the Management Company may employ certain individuals to perform
 portfolio selection and asset rnariagement functions for the Management Company, and certam     of
 these individuals may also be employed simultaneously by the Staff a:nd Services Provider <luting
 their employment with the Management Company; and

          WHEREAS, each Person employed by both the Management Company and the Staff and
 Services Provider as described above (each, a"Shared Employee';). ifany; is and shall be identified
 on. the books and reQords gf each c,f the Management Company and the 'Staff and Services Provider
 (as amended, modified, supplemented or restated from time to time).

        NOW, THEREFORE, for good and valua:b1e consideration, the receipt and sufficiency of
 which is hereby acknowledged, the Parties hereby agree, and the Original Agreement is hei·eby
 amended" restated and replaced in its entfrety as follows.

                                           ARTICLE I

                                          DEFINITIONS

         Sectlonl.01 Certain Defined Terms; As 11sed in this Agreement, the following tenns
 shall have the following meanings:




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         "Affiliate" shall mean with respect to a Person, any other Person that directly, ot indirectly
 through one or more intermediaries, controls, is controlled by, or is. under common control with
 the first Person. The t9nu "control" means (i) the legal or beneficial owi1ership of securities
 representing a majority of the voting power of any person or (ii) the possession, directly or
 indirectly, ofthe power to direct or cause the direction of the management and policies of a person,
 whether by contract or othetwise.

         "Applicable Asset .Criteria and Concentrations;' means any applicable eligibility criteria;
 portfolio concentration limits and other similar ctiteria ol' lim:its which tbe Management Company
 instructs in writing to the Staff and Setvices Provider in respect ofthe Portfolio or one or more
 Accounts, ~s such criteria or limits may be n1odified, amended or supplemented fro111 time to time
 in writing by the Management Company;

           ''Applicable Law" shall mean, withrespectto any Person or property of such Person, any
 action, code, consent decree, constitution, decree, directive, enactment, finding, guideline, law,
 injurictio11, ii1terpretation, judgment, order, ordinai1ce, policy .statement~ proclani.ation, fotrnaJ
 guidance, promulgation; regul~tion, requirement, rule, rule oflaw, rule of public policy, settlement
 agreement statute, Writ, oi• any particulat section, part .ot :provision thereof of any Governmental
 Authority to which tl1.e Person in question is subject or by which itor any of its property is bound.

         ''Client or Account" shall mean any fund, client or accoµnt advised by the Management
 Company, as applicable.      ·

        "Covered Person" shall mean the Staffand Services Provider, any of its Affiliates, and any
 of their respective managers, members, principals, partners, directors, officers, .shareholders,
 employees and agents (but shall not include the Management Company, its subsidiaries or
 member(s) and any managers, members, ptincipals, ,partners, directors; offiqers, shareholders,
 employees and agents of the Managemei1t Company or its subsidiaries 01' membet(s) (in their
 capacity as such)).

         "Governmental Authority" shall mean (i) any government or quasi,.governm~ntal authority
 or political subdivision thereof, whether natiomil, state, comity, municipal or regional, whether
 U.S. or non~U.S.; (ii) any agency, regulator, arbitrator, board, body, branch, bureau, commission,
 corporation, department, maste~; mediator, pm1el, referee; system or instrumentality of any such
 government, political subdivisi01i or other government or quasi-:government entity, whether non-
 U.S. or U.S.; and (iii) any cotirt, whether U.S. or non-U.S.

          "Indebtedness" shall mean: (a) alI indebtedness for borrowed money mid all other
 obligations, contingentm otherwise, with respect to suretybonds1 guarantees ofbotrowed money,
 letters of credit and bankers' acceptances whether or not matt,rred, and hedges and other .detivative
 contracts and :financial instnunents; (b) all obligations evidenced by notes, bonds, debenturesi ot
 similar instruments, or incurred ·under bank guaranty or letter of credit faqilities or credit
 agreements; (c) all iitdebted.ness cteated or a:risingun'der any conditional sale or other title retention
 agreement with respect to any propetty of the Management Company or any subsidiary; (d)all
 capital kase obligatio1is; (e) all indebtedness guaranteed by such Person or any of its subsidial'ies;
 and (f) all indebtedness guaranteed by such Person oi• any of its subsidiaries.



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       ''Operating Guidelines" meai1s any operating guidelines attached to a11Y portfolio
 management agrech1ent, investment management agreement or .similar agreement entered into.
 between the Management Contpany and a Client bl' Account.

         . "Portfolio'; means the portfolio of.securities and other assets, including without limitation,
 financial instruments, equity investii1ents, collateral loan obligations, debt securities, prefetrc:d
 return notes .and other similar obligations held directly or indirectly by, or on behalf of, Clients
 a1:id Ac.counts frqm time to time;                                            ·
         "Securities Act'' shall mean the Securities Act of 1933, asmnerided.

          Section 1.02 Interpretation. The following rules apply to the .use of defined terms and.
 the interpretation of this Agreement: (i) the singular includes the phiral and the plural incl\tdes the
 singular; (ii) "or'' is not exclusive (unless preceded by "either"} arid ''inchide" and "including" are
 not limiting; (iii) unless the context otherwise requires, reforencesto agreements shall be deemed
 tC) mean and include such agreements as the same may be <'lmend¢d, supplemented, waive<,t and
 otherwise modified from time to time; (iv) a ·reference to a law includes any amendment or
 modification to such law and any rules or regulations issued thereunder or any law enacted in
 substitutio1ior replacement therefor; (v) ateferehce to aPetson includes its sticcessors and assigns;
 (vi) a reference to a Section without further reference is to the relevant Section ofthis Agreement;
 (vii) the headings of the Sections and subsections are for co~1venience and shall riot affect the
 mea.1iirig of this Agreement; {viii) "writing\ "writtei1" and comparable terms i'efot to printing,
 typing, lithography and other shall mean of reproducing words in a visible form (including
  telefacsimile and electronic ni:ail); (i}<.} "hereof', "heteii1", "!1.ereundet" arid cmnparable terms refet
  to the entire instrument in which such terms are used and nof to any particillar article, section o:r
 other subdivision thereof ot ~ttachment thereto; l:lnd (x)references to any gender include any other
 gender, masculine; feminine or neuter, as the context requires.

                                               ARTICLEU

                                               SERVICES

      . Section2.0J General Atithoritv. Hig}Jland is lwreby appointed as Staff <'lnd Services
 Providet for 1he purpose of providing such services and assistance a's the Management Company
 may request from time to time to, and ifapplicable, to make available the Shared Employees to,
 the Managen1ent Company in accord~nce With and subjectto the provisions ofthis Agreement and
 the Staff and Services Providet hereby accepts such appointment. The Staffand Services Provider
 hereby agrees to such engagement during the term hereof and to render the services described
 herein for the compensation provided herein, subject to the limitations contained herein.

         Section2.02 Provision of Services. Without limiting the generality of Section 2:01 and
 subject to Se~tion 2.Q4 (Applicable Asset Criteria ancl Concentrations) below, the Staff and
 Sel'vices Provider hereby agrees, from the date hereof, to provide the followinghack- and middle-
 officeservices and.a,ciministrative, infrastructure a.nd otht;r services to the Management Company.

                (a)    Back- and Midd/e.,,O,fjice: Assistance and advice with respect to back- and,
 middle-office functions including, but not limited to, investment research, trade desk services,
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 including trade execution and settlement, finance and accolll1ting, payments; operations_; hook
 keeping, cash management, cash forecasting, accounts payable, accounts receivable, expense
 reimbt1rsement, vendor inanagement, and information technology (including, withoi1t limitation,
 general suppott and maintenance (OMS, development, support), telecoirt (cellphones, telephones ·
 and broadband) and WSO);                                                .

                (b)     Legal/Compliance/Risk Analysis; Assista.1i.ce and advice with respect to
 legal issues, litigation support, management of outside counsel, compliance support and
 implenientaticm and general .risk analysis;

                  (t)    Tax. Assistance artd advice with respect to tax audit suppo1t, tax planning
 aJJ.d tax preparation and filing.

                 (d)    Management of Clients widAccounts: Assistance .a nd advice with respect
 to (i) the adhetence to Operating Guidelines by·the Managemei1f Cornpm1y, and (ii)·perfotn1i1ig
 any obligations of the Management Company under or in connection with any back~ and middle-
 office function set forth in any poxtfolio managel'nent agreeinent, investment ma11agement
 agreement or similar agreement in effect between the Management Company and any Client or
 Account from time to time.

                (e)       Valuation, Advice relating to the appointrnent of suitable third parties to
 provide valuations oi1 assets comprising the Portfolio and i11duding; but not limited to, such
 valuations required to facilitate the preparation of finap.cial statements by the Management
 Company or the provision of valuations in connection with, or prepatation of reports otherwise
 relating to, a Client or Account for which the Management Company serves as portfolio manager
 or investment managerC,n· in a similar capacity;

                (f)    Execution andl)ocumentation. Assistancerelatingto the negotiation of the
 terms of, and the execution and delivery by the Management Company of, any and all clocuments
 which the Management Company considers to be necessary in connection with the acquisition and
 disposition of an asset in the Portfolio by the Management Company or a. Client or Account
 managed by the Management Company, ttansactiohs involving the Managerhehf Company or a
 Client or Account managed by the Management Company, and any other rights and obligations of
 the Management Company or a Client or Account managed by the Managemi;:nt Company;

                (g)    Marketing. Provide access to tnarketing team representatives to assist with
 the marketing ofthe Management Company and any specified Clients or Accounts managed by
 the Management Company conditional          on
                                              the Management Company's agreement that any
 incerttive compensation related to such marketing shall be borne by the Management Company;

                  (b}     Reporting. Assistance relating to any reporting the Management Company
 is required to inake _in relation to the Pottfolio or any Client or Account, including reports relating
 to (i) credit facility n;porting and purchases, sales, liquidations, acqµisitions, disposals,
 sub-stit11tions and excha11ges of assets in the Portfolio, (ii) the requirements of an applicable
 regulator, or (iii) other type ofreporting which the Management Company and Staff and Services
 Provider may agrqc from time to time;                         ··          ·




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   .            (i)    Administrative Services. The provision of office space; information
 technology services and equiptilent, infrastructure; rent arid parking, and othei: related services
 reque~ted or utilizedbythe Management Compaµyfrom time to time;

               G)    Shared Employees. To the extent applicable, the provision of Shared
 Employees and such additional human capital as may be mutually agreed by the Management
 Company arid the Staff and Services Provider in accordance with the provisions of Section 2;03
 hereof;

                (k)     Anci/lc,ry Services.   Assist.ance and advice on all things ancillary or
 incidental to the foregoing; and

                (1)   Other: Assistance and advice relatii1g to such other back- a:nd rhiddle~office
 services in connection with the day-to-day business of the Management Company as the
 Management Company and the Staff and Services Provider may from time to tin1e agree.

 For the avoidance of doubt, none of the services contemplated hereunder shall constitute·
 investment advisory services, and the Staff & Services Provider shall not provide any advice to
 the Mmmgemei1t Company or perform any duties on bchalfof the Mm1agemetit Company, other
 than the back- and middle~office services contemplated herein, with respect to (a) the general
 management .of the Management Company, its bus_iness or activities, (b) the initiation or
 structuring of any Client or Account or similar securitization, (c) the substantive investment
 management decisions with respect to any Client or Account or any related collateral obligations
                                          of
 or securitization, (d) the acttml sdectio11 an:y collateral obligation or assets by the Management
 Company, (e) binding recommendations as to any disposal of or .amendinentto any Collateral
 Obligation.or (f} any similar.fi.mctions.                                                ·

        Sectiorl 2.03   Shafr:d Employees.

                 (a)    'the Staff and Services Provider hereby agrees and consents that each
 SharedEmployee, ifany, shall.be employed by the Management Company, and the Management
 Company hereby agrees .an:d consents that each Shared Employee shall he employed by the Staff
 and Services Provider; Except as may otherwise separately be agreed in writing between the
 applicable Shared Employee and the ManagGment Coinpany and/or the Staff mid Services
 Provider, in each of their discretio11, each Shared Employee is an at-V1-·ili employee and rto
 guarnnteed e111ployment or pther employmentarrangerne11t is agreed or implied by this Agreen1ent
 with respect to arty Shared Employee, and for avoidance of doubt this Agreement.shall not amend,
 limit, constrain or modify in any way the employment an-a11gements as between any Shared
 Employee and the Staff and Services Provider or as between any Shared Employee arid the
 Management Company, it being understood thatthe Management Company may enter into a short-
 form employment agreement with ariy Shared Employee meniorializing such Shared Employee's
 status as an eniployee of the Management Company. To the extent applicable, the Staff and
 Services Provider shall ensure that the Management Con'l.pany has ~lifficient access fo the Shared
 Employees so that the Shal'ed Employees spend adequate time to provide the services required.
 hereunder. The Staffijnd Services Provider may als.o employ the services of persons other than
 the- Specified Persons as it deems fit in its sole discretion




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                 (b)    Notwithstanding that the Shared Employees, if any, shall be employed by
 both the Staff and Services Ptovider and the Managerilent Company, the Parties acknowledge and
 agree that any and all salary and bepefits of each Shared Employee shall be paid e:icclusively by
 the Staff and Services Provider and shall not be paid or borne by the Management Company and
 no additional amounts in cc_>nnecti on 1herewith shall be d uc ·from the Management Company to the
 Staff and .Services Provider.

                (c)     To the extent that a Shared Employee participates in the rendering. of
 services to the Management Company's clients, the Shared Erriployee. shall be subject to the
 oversight and .control of the Management Company and such services shall be. provided by the
 Shared. Employee exclµsively in his or her capacity as a "s\1pervised person;' of, or "person
 associated with", the Management Company (as such terms are defined in Sections 202(a)(25) and
 202(a)(17),rcspectively, ofthe Advisers Act),

                (d)     Each Party may continue to oversee,. supervise and manage the services of
 each Shared Employee in oi·der to(l) erisure conipliance with the Party's compliance policies and
 procedures, (2) ensure compliance with .regulations .applicable to the Party and (J) protect the
 inforests ofthe Party and its cliel)ts; provided that Staff and Services..Provider shall (A) cooperate
 with the Management Conipany;s supervisory efforts and (B) make periodic reports. to the
 Management Company regarding the adherenc.e of Shared Employees to Applicable Law,
 including but not limited to the 1940 Act, the Advisers. Act arid the United States Commodity
 Exchange Act ofl 936~ as amended, in performing the services hereunder. .                .

                (e)     Where a Shared Employee provides .· services hereunder through both
 Parties, the Patties shall cooperate to ensure that all such services are performed consistently with
 Applicable Law and relevant compliance controls and procedures designed .to prevent, among
 other things, breaches .in infonnation security or the communication of confidential, proprietary or
 :material non-publicinformation.                            ·

              . (t)      The Staffand Services Provider shall ensure that eachShared Employee has
 any registrations, q1ialifications and/at licenses necessary to provide the services hereunder.

                (g)     The Parties will cooperate to ensure that information about the Shared
 Employees is adequately and appropriately disclosed to cJients, investors (and potential investors),
 iiwestinent banks operating as initial purchaser or placement agent with respect to any CHei1t or
 Account, and regtl!ators, as applicable; To facilitate such disclosure, the Staff and Servic;es
 Provider agrees to provide, or cause to be provided, to the Management Comparty suchirt:fortriatiqn
 as is deemed by the Management Comparty to be necessary or appropriate with respect to the Staff
 and Services Provider and the Shareq Employees (including, but not limited to, biographical
 information about·each Shared Employee).

                (h)    The Parties shall cooperate to ensure that, when so required, each has
 adopted a Code of Ethicstneeting the requireti1ents ofthe Advisers Act{"Code ofEthics") that is
 consistent with applicable law and which is substantially similar t o the other Pa:rty's Code _of
 Ethic.s.




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                (i)    The Staff and Services Provider shall make reasonably available for use by
 the Management Cornpany, including through Shared Employees providing services pursuant to
 this Agreement, any relevant intellectt1al prope:1ty and systei:hs necessary for the provision of the
 services hereunder.

                G)      The Staff and Services Provider shall requirethat each Shared Employee:

                       (i)     certify that he br she is subject to, .a nd has been pi'ovided with, a
        copy ofeach Partis Code of.Ethics and will make such reports, and seek prior clearan.ce
        for such actions and activities1 as may be reqt1ired under the Codes bf Ethics;

                        (ii)   be. subject to the supervision and oversight of each Party's officers
        and directors, including without limitation its Chief Compliance Officer ("CCO;'), which
        CCO may be the same Person, with respe.ct to the services provided to that Party or its
        clients;

                      {iii) provide services hereunder and take actions hereunder only as
        approved by the Management Company;

                        (iv)   ptovide any information requested by a Patty, as necessary to
        coITiply with applicable disclosure or regulatory obligations;

                        (v)    to the extent authorized to tran~act on behalf of the 1vlanage1n~nt
        Company or a Client or Account/take reasonable steps to ensure thatari.y such trai1saction
        is consistent with any policies and procedures that may be esti,1.bHshed by the Parties and
        all Applicable Asset Criteria and Concentrations; and ·

                        (vi)   act, at all times, in.a manner consistent with the.fiduciary duties and
        standard ofcare owed by the Management C91npany to its me111.bers and direct. or indirect.
        investoi"s or to a Clieht or Account as well as clients of Staff mid Setvices Providet by
        seeking to ensure that, among other things, information about any investment advisory or
        ti'adirig activity applicable to a pa1ticular client orgtoup nf clients is not used to benefitthe
        Shared Employee, any Pmty or any other cHent or group of clients in contravention of such
        fiduciary duties or standard of care.

                 (k)     Unless specifically authorized to do so, or appointed as a:n officer ot
 al.lthorized person of the Management Company with such authority, .no Shared Empioyee may
 contract on behalfor in the name of the Management Company;
                                 .             .              . .
                                                                 actii1g as principal.
                                                                    .          .   .


        Section 2.04    Applicable Asset Criteria and Concentrations. The Management Company
 wiU promptly inform the Staff and Services Provider in writing of any Applicable Asset Criteria
 and Concentrations to which it agrees frotn tifoe to time and the Staff and Services Provider shall
 take such Applicable Asset Criteria and Concentrations into.account when providing assistance_
 and advice in accordance with Section 2.02 abo,;e and any othe1' assistaJ1ce or advice provided in
 accordance with this.Agreement.

      Scction2.05 Compliance with Management Company Policies and Procedures. The
 Management Company will from time to time provide the Staff and Services Provider and the


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 Shared Employees, if any, with any policy and procedure documentation which it establishes
 internally and to which it- is bound to adhere. in conducting its business pursuant to regulation,
 contract or othen;vise. Subject to ai1y other lirrtitations in this Agreeri1ent, the Staff mid Services
 Provider will use reasonable efforts to ensure any services it and the Shared Employees provide
 pursuant to this Agreement complies with or takes account of such internal policies and
 procedures.

         Section2.06 Authority. The Staffana·servicesProvider's.scope of assistance and advice
 hereunder is limited to the services specifically provided for in this Agreement. The ~taff and
 Services Provider shall not assume or be deemed to assume any tights or obligations of the
 tvianagement Comp1;1ny un_det any Qther docu_ment or agreement to which the Management
 Company is a party. Notwithstanding any other express or implied provision to the contrary in
 this Agreement, the activities of the Staffand Services Provider pursuant to this Agreement shall
 be subject to the overall policies ofthe Management Company, as notified to the Staff and Sei-vices
 Provider from time to time. The Staff and Services Provider shall not have any duties or
 obligations to the Management Company unless those duties and obligations are specifically
 provided for in this Agteement(or in any am:endnient,1nodification or novatimt hereto or hereof
 to whichthe Staff and Services Provider is a party).

        Seption 2.07    Third Parties.

                (a)     The Staff and Services Provide1· may eirtploy thii'd parties, including its
 affiliates, to render advice, provide assistance and to perform -any of its duties under this
 Agreement; provided that notwithstanding the employment of third parties for any su,ch pµrpose,
 the Staffand Services Provider shall not be relieved of any of its obligations or liabilities under
 this Agreement.

                  (b)      In providing services hereunder1 the Staffand Services Provider may rely
 in good faith upon and will incur no liability for relying uponadvice of nationally recognized
 counsel. (which may be counsel for the Management Company, a Client or Account or any Affiliate
 of the foregoing), accountants or other advisers as the Staff and Services Provider determines, in
 its sole discretton, is reasonably appropriattl in connection with the services provided by the Staff
 and Services Pi·ovider urider this Agreement.

        Section2.08 Management Compmiy to Cooperate with the- Staff'and Services Provider.
 In furtherance, of the Staff and Services Provider'$ obligations under this Agreement the
 Management Company shall cooperate with, provide to, and fuUy infonn the Staff and Services
 Provider of, any and all documents and information the Staff and Services Provider reasonably
 requires to perfonri its obligations u11der this Agrcei11ent

         Section 2. 09 Power ofAttorney. If the Management Company considers it necessary for
 the provision by the Staff and ServicesPi'ovider of the l:lSsistance and advic.e underthis Agreement
 (after consultation with the Staff and Setvices Provider), it may appoint the Staff and Services
 Provider as its true and lawful agent and attorney, with full power and authority in its nan1e to sign,
 execute, certify, swear to, acknowledge, deliver, file, receive and i·ecord any and all documents
 that the Staff and Services Providerreasonably deems appropriate or necessary in connection with
 the execution a1td settlerriertt of acquisitions of assets as directed by the Management Company



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 a:nd the Staff and Services Provider~s powers and duties he1·eunder (whkh for the a:voida:nce of
 doubt shaU in no w~y involve H1e discretion .:mator authority of the Management Company with
 respect to investments). Any such power shall be revocable in the sole discretion of the
 Management Company.

                                             ARTICLE III

                               CONSIDERATION AND EXPENSES

         Section 3.01 Consideration. As compensation for its performance of its obligations as
 Staff and Services Provider lmder this Agreement, the Staffand Services Provider will be entitled
 to receive a flat fee. of $168,000 pet month (the "Sfaff and Setvices Fee"), payable m,ontllly in
 advance on the first business day of each month.

         Section 3. 02 Costs arid Expenses, Each party shall bear its. own expenses; provided that
 the Management Company shall reimburse the Staff and Services Provi,der for any and all costs
 a:nd expenses that 111ay be borne propeilyhy the Manag~ment Company.

          Section 3 .03 Deferral. Notwithstanding anything to the contrary contained herein; if on
 any date the Management Company determines that it would nothavesufficient funds available
 td it to make a payment of Indebtedness, it shall have the right to defer any a:11 and amounts payable
 to the Staff and Services Provider pursuant to this Agreement, including any fees and expenses;
 provided that the Mam1gement Conipany shall pi'omptly pay all such amounts on the first date
 thereafter that sufficient amounts exist to make payment thereof.

                                             ARTICLE IV

                            REPRESENTATIONS AND COVENANTS

         Section 4.01    Representations; Each of the Parti9s hereto represents and warrants that

                (a)     It has full power and authority to execute and deliver, and to perform its
 obligations under, this Agreement;                   ·

                   (b)    this Agreement has been duly authorized, exec;uted and delivered by it and
 constitutes .its valid and binding, obligation, enforceable in accordance With its. tel':ms except as the
 enforceal;lility hereof may be subject to (i) bankruptcy, insoiv~ncy, reorganization rporatorium,
 receivership, conservatorship or other similar laws now or hereafter in effect relating to creditors'
 rights and (ii) general principles of equity (regardless of wheiher such enfotcement is considered
 ina proceeding, in equity or at law); ·        · ·

                 (c)     no consent, approval, authorization or. order of or declaratioi1 or filing with
 any Governmental Authority is required for the execution of this Agreement or the performance
 byit of its duties beteurtder, except si1ch as have been duly rnade·Or obtain.eel; and

                 (d)     neither the execution and delivery ofthis Agreement nor the fulfiliment of
 the terms hereof conflicts with or results in a bn::ach or violation Of a:ny of the terms or provisions
 of; ot constitutes a default under, (i) its constituting and mgan1zational documents; or (ii) the terms


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 of any· niaterial indenture, contract, lease, mortgage, deed of trust, note, agreement or other
 evidence of indebtedness or othe.r material agreement, obligation, condition, covenant or
 ii1strmnent to which it is ct party 01' by which it is bound.

                                             ARTICLE V

                                             COVENANTS

         Section 5.01   Compliance: Advisory Restrictions,

                 (a)    The Staff and Services Provider shall reasonably cooperate with the
 Managernent Company       m   connection with the Management Coinpanf s compliance with its
 policies and procedures relating to oversightofthe Staffand Services Provider. Specifically, the
 Staff and Services Provider agrees tha,t it will provide the. Management Company withreasprtable.
 access to irtform:ation telatihg to the pei"fo1111ance of Staff and Services Provider's obligations
 under this Agreement..

                 (b)     This Agreeri1ent is not intended  toand shall not constitute art assignment,
 pledge or transfer of any portfolio management agreemei1t or rniy part thereof. It is the express
 intention ofthe parties hereto that this Agreement and all services performed hereunder comply in
 all respects with all (a) applicable contractual provisions and restrictions contaiti.ed in each
 portfolio management agreement, investment management agreement or similar agreement and
 each document contemplateci thereby; and (b) Applicable Laws (collectively, the "Advisory
 Restrictio11s"). If any provision ofthis Agteementis detennined to be in violation of any Advisory
 Restriction, then the services to be. provided. under this Agreement shall automatically be limited
 witho11t action by any person or entity, teduced or modified to the extent necessary a.1l:d appropriate
 to be enforceable to the maximum extent pe:rmi tted by such Advisory Restriction.             ·

         Section 5.02    Records; Confidentiality.

                The Staff and Services. Provider shall maintain or cause to be maintained
 appropriate books of account and records relating to its services performed hereunder, and such
 books of account aqd reCon:ls      s.hallbe accessible for fhspection by representatives of the
 Management Company and its accountants an:d other agents at any time during nonnal business
 hours and upon not less than three (3) Business D~ys' priqr notice; provided that the Staff and
 Services Provider shall not be obligated to provide access to any non-pliblic information ifit in
 good faith detenrtines that the disclosure of such infonnation would violate any applicable law,
 regulation or contr~ctua1 ·ari"angement.

                  The Staff and Services Provider shall follow its customary procedUi'es to keep
 confidential any and alL information obtained in c.onn.ection with the services rendered hereunder
 that is either (a) ofa type that would ordinarily be considered proptietary or confidential, such as
 information conceni.ing the composition of assets, rates of return, credit quality, structure or
 o,:vnership of securities, or (b} designated as confidential obtained in connection with the services
 rendered by the Staff and Services Provider hereunder and shall not disclose any such info1mation
 tq non-affiliated third parties, except (i) with the prior written consent of the Managernent
 Cornpany, (ii)such information as atating agency shall reasonablyrequest in connection with its



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 fating of notes issued .by a CLO or supplying cretjit esthnates on any obligation inclt1dedjn the:
 Portfolio, (iii) in connection with establishing trading at investment accounts or otherwise in.
 coi1nection with effecti.ng transactious on behalf of the Mruwgement Company or any Client or
 Account for Which the Manage1nent Company serves as portfolio manager ot investment m:artager
 or in a similar capacity, (iv) as required by (A) Applicable Law or (B) the mies or regulations of
 any self:,regu1ating oi"gartization; body or official havingjurisdiction over the Staff and Sei·vfoes
 Provider or any ofits Affiliates, (v) to its professional advisors (including, without lirnitation1
 legal, tax and accolrilting advisors), (vi) such infmmation as shall have b~en pi1blicly disclosed
 other tha11 in known violation of this Agreement ot shall have beert obtained by the Staff and
 Services Provider on a rion-confidential basis, (yii) such information as is necessary orappropriate
 to disclose so that the Staff and Services Provider may. perform its duties hereunder, (viii). as
 expressly permitted in. the final offering memorandum or ru1y definitive.transaction documents
 relating to a:ny Client or.Accoui1t, (ix}infonnation relating to perfonn,imce .of the Po1tfolio a$ may
 be used by the Staff and .Services Provider in the ordinary course of its business or (xx) such
 infonnation as is routinely d.isclosed to the trustee, custodian or collateral administrator of any
 Client or Account in connectioh with Such trustee's, custodian's ot collateral administrator's
 performance ofits obligations under the transaction documents related to such Client or Account.
 Notwithstanding the foregoing, it is agreed that the Staff and Services Prnvider may discl9se
 without the consent of any Person Jl) that it is serving as staff and services ptovider to the
 Managen1erit Cornpany, (2) the nature, <1ggregate principal amount and overall perfonnance of the
 Portfolio, {3) the arnmtnt of earnings on the Portfolio, (4) such other infom1aticm about the
 Management Company; the Portfolio and the Clients or Accounts as is customarily disclosed by
 staff andservices providets to management vehicles similar to the ManagernentCompany~ and (5)
 the United States federal income tax treatment and United States federal income tax structure of
 the transactions qontempJated. by this Agreement and the related documents and all materials of
 any kind (including opinions and other tax ru1alyses} that are provided to them i'elati:ng to such
 United States federal income tax treatment and United States income ·tax structure. This
 ciuthorization to disd.ose the U.S; tax treatment and t~ stntctu.re does noi permit cliscl.osure of
 infonnationidentifyirig the Staff and Services Providei', the Clients at Accounts or any other party
 to the fra11sactions contemplated by this .Agreement (except to the extent such infonnation is
 relevant to U.S. tax structure or tax treatment of such transactions).

                                            ARTICLE VI

                          EXCULPATION AND INDEMNIFICATION

         Section 6.01 Standard of Care, Except as otherwise expressly provided herein, each
 Covered Person shall discharge its dhties under this ,Agreement with the care, skilI, prudence and
 diligence under the circumstances then pi'evailing that a prudent person acting in a like capacity
 and familiar with such matters would use in the conduct of an enterprise of a like character and
 with likeaiins. To the extentnotincotisistentwith the foregoing, each Covered Pei·sonshaU follow·
 its customary stm1dai:ds, policies .and procedures in performing its duties. hereunder. No Covered
 Person shall deal with the income or assets of the Manage1nent Cornpany in such Covered Person's
 own interest or for its own account. Each Covered Person in its respective sole and absolute
 discretion may separately engage or invest in any other b(1siness ventures, including those that ma)'
 be in competition with the Management Compaity, and the Management Company will not have
 any tights irtor to such ventures or the income or profits derived therefrom


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          Section 6.02 Exculpation. ·Tothe fullestextent permitted by law;no Covered Person will
 be liable to the Management Company, any Member, or any shareholder, partner or member
 thereof~ for (i) any acts at oniissions by such Coveted Pei'son arising out of 01; in connection with
 the conduct ofthe business ofthe Management Company or its General Partner, or any investment
 made or held by the Management Company or its General Pru1ner, unless it is determined
 ultimately by a court of conipetentjut1sdiction, in a fi11al nbnappealable judgment, to be the result
 of gross negligence or to constitute fraud or willful misconduct (as interpreted under the laws qf
 the State of Delaware) (each, a "Disabli11g Conduct") on the patt of:such Covered Person, (ii) arty
 act or omission of any Investor, (iii)any mistake, gross:negligence,. misconduct or bad faith of any
 erhpldyee, broker, administrator or other agent or representative of such Covered Person,provided
 that such employee, broker; administrator or agent was selected, engaged or retained by or on
 behalf ofsuch C::overed Person with reasonable care, or (iv) any consequential (including loss of
 profit), ihdfrect, special or punitive damages. To the extentthat, at law or in equity, any Covered
 Person has duties (including fiduciary duties) and liabilities relating thereto to the Management
 Corti.party or arty Member, no Covered Person ctcting under this Agreement shall. be liable to th.e
 Mana:gementCompanyor to any such Member for its good~faithrelianceon the provisions of this
 Agreement. Tlle exculpations ~et forth in this Section 6.02 shaH exculpate any Covered Person
 regardless of such Cove1'ed Person's sole, comparative, joint, concurrent, or subsequent
 negligence.                                                                           ·          ·

         To the fullest extent permitted by law; no Covered Persqn shall have any personal liability
 to the Management Coh1pany or any Member solely by reason ofany change in U.S. federal, State
 or local or foreign income tax laws, or in interpretations thereof, asthey apply to the Mam1gement
 Company or the Members, wJ1ether the change occi.lrs thrb:ug}1 legislative, judicial or
 administrative action.

         Any Covered Person in its sole and absolute discretio11 may consult legal counsel,
 accountants or othe1' advisers selected by it; and any act or on':iission taken; or made 1n good faith
 by such Person on behalf ofthe Management Company or in furtherance of the, business of the
 Management Company in good-faith reliance on and in accordance with the advice of such
 counsel, accountants or other advisers shalLbe full justification for. the act or omission, and to the
 fullest extent permitted by applicable la,w,.no Covyred Person shall be liable to the Management
 Company or any Member in so acting or omitting to. act if such coirnsel; accountants or other
 advisers were selected, engaged or re,tained with n~asonable: care.

          Section 6.03 Indemnification by the Manage1i:i.ent Company.                  The Management
 Conipany shall and hereby does, to the fullest exte1itperrnitted by applicable law, indemnify and
 hold hannless any Covered Person from andagainst any and all claims, causes of action (including,
 but not 1irnite.d to, 'strict liability, negligence, statutory violation, regulatory violation, breach of
 contract; and .all other torts and claims arising tmdcr common law), demands, liabilities, costs,
 expenses, damages, losses, suits, proceedings, judgments, assessme111s, i}ctions and other
 liabilities, whether judicial1 administrative, investigative or otherwise, of whatever nature, known
 or unknown, liquidated or u,nliquida~ed ("Claims"), that may accrue to or be incurred by apy
 Covered Person, or iri. which any Covered Person may become involved, as a party or otherwise,
 or with which any Covered Person may be threatened, relating to or arising out oftheinvest111ent
 or other activities of the Management Coinpany or its General Partner, or activities undertaken in
 connection with the Management Company or its General Partner, or otherwise relating to or


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arising out of this Agreement, including amounts paid in satisfaction ofjudgments, in compromise
or as fines or penalties, and attorneys' fees and expenses incuned in connection with the
preparation for or defense or disposition of any investigation, action, suit, ru.'bitration ot other
proceeding (a "Proceeditig"), whether civil or criminal (all ofsuch Claims, amounts and expenses
referred to therein are teferred to collecfrvely as ''Damages''), except tci the extentthatit shaU have
been determined .ultimately by a court of competent jurisdiction, in a final nonappealable
judgment, that such Damages arose primarily from Disabling Conduct of such Covered Person.
The termination of any Proceeding..by settlement, judgment., order; conviction or upon a plea of
nolo con:tendere or its equivalent shall not; of itself; c.reate a presumption that any Damages relating·
to such settlement, judgment, order~ conviction or plea of nolo contendere or its equivalent or
otherwise relating to suc.h Proceeding arose primarily from Disabling Conduct of any Covered
Persons. Any Coveted Person shall be indemhified under the terms ofthis Section 6.03 regardless
of such Covered Person's sole, comparative) joint, concurrent, or subsequent negligence.

         Expenses (including attorneys' feesJincurred by a Covered Person in defense or settlement
 ofahy Claim tha:t rnay be .subject to a tight of inde1nniflcation hefeundcr shall be advanced by the
 Management Company prior to the final disposition thereof upon receipt of a written undertaking
 by ot cm behalf of the Covered Person to .repay the .amoi.nit advanced to the extent that it shall  be
 determine.d ultimately by a court of competent jurisdiction that the Covered Person is riot entitied
 to be indemnified heret1nder. The right of any Covered.Persons to the indemnification provided
 herein shall be cumulative of, and in addition to, any and all rights to which the Covered Person
 may otherwise be entitled by contract or as a matter of law or equity and shall be extended to ihe
 Covered Person's sU<;cessors, assigns anq legal representatives. · Any judgments against the
 Management Company and/or any Covered Persons in respect of which such Covered Pers01i is
 entitled to indemnification shall firstbe satisfied from the assets of the Management Company,
 including DrawdoW1iS; before such Covered Person is respcuisible therefor.

         Notwithstanding any provision of this Agreement to the contrary, the provisions of this
 Section 6.03 shall not be co11strued so as to prqvide for the indemnification of any Covered Person
 for any liability (including liability under Federal securities laws which, under certain
 circumstances, impose liability even on persons that act ip good faith); to the extent (but only to
 the extent) that st.tch indemnification would be ih violation ofa:pplicable law, bt1tshal1 be construed
 so as to effectuate the provisions of this Section 6.03 to th~ fullest extent permitted by law.

         Sectioi1 6.04   Other Sources of Recovery etc. The inde1:nnification rights set forth in
Section 6.03 are in addition to, and shall 11ot exc1ude,1irrtit or otherwise adverselyaffect, ahy other
 indemnification or similar rights to which any Covered Person may be entitled. lf and to the extent
 that other sources of recovery (including.proceed~ of any applicable policies. of insurance or
 indemnification from any Person in which any .of the Clients or Accotmts has an investment) are
 available to any Covered Person, such Cov~n~d .Person shall use reasonable efforts to obtain
 recovety froni such other sources before the Company sha.11 be required to make ·arty payment in
 respect of its indemnification obligations hereunder; provided that, if such other recovery is not
 available without delay, the Covered Person shall be entitled to such payrhertt by the Managenient
 Company and the Management Company shall be entitled to reimbursementqut of such other
 recovery when and if obtained.




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        Section 6.05 Rights of Heirs. Successors and Assigns. 11Je indemnification rights
 provided by Section 6.03 shall in:ure to the benefit of the, heirs, executors, administrators,
 successors and assigns of each Covered Person.

      Section 6.06 Reliance. A Covered Person shall incur no liability to the Management
 Company or any Member in acting upon any sjgnature or writing reasonably believed by him, her
 or it to be genuine, and may rely in good faith 011 a certificate signed by an officer ofany Person
 in order to ascertainany fact withrespect to s_uch Person or within suqh'Person's kriowledge. Each
 Covered Person may act directly or through his, her or its agents or atto111eys.

                                             ARTICLE VU

                                           TERJ.vUNATION

          Section 7.01 Te1mination. Either Party may terminate this Agreeme11t at any time upon
 at least thirty (30) days' vvritten notice to th~ other. ··          ·             ·

                                            ARTICLE VIII

                                         MISCELLANEOUS

         Section 8.01 Amend1i1ents. This Agreement may not be arnended or modified except by
 an instrument in writing signed by .each Party.

         Section 8.02    Assignment and Delegation.

                  (a)      Neither Party may assign, pledge, grant or othei:wise encumber ot transfer
 all or any -part of its rights .or responsibilities under this Agreement; in whole ot in part, except (i)
 as provided in clau.scs (b) and (c}ofthis Section 8.02, v-.rithol1tthe prior written consent of the other
 Party and (H) in acc6edance with Applicable Law.

               (b)    Except as otherwise provided in this Section 8.02, the Staff ancl Services
 Provider may not assign its :rights or responsibilities under this Agreement unless (i) the
 Manageri1ent Company conserttsin writing thereto and (ii) such assignmentis made in accordance
 with Applicable Law. .                               ..

                 (c)       Th~ Staff and Services Provider may; without satisfying any of the
 conditions of Section 8.02(a) otherthan clause·(ii) thereof, (1) assign anyofitsrights or obligations
 under this Agreement to an Affiliate; providedthat. such Affiliate (i) has demonstrated ability,
 whether as m'l entity or by its principals and employees, to professionally and cbmpetently perforn1
 duties similar to those imposed upon the Staff and Services Provider purstrnnt to this Agreement
 and (ii) has the legal l'ight inid capacity to act as Staffartd Services Provider under this Agree1rient,
 or(2) entet into (or have its parent enter into) any consolidation or amalgamation with, ormerger
 with or into, or transfer of all or substantially all of its assets to, another entity; provided that, at
 the time of Such consolidation, merger, amalgamation or transfer the resulting, surviving or
 transfore.e entity assumes all the obligc.1tions of the Staff and Services Provider m1der this
 Agreement generally (whether by operation of law or by contract) and the other entity is a
 continuation of the Staff and Services Provider in another corporate· or .similar form and has


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 substantially the same staff; providedfi1rther that the Staff and Services Provider shall deliver ten
 (10) Business Days' prior notice to the Management Company of any assignment or combination
 made pursuant to this sentence. Upon the execution and clelivety of any &uch 1:1ssignment by the
 assignee, the Staff and Services Piovider will be released from further obligations pursuant to this
 Agreement except to the extent expressly provided herein.

         Section. 8.03   Non-Recourse: Non-Petition.

                    (a)     The Staff and Services Provider agrees that the payment of all amounts to
 which itis erititledpurs11i:u1ttothis Agreement shall be payable by the Manage111entCompa11y only
 to the ex'.terit of assets held in the Portfolio.

                 (b)     Notwithstanding anything to the contrary contained herein, the liability of
                                                                                         in
 the Manage1i1ent Company to the Sta:ffand Services Provider hereµnder is limited recourse to
 the.Poiifolio, and if the proceeds of the Portfolio following the liquidation thei'eofareinsuf:ficfont
 to meet the obligations of the Management Company hereund<:!r in full~ the Management Company
 shall have no further liability in respect of any such outstanding obligations, and snch obligations
 and all claims of the Staff and Services Provider or any other Person against the. Management
 Cornp~ny hereunder shall tl)ereupon extinguish and not thereafter revive.· ·The Staff and Services
 Ptovider accepts that the obligations ofthe·Management Compatiy hereunder ate the corporate
 obligations ofthe Management Company and are not the obligations ofany employee, member,
 officer, director or administrator of the Management Con1pany and no action may be taken against
 any such Person ih relation to the obHsatiorts of the Mana~ement Company hereunder,

                 (c)    Notwithstanding anything to the contrary contained herein, any Staff and
 Services Provider agrees not to institute against, or join any other Person in instituting against, the
 Management Company any bankruptcy, reorganization, arrangement, insolve11cy, rnoratoriµm or
 liquidation proceedings, or other proceedings under United States federal or state bankruptcy laws,
 or similar laws until at least one year and one day {or; if longer; the then applicable preference
 period plus one day) after the paymentin full all amounts payable in respect of any Indebtedness
 incurred to finance aily p01tion of the Portfolio; provided that nothing in this provision shall
 preclude, or be deeirted to stop, theStaffand Services P~ovider·from taking any action prior to the
 expiration of the aforementioned one year and one day period (or, if longel', the applicable
 preference period then in effect plus one day) in (i) any case or proceeding voluntarily filed or
 commenced by the Management Company, or (ii) any involuntary·insolvency proceeding ii.led or
 commenced against the Mat1agement Company by ·a Person other than the Staff and Services
 Provider.

                 (d)     The Mana:ge1rnmt Company hereby ackI1owl~dges and agl'ees that the Staff
 and Services Provider's obligations heteilridershall be solely the corporate obligations of the Staff
 and Services Provider; and are not the obligations of any employee, member, officer, director or
 administrator of the Staff and Services Providet and no action n'l.ay be taken against ariy such
 Person in relation to the obligations of the Staffand Services Provider heretmder.

                (e)     The provisions of this Section 8,03 shall survive tennination of this
 Agreement foi" any. reason whatsoever,




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         Section: 8 .04   Governing Law.

                 (a)     This Agreement sfaill be governed by, and construed in accordance with,
 the laws ofthe State of Texas. The Parties unconditionally and itrevocal:ily consent to the exchrnive
 jurisdiction ofthe courts located in the State of Texas and waive any objection with respectthereto,
 fqr the pmpcise. of any action, suit or proceeding arisingout of or relating to this Agreement or the
 transactions contemplated hereby.

                 (b)    The Parties iITevocabJy agree for the benefit ofeach other that the courts of
 the State of Texas and the United States District Court located iirthe Northern District ofTexas in
 Dallas are to have exclusive jurisdiction to settle any disputes (whether contractual or non~
 contractual) which may arise out of or in comiection with this Agreement and that accordingly any
 action arising out of or iri connection thei·ewith (together refe1ted to as "Proceedings") may be
 brought in such courts. The Parties irrevocably submit to the jurisdiction of such courts andwaive
 ariy objection which they faay have now or hereafter to the layingnf the venue ofany Proceedfr1gs
 in any such court and any claim that any Proceedings have been brought in an inconvenient forwn
 and further irrevocably agree that. a judgment .in any Proceedings brought in such cou1ts shall be
 co11clusive and binding upon the Patties and 1nay be· enfoi'ced h1 the courts of any other jurisdiction.

               WAIVER OF JURY TRIAL. EACH OF THE PARTIES HERETO
        Section 8.05
 HEREBY KNOWINGLY, V0LUNTARILYAND INTENTIONALLY WAIVES ANY RIGHTS
 IT MAY HAVE TO A TRIAL BY JURY IN RESPECT· OF ANY LITIGATION BASED
 HEREON, OR ARISING OUT OF, UNDER, OR IN CONNECTION WITH, THiS
 AGREEMENT. EACH PARTY HERETO ACKNOWLEDGES AND AGREES THAT IT HAS
 RECENED FULL AND SDFFICIENT .CONSIDERATION FOR THIS PROVISION AND
 THAT THIS PROVISION IS A MATERIAL INPUCEMENTFOR ITS ENTERING INTO THIS
 AGREEMENT

         Section 8.06 Severability. The provisions of this Agreement are independent of and
 severable from each other, ahd no provision shall be affected Or rendered invalid or utienforceable
 by virtue ofthe fact thatfor any reason any other or others ofthem may be invalid ·o nmenforceable
 in whole or in part. Upon such determination that any term or other provision is invalid, illegal or
 incapable ofbeirtg enforced, the Parties shall negotiate fa good faith to modify this Agreement so
 as to effect the original intent of the.Parties.             ·                 ·

         Section 8.07 No Waiver. The performance of any condition or obligation imposed upoh
 any Party may be waived 011ly upbh the written consent of the Paities. Such waiver shall be,limited
 to the terms thereof and shaU not constitute a waiver of any other condition or obligation of the
 other Party. Any failure by any Party to enforce any provision shall not constitute a waiver ofthat
 or any other provision or this Agreement.

          Section 8.08 Counterparts; This Agreement may be e~ecuted in MY number of
 cou:riterparts by facsih1ile or other written or electronic fotm of communication, each of which
 shall he deemed to b.e an original as agai11st any Party whose signature appears thereon, and all of
 which shall together constitute one and the same instrument. This Agreement shall become
 binding when one or more counterparts h(;reof, individually or taken together, shall bear the
 signatures of all of the Parties reflected hereon as the signatories.



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         Section 8.09 Third Party Beneficiaries. This Agreement is for the sole benefit of the
 Parties hereto and their permitted assigns and nothing herein express or implied shall giv~ or be
 construed to give to any Person, othetthan the Parties hereto ai1d such permitted assigns, any legal
 or equitahlerights hereunder. For avoidance of doubt, this Agreement is not for the benefit or and
 is not enforceable by any Shared Employee, CHenLor Account or arty investor (directly or
 indirectly) in the Management Company.

         Section 8.10 No Paitnership or JointVenture~ Nothing set forth in this Agreement shall.
 constitute; or he construed to create, an employment relationship, a pmtnership or a jojnt venture
 between the Par~ies. Except as expressly provided herein or in any other written agreement
 between the Parties, 110 Party has any authority, express or implied, to bind or to incut liabilities
 on behalf of, or in the name of, any other Pmty.                     ·

 .      Section8J l     Independent Contractor. Notwithstanding anything to the contrary,         the
 Staff and Services Provider shall be deemed to be an independent contractor and; except as
 expressly provided or authotized herein, shall have no authority to act for or represent the
 Management Company or any Client or Account in which the Management Company acts as
 portfolio mai1agel' or investment manager or in a similar capacity in any manner ot otherwise be
 deemed an agent ofthe Management Company orany Client or Account.in.which the Management
 Co1i1pany acts as portfolio manager or investment manager or in a similar capacity.

         Section 8.12 Written Disclosute Statement. The Mmmgement Company acknowledges
 receipt of Part 2 ofthe Staffand Services Provider's Form ADV, as required by Rule 204-3under
 the Advisers Act, on or before the date ofexecution of this Agree1nent.

       Section 8.13 Headings. The desctlptive headings contained in this Agreement are for
 convenience of reference only and shall not affect in any way the1Ueaning or interpretation ofthis
 Agreement.

         Section 8.14 Er1tire Agreement. This Agreement constitutes.the entire agreement ofthe
 Partie$ With respect to the subject matter hereof and $llpersedes all prior agreements and
 undertakings, both written and oral, between the Parties with respect to such subject matter;

        Section 8.15 Notices. Any notice or demand to any Party to be given, made or served
 for any purposes under this Agreement shall be given, made oi' served by sendi1ig the sarne·by
 overnight mail or email transmission or by delivering it by hand as follows:

                (a)     If to the Management Company:
                        NexPoiht Advisors, L.P.
                        200 Cre:Sce1it Court   ·
                        Suite 700
                        Dallas; TX 75201




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                (b)     If to the Staff and Services Providei·:
                        Highland Capital Management, L.P.
                        300 Crescent Court
                        St.1ite700
                        Dallas, TX: 75201

 or to such other address or email address as shall have been notified.to the other Parties.




                        [The re1nainder ofthis page intentionally left blank}




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        IN WITNESS WHEREOF, each Party has caused this Agreemenfto be executed as ofthe
 date hereof by its duly authorized representative.


                                               NEXPOINT ADVISORS, L.P.

                                               By: NexPoint Advisors GP, LLC, its
                                               General Partner



                                               By:_ _ _ _ _ _ _ _ _ _ _ __
                                               Name: Frank Waterhouse
                                               Title: Treasurer



                                               HIGHLAND CAPITAL
                                               MANAGEMENT, L.P.

                                               By: Strand Advisors, Inc., its General


                                               ~:·~
                                               Name: Frank Waterhouse
                                               Title: Treasurer
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 Davor Rukavina, Esq.
 Texas Bar No. 24030781
 Julian P. Vasek, Esq.
 Texas Bar No. 24070790
 MUNSCH HARDT KOPF & HARR, P.C.
 500 N. Akard Street, Suite 3800
 Dallas, Texas 75202-2790
 Telephone: (214) 855-7500
 Facsimile: (214) 978-4375

 Counsel for Defendant NexPoint Advisors, L.P.

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
 In re:                                   §          Case No. 19-34054-SGJ-11
                                          §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §                Chapter 11
                                          §
        Debtor.                           §
                                          §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                          §
        Plaintiff.                        §
                                          §
 v.                                       §
                                          §         Adversary No.: 21-03005-sgj
 NEXPOINT ADVISORS, L.P., JAMES           §
 DONDERO, NANCY DONDERO, AND              §
 DUGABOY INVESTMENT TRUST,                §
                                          §
        Defendants.                       §

                           DEFENDANT NEXPOINT ADVISORS, L.P.’S
                             ANSWER TO AMENDED COMPLAINT

         Defendant NexPoint Advisors, L.P. (“NexPoint”), a defendant in the above-styled and

 numbered adversary proceeding (the “Adversary Proceeding”) filed by Highland Capital

 Management, L.P. (the “Plaintiff”), hereby files this Answer (the “Answer”) responding to the

 Amended Complaint for (I) Breach of Contract and (II) Turnover of Property (III) Fraudulent

 Transfer, and (IV) Breach of Fiduciary Duty [Adv. Dkt. 73] (the “Amended Complaint”). Where

 an allegation in the Amended Complaint is not expressly admitted in this Answer, it is denied.


                                                                                          Exhibit B
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                                  PRELIMINARY STATEMENT

           1.   The first sentence of paragraph 1 of the Amended Complaint sets forth the

 Plaintiff’s objective in bringing the Amended Complaint and does not require a response. To the

 extent it contains factual allegations, they are denied. The second sentence contains a legal

 conclusion that does not require a response. To the extent it contains factual allegations, they are

 denied.

           2.   Defendant NexPoint admits that NPA’s First Amended Answer speaks for itself.

 To the extent paragraph 2 contradicts the First Amended Answer, it is denied.

           3.   Defendant NexPoint denies the allegations in paragraph 3 of the Amended

 Complaint.

           4.   Paragraph 4 of the Amended Complaint sets forth the Plaintiff’s objective in

 bringing the Amended Complaint and does not require a response. To the extent it contains factual

 allegations, they are denied.

           5.   Paragraph 5 of the Amended Complaint contains a summary of the relief the Plaintiff

 seeks and does not require a response. To the extent it contains factual allegations, they are

 denied.

                                  JURISDICTION AND VENUE

           6.   Defendant NexPoint admits that this Adversary Proceeding relates to the

 Plaintiff’s bankruptcy case but denies any implication that this fact confers Constitutional

 authority on the Bankruptcy Court to adjudicate this dispute. Any allegations in paragraph 6 not

 expressly admitted are denied.

           7.   Defendant NexPoint admits that the Court has statutory (but not Constitutional)

 jurisdiction to hear this Adversary Proceeding. Any allegations in paragraph 7 not expressly

 admitted are denied.

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            8.    Defendant NexPoint denies the allegations contained in paragraph 8 of the

 Amended Complaint. Defendant NexPoint does not consent to any trial before, or final order

 entered by, the Bankruptcy Court. Defendant NexPoint demands a trial by jury of all issues so

 triable.

            9.    Defendant NexPoint admits the allegations in paragraph 9 of the Amended

 Complaint.

                                         THE PARTIES

            10.   Defendant NexPoint admits the allegations in paragraph 10 of the Amended

 Complaint.

            11.   Defendant NexPoint admits the allegations in paragraph 11 of the Amended

 Complaint.

            12.   Defendant NexPoint admits the allegations in paragraph 12 of the Amended

 Complaint.

            13.   Defendant NexPoint lacks knowledge or information sufficient to form a belief

 about the truth of the allegations in paragraph 13 of the Amended Complaint and therefore denies

 the same.

            14.   Defendant NexPoint lacks knowledge or information sufficient to form a belief

 about the truth of the allegations in paragraph 14 of the Amended Complaint and therefore denies

 the same.

                                     CASE BACKGROUND

            15.   Defendant NexPoint admits the allegations in paragraph 15 of the Amended

 Complaint.

            16.   Defendant NexPoint admits the allegations in paragraph 16 of the Amended

 Complaint.

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        17.     Defendant NexPoint admits the allegations in paragraph 17 of the Amended

 Complaint.

        18.     Defendant NexPoint admits the allegations in paragraph 18 of the Amended

 Complaint.

        19.     Defendant NexPoint admits the allegations in paragraph 19 of the Amended

 Complaint.

                                    STATEMENT OF FACTS

        20.     Defendant NexPoint admits that it has executed at least one promissory note under

 which the Debtor is a payee. Any allegations in paragraph 20 note expressly admitted are denied.

        21.     Defendant NexPoint admits the allegations in paragraph 21 of the Amended

 Complaint.

        22.     Defendant NexPoint denies paragraph 22 of the Complaint. The document speaks

 for itself and the quote set forth in paragraph 22 is not verbatim.

        23.     Defendant NexPoint admits the allegations in paragraph 23 of the Amended

 Complaint.

        24.     Defendant NexPoint denies paragraph 24 of the Complaint. The document speaks

 for itself and the quote set forth in paragraph 24 is not verbatim.

        25.     Defendant NexPoint admits the allegations in paragraph 25 of the Amended

 Complaint.

        26.     Defendant NexPoint admits that it did not make a payment under the Note on

 December 31, 2020. Defendant NexPoint denies that any payment was due under the Note on

 December 31, 2020. To the extent not expressly admitted, paragraph 26 of the Amended

 Complaint is denied.




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           27.   Defendant NexPoint admits that Exhibit 2 to the Amended Complaint (the

 “Demand Letter”) is a true and correct copy of what it purports to be and that the document

 speaks for itself. To the extent paragraph 27 of the Amended Complaint asserts a legal

 conclusion, no response is required, and it is denied. To the extent not expressly admitted,

 paragraph 27 of the Amended Complaint is denied.

           28.   Defendant NexPoint admits that it paid the Debtor $1,406,111.92 on January 14,

 2021, but denies that any payment was due on December 31, 2020 or that this was an attempt to

 cure a default. To the extent not expressly admitted, paragraph 28 of the Amended Complaint is

 denied.

           29.   Defendant NexPoint admits that Exhibit 3 to the Amended Complaint (the

 “Second Demand Letter”) is a true and correct copy of what it purports to be and that the

 document speaks for itself. To the extent paragraph 29 of the Amended Complaint asserts a legal

 conclusion, no response is required, and it is denied. To the extent not expressly admitted,

 paragraph 29 of the Amended Complaint is denied.

           30.   To the extent paragraph 30 of the Amended Complaint asserts a legal conclusion,

 no response is necessary, and it is denied. The Defendant otherwise admits paragraph 30 of the

 Amended Complaint.

           31.   Defendant NexPoint lacks knowledge or information sufficient to form a belief

 about the truth of the allegations in paragraph 31 of the Amended Complaint and therefore denies

 the same.

           32.   Defendant NexPoint denies the allegations in paragraph 32 of the Amended

 Complaint.

           33.   Defendant NexPoint admits that the Debtor filed the Original Complaint in this

 action on January 22, 2021, as alleged in the first sentence of paragraph 33 of the Amended

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 Complaint. Defendant NexPoint denies it is liable for the relief requested in the Original

 Complaint. To the extent not expressly admitted, paragraph 33 of the Amended Complaint is

 denied.

           34.   Defendant NexPoint admits the allegations in paragraph 34 of the Amended

 Complaint.

           35.   Defendant NexPoint admits the allegations in paragraph 35 of the Amended

 Complaint.

           36.   Defendant NexPoint admits that NexPoint’s First Amended Answer speaks for

 itself. To the extent paragraph 36 contradicts the First Amended Answer, it is denied.

           37.   Defendant NexPoint admits that NexPoint’s First Amended Answer speaks for

 itself. To the extent paragraph 37 contradicts the First Amended Answer, it is denied.

           38.   Paragraph 38 of the Amended Complaint asserts a legal conclusion to which no

 answer is required. To the extent of any factual allegation, Defendant NexPoint admits that Mr.

 Dondero controlled NPA and denies that he controlled the Debtor at the time of the Alleged

 Agreement.

           39.   Defendant NexPoint lacks knowledge or information sufficient to form a belief

 about the truth of the allegations in paragraph 39 of the Amended Complaint and therefore denies

 the same.

           40.   Defendant NexPoint denies the allegations in paragraph 40 of the Amended

 Complaint.

           41.   Defendant NexPoint admits that Exhibit 4 to the Amended Complaint is a true and

 correct copy of what it purports to be and that the document speaks for itself. To the extent

 paragraph 41 of the Amended Complaint asserts a legal conclusion, no response is required, and




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 it is denied. To the extent not expressly admitted, paragraph 41 of the Amended Complaint is

 denied.

           42.   Paragraph 42 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied.

           43.   Paragraph 43 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied.

                                  FIRST CLAIM FOR RELIEF
                                       (against NexPoint)
                                    (for Breach of Contract)

           44.   Paragraph 44 of the Amended Complaint is a sentence of incorporation that does

 not require a response. All prior responses are incorporated herein by reference.

           45.   Paragraph 45 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

           46.   Paragraph 46 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

           47.   Paragraph 47 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

           48.   Paragraph 48 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

                              SECOND CLAIM FOR RELIEF
                                     (against NexPoint)
                     (Turnover by NexPoint Pursuant to 11 U.S.C. § 542(b))

           49.   Paragraph 49 of the Amended Complaint is a sentence of incorporation that does

 not require a response and is therefore denied. All prior responses are incorporated herein by

 reference.




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        50.     Paragraph 50 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

        51.     Paragraph 51 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

        52.     Paragraph 52 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

        53.     Paragraph 53 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied.        Defendant NexPoint admits that the Plaintiff

 transmitted the Demand Letter and the Second Demand Letter, and those documents speak for

 themselves.

        54.     Paragraph 54 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

        55.     Paragraph 55 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

                             THIRD CLAIM FOR RELIEF
                                  (Against NexPoint)
  (Avoidance and Recovery of Actual Fraudulent Transfer under 11 U.S.C. §§ 548(a)(1)(A)
                                       and 550)

        56.     Paragraph 56 of the Amended Complaint is a sentence of incorporation that does

 not require a response. All prior responses are incorporated herein by reference.

        57.     Paragraph 57 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied.

        58.     Paragraph 58 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.




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        59.     Paragraph 59 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

        60.     Paragraph 60 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

        61.     Paragraph 61 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

                            FOURTH CLAIM FOR RELIEF
                                  (Against NexPoint)
   (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. § 544(b) and
                      550, and Tex. Bus. & C. Code § 24.005(a)(1))

        62.     Paragraph 62 of the Amended Complaint is a sentence of incorporation that does

 not require a response. All prior responses are incorporated herein by reference.

        63.     Paragraph 63 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied.

        64.     Paragraph 64 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

        65.     Paragraph 65 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

        66.     Paragraph 66 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied. To the extent of any factual allegation, it is denied.

                                FIFTH CLAIM FOR RELIEF
                  (Against Dugaboy Investment Trust and Nancy Dondero)
           (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

        67.     Paragraph 67 of the Amended Complaint is a sentence of incorporation that does

 not require a response. All prior responses are incorporated herein by reference.




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        68.     This claim is only asserted against Defendants Dugaboy Investment Trust and

 Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

        69.     This claim is only asserted against Defendants Dugaboy Investment Trust and

 Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

        70.     Paragraph 70 of the Amended Complaint states a legal conclusion that does not

 require a response and is therefore denied.

                               SIXTH CLAIM FOR RELIEF
                   (Against Dugaboy Investment Trust and Nancy Dondero)
                                 (Breach of Fiduciary Duty)

        71.     Paragraph 71 of the Amended Complaint is a sentence of incorporation that does

 not require a response. All prior responses are incorporated herein by reference.

        72.     This claim is only asserted against Defendants Dugaboy Investment Trust and

 Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

        73.     This claim is only asserted against Defendants Dugaboy Investment Trust and

 Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

        74.     This claim is only asserted against Defendants Dugaboy Investment Trust and

 Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

                              SEVENTH CLAIM FOR RELIEF
                         (Against James Dondero and Nancy Dondero)
                       (Aiding and Abetting a Breach of Fiduciary Duty)

        75.     Paragraph 75 of the Amended Complaint is a sentence of incorporation that does

 not require a response. All prior responses are incorporated herein by reference.

        76.     This claim is only asserted against Defendants James Dondero and Nancy

 Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

        77.     This claim is only asserted against Defendants James Dondero and Nancy

 Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

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         78.      This claim is only asserted against Defendants James Dondero and Nancy

 Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

         79.      This claim is only asserted against Defendants James Dondero and Nancy

 Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

         Defendant NexPoint denies that the Plaintiff is entitled to the relief requested in the

 prayer, including as to parts (i), (ii), (iii), (iv), (v), (vi), (vii) and (iii) [sic].

                                       AFFIRMATIVE DEFENSES

         80.      Pursuant to that certain Shared Services Agreement, the Plaintiff was responsible

 for making payments on behalf of the Defendant under the note. Any alleged default under the

 note was the result of the Plaintiff’s own negligence, misconduct, breach of contract, etc.

         81.      Delay in the performance of a contract is excused when the party who seeks to

 enforce the contract caused the delay. It was therefore inappropriate for the Plaintiff to accelerate

 the note when the brief delay in payment was the Plaintiff’s own fault.

         82.      Furthermore, the Plaintiff has waived the right to accelerate the note and /or the

 Plaintiff is estopped to enforce the alleged acceleration by accepting payment after the same.

         83.      Furthermore, the Plaintiff’s claims are barred in whole or in part because, prior to

 any alleged breach or acceleration, the Plaintiff agreed that it would not collect on the note upon

 fulfilment of certain conditions subsequent. Specifically, sometime between December of the

 year in which each Note was made and February of the following year, Defendant Nancy

 Dondero, as representative for a majority of the Class A shareholders of Plaintiff agreed that

 Plaintiff would forgive the Notes if certain portfolio companies were sold for greater than cost or

 on a basis outside of Defendant James Dondero’s control. This agreement setting forth the

 conditions subsequent to demands for payment on the Notes was an oral agreement; however,

 Defendant NexPoint believes there may be testimony or email correspondence that discusses the

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 existence of this agreement that may be uncovered through discovery in this Adversary

 Proceeding.

        84.     Defendant NexPoint asserts that any fraudulent transfer claim is barred because

 NexPoint acted in good faith, without knowledge of any alleged avoidability, and because

 reasonably equivalent value was provided for any alleged transfer or obligation.

        85.     Defendant NexPoint asserts that any fraudulent transfer claim is barred because

 no transferor or transferee, or obligor or obligee, was insolvent.

        86.     To the extent of any avoidance, NexPoint asserts a lien under 11 U.S.C. § 548(c)

 to the extent that NexPoint gave value, and a similar preference lien under any applicable

 provision of the Texas Uniform Fraudulent Transfer Act.

                                          JURY DEMAND

        87.     Defendant NexPoint demands a trial by jury of all issues so triable pursuant to

 Rule 38 of the Federal Rules of Civil Procedure and Rule 9015 of the Federal Rules of

 Bankruptcy Procedure.

        88.     Defendant NexPoint does not consent to the Bankruptcy Court conducting a jury

 trial and therefore demands a jury trial in the District Court.

                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant NexPoint respectfully requests

 that, following a trial on the merits, the Court enter a judgment that the Plaintiff take nothing on

 the Amended Complaint and provide Defendant NexPoint such other relief to which it is entitled.




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          RESPECTFULLY SUBMITTED this 1st day of September, 2021.

                                            MUNSCH HARDT KOPF & HARR, P.C.

                                            By: /s/ Davor Rukavina
                                                 Davor Rukavina, Esq.
                                                 Texas Bar No. 24030781
                                                 Julian P. Vasek, Esq.
                                                 Texas Bar No. 24070790
                                                 3800 Ross Tower
                                                 500 N. Akard Street
                                                 Dallas, Texas 75201-6659
                                                 Telephone: (214) 855-7500
                                                 Facsimile: (214) 855-7584
                                                  Email: drukavina@munsch.com

                                            COUNSEL FOR NEXPOINT ADVISORS, L.P.




                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of
 this document was served via the Court’s CM/ECF system on counsel for the Plaintiff.

                                                    /s/ Davor Rukavina
                                                    Davor Rukavina




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· ·   · · · ·FOR THE NORTHERN DISTRICT OF TEXAS
·3·   · · · · · · · ·DALLAS DIVISION
· ·   ·-----------------------------
·4·   ·IN RE:

·5·   · · · · · · · · · · · · · · ·Chapter 11
· ·   ·HIGHLAND CAPITAL
·6·   ·MANAGEMENT, L.P.,· · · · · ·CASE NO.
· ·   · · · · · · · · · · · · · · ·19-34054-SGI11
·7
· ·   · · · · · · Debtor.
·8·   ·------------------------------
· ·   ·HIGHLAND CAPITAL MANAGEMENT, L.P.,
·9
· ·   · · · · · · Plaintiff,
10·   ·vs.· · · · · · · · · · · · · · · Adversary
· ·   · · · · · · · · · · · · · · · · ·Proceeding No.
11·   ·HIGHLAND CAPITAL MANAGEMENT· · · 21-03000-SGI
· ·   ·FUND ADVISORS, L.P.; NEXPOINT
12·   ·ADVISORS, L.P.; HIGHLAND
· ·   ·INCOME FUND; NEXPOINT
13·   ·STRATEGIC OPPORTUNITIES FUND;
· ·   ·NEXPOINT CAPITAL, INC.; and
14·   ·CLO HOLDCO, LTD.,

15· · · · · · · Defendants.
· · ·-------------------------------
16

17· · · · · · ·REMOTE VIDEOTAPED DEPOSITION OF

18· · · · · · · · · FRANK WATERHOUSE

19· · · · · · · · ·October 19, 2021

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24· ·Reported by:· Susan S. Klinger, RMR-CRR, CSR

25· ·Job No: 201195


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·2
·3
·4· · · · · · · · · · · October 19, 2021
·5· · · · · · · · · · · 9:30 a.m.
·6
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·8
·9· · · · Remote Deposition of FRANK WATERHOUSE,
10· ·held before Susan S. Klinger, a Registered
11· ·Merit Reporter and Certified Realtime Reporter
12· ·of the State of Texas.
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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·A P P E A R A N C E S:
·3· ·(All appearances via Zoom.)
·4· ·Attorneys for the Reorganized Highland Capital
·5· ·Management:
·6· · · · John Morris, Esq.
·7· · · · Hayley Winograd, Esq.
·8· · · · PACHULSKI STANG ZIEHL & JONES
·9· · · · 780 Third Avenue
10· · · · New York, New York· 10017
11· ·Attorneys for the Witness:
12· · · · Debra Dandeneau, Esq.
13· · · · Michelle Hartmann, Esq.
14· · · · BAKER McKENZIE
15· · · · 1900 North Pearl Street
16· · · · Dallas, Texas· 75201
17· ·Attorneys for NexPoint Advisors, LP and
18· ·Highland Capital Management Fund Advisors,
19· ·L.P.:
20· · · · Davor Rukavina, Esq.
21· · · · An Nguyen, Esq.
22· · · · MUNSCH HARDT KOPF & HARDD
23· · · · 500 North Akard Street
24· · · · Dallas, Texas· 75201-6659
25


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Attorneys for Jim Dondero, Nancy Dondero, HCRA,
·3· ·and HCMS:
·4· · · · Deborah Deitsch-Perez, Esq.
·5· · · · Michael Aigen, Esq.
·6· · · · STINSON
·7· · · · 3102 Oak Lawn Avenue
·8· · · · Dallas, Texas· 75219
·9
10· ·Attorneys for Dugaboy Investment Trust:
11· · · · Warren Horn, Esq.
12· · · · HELLER, DRAPER & HORN
13· · · · 650 Poydras Street
14· · · · New Orleans, Louisiana 70130
15
16· ·Attorneys for Marc Kirschner as the trustee for
17· ·the litigation SunTrust:
18· · · · Deborah Newman, Esq.
19· · · · QUINN EMANUEL URQUHART & SULLIVAN
20· · · · 51 Madison Avenue
21· · · · New York, New York· 10010
22
23· ·Also Present:
24· · · · Ms. La Asia Canty
25


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·2· · · · · ·P R O C E E D I N G S
·3· · · · ·VIDEOGRAPHER:· Good morning,
·4· ·Counselors.· My name is Scott Hatch.· I'm a
·5· ·certified legal videographer in association
·6· ·with TSG Reporting, Inc.
·7· · · · ·Due to the severity of COVID-19 and
·8· ·following the practice of social
·9· ·distancing, I will not be in the same room
10· ·with the witness.· Instead, I will record
11· ·this videotaped deposition remotely.· The
12· ·reporter, Susan Klinger, also will not be
13· ·in the same room and will swear the witness
14· ·remotely.
15· · · · ·Do all parties stipulate to the
16· ·validity of this video recording and remote
17· ·swearing, and that it will be admissible in
18· ·the courtroom as if it had been taken
19· ·following Rule 30 of the Federal Rules of
20· ·Civil Procedures and the state's rules
21· ·where this case is pending?
22· · · · ·MR. HORN:· Yes.
23· · · · ·MS. DANDENEAU:· Yes.
24· · · · ·MR. MORRIS:· Yes.· John Morris.                 I
25· ·would just try to do a negative notice


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·2· ·here, as we did yesterday.· If anybody has
·3· ·a problem with what was just stated, can
·4· ·you state your objection now?
·5· · · · ·Okay.· No response, so everybody
·6· ·accepts the stipulation and the instruction
·7· ·that was just given.
·8· · · · ·VIDEOGRAPHER:· Thank you.· This is
·9· ·the start of media labeled Number 1 of the
10· ·video recorded deposition of Frank
11· ·Waterhouse In Re: Highland Capital
12· ·Management, L.P., in the United States
13· ·Bankruptcy Court for the Northern District
14· ·of Texas, Dallas Division, Case Number
15· ·21-03000-SGI.
16· · · · ·This deposition is being held via
17· ·video conference with participants
18· ·appearing remotely due to COVID-19
19· ·restrictions on Tuesday, October 19th, 2021
20· ·at approximately 9:32 a.m.· My name is
21· ·Scott Hatch, legal video specialist with
22· ·TSG Reporting, Inc. headquartered at 228
23· ·East 45th Street, New York, New York.· The
24· ·court reporter is Susan Klinger in
25· ·association with TSG Reporting.


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·1· · · · · ·WATERHOUSE - 10-19-21
·2· · · · ·Counsel, please introduce
·3· ·yourselves.
·4· · · · ·MR. MORRIS:· John Morris, Pachulski
·5· ·Stang Ziehl & Jones for the reorganized
·6· ·Highland Capital Management, L.P., the
·7· ·plaintiff in these actions.
·8· · · · ·MS. DANDENEAU:· Deborah Dandeneau
·9· ·from Baker McKenzie.· My partner, Michelle
10· ·Hartmann, is also in the room with me,
11· ·representing Frank Waterhouse individually.
12· · · · ·MS. DEITSCH-PEREZ:· Deborah
13· ·Deitsch-Perez from Stinson, LLP,
14· ·representing Jim Dondero, Nancy Dondero,
15· ·HCRA, and HCMS.
16· · · · ·MR. HORN:· Warren Horn with Heller,
17· ·Draper & Horn in New Orleans representing
18· ·Dugaboy Investment Trust.
19· · · · ·MR. RUKAVINA:· Davor Rukavina with
20· ·Munsch Hardt Kopf & Harr in Dallas
21· ·representing NexPoint Advisors, LP and
22· ·Highland Capital Management Fund Advisors,
23· ·L.P.
24· · · · ·MR. AIGEN:· Michael Aigen from
25· ·Stinson, and I represent the same parties


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·2· · · · as Deborah Deitsch-Perez.
·3· · · · · · · MS. NEWMAN:· This is Deborah Newman
·4· · · · from Quinn Emanuel.· We represent the
·5· · · · litigation -- Marc Kirschner as the trustee
·6· · · · for the litigation SunTrust.
·7· · · · · · · MR. MORRIS:· I think that is
·8· · · · everybody.
·9· · · · · · · VIDEOGRAPHER:· Thank you.· Will the
10· · · · court reporter please swear in the witness.
11· · · · · · · · · FRANK WATERHOUSE,
12· ·having been first duly sworn, testified as
13· ·follows:
14· · · · · · · · · · ·EXAMINATION
15· ·BY MR. MORRIS:
16· · · · Q.· · Please state your name for the
17· ·record.
18· · · · A.· · My name is Frank Waterhouse.
19· · · · Q.· · Good morning, Mr. Waterhouse.· I'm
20· ·John Morris, as you know, from Pachulski Stang
21· ·Ziehl & Jones.· You understand that my firm and
22· ·I represent Highland Capital Management, L.P.;
23· ·is that right?
24· · · · A.· · Yes.
25· · · · Q.· · Okay.· And do you understand that


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·we're here today for your deposition in your
·3· ·individual capacity?
·4· · · · A.· · Yes.
·5· · · · Q.· · Did you review and -- did you
·6· ·receive and review a subpoena that Highland
·7· ·Capital Management, L.P., served upon you?
·8· · · · A.· · Yes.
·9· · · · Q.· · You have been deposed before; right?
10· · · · A.· · Yes.
11· · · · Q.· · How many times have you been
12· ·deposed?
13· · · · A.· · About three or four times.
14· · · · Q.· · Okay.· And I defended you in one
15· ·deposition; isn't that right?
16· · · · A.· · That is correct.
17· · · · Q.· · So the general ground rules for this
18· ·deposition are largely the same as the
19· ·depositions you have given before.· And that is
20· ·I will ask you a series of questions, and it is
21· ·important that you allow me to finish my
22· ·question before you begin your answer; is that
23· ·fair?
24· · · · A.· · Yes.
25· · · · Q.· · And it is important that I allow you


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·2· ·to finish your answers before I begin a
·3· ·question, but if I fail to do that, will you
·4· ·let me know?
·5· · · · A.· · I can certainly do that.
·6· · · · Q.· · Okay.· Do you understand that this
·7· ·deposition is being videotaped?
·8· · · · A.· · Yes.
·9· · · · Q.· · You understand that I may seek to
10· ·use portions of the videotape in a court of
11· ·law?
12· · · · A.· · I did not know that, until you just
13· ·said that.
14· · · · Q.· · Okay.· And you are aware of that now
15· ·before the deposition begins substantively; is
16· ·that right?
17· · · · A.· · Yes.
18· · · · Q.· · So unlike I think the other
19· ·depositions that you have given, this one is
20· ·being given remotely.· So that presents some
21· ·unique challenges, at least as compared to a
22· ·deposition that is taken in-person.
23· · · · · · · From time to time we're going to put
24· ·documents up on the screen, Mr. Waterhouse.
25· ·And it is important that I give you the


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·2· ·opportunity to review any portion of the
·3· ·document that you think you need in order to
·4· ·fully and completely answer the question.
·5· · · · · · · So I would ask you to let me know if
·6· ·there is a portion of a document that you need
·7· ·to see in order to fully and completely answer
·8· ·the question.· Can you do that for me?
·9· · · · A.· · Yes.
10· · · · · · · MS. DANDENEAU:· Mr. Morris, I would
11· · · · just note that we do have hard copies of
12· · · · the documents that you sent, so if you can
13· · · · just refer to the exhibit number as
14· · · · reflected in the documents that you sent,
15· · · · Mr. Waterhouse will be able to look at the
16· · · · hard copies of those documents.
17· · · · · · · MR. MORRIS:· I appreciate that,
18· · · · and -- and I will encourage him to do so.
19· · · · There will be other documents that we did
20· · · · not send to you that we'll be using today
21· · · · though.
22· · · · Q.· · Okay.· With that as background, if
23· ·there is anything that I ask you, sir, that you
24· ·don't understand, will you let me know?
25· · · · A.· · Yes.


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·2· · · · Q.· · Okay.· Are you currently employed?
·3· · · · A.· · Yes.
·4· · · · Q.· · By whom?
·5· · · · A.· · The Skyview Group.
·6· · · · Q.· · When did you become employed by the
·7· ·Skyview Group?
·8· · · · A.· · I believe March 1st of 2021.
·9· · · · Q.· · Do you have a title at Skyview?
10· · · · A.· · Yes.
11· · · · Q.· · What is your title?
12· · · · A.· · My title is chief financial officer.
13· · · · Q.· · Do you report to anybody in your
14· ·role as CFO?
15· · · · A.· · I don't, no.
16· · · · Q.· · No.· Is there a president or a CEO
17· ·of Skyview?
18· · · · A.· · Yes.
19· · · · Q.· · Who is that?
20· · · · A.· · That is Scott Ellington.
21· · · · Q.· · But you don't report to
22· ·Mr. Ellington; is that right?
23· · · · A.· · I don't think so.
24· · · · Q.· · Does Skyview Group --
25· · · · · · · MS. DANDENEAU:· Excuse me, we --


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·2· · · · A.· · I -- I -- I might.· I just -- I
·3· ·don't recall.
·4· · · · Q.· · Okay.· Does Skyview Group provide
·5· ·any services to any entity directly or
·6· ·indirectly owned or controlled by Jim Dondero?
·7· · · · A.· · Yes.
·8· · · · Q.· · Can you name -- is that pursuant to
·9· ·written contracts?
10· · · · A.· · Yes.
11· · · · Q.· · And do you know how many contracts
12· ·exist?
13· · · · A.· · Approximately six or so.
14· · · · Q.· · And is the Skyview Group made up of
15· ·individuals who were formerly employees of
16· ·Highland Capital Management, L.P.?
17· · · · A.· · No.
18· · · · Q.· · Do you know how many -- how many --
19· ·how many employees does Skyview have?
20· · · · A.· · Approximately 35.
21· · · · Q.· · And can you tell me how many of
22· ·those 35 are former officers, directors, or
23· ·employees of Highland Capital Management, L.P.?
24· · · · A.· · I don't know the exact number.
25· · · · Q.· · Is it more than 20?


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·2· · · · A.· · Yes.
·3· · · · Q.· · Is it more than 30?
·4· · · · A.· · I don't know.
·5· · · · Q.· · Can you tell me what portion of
·6· ·Skyview -- Skyview's revenue is derived from
·7· ·entities that are directly or indirectly owned
·8· ·or controlled by Jim Dondero?
·9· · · · · · · MS. DANDENEAU:· Mr. Morris, I mean,
10· · · · you called Mr. Waterhouse here individually
11· · · · for purposes of his testimony in connection
12· · · · with the noticed litigation.· I have given
13· · · · you some leeway to ask him some background
14· · · · information about Skyview Group, but this
15· · · · is not a substitute for a deposition in
16· · · · connection with any other pending disputes
17· · · · that exist.· And -- and we agreed to accept
18· · · · the subpoena on the basis of he -- this is
19· · · · testimony that he is giving in connection
20· · · · with the noticed litigation.
21· · · · · · · I really think that you are now
22· · · · going a little bit far afield from the
23· · · · purpose of this deposition.
24· · · · · · · MR. MORRIS:· Okay.· It is -- I'm not
25· · · · intending to use these -- the answers to


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·2· · · · these questions for any purpose other than
·3· · · · this litigation.· I think you understand
·4· · · · fully why I'm asking the questions, and I
·5· · · · just have a couple more, if you will bear
·6· · · · with me.
·7· · · · · · · MS. DANDENEAU:· Okay.
·8· · · · · · · MS. DEITSCH-PEREZ:· Can we have an
·9· · · · agreement that an objection by one is an
10· · · · objection for any other party here?
11· · · · · · · MR. MORRIS:· Sure.· I would -- I
12· · · · would encourage that, sure.
13· · · · · · · MS. DEITSCH-PEREZ:· Thank you.
14· · · · · · · MR. MORRIS:· It can't be sustained
15· · · · or overruled more than one time, so...
16· · · · Q.· · Mr. Waterhouse, can you answer my
17· ·question, please.
18· · · · · · · MS. DANDENEAU:· Do you want to
19· · · · repeat it, Mr. Morris, for his benefit?
20· · · · · · · MR. MORRIS:· Sure.
21· · · · Q.· · Can you -- can you tell me the
22· ·approximate portion of Skyview's revenue that
23· ·is derived from entities that are directly or
24· ·indirectly owned or controlled by Mr. Dondero?
25· · · · A.· · I don't know the exact number.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Is it more than 75 percent?
·3· · · · A.· · Yes.
·4· · · · Q.· · Is it more than 90 percent?
·5· · · · A.· · I don't know.
·6· · · · Q.· · Okay.· Can I refer to Highland
·7· ·Capital Management, L.P., as Highland?
·8· · · · A.· · Yes.
·9· · · · Q.· · All right.· And you previously
10· ·served as Highland's CFO; correct?
11· · · · A.· · Yes.
12· · · · Q.· · When did you join Highland?
13· · · · A.· · I don't recall the exact date.
14· · · · Q.· · Can you tell me what year?
15· · · · A.· · 2006.
16· · · · Q.· · When did you -- in what year did you
17· ·become Highland's CFO?
18· · · · A.· · I don't recall the exact date.
19· · · · Q.· · I'm not asking you for the exact
20· ·date.· I'm asking you if you recall the year in
21· ·which you were appointed CFO.
22· · · · A.· · I don't recall the exact year.
23· · · · Q.· · Can you tell me which years it is
24· ·possible that you were appointed to CFO of
25· ·Highland?


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·2· · · · A.· · 2011 or 2012.
·3· · · · Q.· · Did you serve as Highland's CFO on a
·4· ·continuous basis from in or around 2011 or 2012
·5· ·until early 2021?
·6· · · · A.· · Yes.
·7· · · · Q.· · During that entire time you reported
·8· ·directly to Jim Dondero; correct?
·9· · · · A.· · I -- I don't know.
10· · · · Q.· · Is there anybody else you reported
11· ·to -- withdrawn.
12· · · · · · · Did you report to Mr. Dondero for
13· ·some portion of the time that you served as
14· ·CFO?
15· · · · A.· · Yes.
16· · · · Q.· · Is there a portion of time that you
17· ·don't recall who you reported to?
18· · · · A.· · Yes.
19· · · · Q.· · What portion of time do you have in
20· ·your mind when you can't recall who you
21· ·reported to?
22· · · · A.· · From the 2011 to -- for
23· ·approximately a year or two.
24· · · · Q.· · Okay.· So is it fair to say that you
25· ·reported to Mr. Dondero in your capacity as CFO


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·2· ·from at least 2014 until the time you left
·3· ·Highland?
·4· · · · · · · MS. DANDENEAU:· Objection to form.
·5· · · · A.· · I don't want to speculate the exact
·6· ·or what year that changed or -- so I would like
·7· ·to stick with my testimony.
·8· · · · Q.· · Can you recall when you began
·9· ·reporting to Mr. Dondero?
10· · · · A.· · I don't recall.
11· · · · Q.· · Can you -- can you give me an
12· ·estimate of what year you think you might have
13· ·began reporting to Mr. Dondero?
14· · · · A.· · I will go back to my prior
15· ·testimony.
16· · · · Q.· · Okay.· There is no -- you have no
17· ·ability to tell me when you began reporting to
18· ·Mr. Dondero.
19· · · · · · · Do I have that right?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · I don't recall.
22· · · · Q.· · Okay.· Do you recall who you might
23· ·have reported to before you began reporting to
24· ·Mr. Dondero?
25· · · · A.· · Yes.


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·2· · · · Q.· · Who might you have reported to in
·3· ·your capacity as CFO before you started
·4· ·reporting to Mr. Dondero?
·5· · · · A.· · That would have been Patrick Boyce.
·6· · · · Q.· · Are you aware that Highland filed
·7· ·for bankruptcy on October 19th, 2019?
·8· · · · A.· · Yes.
·9· · · · Q.· · And we refer to that as the petition
10· ·date?
11· · · · A.· · Yes.
12· · · · Q.· · Okay.· Do you hold any professional
13· ·licenses, sir?
14· · · · A.· · Yes.
15· · · · Q.· · Can you tell me what professional
16· ·licenses you hold?
17· · · · A.· · I'm a certified public accountant.
18· · · · Q.· · Okay.· Anything else?
19· · · · A.· · No.
20· · · · Q.· · Do you have any other professional
21· ·licenses or certificates?
22· · · · A.· · When you say "professional license,"
23· ·that is not education?
24· · · · Q.· · Tell me -- sure.· Anything other
25· ·than a driver's license.


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·2· · · · · · · Do you have any other license or
·3· ·certificate or certification?
·4· · · · A.· · Are you asking, like, where I went
·5· ·to school and the --
·6· · · · Q.· · I am not.· I am not.· I didn't say
·7· ·education.· I didn't ask about degrees.
·8· · · · · · · Do you know what a license is?
·9· · · · A.· · Well, yeah, I mean, a license is
10· ·something you get after you receive a certain
11· ·level of proficiency.
12· · · · Q.· · Do you have any licenses or
13· ·certifications other than your CPA?
14· · · · · · · MS. DANDENEAU:· Objection, form.
15· · · · · · · I assume you mean professional
16· · · · licenses, Mr. Morris; correct?
17· · · · Q.· · Can you answer my question, sir?
18· · · · A.· · Mr. Morris, I'm thinking.                     I
19· ·don't -- I don't think I have any others.
20· · · · Q.· · Are you familiar with an entity
21· ·called Highland Capital Management Fund
22· ·Advisors?
23· · · · A.· · Yes.
24· · · · Q.· · Were you ever -- can we refer to
25· ·that entity as HCMFA?


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·2· · · · A.· · Yes.
·3· · · · Q.· · Were you ever employed by HCMFA?
·4· · · · A.· · Not that I recall.
·5· · · · Q.· · Were you ever -- did you ever hold
·6· ·the title of an officer or director of HCMFA?
·7· · · · A.· · Yes.
·8· · · · Q.· · What title did you hold?
·9· · · · A.· · Treasurer.
10· · · · Q.· · When did you become the treasurer of
11· ·HCMFA?
12· · · · A.· · I don't recall.
13· · · · Q.· · Can you tell me the year?
14· · · · A.· · I don't -- I don't know the year.
15· · · · Q.· · Can you approximate the year in
16· ·which you became the treasurer of HCMFA?
17· · · · A.· · I don't know.
18· · · · Q.· · Can you tell me if it was before or
19· ·after 2016?
20· · · · A.· · I don't recall.
21· · · · Q.· · Are you still the -- do you know if
22· ·you're still the treasurer of HCMFA today?
23· · · · A.· · Today, I am the acting treasurer for
24· ·HCMFA.
25· · · · Q.· · Is there a distinction between


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·2· ·treasurer and acting treasurer?
·3· · · · A.· · I said "acting treasurer" as I am an
·4· ·employee of Skyview, as you previously
·5· ·stated -- or asked.
·6· · · · Q.· · But you are the treasurer of HCMFA
·7· ·today; correct?
·8· · · · A.· · I am -- I am the acting treasurer
·9· ·for HCMFA.
10· · · · Q.· · How did you become the treasurer of
11· ·HCMFA?
12· · · · A.· · Are you asking how I became the
13· ·treasurer of HCMFA today?
14· · · · Q.· · How did you become appointed to
15· ·serve as the treasurer of HCMFA?
16· · · · A.· · Well, in -- in -- in what time
17· ·capacity?
18· · · · Q.· · The first time that you were
19· ·appointed.
20· · · · A.· · First time.· I believe I was asked
21· ·to serve as treasurer for HCMFA the first time.
22· · · · Q.· · By who?· Who asked you to do that?
23· · · · A.· · I don't recall.
24· · · · Q.· · Is there anything that would refresh
25· ·your recollection as to who appointed you as


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·2· ·the treasurer of CF- -- HCMFA for the first
·3· ·time?
·4· · · · A.· · I don't -- I mean, there would be
·5· ·some documents, some legal documents.· I don't
·6· ·know where those are.
·7· · · · Q.· · How many times have you been
·8· ·appointed the treasurer of HCMFA?
·9· · · · A.· · I don't know.
10· · · · Q.· · Was it more than once?
11· · · · A.· · I don't know.
12· · · · Q.· · Can you tell me any period of time
13· ·since 2016 that you did not hold the title of
14· ·treasurer of HCMFA?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · A.· · I don't recall.
17· · · · Q.· · What are your duties and
18· ·responsibilities as the treasurer of HCMFA?
19· · · · A.· · My duties are to do the best job
20· ·that I can as the -- as an accountant and
21· ·finance guy.
22· · · · Q.· · What specific duties and
23· ·responsibilities do you have as the treasurer
24· ·of HCMFA?
25· · · · A.· · My duties are to do the best job


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·2· ·that I can as the accounting and finance person
·3· ·for HCMFA.
·4· · · · Q.· · As the accounting and finance person
·5· ·for HCMFA, do you have any particular areas of
·6· ·responsibility?
·7· · · · A.· · Yeah, it is to manage the accounting
·8· ·and finance function for HCMFA.
·9· · · · Q.· · Would that include -- do you have
10· ·responsibility for overseeing HCMFA's annual
11· ·audit?
12· · · · A.· · Can I please elaborate on my prior
13· ·question?
14· · · · Q.· · Of course.· You -- you are giving
15· ·answers.· I'm asking questions.
16· · · · A.· · Okay.· Yes, so the -- it -- like I
17· ·said, it is to manage the accounting finance
18· ·aspect, but I am, as we discussed, the
19· ·treasurer.· That is -- being treasurer is what
20· ·gives me that -- that management function.
21· · · · Q.· · Does anybody report to you in your
22· ·capacity as treasurer of HCMFA?
23· · · · A.· · I don't believe so.
24· · · · Q.· · Does HCMFA have a chief financial
25· ·officer?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't -- I don't know.
·3· · · · Q.· · You don't know?
·4· · · · · · · You're the treasurer of HCMFA but
·5· ·you don't know if HCMFA has a chief financial
·6· ·officer.
·7· · · · · · · Do I have that right?
·8· · · · A.· · That's right.
·9· · · · Q.· · Okay.· Have you heard of a company
10· ·called NexPoint Advisors?
11· · · · A.· · Yes.
12· · · · Q.· · We will refer to that as NexPoint.
13· ·Okay?
14· · · · A.· · Okay.
15· · · · Q.· · Were you ever employed by NexPoint?
16· · · · A.· · I don't recall.
17· · · · Q.· · Did you ever hold any title with
18· ·respect to the entity known as NexPoint?
19· · · · A.· · Yes.
20· · · · Q.· · What titles have you held in
21· ·relation to NexPoint?
22· · · · A.· · Treasurer.· I think it was only
23· ·treasurer.
24· · · · Q.· · Can you tell me the approximate year
25· ·you became the treasurer of NexPoint?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't know.
·3· · · · Q.· · Are you still the treasurer of
·4· ·NexPoint today?
·5· · · · A.· · I am the acting treasurer for
·6· ·NexPoint.
·7· · · · Q.· · When did your title change from
·8· ·treasurer to acting treasurer?
·9· · · · A.· · I don't know.
10· · · · Q.· · Did your duties and responsibilities
11· ·change at all when your title was changed from
12· ·treasurer to acting treasurer?
13· · · · A.· · I don't -- I don't believe so.
14· · · · Q.· · Why did --
15· · · · A.· · I still manage the finance and
16· ·accounting function for NexPoint.
17· · · · Q.· · Why did your title change from
18· ·treasurer to acting treasurer?
19· · · · A.· · I don't -- I'm using the term
20· ·"acting treasurer" as I'm a Skyview employee.
21· ·I don't -- I don't know -- again, I am a -- as
22· ·I am the Skyview employee.
23· · · · Q.· · Okay.
24· · · · A.· · And we -- we provide officer
25· ·services.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And you serve as an officer of
·3· ·HCMFA; correct?
·4· · · · A.· · I think we went over that with my
·5· ·testimony.· Yes, I'm the acting treasurer for
·6· ·HCMFA.
·7· · · · Q.· · And you are an officer of NexPoint;
·8· ·correct?
·9· · · · A.· · I think -- I am the acting treasurer
10· ·for NexPoint Advisors.
11· · · · Q.· · And -- and who appointed you acting
12· ·treasurer of NexPoint Advisors?
13· · · · A.· · I don't recall specifically.
14· · · · Q.· · Do you have any recollection of who
15· ·might have appointed you the treasurer of
16· ·NexPoint?
17· · · · A.· · I mean, it -- it -- I don't recall
18· ·exactly who it was.
19· · · · Q.· · Who were the possibilities?
20· · · · · · · MS. DEITSCH-PEREZ:· Object to the
21· · · · form.
22· · · · Q.· · You can answer.
23· · · · A.· · Someone in the legal group for
24· ·NexPoint.· The other officers as well.
25· · · · Q.· · Have you heard of a company called


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Highland Capital Management Services, Inc.?
·3· · · · A.· · Yes.
·4· · · · Q.· · We will refer to that as HCMS.
·5· ·Okay?
·6· · · · A.· · HCMS.· Okay.
·7· · · · Q.· · Were you ever employed by HCMS?
·8· · · · A.· · No.
·9· · · · Q.· · Have you ever held any titles in
10· ·relation to HCMF -- I apologize -- HCMS?
11· · · · A.· · Yes.
12· · · · Q.· · What titles have you held in
13· ·relation to HCMS?
14· · · · A.· · Treasurer and acting treasurer.
15· · · · Q.· · When did you first become treasurer
16· ·or acting treasurer of HCMS?
17· · · · A.· · I don't recall the exact dates.
18· · · · Q.· · Can you recall -- can you
19· ·approximate the year that you became the
20· ·treasurer of HCMS?
21· · · · A.· · I don't -- I don't know.
22· · · · Q.· · Are you still the treasurer of HCMS
23· ·today?
24· · · · A.· · I am the acting treasurer for HCMS.
25· · · · Q.· · And are your duties and


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·2· ·responsibilities as the acting treasurer for
·3· ·HCMS and the acting treasurer for NexPoint the
·4· ·same as your duties and responsibilities in
·5· ·your role as the acting treasurer of HCMFA?
·6· · · · A.· · More or less.
·7· · · · Q.· · Have you ever heard of a company
·8· ·called HCRE Partners, LLC?
·9· · · · A.· · Yes.
10· · · · Q.· · And do you understand that that
11· ·entity is now known today as NexPoint Real
12· ·Estate Partners?
13· · · · A.· · I did not know that.
14· · · · Q.· · All right.· Can we refer to HCRE
15· ·Partners as HCRE?
16· · · · · · · MS. DANDENEAU:· Objection to form.
17· · · · · · · Did you mean NexPoint Real Estate
18· · · · Partners, Mr. Morris?
19· · · · · · · MR. MORRIS:· No.
20· · · · · · · MS. DANDENEAU:· Oh.
21· · · · · · · MR. MORRIS:· He said he wasn't
22· · · · familiar that it was succeeded by that
23· · · · entity.· So --
24· · · · · · · MS. DANDENEAU:· Okay.
25· · · · · · · MR. MORRIS:· -- let's go with what


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · the witness knows.
·3· · · · Q.· · You're familiar with an entity
·4· ·called HCRE Partners, LLC; correct?
·5· · · · A.· · Yes.
·6· · · · Q.· · Okay.· So that is the entity that we
·7· ·will refer to as HCRE.· If you're aware of any
·8· ·successor, that is great.· If not, let's just
·9· ·define it as such.
10· · · · · · · Have you ever been employed by HCRE
11· ·or any entity that you know to have succeeded
12· ·HCRE?
13· · · · A.· · No.
14· · · · Q.· · Did you ever serve as an officer or
15· ·director of HCRE or any successor?
16· · · · A.· · Not that I recall.
17· · · · Q.· · Okay.· Can we refer to NexPoint and
18· ·HCMFA as the advisors?
19· · · · A.· · Yes.
20· · · · Q.· · In general, the advisors provided
21· ·investment advisory services to certain retail
22· ·funds; correct?
23· · · · A.· · Yes.
24· · · · Q.· · And we will refer to the retail
25· ·funds that are served by the advisors


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·collectively as the retail funds; is that okay?
·3· · · · A.· · Okay.
·4· · · · Q.· · Each of the retail funds is governed
·5· ·by a board; correct?
·6· · · · A.· · Yes.
·7· · · · Q.· · And do you know the people who serve
·8· ·on the boards of the retail funds?
·9· · · · · · · MS. DANDENEAU:· Objection to form.
10· · · · A.· · I don't know all of them.
11· · · · Q.· · Do you know whether the same people
12· ·serve on the board of each of the retail funds
13· ·as we've defined that term?
14· · · · A.· · Which -- so when you say "retail
15· ·funds" -- again, I want to be -- what retail
16· ·funds are you referring to, because there are
17· ·-- there are several distinctions?
18· · · · · · · What retail funds are you using when
19· ·you refer to them?
20· · · · Q.· · That is why -- that is why I tried
21· ·to define the terms.· So let me do it again.
22· · · · · · · Retail funds for the purposes of
23· ·this deposition means any retail fund to which
24· ·either of the advisors provides advisory
25· ·services.· Okay?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Okay.
·3· · · · Q.· · Okay.· So do you know whether the
·4· ·same people serve on the board of each of the
·5· ·retail funds?
·6· · · · A.· · I don't know.
·7· · · · Q.· · Were you ever employed by any of the
·8· ·retail funds?
·9· · · · A.· · No.
10· · · · Q.· · No?
11· · · · A.· · No.
12· · · · Q.· · Okay.· Do you have any title with
13· ·respect to any of the retail funds?
14· · · · A.· · Yes.
15· · · · Q.· · What titles do you hold --
16· ·withdrawn.
17· · · · · · · Do you have the same titles with
18· ·respect to all of the retail funds or do
19· ·they -- or just something else?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · Q.· · Withdrawn.
22· · · · · · · Do you have the same title with
23· ·respect to each of the retail funds?
24· · · · A.· · No.
25· · · · Q.· · Tell me which title you have with


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·respect to each retail fund.
·3· · · · · · · Actually, let's do it a different
·4· ·way.· I withdraw the question.
·5· · · · · · · Can you give me one title you have
·6· ·in relation to any retail fund?
·7· · · · A.· · Yes.
·8· · · · Q.· · What title -- what title can you
·9· ·give me?
10· · · · A.· · Principal executive officer.
11· · · · Q.· · Do you serve as principal executive
12· ·officer for each of the retail funds?
13· · · · A.· · No.
14· · · · Q.· · Can you identify for me the retail
15· ·funds in which you serve as the principal
16· ·executive officer?
17· · · · A.· · Yes.· Highland Funds 1, Highland
18· ·Funds 2, Highland Income Fund, Highland Global
19· ·Allocation Fund.
20· · · · Q.· · I'm sorry, you said "Global
21· ·Allocation Fund"?
22· · · · A.· · Yes.
23· · · · · · · VIDEOGRAPHER:· Excuse me,
24· · · · Mr. Morris.· This is the videographer.· I'm
25· · · · concerned about the lighting in the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · witness' camera.
·3· · · · · · · Do you want to go off the record and
·4· · · · make some adjustments?
·5· · · · · · · MR. MORRIS:· Sure, but just for this
·6· · · · purpose.· I don't want to take a break.· We
·7· · · · just started.
·8· · · · · · · MS. DANDENEAU:· Yeah, that is fine.
·9· · · · That is fine.· We're going to put you on
10· · · · mute.
11· · · · · · · MR. MORRIS:· All right.
12· · · · · · · MS. DANDENEAU:· I'm going to try to
13· · · · open up some of the shades.
14· · · · · · · VIDEOGRAPHER:· We're going off the
15· · · · record at 10:08 a.m.
16· · · · (Recess taken 10:08 a.m. to 10:11 a.m.)
17· · · · · · · VIDEOGRAPHER:· We are back on the
18· · · · record at 10:11 a.m.
19· · · · Q.· · Mr. Waterhouse, when did you become
20· ·the principal executive officer of the four
21· ·retail funds that you just identified?
22· · · · A.· · I don't recall.
23· · · · Q.· · Do you recall the approximate year
24· ·that you became the principal executive officer
25· ·of the four funds?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · 2021.
·3· · · · Q.· · Did you ever hold any title with
·4· ·respect to any of the four funds you have just
·5· ·identified other than principal executive
·6· ·officer?
·7· · · · A.· · I don't recall.
·8· · · · Q.· · Is it possible that you held a
·9· ·position or a title with the four funds you
10· ·just identified prior to 2021?
11· · · · A.· · Yes.
12· · · · Q.· · But you don't recall if you did or
13· ·not; do I have that right?
14· · · · A.· · No.· You -- I thought you asked, did
15· ·I hold other titles.
16· · · · Q.· · Did you hold any title at the four
17· ·retail funds for which you now serve as
18· ·principal executive officer at any time prior
19· ·to 2021?
20· · · · A.· · Yes.
21· · · · Q.· · What titles did you hold?
22· · · · A.· · I don't recall all the titles.
23· · · · Q.· · Do you recall any of the titles?
24· · · · A.· · Yes.
25· · · · Q.· · What titles do you recall holding at


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·those four retail funds before 2021?
·3· · · · A.· · Principal executive officer.
·4· · · · Q.· · Were you the principal executive
·5· ·officer of the four retail funds that you have
·6· ·identified?
·7· · · · A.· · Sorry, could you repeat the
·8· ·question?
·9· · · · Q.· · Were you the principal executive
10· ·officer for each of the four retail funds that
11· ·you have identified?
12· · · · A.· · Yes.
13· · · · Q.· · When did you become the principal
14· ·executive -- withdrawn.
15· · · · · · · Can you give me the approximate year
16· ·that you became the principal executive officer
17· ·for each of the four retail funds you've
18· ·identified?
19· · · · A.· · I don't recall.
20· · · · Q.· · What are your duties and
21· ·responsibilities as the principal executive
22· ·officer of these four retail funds?
23· · · · A.· · It is to manage the finance and
24· ·accounting positions.
25· · · · Q.· · So at the same time you serve as the


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·2· ·treasurer of the advisors, you also serve as
·3· ·the principal executive officer of these four
·4· ·retail funds; correct?
·5· · · · A.· · Yes.
·6· · · · Q.· · Did you ever hold any title with
·7· ·respect to any other retail fund?
·8· · · · A.· · Not that I recall.
·9· · · · Q.· · During the period that you served as
10· ·Highland's CFO, from time to time Highland
11· ·loaned money to certain of its officers and
12· ·employees; correct?
13· · · · A.· · Yes.
14· · · · Q.· · During the period that you served as
15· ·Highland's CFO, from time to time Highland
16· ·loaned money to certain --
17· · · · A.· · Let me -- let me retract that,
18· ·sorry, that -- you asked during the time I was
19· ·CFO, Highland loaned moneys to employees.                       I
20· ·don't -- I don't recall that during my tenure
21· ·of CFO.
22· · · · Q.· · You have no recollection during the
23· ·time that you were the CFO of Highland of
24· ·Highland ever loaning any money to any officer
25· ·or director of Highland?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't recall during my tenure of
·3· ·Highland or my -- as CFO of Highland -- yeah,
·4· ·if there are any loans as CFO of Highland.
·5· · · · Q.· · I'm just talking about officers and
·6· ·employees right now.· You have no recollection
·7· ·of Highland ever making a loan to any of its
·8· ·officers or employees during the time that you
·9· ·served as CFO.· Do I have that right?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · So I thought you were saying
12· ·officers and employees as CFO, right, so there
13· ·were -- I mean, okay, yes.
14· · · · Q.· · I would ask you to listen carefully
15· ·to my question.· If I -- if I'm not clear, let
16· ·me know, but I'm really trying to be as clear
17· ·as I can.
18· · · · A.· · I'm listening as carefully as I can,
19· ·and you are asking very specific questions in a
20· ·timeline.· And I'm trying to answer your
21· ·questions as specifically as I can, and I
22· ·apologize if -- if I'm going back.· I am -- you
23· ·are asking very specific questions.· Thank you.
24· · · · Q.· · During the period that you served as
25· ·Highland's CFO, from time to time Highland


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·loaned money to certain corporate affiliates;
·3· ·correct?
·4· · · · · · · MS. DANDENEAU:· Objection to form.
·5· · · · A.· · What are corporate affiliates?
·6· · · · Q.· · How about the ones that are in
·7· ·Highland's audited financial statements under
·8· ·the section entitled Loans to Affiliates.· Why
·9· ·don't we start with those.· Do you have any
10· ·understanding of what the phrase "affiliates"
11· ·means?
12· · · · · · · MS. DANDENEAU:· Objection to form.
13· · · · A.· · I understand what affiliates are,
14· ·yet affiliates can have different meanings in
15· ·different contexts, so...
16· · · · Q.· · Why don't you -- why don't you tell
17· ·me what your understanding of the term
18· ·"affiliate" is in relation to Highland Capital
19· ·Management, L.P.
20· · · · A.· · Is that a -- it depends on the
21· ·context.
22· · · · Q.· · How about the context of making
23· ·loans?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · I didn't make the determination of


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·who an affiliate was or is at the time those --
·3· ·I didn't -- that wasn't my job to make a
·4· ·determination of who an affiliate is.
·5· · · · Q.· · All right.· So as the CFO of
·6· ·Highland, do you have any ability right now to
·7· ·tell me which companies that were directly or
·8· ·indirectly owned and/or controlled by
·9· ·Mr. Dondero in whole or in part received loans
10· ·from Highland Capital Management, L.P.?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · · · · MS. DEITSCH-PEREZ:· Objection, form.
13· · · · A.· · Yes.
14· · · · Q.· · Okay.· Identify every entity that
15· ·you can think of that was directly or
16· ·indirectly owned and/or controlled by
17· ·Mr. Dondero in whole or in part that received a
18· ·loan from Highland Capital Management, L.P.
19· · · · · · · MR. RUKAVINA:· Objection, legal
20· · · · conclusion.
21· · · · A.· · NexPoint Advisors, Highland Capital
22· ·Management Fund Advisors, HCM Services,
23· ·Dugaboy.· Sorry, I don't think -- Dugaboy
24· ·doesn't fit that definition.· You said owned
25· ·and controlled.· I don't think that that


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·definition --
·3· · · · Q.· · I said owned and/or controlled.
·4· · · · A.· · I don't -- again, I'm not -- I'm not
·5· ·the legal expert.· I don't think it controls --
·6· ·he controls Dugaboy, so again, I'm not the
·7· ·legal person.
·8· · · · Q.· · I'm not asking you for a legal
·9· ·conclusion, sir.· I'm asking you for your
10· ·knowledge, okay, as the CFO -- the former CFO
11· ·of Highland Capital Management, other than
12· ·NexPoint, HCMFA, and HCMF -- HCMS, can you
13· ·think of any other entities that were owned
14· ·and/or controlled directly or indirectly in
15· ·whole or in part by Jim Dondero who received a
16· ·loan from Highland Capital Management, L.P.?
17· · · · · · · MS. DANDENEAU:· Objection to form.
18· · · · A.· · HCRE.
19· · · · Q.· · Any others?
20· · · · A.· · That is -- that is all I can think
21· ·of.
22· · · · Q.· · And you're aware that from time to
23· ·time while you were the CFO, Highland loaned
24· ·money to Jim Dondero; correct?
25· · · · A.· · Yes.


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·2· · · · Q.· · Okay.· Can we refer to the four
·3· ·entities that you just named and Mr. Dondero as
·4· ·the affiliates?
·5· · · · A.· · So that would be Jim Dondero,
·6· ·NexPoint Advisors, Highland Capital Management
·7· ·Fund Advisors, and HCRE.
·8· · · · Q.· · And HCMS?
·9· · · · A.· · And HCMS, okay.
10· · · · Q.· · And can we refer to the loans that
11· ·were given to each of those affiliates as the
12· ·affiliate loans?
13· · · · A.· · Yes.
14· · · · Q.· · And is it fair to say that each of
15· ·the affiliates were the borrowers under the
16· ·affiliate loans as we're defining the term?
17· · · · · · · MR. RUKAVINA:· Objection, legal
18· · · · conclusion.
19· · · · A.· · The borrowers are whoever were on
20· ·the notes.· I don't -- I don't know.· I'm not
21· ·the legal person.
22· · · · Q.· · But you --
23· · · · A.· · I don't know.
24· · · · Q.· · You do know, as Highland's former
25· ·CFO, that each of the affiliates that you have


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·2· ·identified tendered notes to Highland; correct?
·3· · · · · · · MR. RUKAVINA:· Hey, John, will you
·4· · · · just give me a running objection to legal
·5· · · · conclusion to HCM --
·6· · · · · · · MR. MORRIS:· No.· No, if you want to
·7· · · · object --
·8· · · · · · · MR. RUKAVINA:· I will object every
·9· · · · time.· Object to legal conclusion.
10· · · · · · · MR. MORRIS:· That is fine.
11· · · · A.· · Sorry, can you repeat the question?
12· · · · Q.· · Are you aware that each of the --
13· ·that each of the affiliates, as we have defined
14· ·the term, gave to Highland a promissory note in
15· ·exchange for the loans?
16· · · · · · · MR. RUKAVINA:· Objection to the
17· · · · extent that calls for a legal conclusion.
18· · · · A.· · I don't.
19· · · · Q.· · No, you don't know that?
20· · · · A.· · No, they didn't -- you said they
21· ·exchanged a promissory note for a loan.                      I
22· ·don't -- I don't understand that question, so I
23· ·said no.
24· · · · Q.· · At the time of the bankruptcy
25· ·filing, did Highland have in its possession


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·2· ·promissory notes that were signed by each of
·3· ·the affiliates?
·4· · · · A.· · Yes.
·5· · · · Q.· · To the best of your knowledge,
·6· ·during the time that you served as Highland's
·7· ·CFO, did Highland disclose to its outside
·8· ·auditors all of the loans that were made to
·9· ·affiliates?
10· · · · · · · MR. RUKAVINA:· Objection, that calls
11· · · · for a legal conclusion.
12· · · · · · · MS. DEITSCH-PEREZ:· I also couldn't
13· · · · hear you, John, because there was some
14· · · · garbling on -- on the -- on the call.
15· · · · · · · MR. MORRIS:· Folks, I've got to tell
16· · · · you this is not going well, and I'm
17· · · · reserving my right --
18· · · · · · · MS. DANDENEAU:· John, it was just
19· · · · the end of that question.· It was just the
20· · · · end of that question.· I couldn't hear it
21· · · · either.· Sorry, if you could repeat it,
22· · · · please.
23· · · · · · · MR. MORRIS:· That is less than an
24· · · · hour into this, but folks are trying to run
25· · · · out the clock, and so I'm just going to


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·2· · · · state that now.
·3· · · · · · · MS. DANDENEAU:· You know, and,
·4· · · · Mr. Morris, I really object to that.                       I
·5· · · · mean --
·6· · · · · · · MR. MORRIS:· Okay.
·7· · · · · · · MS. DANDENEAU:· -- Mr. Waterhouse
·8· · · · just told you he's trying to listen to your
·9· · · · questions and answer them carefully, and
10· · · · you have no basis for saying that.
11· · · · · · · MR. MORRIS:· Okay.
12· · · · · · · MS. DANDENEAU:· This does not --
13· · · · this is not an experienced witness, so he's
14· · · · trying to do the best he can.
15· · · · Q.· · Mr. Waterhouse, during the time that
16· ·you served as Highland's CFO, did Highland
17· ·disclose to its outside auditors all of the
18· ·loans that it made to each of the affiliates
19· ·that you have identified?
20· · · · · · · MR. RUKAVINA:· Objection, legal
21· · · · conclusion.
22· · · · A.· · Yes.
23· · · · Q.· · To the best of your knowledge, while
24· ·you were Highland's CFO, were all of the
25· ·affiliate loans described in Highland's audited


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·2· ·financial statements?
·3· · · · · · · MR. RUKAVINA:· Objection, legal
·4· · · · conclusion.
·5· · · · A.· · When an audit was performed, any
·6· ·loans that were made by Highland to the
·7· ·affiliates were disclosed to auditors.
·8· · · · Q.· · Are you aware of any loan that was
·9· ·made to any affiliate that was not disclosed to
10· ·the auditors?
11· · · · A.· · I'm not aware.
12· · · · Q.· · To the best of your knowledge, did
13· ·each of the affiliates who were --
14· ·(inaudible) -- loaned from Highland execute a
15· ·promissory note in connection with that loan?
16· · · · · · · MR. RUKAVINA:· Objection, legal
17· · · · conclusion.
18· · · · A.· · Sorry, you -- halfway through the
19· ·question it got muffled.
20· · · · · · · Can you repeat that again?
21· · · · Q.· · To the best of your knowledge, did
22· ·every affiliate execute a promissory note in
23· ·connection with each loan that it obtained from
24· ·Highland?
25· · · · · · · MR. RUKAVINA:· Objection, legal


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·2· · · · conclusion.
·3· · · · A.· · Yes.
·4· · · · Q.· · You are not aware of any loan that
·5· ·any affiliate ever obtained from Highland where
·6· ·the affiliate did not give a promissory note in
·7· ·return; is that fair?
·8· · · · A.· · Yes, I'm not aware.
·9· · · · Q.· · And to the best of your knowledge,
10· ·did Highland loan to each affiliate an amount
11· ·of money equal to the principal amount of each
12· ·promissory note?
13· · · · · · · MR. RUKAVINA:· Objection, legal
14· · · · conclusion.
15· · · · A.· · Yes.
16· · · · Q.· · During the time that you served as
17· ·CFO, did Highland ever loan money to
18· ·Mark Okada?
19· · · · A.· · I -- I don't recall.
20· · · · Q.· · Did you ever see any promissory
21· ·notes executed by Mark Okada?
22· · · · A.· · I don't recall.
23· · · · Q.· · Do you know if Highland ever forgave
24· ·any loan that it ever made to Mr. Okada?
25· · · · A.· · I don't recall.


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·2· · · · Q.· · Do you recall if Mr. Okada paid back
·3· ·all principal and interest due and owing under
·4· ·any loan he obtained from Highland?
·5· · · · · · · MS. DEITSCH-PEREZ:· Objection to
·6· · · · form.
·7· · · · · · · MS. DANDENEAU:· Objection to form.
·8· · · · A.· · I don't recall.
·9· · · · Q.· · Do you recall whether -- during your
10· ·time as CFO, whether Highland ever loaned money
11· ·to Jim Dondero?
12· · · · A.· · Yes.
13· · · · Q.· · To the best of your knowledge, did
14· ·Mr. Dondero sign and deliver to Highland a
15· ·promissory note in connection with each loan
16· ·that he obtained from Highland?
17· · · · A.· · If you are referring to the
18· ·promissory notes that, you know, part of
19· ·Highland's records, yes.
20· · · · Q.· · Okay.· You're not aware of any loan
21· ·that Mr. Dondero took from Highland that wasn't
22· ·backed up by -- by a promissory note with a
23· ·face -- with a principal amount equal to the
24· ·amount of the loan; correct?
25· · · · A.· · Am I aware that Jim Dondero took a


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·2· ·loan?
·3· · · · Q.· · Without giving a -- let me ask a
·4· ·better question.· I'm sorry, Mr. Waterhouse.
·5· · · · · · · Are you aware of any loan that
·6· ·Mr. Dondero obtained from Highland where he
·7· ·didn't give a promissory note in return?
·8· · · · A.· · I'm not aware.
·9· · · · Q.· · During the time that you served as
10· ·Highland's CFO, did Highland ever forgive any
11· ·loans, in whole or in part, that it made to
12· ·Mr. Dondero?
13· · · · A.· · Not that I'm aware.
14· · · · Q.· · At the time that you served as
15· ·Highland's CFO, did Highland ever forgive any
16· ·loan, in whole or in part, that it made to any
17· ·affiliate as we've defined the term today?
18· · · · A.· · Not that I'm aware.
19· · · · Q.· · During the time that you served as
20· ·Highland's CFO, did Highland ever forgive, in
21· ·whole or in part, any loan that it ever made to
22· ·any officer or employee?
23· · · · A.· · Highland forgave loans to officers
24· ·and employees.· It may not have been at the
25· ·time when my title was CFO.


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·2· · · · Q.· · Okay.· And so I appreciate the
·3· ·distinction.
·4· · · · · · · Is it fair to say that, to the best
·5· ·of your knowledge, Highland did not forgive a
·6· ·loan that it made to an officer or employee
·7· ·after 2013?
·8· · · · · · · MS. DANDENEAU:· Objection to form.
·9· · · · A.· · I don't recall.
10· · · · Q.· · To the best of your knowledge, did
11· ·Highland disclose to its auditors every
12· ·instance where it forgave, in whole or in part,
13· ·a loan that it had made to one of its officers
14· ·or employees?
15· · · · A.· · No.
16· · · · Q.· · Can you think of -- can you -- can
17· ·you identify any loan to an officer or employee
18· ·that was forgiven by Highland, in whole or in
19· ·part, that was not disclosed to Highland's
20· ·outside auditors?
21· · · · A.· · Look, I don't recall all of the
22· ·loans and the loan forgiveness.· I just know as
23· ·part of the audit process there is a
24· ·materiality concept.
25· · · · · · · So if there were loans to employees


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·2· ·that were of -- you know, that were deemed
·3· ·immaterial, those items may not have been
·4· ·disclosed by the team to the auditors.
·5· · · · Q.· · I appreciate that.
·6· · · · · · · Do you have an understanding as to
·7· ·what the level of materiality was?
·8· · · · A.· · I don't recall.
·9· · · · Q.· · As the CFO of Highland, to the best
10· ·of your knowledge, did Highland disclose to its
11· ·outside auditors every loan that was forgiven,
12· ·in whole or in part, that was material as that
13· ·term was defined by the outside auditors?
14· · · · A.· · Yes.
15· · · · Q.· · And do you recall where -- do you
16· ·recall where the definition of materiality can
17· ·be found for -- for this particular purpose?
18· · · · · · · MS. DANDENEAU:· Objection to form.
19· · · · A.· · No.· You -- I don't determine
20· ·materiality.
21· · · · Q.· · Okay.· I'm just asking you if you
22· ·can help me understand where it is, but I think
23· ·we will find it in a few minutes.
24· · · · · · · You are aware that Highland has
25· ·commenced lawsuits against each of the


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·2· ·affiliates, as we've defined the term, to
·3· ·collect under certain promissory notes; is that
·4· ·right?
·5· · · · A.· · Yes.
·6· · · · Q.· · And are you familiar with the notes
·7· ·that are issue -- at issue in the lawsuits?
·8· · · · · · · MS. DANDENEAU:· Objection to form.
·9· · · · A.· · Generally familiar.
10· · · · Q.· · Can we refer to the lawsuits that
11· ·Highland has commenced against the affiliates
12· ·collectively as the lawsuits?
13· · · · A.· · Yes.· And, again, the affiliates are
14· ·NexPoint, HCMFA, HCMS, and HCRE.
15· · · · Q.· · And Mr. Dondero?
16· · · · A.· · Okay.· See, that is a new -- and now
17· ·Mr. Dondero is included in your affiliate
18· ·definition.
19· · · · Q.· · I just --
20· · · · A.· · I thought affiliates -- I thought
21· ·affiliates were just the four prior entities,
22· ·so I just want to be clear.
23· · · · Q.· · I appreciate that.· So let's --
24· ·let's keep them separate and let's refer to the
25· ·four corporate entities as the affiliates, and


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·2· ·Mr. Dondero we will call Mr. Dondero.· Okay?
·3· · · · A.· · Okay.· Thank you.· As you can see,
·4· ·Mr. Morris, there is a lot of entities -- a lot
·5· ·here.· I just want to be clear.
·6· · · · Q.· · Okay.· Now, the affiliates of
·7· ·Mr. Dondero signed promissory notes that are
·8· ·not subject to the lawsuit.
·9· · · · · · · Do you understand that?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · The affiliates and Mr. Dondero
12· ·signed --
13· · · · Q.· · You know what?· I will skip it.
14· ·That is okay.· Okay.
15· · · · · · · From time to time while you were
16· ·Highland's CFO, payments were applied against
17· ·principal and interests that were due under the
18· ·notes that were tendered by the affiliates and
19· ·Mr. Dondero; correct?
20· · · · · · · MR. RUKAVINA:· Objection to the
21· · · · extent that calls for a legal conclusion.
22· · · · A.· · Yes.
23· · · · Q.· · Did Highland have a process where --
24· ·whereby payments would be applied against
25· ·principal and interest against the notes that


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·2· ·were given by the affiliates and Mr. Dondero?
·3· · · · A.· · Yes.
·4· · · · Q.· · Can you describe the process for me?
·5· · · · A.· · The process, payment should be
·6· ·applied as laid out in the -- in the promissory
·7· ·note.
·8· · · · Q.· · From time to time were payments made
·9· ·that were not required under the promissory
10· ·notes?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · Yes.
13· · · · Q.· · Who was responsible for deciding
14· ·when and how much the payments would be made
15· ·with respect to each of the notes that were
16· ·issued by the affiliates and Mr. Dondero?
17· · · · A.· · Who was responsible for deciding how
18· ·much was paid prior to the due date?
19· · · · Q.· · Yes.
20· · · · A.· · I don't know.
21· · · · Q.· · Did you approve of each payment that
22· ·was made against principal and interest on the
23· ·notes that were given by the affiliates and
24· ·Mr. Dondero?
25· · · · · · · MS. DANDENEAU:· Objection to form.


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·2· · · · A.· · Did I approve the payments?                 I
·3· ·approve -- I approve -- if there was cash -- if
·4· ·there was cash being repaid on a note payment,
·5· ·yes, I approved in the general sense of being
·6· ·made aware of the payment and the amount.
·7· · · · Q.· · And are you the person who
·8· ·authorized Highland's employees to effectuate
·9· ·those payments?
10· · · · A.· · Yes.
11· · · · Q.· · When you gave the instruction to
12· ·effectuate the payment, did you obtain
13· ·Mr. Dondero's prior approval?
14· · · · A.· · I mean, it -- I mean, it -- it
15· ·depends.
16· · · · Q.· · Can you think of any instance where
17· ·you directed Highland's employees to make a
18· ·payment of principal or interest against any
19· ·note that was tendered by an affiliate or
20· ·Mr. Dondero that Mr. Dondero did not approve of
21· ·in advance?
22· · · · A.· · I can't recall specifically.
23· · · · Q.· · Can you identify -- withdrawn.
24· · · · · · · Did Mr. Dondero ever tell you that a
25· ·payment that was made against principal and


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·interest due under one of the notes that was
·3· ·tendered by an affiliate or himself should not
·4· ·have been made?
·5· · · · A.· · Yes.
·6· · · · Q.· · Can you identify the payment for me?
·7· · · · A.· · It would be for -- for NexPoint
·8· ·Advisors.
·9· · · · Q.· · Okay.· And when did Mr. Dondero tell
10· ·you that a payment that you had initiated on
11· ·behalf of NexPoint should not have been made?
12· · · · A.· · I wasn't initiating payment.· It was
13· ·in the context of the -- I think you used this
14· ·term, "the advisors," so NexPoint Advisors and
15· ·Highland Capital Management Fund Advisors had
16· ·overpaid on certain agreements with Highland
17· ·Capital Management, L.P.· And as a part of that
18· ·process, the advisors -- what I was told at the
19· ·time were in talks and negotiations and
20· ·discussions with Highland Capital Management,
21· ·L.P., on offsets in relation to those
22· ·overpayments.
23· · · · Q.· · When did this conversation take
24· ·place?
25· · · · · · · MS. DANDENEAU:· Objection to form.


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·2· · · · A.· · I don't recall specifically.
·3· · · · Q.· · Do you recall what year it was?
·4· · · · A.· · Yes.
·5· · · · Q.· · What year did the conversation with
·6· ·Mr. Dondero take place that you just described?
·7· · · · A.· · 2020.
·8· · · · Q.· · Okay.· Do you remember if it was
·9· ·December 2020?
10· · · · A.· · It -- it -- I don't -- I don't
11· ·recall what month specifically, but it would
12· ·have been November or December.
13· · · · Q.· · And we're talking here about a
14· ·payment of principal and/or interest that was
15· ·due -- withdrawn.
16· · · · · · · We're talking here about a payment
17· ·of principal and interest that was applied
18· ·against NexPoint's note; correct?
19· · · · · · · MS. DANDENEAU:· Objection to form.
20· · · · A.· · I don't recall what that payment
21· ·consisted of.
22· · · · Q.· · Is it possible that the payment you
23· ·have in mind related to the shared services
24· ·agreement?
25· · · · · · · MS. DANDENEAU:· Objection to form.


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·2· · · · A.· · No.
·3· · · · Q.· · Are you certain that the payment --
·4· ·that the payment that you have in mind related
·5· ·to the promissory note that NexPoint issued in
·6· ·favor of Highland?
·7· · · · · · · MS. DANDENEAU:· Objection to form.
·8· · · · A.· · Yes.
·9· · · · Q.· · Okay.· Other than that one payment,
10· ·can you identify any other instance where
11· ·Mr. Dondero told you that a payment should not
12· ·have been applied against principal and
13· ·interest under any promissory note tendered by
14· ·any affiliate or Mr. Dondero?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · · · · MS. DEITSCH-PEREZ:· Objection to
17· · · · form.
18· · · · A.· · Not that I recall.
19· · · · Q.· · Thank you very much.
20· · · · · · · Do you know if Mr. Dondero approved
21· ·in advance of each loan made to each affiliate
22· ·and himself during the time that you were the
23· ·CFO?
24· · · · · · · MS. DEITSCH-PEREZ:· Object to the
25· · · · form.


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·2· · · · A.· · Yes, generally.
·3· · · · Q.· · Can you identify any loan that was
·4· ·ever made to an affiliate or to Mr. Dondero
·5· ·that Mr. Dondero did not approve of in advance?
·6· · · · A.· · Other than the ones that are in
·7· ·dispute, I'm not aware.
·8· · · · Q.· · Do you believe that Mr. Dondero did
·9· ·not approve of each of the loans that are in
10· ·dispute in advance of the time that the loan
11· ·was made?
12· · · · · · · MS. DANDENEAU:· Objection to form.
13· · · · A.· · Given what is in the dispute, you
14· ·know, and -- and -- and the way things might --
15· ·yeah, I mean...
16· · · · Q.· · I am not asking about the dispute,
17· ·and it was probably my mistake to follow you
18· ·there.
19· · · · · · · Were you aware of every loan made by
20· ·Highland to each of its affiliates and
21· ·Mr. Dondero while you were the CFO at the time
22· ·each loan was made?
23· · · · A.· · Was I aware of every loan, yes.
24· · · · Q.· · Okay.· And if you put yourself back
25· ·in time, do you recall that any of the loans


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·2· ·that were made to one of the affiliates or
·3· ·Mr. Dondero during the time that you were the
·4· ·CFO was made without Mr. Dondero's prior
·5· ·knowledge and approval?
·6· · · · A.· · Not that I recall.
·7· · · · Q.· · Thank you.· In fact, do you -- as
·8· ·the CFO, would you have allowed Highland to
·9· ·loan money to an affiliate or to Mr. Dondero
10· ·without obtaining Mr. Dondero's prior approval?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · I can't -- there was so many times
13· ·over the years, I can't speak for every single
14· ·one, but generally, yes, I -- I spoke to him.
15· · · · Q.· · You -- you never -- you never --
16· ·withdrawn.· I will just take that.
17· · · · · · · Can you recall any payment that was
18· ·ever made against principal and interest on a
19· ·note that was issued in favor of Highland by an
20· ·affiliate or Mr. Dondero that you personally
21· ·did not know about in advance?
22· · · · A.· · There are so many through the years,
23· ·I don't -- I don't -- I don't recall every
24· ·single one.
25· · · · Q.· · Okay.· Can you identify any payment


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·2· ·that was made against principal and interest on
·3· ·any note tendered by any affiliate or
·4· ·Mr. Dondero that you didn't know about in
·5· ·advance?
·6· · · · A.· · I don't recall.
·7· · · · Q.· · Other than Mr. Dondero -- withdrawn.
·8· · · · · · · Did anybody at Highland have the
·9· ·authority to make a payment against principal
10· ·and interest due under a loan given to the
11· ·affiliates and Mr. Dondero without your
12· ·knowledge and approval?
13· · · · · · · MS. DANDENEAU:· Objection to form.
14· · · · A.· · Sorry, there was -- to make a
15· ·payment on an affiliate loan, what you are
16· ·saying would it require my knowledge and
17· ·approval, yes.
18· · · · Q.· · Okay.· I appreciate that.· Thank
19· ·you.
20· · · · · · · Did anybody at Highland have the
21· ·authority, to the best of your knowledge, to
22· ·effectuate a loan to an affiliate without
23· ·Mr. Dondero's prior knowledge and approval?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · I can't speak for all, but


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·2· ·generally, yes.
·3· · · · Q.· · Did you personally communicate with
·4· ·Mr. Dondero to let him know each time a payment
·5· ·of principal or interest was being made against
·6· ·any note that was tendered by an affiliate or
·7· ·Mr. Dondero to Highland?
·8· · · · A.· · I don't -- are you saying, did I let
·9· ·Mr. Dondero know if a payment was made on any
10· ·affiliate or loan to Mr. Dondero?· I mean,
11· ·not -- not every -- no.
12· · · · Q.· · Let me ask it this way:· Did you
13· ·have a practice of informing Mr. Dondero when
14· ·payments were made against principal and
15· ·interest on any note that was tendered by an
16· ·affiliate or Mr. Dondero?
17· · · · · · · MS. DEITSCH-PEREZ:· Objection to
18· · · · form.
19· · · · · · · MS. DANDENEAU:· Objection to form.
20· · · · A.· · No, I did not.
21· · · · Q.· · Did Mr. Dondero ever tell you that a
22· ·payment of principal or interest had been made
23· ·against a note that was tendered by an
24· ·affiliate or himself that he had been unaware
25· ·of?


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·2· · · · A.· · Not that I recall.
·3· · · · Q.· · Are you aware that Mr. Dondero and
·4· ·the affiliates -- withdrawn.
·5· · · · · · · Are you aware that Mr. Dondero
·6· ·NexPoint, HCRE, and HCMS all contend that they
·7· ·do not have to pay on any of the notes they
·8· ·issued because they are subject to an oral
·9· ·agreement between Mr. Dondero and Nancy
10· ·Dondero, in her capacity as the trustee of the
11· ·Dugaboy Investment Trust?
12· · · · · · · MS. DANDENEAU:· Objection to form.
13· · · · A.· · I didn't -- I didn't -- I didn't
14· ·know that it was all notes.
15· · · · Q.· · Okay.· Are you -- did you ever learn
16· ·that there was an oral agreement between Jim
17· ·Dondero and Nancy Dondero pertaining to any
18· ·notes issued by any affiliate or Mr. Dondero?
19· · · · · · · MS. DEITSCH-PEREZ:· Object to the
20· · · · form.
21· · · · A.· · Yes.
22· · · · Q.· · Do you have any understanding as to
23· ·the terms of that agreement?
24· · · · A.· · Yes.
25· · · · Q.· · What is your understanding of the


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·2· ·terms of the agreement?
·3· · · · A.· · That there were certain milestones
·4· ·that had to be reached.
·5· · · · Q.· · Do you have any understanding of the
·6· ·terms of the agreement between Mr. Dondero and
·7· ·Nancy Dondero concerning any of the notes
·8· ·issued by the affiliates or Mr. Dondero other
·9· ·than that there have to be milestones reached?
10· · · · · · · MS. DEITSCH-PEREZ:· Object to the
11· · · · form.
12· · · · A.· · There are milestones, I found out
13· ·yesterday, or there was some --
14· · · · · · · MS. DANDENEAU:· Okay.· I'm just
15· · · · going to object to the extent that you
16· · · · learned anything in conversations with
17· · · · counsel, please don't reveal -- that is
18· · · · privileged, and don't reveal any privileged
19· · · · communications.
20· · · · · · · THE WITNESS:· Okay.
21· · · · A.· · So I'm not aware of anything else.
22· · · · Q.· · Do you know what the milestones
23· ·were?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · I don't.


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·2· · · · Q.· · Do you know anything about -- do you
·3· ·know what promissory notes the agreement
·4· ·covered?
·5· · · · A.· · I don't.
·6· · · · Q.· · Do you know if -- if Jim and Nancy
·7· ·Dondero entered into one agreement or more than
·8· ·one agreement?
·9· · · · · · · MS. DEITSCH-PEREZ:· Object to the
10· · · · form.
11· · · · A.· · I don't know.
12· · · · Q.· · Do you know if the agreement is in
13· ·writing?
14· · · · A.· · I don't know.
15· · · · Q.· · How did you learn of the existence
16· ·of the agreement?
17· · · · · · · MS. DANDENEAU:· Objection to form.
18· · · · Again --
19· · · · A.· · I don't -- I don't recall who told
20· ·me.
21· · · · Q.· · You have no recollection of who told
22· ·you about this agreement between Jim and Nancy
23· ·Dondero?
24· · · · · · · MS. DEITSCH-PEREZ:· Object to the
25· · · · form.


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·2· · · · A.· · I don't recall.
·3· · · · Q.· · Do you recall how you learned of the
·4· ·agreement?
·5· · · · · · · Was it in a meeting?· Was it in a
·6· ·phone call?· Was it in an email?
·7· · · · A.· · I don't recall.
·8· · · · Q.· · Do you recall when you learned of
·9· ·the agreement?
10· · · · A.· · Not specifically.
11· · · · Q.· · Do you recall what year you learned
12· ·of the agreement?
13· · · · A.· · In -- look, I mean, there are so
14· ·many notes.· I may be getting -- I believe it
15· ·was 2020.
16· · · · Q.· · All right.· I'm not asking about
17· ·notes, sir.· I'm asking about the agreement
18· ·that you testified you knew about between Jim
19· ·and Don- -- Nancy Dondero.· Okay.
20· · · · · · · Do you understand my question now?
21· ·Should I ask my question again?
22· · · · A.· · Yeah, sure.· Go ahead.
23· · · · Q.· · I'm going to use the word
24· ·"agreement" to refer to the agreement that
25· ·Mr. Dondero and Nancy Dondero entered into


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·2· ·where you understood that certain milestones
·3· ·had to be reached.· Okay?
·4· · · · A.· · Uh-huh.
·5· · · · · · · MS. DANDENEAU:· Objection.
·6· · · · · · · MS. DEITSCH-PEREZ:· Object to the
·7· · · · form.
·8· · · · · · · MR. MORRIS:· Just defining a term,
·9· · · · what is the objection.
10· · · · · · · MS. DEITSCH-PEREZ:· The objection --
11· · · · · · · MR. MORRIS:· I will move on.· I will
12· · · · move on.
13· · · · · · · MS. DEITSCH-PEREZ:· John --
14· · · · Q.· · Sir, are you okay with that
15· ·definition of agreement?
16· · · · A.· · Okay.
17· · · · Q.· · Okay.· So you don't recall who --
18· ·who informed you of the existence of the
19· ·agreement; is that right?
20· · · · A.· · I don't recall.
21· · · · Q.· · You don't recall who told you the
22· ·terms of the agreement.
23· · · · · · · Do I have that right?
24· · · · A.· · Correct.
25· · · · Q.· · And you don't recall if you learned


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·2· ·about the agreement in a meeting, through an
·3· ·email, or through a phone call.
·4· · · · · · · Do I have that right?
·5· · · · A.· · I don't recall.
·6· · · · Q.· · Can you tell me when you learned of
·7· ·the agreement?
·8· · · · A.· · I don't -- I don't -- I don't
·9· ·remember specifically.
10· · · · Q.· · Can you tell me if you learned of
11· ·the agreement before or after the petition
12· ·date?
13· · · · A.· · It would have been -- it would have
14· ·been after.
15· · · · Q.· · Can you tell me if you learned of
16· ·the agreement before or after January 9th,
17· ·2020?
18· · · · A.· · It would have been after.
19· · · · Q.· · Can you tell me if you learned of
20· ·the agreement before or after you left Highland
21· ·Capital Management in February of 2021?
22· · · · A.· · I don't -- I don't -- I don't know.
23· · · · Q.· · It is possible that you learned of
24· ·it while you were a Highland employee.
25· · · · · · · Do I have that right?


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·2· · · · A.· · I don't remember the -- I mean, it
·3· ·was sometime in 2021.· I don't remember when.
·4· · · · Q.· · All right.· So to the best of your
·5· ·recollection, it was in 2021 but you don't
·6· ·recall if it was before or after you ceased to
·7· ·be a Highland employee.
·8· · · · · · · Do I have that right?
·9· · · · A.· · Yeah, I mean, it was -- it was
10· ·likely after I was -- after I left Highland
11· ·because, if I put myself back into the last
12· ·days of -- of 2021, it was -- you know, the
13· ·communications with Mr. Dondero were -- were --
14· ·were -- there weren't as many communications
15· ·because of the circumstances.
16· · · · Q.· · And so based on that you believe
17· ·that it is most likely that you learned of this
18· ·agreement sometime after you left Highland
19· ·employment?
20· · · · A.· · I wouldn't use the term "most
21· ·likely."· I don't recall specifically.· I don't
22· ·recall.
23· · · · Q.· · Do you recall ever telling Jim Seery
24· ·about this agreement?
25· · · · A.· · No, I don't -- I didn't tell


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·2· ·Jim Seery.
·3· · · · Q.· · Did you tell anybody at DSI about
·4· ·this agreement?
·5· · · · A.· · No.
·6· · · · Q.· · Did you tell any of Highland's
·7· ·independent directors about this agreement?
·8· · · · A.· · No.
·9· · · · Q.· · Did you tell anybody at Pachulski
10· ·Stang Ziehl & Jones about this agreement?
11· · · · A.· · No.
12· · · · Q.· · Did you tell any employee of
13· ·Highland about this agreement?
14· · · · A.· · No.
15· · · · · · · MS. DANDENEAU:· Mr. Morris, it has
16· · · · been an hour and a half.· Is this a good
17· · · · time for a break?
18· · · · · · · MR. MORRIS:· Sure.
19· · · · Q.· · Mr. Waterhouse, I will just remind
20· ·you that during the break please don't speak
21· ·with anybody about the deposition, the
22· ·substance of your testimony or anything else
23· ·concerning the deposition.· Okay?
24· · · · A.· · Yes.
25· · · · · · · MR. MORRIS:· So it is 11:02.· We're


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · at 11:02 your time.· Let's come back, I
·3· · · · guess, at 15 -- at 11:15 your time.
·4· · · · · · · VIDEOGRAPHER:· We're going off the
·5· · · · record at 11:02 a.m.
·6· · · · (Recess taken 11:02 a.m. to 11:20 a.m.)
·7· · · · · · · VIDEOGRAPHER:· We are back on the
·8· · · · record at 11:20 a.m.
·9· · · · Q.· · Mr. Waterhouse, did you speak with
10· ·anybody during the break about this deposition?
11· · · · A.· · No.
12· · · · · · · MS. DANDENEAU:· Other than -- other
13· · · · than his counsel.
14· · · · Q.· · Did you speak to your counsel about
15· ·the substance of your deposition today?
16· · · · A.· · No, I didn't bring it up.
17· · · · Q.· · I didn't ask you if you brought it
18· ·up.· I asked you if you had any conversation
19· ·with your lawyer about the substance of your
20· ·deposition.
21· · · · · · · MS. DANDENEAU:· Yes, he did.
22· · · · Q.· · Can you tell me what the -- you
23· ·discussed?
24· · · · · · · MS. DANDENEAU:· No, I object to
25· · · · that.· He's not going to answer.· That is a


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·1· · · · · ·WATERHOUSE - 10-19-21
·2· ·privileged conversation.
·3· · · · ·MR. MORRIS:· So I just want to make
·4· ·sure that I understand.· During the break
·5· ·you spoke with your client about the
·6· ·substance of this deposition; is that
·7· ·right?
·8· · · · ·MS. DANDENEAU:· Yes, John.
·9· · · · ·MR. MORRIS:· And you refuse -- you
10· ·refuse to let your client tell me what was
11· ·discussed; is that right?
12· · · · ·MS. DANDENEAU:· That's correct.
13· · · · ·MR. MORRIS:· You know, I had given
14· ·the instruction prior to the break not to
15· ·speak with counsel.· I would have
16· ·appreciated --
17· · · · ·MS. DANDENEAU:· No, you didn't --
18· ·actually, that is not true, Mr. Morris.
19· ·You said not to speak with anyone.· We
20· ·never have interpreted that to mean
21· ·conversations with counsel.· That's never
22· ·been -- I have never, ever heard that
23· ·instruction.
24· · · · ·MR. MORRIS:· Okay.· We will -- we
25· ·will -- we will deal with it when and if we


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · have to.
·3· · · · Q.· · Mr. Waterhouse, after learning about
·4· ·the agreement, did you ask anybody if the
·5· ·agreement was reflected in a writing?
·6· · · · · · · MS. DANDENEAU:· Objection to form.
·7· · · · A.· · No.
·8· · · · Q.· · Did you ask anybody if the terms of
·9· ·the agreement were memorialized anywhere?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · · · · MR. MORRIS:· What is the --
12· · · · A.· · No.
13· · · · · · · MS. DANDENEAU:· Well, because you
14· · · · keep talking about this agreement and I --
15· · · · I -- I think, Mr. Morris, that is really
16· · · · not clear what you mean by "the agreement."
17· · · · And maybe you can just go back and restate
18· · · · what that is.
19· · · · · · · MR. MORRIS:· Okay.· Your client has
20· · · · agreed with me twice on the definition, but
21· · · · I will try one more time.
22· · · · Q.· · Mr. Waterhouse, do you understand
23· ·that when I use the term "agreement," I'm
24· ·referring to the agreement between Jim and
25· ·Nancy Dondero concerning certain promissory


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·2· ·notes where you learned that one of the terms
·3· ·of the agreement was milestones reached?
·4· · · · A.· · Okay.
·5· · · · Q.· · And did you understand that that was
·6· ·the -- the agreement that we were referring to
·7· ·every time we used the word "agreement" in this
·8· ·deposition?
·9· · · · A.· · I don't know anything about this
10· ·agreement.· So, look, I do -- it -- I don't
11· ·know whether --
12· · · · Q.· · Let's -- let's try this again.
13· · · · A.· · Yeah.· Look, I don't know what this
14· ·agreement relates.
15· · · · · · · MS. DEITSCH-PEREZ:· John, John --
16· · · · Q.· · Let me try --
17· · · · · · · MS. DEITSCH-PEREZ:· John, please let
18· · · · the witness finish.
19· · · · · · · MR. MORRIS:· Please stop.· Please
20· · · · stop.· Please stop talking.
21· · · · · · · MS. DEITSCH-PEREZ:· No, you stop.
22· · · · Let the witness --
23· · · · · · · MR. MORRIS:· Stop talking.
24· · · · · · · MS. DEITSCH-PEREZ:· -- finish -- you
25· · · · interrupted him.


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·2· · · · · · · MR. MORRIS:· You know what, you
·3· · · · guys, this is really wrong.· It is really,
·4· · · · really wrong.· Okay?
·5· · · · · · · I had the witness agree not once,
·6· · · · but twice to the definition of agreement.
·7· · · · Okay?· I'm going to try and do it a third
·8· · · · time.
·9· · · · · · · MS. DANDENEAU:· No, but, please,
10· · · · John, really --
11· · · · · · · MR. MORRIS:· No, please stop
12· · · · talking.· Please.· It is my deposition.
13· · · · Object to questions.
14· · · · · · · MS. DANDENEAU:· No, but also you
15· · · · instructed him that -- that if you were
16· · · · going -- if you were interrupting him, that
17· · · · he should remind you that you're
18· · · · interrupting him and -- and --
19· · · · · · · MR. MORRIS:· Let him do that.· Let
20· · · · him do that.
21· · · · · · · MS. DANDENEAU:· Okay.· Well, you --
22· · · · · · · MR. MORRIS:· Please stop talking.
23· · · · A.· · Okay.· I don't know any of the
24· ·details of these agreements.· I don't know
25· ·anything about them.· I heard -- someone -- I


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·2· ·don't know who, I don't know when, as you
·3· ·asked, sometime in '21, someone told me about
·4· ·this -- or I don't honestly know -- I don't
·5· ·even recall exactly how I was made aware of
·6· ·this, but I was.· I don't know -- I don't know
·7· ·any of these details, and I'm getting -- again,
·8· ·there is, you know, I -- I -- I had a passing
·9· ·conversation with -- with Jim at some point
10· ·on -- on some -- on the executive comp, and I'm
11· ·getting confused of what is what, because
12· ·again, I don't know any of these details.
13· · · · Q.· · Okay.· Let me try again,
14· ·Mr. Waterhouse, and I apologize.
15· · · · · · · Are you aware of any agreement
16· ·between Jim Dondero and Nancy Dondero
17· ·concerning any promissory note that was given
18· ·to Highland by any affiliate or Mr. Dondero?
19· · · · · · · MS. DEITSCH-PEREZ:· Object to the
20· · · · form.
21· · · · A.· · I've heard of an agreement.· That
22· ·is -- that is -- I mean, if you are using aware
23· ·as heard, sure.
24· · · · Q.· · And you understand that one of the
25· ·terms of the agreement is that it was based on


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·2· ·milestones that had to be reached; is that
·3· ·right?
·4· · · · · · · MS. DANDENEAU:· Objection to form.
·5· · · · A.· · That was one of the words that was
·6· ·used when I heard about it, yes.
·7· · · · Q.· · And when you heard about this
·8· ·agreement that had a term in it concerning
·9· ·milestones reached, did you ask the person who
10· ·was telling you about the agreement whether or
11· ·not it was in writing?
12· · · · A.· · I did not.
13· · · · Q.· · Did you ask any questions at all?
14· · · · · · · MS. DANDENEAU:· Objection to form.
15· · · · A.· · Not that I recall.
16· · · · Q.· · But do you understand that going
17· ·forward, we're going to refer to the agreement
18· ·as the agreement that you just described that
19· ·you were --
20· · · · · · · MS. DANDENEAU:· Object to the form.
21· · · · A.· · Yes.
22· · · · Q.· · Okay.· You don't have any personal
23· ·knowledge concerning the terms of the
24· ·agreement; correct?
25· · · · · · · MS. DEITSCH-PEREZ:· Object to the


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·2· · · · form.
·3· · · · Q.· · You can answer.
·4· · · · A.· · I don't -- I heard about the
·5· ·agreement.· I don't know anything -- I heard
·6· ·there was an agreement.· That is -- again, as I
·7· ·testified before -- I said before, heard about
·8· ·it, don't know the details.· I believe it was
·9· ·sometime this year.
10· · · · Q.· · Do you have any personal knowledge
11· ·about the terms of the agreement, sir?
12· · · · · · · MS. DANDENEAU:· Objection to form.
13· · · · A.· · Other than what I have previously
14· ·discussed, I don't -- I don't know.
15· · · · Q.· · Did -- did Mr. Dondero tell you
16· ·about the existence of the agreement?
17· · · · A.· · I don't recall.
18· · · · Q.· · Do you recall the source of your
19· ·information when you learned about the
20· ·agreement?
21· · · · A.· · No, I don't -- I don't recall.                   I
22· ·don't remember.· I just -- I heard about it
23· ·generally.· I don't remember -- I don't
24· ·remember who, how, if, how.· I don't remember.
25· · · · Q.· · You know, Mr. Waterhouse, I just


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·2· ·want to be clear that I never would have asked
·3· ·you to appear at this deposition if your name
·4· ·hadn't been included in responses to discovery
·5· ·as to somebody with knowledge about the -- who
·6· ·was told about the existence of the agreement.
·7· · · · · · · That is what prompted me do this,
·8· ·and I really do feel compelled to tell you that
·9· ·I otherwise would never have called you as a
10· ·witness.· So I regret that you're being put
11· ·through this today.· I had no intention of
12· ·burdening you or taking your time, but that is
13· ·the reason that we issued the subpoena is
14· ·because certain of the defendants identified
15· ·you as somebody --
16· · · · · · · MS. DEITSCH-PEREZ:· Mr. Morris, you
17· · · · are here to ask questions, not to have --
18· · · · · · · MR. MORRIS:· I feel badly for the
19· · · · guy.· I really do.
20· · · · · · · MS. DEITSCH-PEREZ:· I'm sure you do.
21· · · · · · · MR. MORRIS:· I do.· Stop.
22· · · · · · · MS. DEITSCH-PEREZ:· You stop.
23· · · · · · · MR. MORRIS:· I'm allowed.
24· · · · · · · MS. DEITSCH-PEREZ:· No, you're not
25· · · · allowed to have a chat with the witness.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Well, I hope that you
·3· ·appreciate what I'm saying here,
·4· ·Mr. Waterhouse.
·5· · · · · · · MS. DANDENEAU:· All right.· Let's go
·6· · · · ahead and ask questions, and again, you're
·7· · · · entitled to probe his -- his knowledge
·8· · · · of -- whatever knowledge he has about
·9· · · · this -- this agreement and --
10· · · · · · · MR. MORRIS:· That is what I'm doing.
11· · · · · · · MS. DANDENEAU:· -- he will answer
12· · · · the questions to the best that he can.
13· · · · · · · MR. MORRIS:· That is what I'm doing.
14· · · · Q.· · Mr. Waterhouse, I take it you do not
15· ·know which promissory notes issued by which
16· ·affiliates or Mr. Dondero are the subject of
17· ·this agreement; do I have that right?
18· · · · A.· · Yes, I don't -- I don't know.
19· · · · Q.· · Do you know of any way to determine
20· ·which promissory notes issued by the affiliates
21· ·and Mr. Dondero are the subject of this
22· ·agreement other than asking Jim or Nancy
23· ·Dondero?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · I don't know.


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·2· · · · Q.· · Did you ever make --
·3· · · · A.· · I don't know anything about these
·4· ·agreements.
·5· · · · Q.· · Did you ever make any effort to
·6· ·determine which promissory notes are subject to
·7· ·this agreement?
·8· · · · A.· · No.
·9· · · · Q.· · Did you ever ask anybody which
10· ·promissory notes are subject to this agreement?
11· · · · A.· · No.
12· · · · Q.· · Do you know if there is a list
13· ·anywhere of the promissory notes that are
14· ·subject to this agreement?
15· · · · A.· · I'm not aware.
16· · · · Q.· · Have you ever seen the terms of the
17· ·agreement written down anywhere?
18· · · · A.· · No.
19· · · · Q.· · Have you ever asked anybody whether
20· ·the terms of the agreement were written down
21· ·anywhere?
22· · · · A.· · I have not.
23· · · · Q.· · Did learning about the agreement
24· ·cause you to do anything in response?
25· · · · · · · MS. DANDENEAU:· Objection to form.


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·2· · · · A.· · No.
·3· · · · Q.· · Did anybody ever describe to you the
·4· ·nature of the milestones that you referred to
·5· ·earlier?
·6· · · · A.· · No, I don't -- I don't have any
·7· ·details of this.
·8· · · · Q.· · That is fine.
·9· · · · · · · PricewaterhouseCoopers served as
10· ·Highland's outside auditors prior to the
11· ·petition date; correct?
12· · · · A.· · Yes.
13· · · · Q.· · You refer to PricewaterhouseCoopers
14· ·as PwC?
15· · · · A.· · Yes.
16· · · · Q.· · PricewaterhouseCoopers audited
17· ·Highland's financial statements on an annual
18· ·basis; correct?
19· · · · A.· · During my -- during my time as -- as
20· ·CFO, yes, PricewaterhouseCoopers was the
21· ·auditor.
22· · · · Q.· · Do you know why Highland had its
23· ·annual financial statements audited each year?
24· · · · A.· · Generally.
25· · · · Q.· · Tell me your general understanding


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·2· ·as to the reason why Highland had its annual
·3· ·financial statements audited each year.
·4· · · · A.· · From -- from time to time, they were
·5· ·used -- or asked for, as part of diligence or
·6· ·transactions or -- or things of that nature.
·7· · · · Q.· · And were they given to third parties
·8· ·for purposes of diligence or transactions from
·9· ·time to time?
10· · · · A.· · As far as I'm aware, yes.
11· · · · Q.· · And was it your understanding as the
12· ·CFO that the third parties who received the
13· ·financial statements in diligence or
14· ·transactions was going to rely on those?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · A.· · I don't know -- I don't know gen --
17· ·I don't know specifically what they were going
18· ·to rely on.· You know, we would get requests
19· ·for audited financial statements.· I don't know
20· ·what they were relying on.
21· · · · Q.· · And --
22· · · · A.· · You would have to ask them.
23· · · · Q.· · Did you personally play a role in
24· ·PwC's annual audit and the conduct of the
25· ·audit?


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·2· · · · · · · MS. DANDENEAU:· Objection to form.
·3· · · · A.· · During my tenure as CFO, I played a
·4· ·very minimal role.
·5· · · · Q.· · What was the minimal role that you
·6· ·played?
·7· · · · A.· · You know, again, it was -- it was to
·8· ·check in with the team, to make sure that, you
·9· ·know, audit -- the deadlines were being hit,
10· ·information was being presented to the auditors
11· ·in a -- in a timely fashion, but, you know,
12· ·other than that, it was a very capable team
13· ·that are still current employees of Highland
14· ·and, you know, they -- they conducted 99
15· ·percent of -- look, I don't want to give
16· ·percentages.· I mean, this is -- but I -- I --
17· ·I played a minimal role towards the end.
18· · · · · · · Before during my earlier years as
19· ·CFO, I did more, and then as time went on, I
20· ·did less in it.
21· · · · Q.· · Okay.· Was there a person at
22· ·Highland who was responsible for overseeing
23· ·Highland's participation in PwC's audit during
24· ·the time that you were the CFO?
25· · · · A.· · Yeah.· I mean, there was -- there


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·2· ·was a -- there was a point -- it varies.· It
·3· ·varies by year, in function, in time and, you
·4· ·know, depending on the request, but yes, I
·5· ·mean, there is -- there is -- there is
·6· ·generally a point person of communication.
·7· · · · Q.· · And who was the point person from
·8· ·2016 until the time you left Highland?
·9· · · · A.· · I don't -- I don't know
10· ·specifically, but it would have been, you
11· ·know -- you know, someone on the corporate
12· ·accounting team.
13· · · · Q.· · And was there a head of the
14· ·corporate accounting team?
15· · · · A.· · Yes, so -- yes.
16· · · · Q.· · Who was the head of corporate
17· ·accounting for the five years prior to the time
18· ·you left Highland?
19· · · · A.· · I don't -- if you're asking from
20· ·2016 on, I don't -- it was Dave Klos, but,
21· ·again, there was -- there was changes to the
22· ·team and the reporting structure.· I don't
23· ·remember exactly when that happened during --
24· ·you know, over the last -- since 2016.
25· · · · Q.· · Did the folks who participated and


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·2· ·ran the audit all report to you, directly or
·3· ·indirectly?
·4· · · · A.· · Yes.
·5· · · · Q.· · And did you have any responsibility
·6· ·for making sure that the audit report was
·7· ·accurate before it was finalized?
·8· · · · A.· · Yeah.· I mean, you know, that --
·9· ·that is -- my responsibility to the auditors
10· ·was -- again, is -- and the CFO is to -- we are
11· ·providing accurate financial statements; right?
12· · · · · · · And -- and -- and as part of any
13· ·audit, we disclose all relevant information as
14· ·part of any audit.
15· · · · Q.· · Okay.· And as the CFO, did you take
16· ·steps to make sure that the audit report was
17· ·accurate?
18· · · · A.· · I mean, I would say in a general
19· ·sense, yes.· But, again, I mean, I had a
20· ·very -- I had a very capable and competent
21· ·team.· I wasn't managing them.
22· · · · · · · You know, part of what I do is I let
23· ·the team -- I want managers to grow.· I want
24· ·managers to have rope.· And that is -- you
25· ·know, I'm not a stand-behind-you type of guy.


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·2· ·If you -- if you talk to my team members, I'm
·3· ·not micromanaging people.· I want people to
·4· ·learn and grow in their function so they can go
·5· ·on and do bigger and better things with their
·6· ·careers.
·7· · · · · · · And so, yes, generally I was
·8· ·responsible for it, but I wanted the team to
·9· ·learn and grow and be responsible for the bulk
10· ·of the audit.
11· · · · Q.· · Did you personally review each audit
12· ·report before it was finalized to satisfy
13· ·yourself that it was accurate?
14· · · · A.· · I don't -- I don't recall, you know,
15· ·for every single -- we're talking 2016, there
16· ·would have been three years, 2016 to '17, '18.
17· ·I don't -- we're -- we're going back
18· ·five years-plus.· I don't -- you know, I don't
19· ·recall.
20· · · · Q.· · Did you have a practice that you
21· ·employed to make sure that you were satisfied
22· ·that Highland's audit reports were true and
23· ·accurate to the best of your knowledge?
24· · · · A.· · I mean, our -- the practice was set
25· ·up with our -- the -- the practice to put


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·2· ·together accurate audited or accurate financial
·3· ·statements is to your control environment.
·4· · · · · · · So, you know, the -- so the practice
·5· ·was to maintain a stable control environment
·6· ·which then the output is -- is accurate
·7· ·financial statements.
·8· · · · · · · So -- so, you know, if I was
·9· ·comfortable that the control environment was
10· ·operating, then, you know, that would dictate
11· ·how I would -- you know, what I might or might
12· ·not do in a given year.
13· · · · Q.· · Okay.· Do you recall ever being
14· ·uncomfortable with the control environment
15· ·during the period that you served as CFO?
16· · · · A.· · Yeah.· I mean, look, yes, there are
17· ·times -- you know, nothing is perfect.· So
18· ·there were -- there were times when, yes, you
19· ·know -- there are times I learned I was
20· ·uncomfortable with the control environment, and
21· ·that is part of the management of the process
22· ·and having, you know -- and -- and working
23· ·through whatever obstacles present themselves.
24· · · · Q.· · Okay.· Were you ever uncomfortable
25· ·with the control process as it related to


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·2· ·reporting and disclosures of loans to
·3· ·affiliates and Mr. Dondero?
·4· · · · · · · MS. DANDENEAU:· Objection to form.
·5· · · · A.· · I don't -- I don't recall --
·6· · · · Q.· · So you don't recall --
·7· · · · A.· · -- the --
·8· · · · · · · MS. DANDENEAU:· Mr. Morris --
·9· · · · A.· · I don't recall being uncomfortable.
10· ·But, again, we're going back several years.                   I
11· ·don't -- you know, the practice in an audit is
12· ·to disclose all information to the auditors.
13· ·And I don't -- I don't recall.
14· · · · Q.· · As part of the process of the audit,
15· ·did you sign what is sometimes referred to as a
16· ·management representation letter?
17· · · · A.· · Yes.
18· · · · · · · MR. MORRIS:· Can we put up on the
19· · · · screen a document that we have premarked as
20· · · · Exhibit 33.
21· · · · · · · (Exhibit 33 marked.)
22· · · · · · · MS. DANDENEAU:· Mr. Morris, that is
23· · · · not in the binder; correct?
24· · · · · · · MR. MORRIS:· Correct.
25· · · · Q.· · So you will see, Mr. Waterhouse,


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·2· ·this is a letter dated June 3rd.· And if we
·3· ·could go to the signature page.
·4· · · · · · · And do you see that you and
·5· ·Mr. Dondero signed this document?
·6· · · · A.· · Yes.
·7· · · · Q.· · That is your signature; right?
·8· · · · A.· · Yes.
·9· · · · · · · MR. MORRIS:· Okay.· Can you go back
10· · · · to the top.
11· · · · · · · MS. DANDENEAU:· Mr. Morris, can you
12· · · · have somebody post this in the chat so that
13· · · · we have can have a copy of this, please.
14· · · · · · · MR. MORRIS:· Yeah, sure.· Asia, can
15· · · · you do that, please.
16· · · · Q.· · Okay.· Do you see at the bottom of
17· ·the second paragraph there is a reference to
18· ·materiality?
19· · · · A.· · Yes.
20· · · · Q.· · Okay.· It says, Materiality used for
21· ·purposes of these representations is
22· ·$1.7 million.
23· · · · · · · Do you see that?
24· · · · A.· · I do.
25· · · · Q.· · And did PwC set that level of


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·2· ·materiality?
·3· · · · A.· · Yes.
·4· · · · Q.· · And for purposes of the audit, did
·5· ·PwC set the level of materiality each year?
·6· · · · A.· · Yes.
·7· · · · Q.· · Did that number change over time?
·8· · · · A.· · I'm not aware of what materiality is
·9· ·every single year, so -- but, you know, this
10· ·number would likely fluctuate.
11· · · · Q.· · Okay.· I'm going to go back to a
12· ·question I asked you earlier today.· And that
13· ·is in connection -- this letter is issued in
14· ·connection with the audit for the period ending
15· ·12/31/2018; correct?
16· · · · A.· · Yes.
17· · · · Q.· · Okay.· And is it fair to say that if
18· ·any -- actually, withdrawn.· I'm going to take
19· ·it outside of this.
20· · · · · · · If Highland ever forgave the loan to
21· ·any affiliate or any of its officers or
22· ·employees, in whole or in part, to the best of
23· ·your knowledge, would that forgiveness have
24· ·been disclosed in the audited financial
25· ·statements if it exceeded the level of


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·2· ·materiality that PwC established?
·3· · · · · · · MS. DANDENEAU:· Objection to form.
·4· · · · A.· · So, again, during my tenure as CFO,
·5· ·and -- Highland -- it was -- it is required to
·6· ·disclose any affiliate loans that are in excess
·7· ·of materiality.
·8· · · · · · · Now, the forgiveness of those loans
·9· ·may or may not -- I mean, since materiality
10· ·fluctuates every year, a -- you know, if a loan
11· ·was forgiven, it may or may not, you know --
12· ·and, look, I would want to consult the guidance
13· ·around this.
14· · · · · · · It is not something we do -- you
15· ·know, it is not -- you know, GAAP can be and
16· ·disclosures can be very specialized so, again,
17· ·we want to consult the guidance.· But we would
18· ·see if and what would need to be disclosed if
19· ·it were deemed immaterial.
20· · · · Q.· · Did you and Mr. Dondero sign
21· ·management representation letters of this type
22· ·in each year in which you served as Highland's
23· ·CFO?
24· · · · A.· · I -- I -- I will speak for myself.
25· ·I signed them.· There may have been others that


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·2· ·signed as well.· I don't -- I don't recall.
·3· · · · Q.· · But to the best of your knowledge,
·4· ·you, personally, signed a management
·5· ·representation letter in connection with
·6· ·Highland's audit each year that you served as
·7· ·the CFO; correct?
·8· · · · A.· · I would say generally speaking,
·9· ·Mr. Morris.· I don't recall for every single
10· ·year, you know, generally, but I would want to
11· ·refer to all the rep letters and see who signed
12· ·them.
13· · · · Q.· · Do you recall Highland having its
14· ·financial statements audited in any year during
15· ·the period that you were a CFO where you didn't
16· ·sign the management representation letter?
17· · · · A.· · I don't recall.· But, John, we're
18· ·going back five, six, seven, eight, nine,
19· ·decade.· I don't -- I don't remember.
20· · · · Q.· · I don't want to go back that many
21· ·decades, but I'm just asking you if you recall
22· ·that there was you didn't sign it?
23· · · · A.· · I -- I -- I don't, but my memory
24· ·is -- again, I -- I -- I can't tell you what I
25· ·did in 2012.· I mean, I think generally, yes,


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·2· ·but I don't -- I don't know for sure, and I
·3· ·would want to rely on the document.
·4· · · · Q.· · Let me ask the question a little bit
·5· ·differently then.
·6· · · · · · · Do you have any reason to believe
·7· ·that Highland had its annual financial audit
·8· ·and you did not sign a management
·9· ·representation letter in connection with that
10· ·audit?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · I don't believe it would, but,
13· ·again, I would want to -- I don't recall and I
14· ·would want to confirm it to -- to make, you
15· ·know, an affirmative -- to give an affirmative
16· ·answer.
17· · · · Q.· · Do you know whether PwC required
18· ·management to sign management representation
19· ·letters?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · Yes.· I mean, it -- management
22· ·representation letters are signed by
23· ·management.
24· · · · Q.· · Okay.· And do you know -- do you
25· ·have any understanding as to why PwC requires


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·2· ·management to sign management representation
·3· ·letters?
·4· · · · · · · MS. DEITSCH-PEREZ:· Object to the
·5· · · · form.
·6· · · · A.· · I don't know why PwC's -- what PwC's
·7· ·specific practice is.· I know generally what
·8· ·management representation letters are.
·9· · · · Q.· · Okay.· Do you personally -- I'm not
10· ·asking about PwC.· I'm asking for you -- I'm
11· ·asking about you, do you have an understanding
12· ·as to why the auditor asks for management
13· ·representation letters?
14· · · · A.· · Okay.· So you're asking me in my
15· ·personal capacity, yes, I have a general
16· ·understanding of why.
17· · · · Q.· · Can you give me the general
18· ·understanding that you have as to why
19· ·management representation letters are required?
20· · · · A.· · They are -- they are required to --
21· ·they are -- they are one of the items required
22· ·in an audit to help verify completeness.
23· · · · Q.· · Do you have any -- any other
24· ·understanding as to why management
25· ·representation letters are required?


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·2· · · · A.· · That is -- that is -- other than
·3· ·what I said, it is -- it is -- it is required
·4· ·so -- to ensure that the -- you know, there
·5· ·is -- there is completeness in what is being
·6· ·audited.
·7· · · · Q.· · Did you -- did you have a practice
·8· ·whereby you and Mr. Dondero conferred about the
·9· ·management representation letters before you
10· ·signed them?
11· · · · A.· · No.
12· · · · Q.· · Did you have a practice --
13· ·withdrawn.
14· · · · · · · Do you see just the next sentence
15· ·after the materiality, there is a sentence that
16· ·states:· We confirm, to the best of our
17· ·knowledge and belief, as of June 3rd, 2019, the
18· ·date of your report, the following
19· ·representations made to you during your audit.
20· · · · · · · Do you see that sentence?
21· · · · A.· · Yes.
22· · · · Q.· · Okay.· Did you understand when you
23· ·signed this letter that you were confirming the
24· ·representations that followed?
25· · · · A.· · When I signed this management


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·2· ·letter -- representation letter, yes.
·3· · · · Q.· · Okay.· Did you discuss this letter
·4· ·with Mr. Dondero before you signed it?
·5· · · · A.· · I don't recall.
·6· · · · Q.· · Do you recall if Mr. Dondero asked
·7· ·you any questions before he signed the letter?
·8· · · · A.· · I don't recall.
·9· · · · Q.· · Do you recall if you asked
10· ·Mr. Dondero any questions before you signed
11· ·this letter?
12· · · · A.· · I don't recall.
13· · · · Q.· · Is it fair to say that Mr. Dondero
14· ·did not disclose to you the existence of the
15· ·agreement that we have -- as we've defined that
16· ·term prior to the time you signed this letter?
17· · · · · · · MS. DANDENEAU:· Objection to form.
18· · · · A.· · I don't think I understand the
19· ·question.· So, again, you are saying, did
20· ·Mr. Dondero not disclose to me the existence of
21· ·this letter?
22· · · · Q.· · No, I apologize.
23· · · · · · · Did Mr. Dondero disclose to you the
24· ·existence of the agreement prior to the time
25· ·you signed this letter on June 3rd, 2019?


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·2· · · · A.· · The agreement -- the agreement that
·3· ·we talked about earlier?
·4· · · · Q.· · Correct.
·5· · · · A.· · Look, as I said earlier, the first
·6· ·time I heard of this agreement was sometime
·7· ·this year.
·8· · · · Q.· · Okay.· Can we turn -- let's just
·9· ·look at a couple of items on the list.· If we
10· ·can go to page 33416.· Do you see in Number 35
11· ·it talks about the proper recording or
12· ·disclosure in the financial statements of ND
13· ·relationships and transactions with related
14· ·parties.
15· · · · · · · Do you see that?
16· · · · A.· · I do.
17· · · · Q.· · As the CFO, do you have any
18· ·understanding as to whether Dugaboy is a
19· ·related party?
20· · · · A.· · I don't recall.
21· · · · Q.· · Do you know whether any of the
22· ·affiliates are related parties?
23· · · · A.· · If -- if it was NexPoint, HCMFA,
24· ·HCMS, HCRE, yeah, if -- if that is the
25· ·affiliate definition, and there.· In ASC 850 --


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·again, I mean, I haven't looked at ASC 850 in
·3· ·quite some time, but, you know, if -- if there
·4· ·is a control language, you know, ASC 850, would
·5· ·that -- that section in GAAP would -- would
·6· ·pick up and define what are related parties.
·7· · · · · · · So, you know, like I said, if -- one
·8· ·of the four entities I just described, if -- if
·9· ·they are in that control definition of ASC 850,
10· ·they would be picked up in 35D.
11· · · · Q.· · Do you -- do you have any reason to
12· ·believe that they would be picked up in that
13· ·definition, based on your knowledge and
14· ·experience?
15· · · · A.· · I -- I believe that entities
16· ·controlled under GAAP are -- are affiliates.
17· · · · Q.· · Okay.· Would Mr. Dondero also
18· ·qualify as a related party for purposes of
19· ·Section 35D, to the best of your knowledge?
20· · · · A.· · Yeah, I don't -- I don't know.                        I
21· ·would think -- I would have to read the code
22· ·section to see if someone personally -- is it
23· ·talking about related parties.· So, look, if
24· ·your own in control, yeah, I mean, I would have
25· ·to read the section.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · To the best of your knowledge, was
·3· ·the existence of the agreement ever disclosed
·4· ·to PwC?
·5· · · · A.· · I'm not -- I'm not aware.
·6· · · · Q.· · Do you recall if the agreement was
·7· ·ever disclosed in Highland's audited financial
·8· ·statements?
·9· · · · A.· · I don't -- I don't remember if it
10· ·was in every Highland's audited financial
11· ·statements during my tenure.· We would have to
12· ·read the financial statements to see what was
13· ·disclosed, but I'm not -- I mean, as I sit here
14· ·today, I'm not aware.
15· · · · Q.· · That is all I'm asking for.
16· · · · A.· · I'm not aware.
17· · · · Q.· · Can we go to the next page, please,
18· ·and look at 36.· 36 says, we have disclosed to
19· ·you the identity of the partnership's related
20· ·party relationships and all the related party
21· ·relationships and transactions of which we are
22· ·aware.
23· · · · · · · Do you see that?
24· · · · A.· · Yes.
25· · · · Q.· · To the best of your knowledge, as of


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·June 3rd, 2019, did Highland disclose to PwC
·3· ·the identity of the partnership's related
·4· ·parties and all the related party relationships
·5· ·and transactions of which it was aware?
·6· · · · A.· · I mean, I can speak for myself as
·7· ·signer of this representation letter.                      I
·8· ·disclosed what -- what, you know, what --
·9· ·what -- what I knew.· Sorry, look, yes, so I --
10· ·I disclosed what I knew.
11· · · · Q.· · Okay.· Can we go to page 419.· Do
12· ·you see at the end there is a reference to
13· ·events that occurred since the end of the
14· ·fiscal year and the date of the letter?
15· · · · A.· · Yes.
16· · · · Q.· · And were you aware of that -- of
17· ·that provision of the management representation
18· ·letter before you signed the document?
19· · · · A.· · Yes.
20· · · · Q.· · Do you have an understanding as to
21· ·why PwC asked for that confirmation of that
22· ·particular part of the management
23· ·representation letter?
24· · · · A.· · It is -- it is -- it is just -- it
25· ·is a typical audit request.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And do you understand -- do you have
·3· ·an understanding that PwC wanted to know that
·4· ·as of the date of the audit whether any
·5· ·material changes had occurred since the end of
·6· ·the fiscal year, using the definition of
·7· ·materiality that is in this particular
·8· ·management representation letter?
·9· · · · A.· · It -- it is -- it is -- it is a --
10· ·it is as described.· It is just a poorly worded
11· ·question, so it is hard for me to say yes.
12· · · · Q.· · If I asked you this, I apologize,
13· ·but did you ever learn when the agreement was
14· ·entered into?
15· · · · A.· · I don't -- I don't -- like I said
16· ·before, I don't know or have any details of the
17· ·agreement.
18· · · · Q.· · Okay.· Did you ever ask anybody when
19· ·the agreement was entered into?
20· · · · A.· · I did not.
21· · · · Q.· · Let's look at the audited financial
22· ·statements.· We will put up on the screen a
23· ·document that has been premarked as Exhibit 34.
24· · · · · · · (Exhibit 34 marked.)
25· · · · · · · MS. DANDENEAU:· And again, if Ms. La


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Canty could please put that in the chat
·3· · · · room, that would be great.
·4· · · · · · · MR. MORRIS:· I will assure you we
·5· · · · will put every document in the chat room.
·6· · · · Q.· · Now, I'm just going to ask you
·7· ·questions that are related to the provisions of
·8· ·this report that concern the affiliate loans,
·9· ·but again, Mr. Waterhouse, if there is any part
10· ·of the document that you need to see or that
11· ·you think you might need to see in order to
12· ·refresh your recollection to answer any of my
13· ·questions, will you let me know that?
14· · · · A.· · Yes.
15· · · · Q.· · Because this is a pretty lengthy
16· ·document, but do you see that the cover page
17· ·here is the Highland consolidated financial
18· ·statements for the period ending December 31st,
19· ·2018?
20· · · · A.· · Yes.
21· · · · Q.· · If we can go to -- I think it is the
22· ·next one, looking for PwC's signature line.
23· · · · · · · MS. CANTY:· I'm sorry, John, did you
24· ·say something?
25· · · · · · · MR. MORRIS:· Yes, can we turn the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · page.· I think it is 215.· Yes, stop right
·3· · · · there, just above -- I'm sorry, I want to
·4· · · · see just the date of the report.
·5· · · · Q.· · Okay.· Do you see at the bottom of
·6· ·that page there, Mr. Waterhouse,
·7· ·PricewaterhouseCoopers has signed this audit
·8· ·report?
·9· · · · A.· · Yes, I see their signature.
10· · · · Q.· · Okay.· And it is the dated same day
11· ·as your management representation letter; is
12· ·that right?
13· · · · A.· · It is -- yes, it is the same day.
14· · · · Q.· · Was that the practice to sign the
15· ·management representation letter on the same
16· ·day that the audit report was signed?
17· · · · A.· · Yes, that is typical in every audit.
18· · · · Q.· · Can we just scroll down to the
19· ·balance sheet on the next page.
20· · · · · · · Do you see that there is a line
21· ·there that says, Notes and Other Amounts Due
22· ·from Affiliates?
23· · · · A.· · Yes.
24· · · · Q.· · Does that line, to the best of your
25· ·knowledge, include the amounts that were due


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·under the affiliate under the notes signed by
·3· ·the affiliates and Mr. Dondero?
·4· · · · · · · MR. RUKAVINA:· Objection to the
·5· · · · extent that calls for a legal conclusion.
·6· · · · A.· · I mean, I would want to see the
·7· ·detail and the build to this $173,398,000, but,
·8· ·yes, I mean, if -- if -- given what we
·9· ·discussed before, you know, it -- it should
10· ·capture that.
11· · · · Q.· · And -- and while you were the CFO of
12· ·Highland, were all notes held by Highland that
13· ·were issued by an affiliate or Mr. Dondero
14· ·carried as assets on Highland's balance sheets?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · · · · MS. DEITSCH-PEREZ:· Object to form.
17· · · · A.· · I don't -- I don't know how else
18· ·they would be carried.
19· · · · Q.· · Okay.· Can you think of any -- are
20· ·you aware of any promissory note issued by an
21· ·affiliate or Mr. Dondero that was not carried
22· ·on Highland's audited financial balance sheets?
23· · · · A.· · I'm -- I'm -- I'm not aware.
24· · · · Q.· · Okay.· Are you aware of any category
25· ·of asset on Highland's balance sheet in which


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·2· ·any of the promissory notes issued by an
·3· ·affiliate or Mr. Dondero would have been
·4· ·included?
·5· · · · · · · MS. DANDENEAU:· Objection to form.
·6· · · · A.· · Sorry, am I aware of any asset of an
·7· ·affiliate being included --
·8· · · · Q.· · That -- let me -- let me try again.
·9· · · · · · · Do you see there is a number of
10· ·different assets that are described on this
11· ·balance sheet?
12· · · · A.· · Yes.
13· · · · Q.· · One of the assets that is described
14· ·is Notes and Other Amounts Due from Affiliates;
15· ·right?
16· · · · A.· · Yes.
17· · · · Q.· · And it is reasonable to conclude
18· ·that the notes from the affiliates and
19· ·Mr. Dondero are included in that line item;
20· ·right?
21· · · · A.· · Yes, based on this description.
22· ·Again, I would want to see a build of this to
23· ·100 percent confirm, but based on the
24· ·description, the asset description, it is -- it
25· ·is likely.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · Now, does that mean absolute?                        I
·3· ·don't know.
·4· · · · Q.· · Do you have any reason to believe
·5· ·that the promissory notes would have been
·6· ·carried on the balance sheet in a category
·7· ·other than Notes and Other Amounts Due from
·8· ·Affiliates?
·9· · · · A.· · If they were deemed -- no.· If they
10· ·were deemed an affiliate, you know, under GAAP,
11· ·they should be carried in that line.
12· ·Otherwise, it would go into another line.
13· · · · Q.· · Okay.· And do you see the total
14· ·asset base as of December 31st, 2018, was
15· ·approximately $1.04 billion?
16· · · · A.· · Yes.
17· · · · Q.· · Is my math correct that the Notes
18· ·and Other Amounts Due from Affiliates
19· ·constituted approximately 17 percent of
20· ·Highland's assets as of the end of 2018?
21· · · · A.· · Well, so how are you defining
22· ·Highland?
23· · · · Q.· · Highland Capital Management, L.P.,
24· ·the entity that this audit is subject to -- or
25· ·the subject of.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · On a consolidated or unconsolidated
·3· ·basis?
·4· · · · Q.· · I'm looking at the balance sheet.
·5· ·It is a consolidated balance sheet.· Okay?
·6· · · · · · · Does the Notes and Other Amounts Due
·7· ·from Affiliates constitute approximately
·8· ·17 percent of the total assets of Highland
·9· ·Capital Management, L.P., on a consolidated
10· ·basis?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · I don't have a calculator in front
13· ·of me but I will take your math, if you are
14· ·taking the 173 divided by the billion.
15· · · · Q.· · Okay.
16· · · · A.· · If that is accurate, yes.· But,
17· ·again, on a consolidated basis.
18· · · · Q.· · And on an unconsolidated basis the
19· ·percentage would be higher; correct?
20· · · · A.· · I -- no.· I don't know.
21· · · · Q.· · Well, okay.· That is fair.
22· · · · · · · MR. MORRIS:· Can we turn to
23· · · · page 241, please.
24· · · · Q.· · Do you see that this is a section of
25· ·the audit report that is entitled Notes and


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Other Amounts Due from Affiliates?
·3· · · · A.· · Sorry, I can't see the -- the --
·4· · · · Q.· · It is at the top.
·5· · · · A.· · Notes and Other Amounts Due from
·6· ·Affiliates, yes, I see that.· I don't -- I
·7· ·don't have a page number, but I'm on a page
·8· ·that says at the top:· Notes and Other Amounts
·9· ·Due from Affiliates.
10· · · · Q.· · Okay.· And that is the same title of
11· ·the line item on the balance sheet that we just
12· ·looked at; right?· Notes and Other Amounts Due
13· ·from Affiliates?
14· · · · A.· · Yes.
15· · · · Q.· · And is it your understanding, based
16· ·on your experience and knowledge as the CFO,
17· ·that this is the section of the narrative that
18· ·ties into the line item that we just looked at?
19· · · · A.· · Yes.
20· · · · Q.· · And is this section of the audit
21· ·report intended to describe and disclose all of
22· ·the material facts concerning the Notes and
23· ·Other Amounts Due from Affiliates?
24· · · · · · · MS. DANDENEAU:· Objection, form.
25· · · · A.· · This -- these notes -- these notes


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·2· ·of the financial statements are -- the purpose
·3· ·is to disclose any material items in relation
·4· ·to that balance sheet line item.
·5· · · · Q.· · Okay.· And all of the information,
·6· ·to the best of your knowledge, that is set
·7· ·forth in this section of the audit report was
·8· ·provided by Highland; correct?
·9· · · · A.· · Yes, it would have been provided by
10· ·the corporate accounting team.
11· · · · Q.· · Okay.· And the corporate accounting
12· ·team, did that team report to you in the
13· ·organizational structure?
14· · · · A.· · Yes.
15· · · · Q.· · And did you have any concerns about
16· ·the controls that were in place to make sure
17· ·that the information provided with respect to
18· ·Notes and Other Amounts Due from Affiliates was
19· ·accurate and complete?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · Not that I recall.
22· · · · Q.· · Okay.· Do you recall ever being
23· ·concerned that any portion of the Notes and
24· ·Other Amounts Due from Affiliates in any audit
25· ·report was inaccurate, incomplete, or not


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·reliable?
·3· · · · A.· · I didn't -- I had concerns about,
·4· ·you know, like I talked about before, of there
·5· ·were -- there were potentially issues in the
·6· ·control environment.· But as far as it relates
·7· ·to the audited financial statements, any -- the
·8· ·team would work with the auditors to disclose
·9· ·all -- all notes in Highland's possession.
10· · · · · · · And any -- any notes that were
11· ·deemed material by the auditor, right, these
12· ·were disclosed in these -- in this section, you
13· ·know, in -- in the notes to the consolidated
14· ·financial statements as you presented.
15· · · · Q.· · Do you recall ever having a
16· ·conversation with anybody at any time
17· ·concerning the accuracy of the section of audit
18· ·reports that relates to Notes and Other Amounts
19· ·Due from Affiliates?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · You know, as -- as -- I didn't have
22· ·direct conversations with
23· ·PricewaterhouseCoopers as I had, you know --
24· ·I -- I had the team that managed this.
25· · · · · · · Again, I wasn't anywhere chose to


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·being the point person of this audit.· And I
·3· ·can't recall, you know, when -- you know, I
·4· ·don't even know if I was ever the point person
·5· ·during my tenure as CFO.
·6· · · · · · · I don't know if PwC had any concerns
·7· ·when they were performing those audit
·8· ·procedures.· They may have and they may have --
·9· ·and it may not have been communicated to me.                          I
10· ·don't know.
11· · · · · · · MR. MORRIS:· All right.· I move to
12· · · · strike.
13· · · · Q.· · And I'm going to ask you to listen
14· ·carefully to my question.
15· · · · · · · Did you -- do you recall ever having
16· ·a conversation with anybody at any time
17· ·concerning the accuracy of the reporting
18· ·provided in the audited financial statement on
19· ·the topic of Notes and Other Amounts Due?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · I don't recall for this, but that
22· ·doesn't mean that it didn't exist.
23· · · · Q.· · Okay.· But you have no reason to
24· ·believe, as you sit here right now, that you
25· ·ever discussed with anybody concerns over the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·accuracy of the section of the audit reports
·3· ·called Notes and Other Amounts Due from
·4· ·Affiliates; correct?
·5· · · · · · · MS. DANDENEAU:· Object to the form.
·6· · · · · · · MS. DEITSCH-PEREZ:· Objection to
·7· · · · form.
·8· · · · A.· · I don't recall having any
·9· ·conversations.· But, again, I mean, this is --
10· ·this is two years ago.
11· · · · Q.· · I'm just asking for your
12· ·recollection, sir.
13· · · · A.· · Yes.
14· · · · Q.· · If you don't recall, this will --
15· · · · A.· · Yeah.
16· · · · Q.· · (Overspeak) -- if you don't
17· ·recall --
18· · · · A.· · Yeah, I don't -- I don't recall.
19· · · · Q.· · Do you know who was responsible for
20· ·drafting the audit report?
21· · · · A.· · Are you asking the actual Highland
22· ·employee responsible?· I mean, it was
23· ·Highland's responsibility, so, I mean, that
24· ·is --
25· · · · Q.· · Right.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · -- Highland's responsibility.
·3· ·Highland's responsibility.
·4· · · · Q.· · Who, at Highland, was responsible
·5· ·for drafting this section of the audit report?
·6· · · · A.· · I -- I don't know the answer to
·7· ·that.· Again, there was a team who worked on
·8· ·this.· And I don't know, you know, whether it
·9· ·was the staff or the manager.
10· · · · · · · Again, this is where I let the teams
11· ·manage.· And, you know, there may be a
12· ·corporate accountant who worked on this.                        I
13· ·just -- you know, I wasn't part of that process
14· ·to give that person experience.· I don't know.
15· · · · Q.· · Do you recall having any
16· ·communications with anybody at any time
17· ·concerning this section of the report?
18· · · · A.· · Yeah, I don't recall.
19· · · · Q.· · Do you recall whether you ever told
20· ·anybody at any time that any aspect of this
21· ·section of the report was inaccurate or
22· ·incomplete?
23· · · · A.· · I don't recall.
24· · · · Q.· · As you sit here today, do you have
25· ·any reason to believe that this section of the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·audit report is incomplete or inaccurate in any
·3· ·way?
·4· · · · · · · And I'm happy to give you a moment
·5· ·to -- to look at it, if you would like.
·6· · · · · · · MS. DANDENEAU:· Objection to form.
·7· · · · · · · MS. DEITSCH-PEREZ:· Same.
·8· · · · A.· · I mean, I would have to look at -- I
·9· ·would have to look at the bill to the note
10· ·schedule to make sure I know you presented me
11· ·with materiality, but again, there might be a
12· ·note as of 12/31/18 that somehow was -- was
13· ·under materiality not disclosed.· I don't -- I
14· ·don't know.· I would need more information.
15· · · · Q.· · Okay.· But without more information,
16· ·you have no reason to believe anything this
17· ·section is inaccurate; correct?
18· · · · · · · MS. DANDENEAU:· Objection to form.
19· · · · A.· · I don't.· I mean, you know, this was
20· ·part of the audit.
21· · · · Q.· · Thank you.· Now, you will see if we
22· ·could scroll just a little bit more that each
23· ·of the first five paragraphs concerns
24· ·specifically the four affiliates that we've
25· ·been discussing and Mr. Dondero.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MR. MORRIS:· If we could go the
·3· · · · other way, La Asia.· We don't need Okada.
·4· · · · We're going to have to thread the needle.
·5· · · · Okay.· Good, perfect.
·6· · · · Q.· · Do you see those five paragraphs
·7· ·certain the four affiliates and Mr. Dondero as
·8· ·we've been referring to today?
·9· · · · A.· · Yes.
10· · · · Q.· · Okay.· And do you see at the end of
11· ·every paragraph it states, quote:· A fair value
12· ·of a partnership's outstanding notes receivable
13· ·approximates the carrying value of the notes
14· ·receivable?
15· · · · A.· · Yes, I see that.
16· · · · Q.· · Do you have an understanding of what
17· ·that means?
18· · · · A.· · Yes.
19· · · · Q.· · What is your understanding of that
20· ·sentence?
21· · · · A.· · It is the -- again, the -- the fair
22· ·value, right, which is -- which is what the --
23· ·what Highland could sell that asset for.· This
24· ·statement is comparing the fair value of the
25· ·notes to the carrying value, so the carrying


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·value is the line item that you showed me
·3· ·earlier that is in Notes and Other Amounts Due
·4· ·from Affiliates.
·5· · · · Q.· · Okay.· Is another way to say this is
·6· ·that the fair market value of the notes equals
·7· ·the principal amount and -- withdrawn.
·8· · · · · · · Is the fair way to interpret this
·9· ·that the fair market value of the notes equals
10· ·all remaining unpaid principal and interest due
11· ·under the notes?
12· · · · · · · MS. DANDENEAU:· Object to the form.
13· · · · · · · MS. DEITSCH-PEREZ:· Objection, form.
14· · · · A.· · I don't know the answer to that,
15· ·because I don't recall where -- where any --
16· ·where -- in what line item was the interest
17· ·component reported.
18· · · · Q.· · All right.· Well, if we look in this
19· ·audit report, you will see in the middle of the
20· ·first paragraph, for example, it states that as
21· ·of December 31st, 2018, total interest and
22· ·principal due on outstanding promissory notes
23· ·was approximately $5.3 million.
24· · · · · · · Do you see that?
25· · · · A.· · I do.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Is that the carrying value or the
·3· ·fair value?
·4· · · · A.· · That would be the carrying value --
·5· · · · Q.· · And is the last --
·6· · · · A.· · -- in my opinion.
·7· · · · Q.· · Okay.· And it is in your opinion as
·8· ·the chief financial officer of Highland during
·9· ·the period of time that you described; right?
10· ·It is an educated opinion?
11· · · · A.· · I'm reading this at face value.· I'm
12· ·taking that as that is carrying value.
13· · · · Q.· · Okay.· And does the last sentence
14· ·say that the carrying value is roughly
15· ·approximate to the fair market value?
16· · · · · · · MS. DANDENEAU:· Objection to form.
17· · · · · · · MS. DEITSCH-PEREZ:· Objection, form.
18· · · · A.· · Again, this note to the financial
19· ·statement is specific to notes and other
20· ·amounts due from affiliates.
21· · · · Q.· · Correct.
22· · · · A.· · If the interest component is
23· ·reported elsewhere on the balance sheet, you
24· ·know, it -- it -- it could be off.· Again, I
25· ·don't have the detail.· I don't know, but yes,


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·look, I mean, if you -- I mean, if you are
·3· ·saying the 5.3 million is in the notes and
·4· ·other amounts due from affiliates, then the
·5· ·last statement is saying the fair value
·6· ·approximates 5.3 million.· That is what that
·7· ·last sentence is saying.
·8· · · · Q.· · Do you see in the middle of the
·9· ·first paragraph -- not in the middle, the next
10· ·to last sentence there is a statement that the
11· ·partnership will not demand payment on amounts
12· ·that exceed HCMFA's excess cash availability
13· ·prior to May 31st, 2021.
14· · · · · · · Do you see that?
15· · · · A.· · I do.
16· · · · Q.· · Do you know when Highland agreed not
17· ·to demand payment as described in that
18· ·sentence?
19· · · · A.· · I don't know specifically.
20· · · · Q.· · Do you know why Highland agreed not
21· ·to demand payment on HCMFA's notes until May
22· ·2021?
23· · · · A.· · Yes.
24· · · · Q.· · Why was that decision made?
25· · · · A.· · You know, well, it -- it -- that


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·decision was made as to not put HCMFA into a
·3· ·position where it didn't have sufficient assets
·4· ·to pay for the demand note.
·5· · · · Q.· · And at the time the agreement was
·6· ·entered into, pursuant to which the partnership
·7· ·wouldn't demand payment, did HCMFA have
·8· ·insufficient assets to satisfy the notes if a
·9· ·demand had been made?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · I don't have HCMFA's financial
12· ·statements in front of me as of 12/31/18.
13· · · · Q.· · Was there a concern that HCMFA would
14· ·be unable to satisfy its demands under the
15· ·notes if demand was made?
16· · · · · · · MS. DANDENEAU:· Objection to form.
17· · · · A.· · Well, there is -- I don't recall --
18· ·I mean, there is something, right, in place to
19· ·basically not demand payment until May 31, 2021
20· ·as detailed here.
21· · · · Q.· · And who made the decision to enter
22· ·into -- who made the decision on behalf of
23· ·Highland not to demand payment until May 31st,
24· ·2021?
25· · · · A.· · I'm trying to remember.· I don't


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·remember exactly -- I don't remember if it was
·3· ·myself or -- or Jim Dondero who -- who -- there
·4· ·was -- there was something signed, from what I
·5· ·recall, that -- that -- that backed up this
·6· ·line item in the -- in the notes I'm -- look,
·7· ·I'm, I'm --
·8· · · · Q.· · We will get to that.
·9· · · · A.· · You --
10· · · · Q.· · I'm just --
11· · · · A.· · You have -- I mean --
12· · · · Q.· · We're going to give that to you.
13· ·I'm going to give that to you.
14· · · · A.· · You -- you -- you have all the
15· ·documents.· I don't have the documents, and
16· ·that is what makes it so hard.· I don't have
17· ·any documents to prepare for this deposition;
18· ·right?· You have all -- I don't -- I don't -- I
19· ·don't remember, but, you know, again, it would
20· ·probably be myself or Jim.
21· · · · Q.· · Do you know if Highland received
22· ·anything in return for its agreement not to
23· ·make a demand for two years?
24· · · · A.· · I don't -- I don't think it referred
25· ·anything.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And did you and Mr. Dondero discuss
·3· ·HCMFA's ability to satisfy the notes if a
·4· ·demand was made at the time this agreement was
·5· ·entered into?
·6· · · · · · · MS. DANDENEAU:· Objection to form.
·7· · · · A.· · I don't -- I don't -- I don't recall
·8· ·having a specific conversation, if I did, or --
·9· ·or David Klos.
10· · · · Q.· · Okay.· I'm just asking if you recall
11· ·any conversations that you had.
12· · · · A.· · I don't recall.
13· · · · Q.· · Okay.· Do you know why Highland
14· ·loaned the money to HCMFA that is the subject
15· ·of the notes described in this paragraph?
16· · · · A.· · I don't remember specifically why
17· ·5.3 million was loaned.· I mean, I -- it would
18· ·have to be put in the context.
19· · · · Q.· · Do you have any recollection at all
20· ·as to why Highland ever loaned any money to
21· ·HCMFA?
22· · · · A.· · Yes.
23· · · · · · · MS. DANDENEAU:· Objection to form.
24· · · · Q.· · What do you remember about that?
25· · · · A.· · There was a Highland Global


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·2· ·Allocation Fund, which was a -- a fund managed
·3· ·by Highland Capital Management Fund Advisors.
·4· ·There was a -- we -- I'm just telling you,
·5· ·there was -- there was -- there was a -- a
·6· ·ultimately a NAV error found in this fund while
·7· ·it was an open-ended fund and, you know, there
·8· ·were amounts owed by the advisor in -- in
·9· ·relation to that NAV error.
10· · · · · · · There were also, for the same fund,
11· ·that same fund was ongoing an
12· ·open-end-to-close-end conversion, and as part
13· ·of that proposal, shareholders who voted for
14· ·the conversion received compensation from the
15· ·advisor.
16· · · · Q.· · All right.· Now, the events that
17· ·you're describing occurred in the spring of
18· ·2019; right?
19· · · · A.· · These started back -- I think, I
20· ·mean --
21· · · · Q.· · I apologize.
22· · · · A.· · -- that -- I mean, the answer to
23· ·that is no.
24· · · · Q.· · I apologize, the loans that were
25· ·made in connection with the events that you're


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·describing occurred in May 2019; right?
·3· · · · · · · MR. RUKAVINA:· Objection to the
·4· · · · extent that calls for a legal conclusion.
·5· · · · A.· · I don't recall specifically what
·6· ·amounts of money were moved when, for what
·7· ·purpose.
·8· · · · Q.· · Okay.· Fair enough.· Going to the
·9· ·next paragraph, do you recall that NexPoint
10· ·Advisors had obtained a number of loans from
11· ·Highland, and they rolled up those loans into
12· ·one note in approximately 2017?
13· · · · A.· · This is for NexPoint Advisors?
14· · · · Q.· · Yes.
15· · · · A.· · I -- I mean, I don't -- I don't
16· ·recall the NexPoint Advisors loan being a
17· ·roll-up loan, but --
18· · · · Q.· · Do you know why?
19· · · · A.· · But, look, if you have documents
20· ·that show -- I mean, look, I just don't recall.
21· · · · Q.· · Okay.· That is fair.· Do you know
22· ·why -- do you have any recollection as to why
23· ·Highland loaned money to NexPoint?
24· · · · A.· · Yes.
25· · · · Q.· · Why did High -- why do you recall --


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·what is the reason you recall Highland lending
·3· ·money to NexPoint?
·4· · · · A.· · I mean, I was just -- I just -- I
·5· ·just recall.· I mean, I just -- I don't
·6· ·remember why.
·7· · · · Q.· · I understand.· And I'm asking you if
·8· ·you recall --
·9· · · · A.· · Oh, why -- I thought you say --
10· ·NexPoint Advisors was launching a fund which
11· ·is -- I believe that the legal name is NexPoint
12· ·Capital, Inc.· And it -- it provided a
13· ·co-invest into that fund.
14· · · · · · · And, from what I remember, the --
15· ·the -- that NexPoint borrowed money from
16· ·Highland at the time to make that co-invest.
17· · · · Q.· · So this was an investment that
18· ·NexPoint was required to make; is that right?
19· · · · · · · MS. DANDENEAU:· Objection to form.
20· · · · A.· · I don't know if it was required to
21· ·make, I don't recall that, or if it just made
22· ·it.
23· · · · Q.· · Okay.· But your recollection is that
24· ·NexPoint made an investment and they borrowed
25· ·money from Highland to finance the investment.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · Do I have that right?
·3· · · · A.· · Yes.
·4· · · · Q.· · How about HCRE?· Do you know why
·5· ·HCRE borrowed money from Highland?
·6· · · · A.· · I don't remember specifically.
·7· · · · Q.· · Do you remember generally?
·8· · · · A.· · Generally, yeah -- I mean, yes.
·9· · · · Q.· · Can you tell me your general
10· ·recollection as to why Highland loaned money to
11· ·HCRE?
12· · · · A.· · For -- for -- for investment
13· ·purposes.
14· · · · Q.· · So HCRE made the investment and it
15· ·obtained a loan, or loans, from Highland in
16· ·order to finance that investment or those
17· ·investments.
18· · · · · · · Do I have that right?
19· · · · A.· · I mean, I -- you know, generally.
20· · · · Q.· · Okay.· How about Highland Management
21· ·Services, Inc.?
22· · · · · · · Do you have any recollection as to
23· ·why HCMS borrowed money from Highland?
24· · · · A.· · Generally.
25· · · · Q.· · What is your general recollection as


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·to why HCMS borrowed money from Highland?
·3· · · · A.· · For -- for investment purposes.
·4· · · · Q.· · So it is the same thing, HCMS wanted
·5· ·to make investments and it borrowed money from
·6· ·Highland in order to finance those investments;
·7· ·is that right?
·8· · · · A.· · I mean, yes, generally.· I mean, I
·9· ·can't -- I don't -- on the services, there --
10· ·there are several loans in these schedules.
11· ·You know, I can't remember why every single one
12· ·of these were made, but I would say, yeah, I
13· ·mean, generally.
14· · · · Q.· · Okay.· I appreciate that.
15· · · · · · · MR. MORRIS:· Let's go to the page
16· · · · with Bates No. 251.· La Asia, are you
17· · · · there?
18· · · · · · · MS. CANTY:· Sorry, John.· It went
19· · · · out for a minute.· Can you say that again.
20· · · · I don't know what is going on.
21· · · · · · · MR. MORRIS:· The page with Bates
22· · · · No. 251, can we go to that.
23· · · · · · · MS. CANTY:· Yes, sorry.
24· · · · · · · MR. MORRIS:· Keep going to the
25· · · · bottom.· Yeah, there you go.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Do you see, Mr. Waterhouse, that
·3· ·there is a section there called Subsequent
·4· ·Events?
·5· · · · A.· · I do.
·6· · · · Q.· · And does this relate to the last
·7· ·sentence above the signature line on the
·8· ·management representation letter that we talked
·9· ·about earlier where you made the representation
10· ·that you disclosed subsequent events?
11· · · · A.· · I mean, it relates to it, but not in
12· ·its entirety.
13· · · · Q.· · Okay.
14· · · · · · · MR. MORRIS:· If we can scroll up to
15· · · · capture the entirety of this section right
16· · · · here.
17· · · · Q.· · And what do you mean by that, sir?
18· · · · · · · MR. MORRIS:· Yeah, right there.
19· · · · Perfect.
20· · · · A.· · There are -- there are different
21· ·subsequent events in -- under GAAP.· So there
22· ·are -- and -- and -- so what we see in the
23· ·notes to the financial statements are one type
24· ·of subevent.
25· · · · Q.· · Okay.· And -- and would the type of


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·2· ·subsequent event relating to affiliate loans be
·3· ·captured in this section if they were -- if
·4· ·they were made after the end of the fiscal year
·5· ·and prior to the issuance of the audit report?
·6· · · · A.· · Yes, if they were deemed material or
·7· ·disclosable.
·8· · · · Q.· · Okay.· I appreciate that.
·9· · · · · · · Do you see the next to the last
10· ·entry there?· It says, Over the course of 2019
11· ·through the report date, HCMFA issued
12· ·promissory notes to the partnership in the
13· ·aggregate amount of $7.4 million?
14· · · · A.· · Yes.
15· · · · Q.· · And does that refresh your
16· ·recollection that those are the notes that
17· ·related to the NAV error that you mentioned
18· ·earlier?
19· · · · A.· · I don't -- I don't remember the
20· ·exact.· Again, there are -- I mentioned two
21· ·line items; right?
22· · · · Q.· · Yes.
23· · · · A.· · I mean, it was the GAAP conversion
24· ·process plus the -- the NAV error.· I don't
25· ·have the details.· I don't recall specifically


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·if -- you know, what -- if that 7.4 million was
·3· ·solely attributable to the NAV error.
·4· · · · Q.· · Okay.· But there is no question that
·5· ·Highland told PricewaterhouseCoopers that over
·6· ·the course of 2019 HCMFA issued promissory
·7· ·notes to the partnership in the aggregate
·8· ·amount of $7.4 million; correct?
·9· · · · A.· · In the course of the audit, we would
10· ·have produced all promissory notes in our
11· ·possession, including the ones that are
12· ·detailed here.
13· · · · Q.· · Do you recall that you signed the
14· ·two promissory notes that are referenced in
15· ·that provision?
16· · · · · · · MS. DANDENEAU:· Objection to form.
17· · · · A.· · I didn't recall initially but I've
18· ·been reminded.
19· · · · Q.· · Okay.· And -- and do you recall that
20· ·those notes are dated May 2nd and May 3rd,
21· ·2019?
22· · · · A.· · Yes.
23· · · · Q.· · So that was just a month before the
24· ·audit was completed; correct?
25· · · · A.· · Yes.· I think we had a June 3rd


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·date, right, if -- if my memory serves me
·3· ·right.
·4· · · · Q.· · Yes, I will represent to you that
·5· ·your memory is accurate in that regard.
·6· · · · · · · Did anybody ever instruct you as the
·7· ·CFO to correct this statement that we're
·8· ·looking at in subsequent events?
·9· · · · A.· · So let me understand.· You're saying
10· ·when I was CFO at Highland Capital did anyone
11· ·ever ask me to correct the -- over the course
12· ·of 2019 through the report date HCMFA issued
13· ·promissory notes, this statement?
14· · · · Q.· · Right.
15· · · · A.· · Not that I'm aware.
16· · · · Q.· · While you were the CFO of Highland,
17· ·did anybody ever tell you that that sentence
18· ·was wrong?
19· · · · A.· · Not that I'm aware.
20· · · · Q.· · Highland -- withdrawn.
21· · · · · · · HCMFA disclosed these notes in its
22· ·own audited financial statements; right?
23· · · · · · · MR. RUKAVINA:· Objection, form.
24· · · · A.· · I assume that these would be
25· ·material -- if these are material financial


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·statements, yes, they -- they -- they should be
·3· ·and they were likely disclosed.
·4· · · · Q.· · Now, there is no statement
·5· ·concerning the 2019 notes about the forbearance
·6· ·that we looked at in the affiliated note
·7· ·section of the report; right?
·8· · · · · · · MS. DANDENEAU:· Objection to form.
·9· · · · Q.· · I'll withdraw.· That was bad.
10· · · · · · · Do you recall when we were looking
11· ·at the paragraph concerning HCMFA earlier it
12· ·had that disclosure about the agreement whereby
13· ·Highland wouldn't ask for demand on the -- on
14· ·the HCMFA notes?
15· · · · A.· · Yes.
16· · · · Q.· · That forbearance disclosure is not
17· ·made with respect to the 2019 notes; right?
18· · · · A.· · Not -- look, not that I can recall,
19· ·unless -- unless it was done at a subsequent
20· ·day.
21· · · · Q.· · Right.· And it is not in the
22· ·subsequent event section that we're looking at
23· ·right now where the 2019 notes are described;
24· ·right?
25· · · · A.· · Right.· But this is through


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·2· ·June 3rd.· It could have been done on June 4th.
·3· ·I don't -- I don't -- I don't recall.
·4· · · · Q.· · Okay.
·5· · · · · · · MR. MORRIS:· Can we put up on the
·6· · · · screen the HCMFA audit report.· And while
·7· · · · we're --
·8· · · · · · · MS. DANDENEAU:· What exhibit is
·9· · · · this?
10· · · · · · · MR. MORRIS:· La Asia, what number is
11· · · · that?
12· · · · · · · MS. CANTY:· 45.
13· · · · · · · MR. MORRIS:· So this will be marked
14· · · · as Exhibit 45.
15· · · · · · · (Exhibit 45 marked.)
16· · · · · · · MS. CANTY:· Yeah, and I will put it
17· · · · in the chat.
18· · · · · · · MS. DANDENEAU:· Thank you.
19· · · · Q.· · Okay.· All right.· Do you see that
20· ·this is the consolidated financial statements
21· ·for HCMFA for the period ending 12/31/18?
22· · · · A.· · Yes.
23· · · · Q.· · As the treasurer of HCMFA at the
24· ·time, did you have to sign a management
25· ·representation letter similar to the one that


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·2· ·we looked at earlier for Highland?
·3· · · · A.· · I would imagine I would have been
·4· ·asked to.· I don't recall if I did.
·5· · · · Q.· · Do you recall ever being asked by an
·6· ·auditor to sign a management representation
·7· ·letter and then not doing it?
·8· · · · A.· · No.
·9· · · · · · · MR. MORRIS:· Can we just scroll down
10· · · · again.· I just want to see the date of the
11· · · · document.
12· · · · A.· · I mean, let me -- you know, there
13· ·are different versions to management
14· ·representation letters I will qualify.
15· · · · · · · Yes, there are certain -- from time
16· ·to time auditors can make representations
17· ·that -- in the rep letter that is being
18· ·proposed that are inaccurate or out of scope or
19· ·things like that and they've asked for
20· ·signature.
21· · · · · · · In that context, yes.· I mean, you
22· ·know -- I mean, if I have been asked to sign
23· ·and make those representations and those
24· ·representations are invalid, yes, I would not,
25· ·I mean, I -- I wouldn't sign that.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· PricewaterhouseCoopers served
·3· ·as HCMFA's outside auditors as well; correct?
·4· · · · A.· · Yes.
·5· · · · Q.· · Do you see that this audit report is
·6· ·signed on June 3rd, 2019, just like the
·7· ·Highland audit report?
·8· · · · A.· · That is correct.
·9· · · · Q.· · And did the process of -- of
10· ·preparing HCMFA's audit report, was that the
11· ·same process that Highland followed when it did
12· ·its audit report at this time?
13· · · · A.· · I mean, it is a different entity.
14· ·There are different assets.· You know, it --
15· ·it -- it is -- as you saw, Highland's
16· ·financials are on a consolidated basis.· This
17· ·is different, so it is under the same control
18· ·environment and team.
19· · · · Q.· · Okay.· I appreciate that.· So the
20· ·same control environment and team participated
21· ·in the preparation of the audit for Highland
22· ·and for HCMFA at around the same time; correct?
23· · · · A.· · Yes.
24· · · · · · · MR. MORRIS:· Can we go to page 17 of
25· · · · the report.· I don't have the Bates number.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Do you see that just like
·3· ·Highland's audited financial report, HCMFA's
·4· ·audited financial report also has a section
·5· ·related to subsequent events?
·6· · · · A.· · Yes.
·7· · · · Q.· · And am I reading this correctly that
·8· ·just as Highland had done, HCMFA disclosed in
·9· ·its audited financial report a subsequent event
10· ·that related to the issuance of promissory
11· ·notes to Highland in the aggregate amount of
12· ·$7.4 million in 2019?
13· · · · A.· · That is what I see in the report.
14· · · · Q.· · And you were the treasurer of HCMFA
15· ·at the time; right?
16· · · · A.· · Yes, to the best of my knowledge.
17· · · · Q.· · And did anybody ever tell you prior
18· ·to the time of the issuance of this audit
19· ·report that that sentence relating to HCMFA's
20· ·2019 notes was inaccurate or wrong in any way?
21· · · · A.· · Not that I recall.
22· · · · Q.· · As you sit here right now, has
23· ·anybody ever told you that that sentence is
24· ·inaccurate or wrong in any way?
25· · · · A.· · Not that I recall.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · I apologize if I asked you this
·3· ·already, but has anybody ever told you at any
·4· ·time that you are not authorized to sign the
·5· ·promissory notes that are the subject of the
·6· ·sentence we're looking at?
·7· · · · A.· · Not that I recall.
·8· · · · Q.· · Did anybody ever tell you at any
·9· ·time that you had made a mistake when you
10· ·signed the promissory notes that are the
11· ·subject of this sentence?
12· · · · A.· · Say that again.· Did anyone ever say
13· ·that I made a mistake?
14· · · · Q.· · Let me ask the question again.
15· · · · · · · Did anybody ever tell you at any
16· ·time that you made a mistake when you signed
17· ·the two promissory notes in Highland's favor on
18· ·behalf of HCMFA in 2019?
19· · · · A.· · Not that I recall.
20· · · · · · · MR. MORRIS:· Let's just look at the
21· · · · promissory notes quickly.· Can we please
22· · · · put up Document Number 1, and so this is in
23· · · · the pile that y'all have.· We'll just go
24· · · · for a few more minutes and we can take our
25· · · · lunch break.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · All right.· So I don't know if you
·3· ·have seen this before, sir.· Do you see that
·4· ·this is a complaint against HCMFA?
·5· · · · A.· · Yes, I am looking at it on the
·6· ·screen.
·7· · · · Q.· · Okay.· And have you ever seen this
·8· ·document before?
·9· · · · A.· · I went through some of these
10· ·documents with my counsel here yesterday.
11· · · · · · · MR. MORRIS:· All right.· Can we go
12· · · · to Exhibit 1 of this document.
13· · · · Q.· · Do you see Exhibit 1 is a
14· ·$2.4 million promissory note back in 2019?
15· · · · A.· · Yeah, I found it in the book.· Yes,
16· ·I have it here in front of me.
17· · · · Q.· · And this is a demand note, right, if
18· ·you look at Paragraph 2?
19· · · · A.· · Yes.
20· · · · Q.· · And this is a note where the maker
21· ·is HCMFA, and Highland is the payee; right?
22· · · · A.· · Yes.
23· · · · · · · MR. MORRIS:· And if we can scroll
24· · · · down, can we just see Mr. Waterhouse's
25· · · · signature.


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·2· · · · Q.· · Is that your signature, sir?
·3· · · · A.· · Yes, it is.
·4· · · · Q.· · And did you sign this document on or
·5· ·around May 2nd, 2019?
·6· · · · A.· · I don't recall specifically signing
·7· ·this, but this is my signature.
·8· · · · Q.· · Okay.· And do you recall that
·9· ·Highland transferred $2.4 million to HCMFA at
10· ·or around the time you signed this document?
11· · · · A.· · I don't recall specifically.                       I
12· ·would want to, as I sit here today, go back and
13· ·confirm that, but again, presumably that --
14· ·that -- that did happen.
15· · · · Q.· · You wouldn't have signed this
16· ·document if you didn't believe that HCMFA
17· ·either received or was going to receive
18· ·$2.4 million from Highland; is that fair?
19· · · · A.· · I mean, it -- if -- if -- if there
20· ·wasn't a transfer of value, yeah, I mean, you
21· ·know, I would have no reason to -- to sign a
22· ·note.
23· · · · Q.· · And -- and Highland wouldn't have
24· ·given this note to PricewaterhouseCoopers if --
25· ·withdrawn.


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·2· · · · · · · HCMFA wouldn't have given this note
·3· ·to PricewaterhouseCoopers if it hadn't received
·4· ·the principal value of -- of the note in the
·5· ·form of a loan; correct?
·6· · · · · · · MR. RUKAVINA:· Objection, legal
·7· · · · conclusion, speculation and form.
·8· · · · A.· · Again, we -- what we provided to PwC
·9· ·were, as part of the audit, any promissory
10· ·notes executed and outstanding.· You know, as a
11· ·part of the audit, they, you know, they -- they
12· ·have copies of all the bank statements,
13· ·things -- things of that sort.
14· · · · · · · MR. MORRIS:· Okay.· Can we go to
15· · · · Exhibit 2.
16· · · · · · · (Exhibit 2 marked.)
17· · · · Q.· · Do you see that this is a promissory
18· ·note dated May 3rd, 2019 in the amount of
19· ·$5 million?
20· · · · A.· · Yes.
21· · · · Q.· · Do you believe this is also a demand
22· ·note if you look at Paragraph 2?
23· · · · A.· · Yes.
24· · · · Q.· · And do you see that HCMFA is the
25· ·maker, and Highland is the payee?


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·2· · · · A.· · Yes.
·3· · · · Q.· · And if we go to the bottom, can we
·4· ·just confirm that that is your signature?
·5· · · · A.· · Yes.
·6· · · · Q.· · And together these notes are the
·7· ·notes that are referred to both in Highland and
·8· ·HCMFA's audited financial reports in the
·9· ·subsequent event sections; correct?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · They -- they -- they totaled
12· ·$7.4 million, so presumably, yes.
13· · · · Q.· · Okay.· And you were authorized to
14· ·sign these two notes; correct?
15· · · · · · · MR. RUKAVINA:· Objection, legal
16· · · · conclusion.
17· · · · A.· · Yeah.· I mean, I'm -- I was the
18· ·officer of -- of HCMFA.· You know, I -- I'm not
19· ·the legal expert on -- on what that -- what
20· ·that confers to me or what it doesn't.· I mean,
21· ·that is my signature on the notes.
22· · · · Q.· · And you believed you were authorized
23· ·to sign the notes; is that fair?
24· · · · A.· · I signed a lot of documents in my
25· ·capacity, just because it is operational in


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·nature.· So, you know, to me this was just
·3· ·another document, to be perfectly honest.
·4· · · · Q.· · Sir, would you have signed
·5· ·promissory notes with the principal amount of
·6· ·$7.4 million if you didn't believe you were
·7· ·authorized to do so?
·8· · · · · · · MS. DANDENEAU:· Objection to form.
·9· · · · Q.· · Are you frozen?
10· · · · A.· · No.· I'm just -- you know, it is --
11· ·you know, again, I typically don't sign
12· ·promissory notes, and I don't recall why I
13· ·signed these, but -- you know, but I did.
14· · · · Q.· · All right.· So listen carefully to
15· ·my question.· Would you have ever signed
16· ·promissory notes with a face amount of
17· ·$7.4 million without believing that you were
18· ·authorized to do so?
19· · · · A.· · No.· I mean, I'm -- I'm putting my
20· ·signature on there, so no.
21· · · · Q.· · Okay.· And would you have signed two
22· ·promissory notes obligating HCMFA to pay
23· ·Highland $7.4 million without Mr. Dondero's
24· ·prior knowledge and approval?
25· · · · · · · MS. DEITSCH-PEREZ:· Object to the


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·2· · · · form.
·3· · · · A.· · You know, from -- from what I recall
·4· ·around these notes, you know, I don't recall
·5· ·specifically Mr. -- Mr. Dondero saying to -- to
·6· ·make this a loan.
·7· · · · · · · So my conversation with Mr. Dondero
·8· ·around the culmination of the NAV error as
·9· ·related to TerreStar which was a -- a -- I
10· ·think it was a year and a half process.                       I
11· ·don't know, it was a multi-month process, very
12· ·laborious, very difficult.
13· · · · · · · When we got to the end, I had a
14· ·conversation with Mr. Dondero on where to, you
15· ·know, basically get the funds to reimburse the
16· ·fund, and I recall him saying, get the money
17· ·from Highland.
18· · · · Q.· · And so he told you to get the money
19· ·from Highland; is that right?
20· · · · A.· · That is what I recall -- in my
21· ·conversation with him, that is -- that is what
22· ·I can recall.
23· · · · Q.· · Do you know who drafted these notes?
24· · · · A.· · I don't.
25· · · · Q.· · Did you ask somebody to draft the


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·2· ·notes?
·3· · · · A.· · I didn't ask -- I don't specifically
·4· ·ask people to draft notes really.· I mean,
·5· ·again, you know, the legal group at Highland is
·6· ·responsible and has always been responsible for
·7· ·drafting promissory notes.
·8· · · · Q.· · So based on your -- based on the
·9· ·practice, you believe that somebody from the
10· ·Highland's legal department would have drafted
11· ·these notes.· Do I have that right?
12· · · · · · · MS. DEITSCH-PEREZ:· Object to the
13· · · · form.· John, I also asked you for the Word
14· · · · versions of these notes so we could look at
15· · · · the properties, and you have not provided
16· · · · them.· Are you intending to?
17· · · · · · · MR. MORRIS:· No.
18· · · · Q.· · Can you answer my question, sir?
19· · · · A.· · Again, I --
20· · · · · · · MS. DANDENEAU:· Do you want him to
21· · · · repeat it?
22· · · · A.· · Yeah, why don't you repeat it?
23· · · · Q.· · Sure.· Mr. Waterhouse, based on the
24· ·practice that you have described in your
25· ·understanding, do you believe that these notes


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·would have been drafted by somebody in the
·3· ·legal department?
·4· · · · · · · MS. DEITSCH-PEREZ:· Object to the
·5· · · · form.
·6· · · · A.· · Yes.
·7· · · · Q.· · Okay.· And do you know who would
·8· ·have instructed -- do you have any knowledge as
·9· ·to who would have instructed the legal
10· ·department to draft these notes?
11· · · · · · · MS. DEITSCH-PEREZ:· Object to the
12· · · · form.
13· · · · A.· · It was whoever was working -- I
14· ·mean, it was likely someone on the team.                        I
15· ·mean, I don't remember exactly on every note or
16· ·every document, but, again, a lot of these
17· ·things of this nature -- they're operational in
18· ·nature -- were handled by the team.
19· · · · · · · The team knows to -- I mean, we
20· ·don't draft documents.· We're not lawyers.
21· ·We're not attorneys.· It is not what I do or
22· ·accountants do.
23· · · · · · · So they are always instructed to go
24· ·and -- and go to the legal team to get
25· ·documents like this drafted.· Also, when you go


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·2· ·to the legal team, the -- you know, we always
·3· ·loop in compliance.· And compliance -- when you
·4· ·go to the legal team, compliance is part of
·5· ·legal team.· They're made aware of -- of -- of
·6· ·these types of transactions.
·7· · · · Q.· · And do you believe that you had
·8· ·the -- withdrawn.
·9· · · · · · · Did you ever tell Mr. Dondero --
10· ·(inaudible) -- did you see those?
11· · · · A.· · Sorry.
12· · · · · · · MS. DEITSCH-PEREZ:· I did not hear
13· · · · the end of that question.
14· · · · Q.· · Did you ever tell Mr. Dondero that
15· ·you signed these two notes?
16· · · · A.· · I don't recall ever -- no, I don't
17· ·recall having a conversation with him.
18· · · · Q.· · Did you ever discuss these two notes
19· ·with him at any time?
20· · · · A.· · The conversation, I recall, was what
21· ·I described earlier.· And that is the only time
22· ·I recall ever discussing this.
23· · · · Q.· · Okay.· But the corporate accounting
24· ·group had a copy of this -- of these two notes.
25· ·And pursuant to the audit process, the


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·2· ·corporate accounting group gave the two notes
·3· ·to PricewaterhouseCoopers in connection with
·4· ·the audit; correct?
·5· · · · · · · MS. DANDENEAU:· Objection to form.
·6· · · · A.· · Yes.· I mean, that is -- yeah, I
·7· ·mean, they -- unless the legal team can also
·8· ·retain copies of items like this.· I mean, I
·9· ·don't know everything that they would retain as
10· ·well.
11· · · · · · · The legal team would also, if they
12· ·had documents as part of audits, turn that over
13· ·to the auditors as well.· So it could have been
14· ·the corporate accounting team.· It could be
15· ·someone on the legal team.
16· · · · Q.· · All right.· So you didn't -- you
17· ·didn't draft this note; right?
18· · · · A.· · I -- I -- I did not.
19· · · · Q.· · But somebody at Highland did; is
20· ·that fair?
21· · · · · · · MS. DEITSCH-PEREZ:· Object to the
22· · · · form.
23· · · · A.· · I don't know.· I mean, we can go to
24· ·the legal team.· I don't -- I'm not sitting
25· ·behind someone in legal.· Maybe they went to


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·2· ·outside counsel.· I have no idea.
·3· · · · Q.· · Did you have any reason to believe
·4· ·you weren't authorized to sign this note,
·5· ·either of these two notes?
·6· · · · A.· · I think I have already answered that
·7· ·question.
·8· · · · Q.· · Okay.· You didn't give these notes
·9· ·to PricewaterhouseCoopers; correct?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · I don't recall giving these to
12· ·PricewaterhouseCoopers.
13· · · · Q.· · And in the practice that you have
14· ·described, somebody in the corporate accounting
15· ·group would have given these two notes to
16· ·PricewaterhouseCoopers; correct?
17· · · · · · · MS. DANDENEAU:· Objection to form.
18· · · · A.· · I think I've answered that.· I said
19· ·either the corporate accounting team or maybe
20· ·the legal team.
21· · · · · · · MR. MORRIS:· Okay.· Why don't we
22· · · · take our lunch break here.
23· · · · · · · VIDEOGRAPHER:· We're going off the
24· · · · record at 1:04 p.m.
25· · · · (Recess taken 1:04 p.m. to 1:49 p.m.)


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·2· · · · · · · VIDEOGRAPHER:· We are back on the
·3· · · · record at 1:49 p.m.
·4· · · · Q.· · Mr. Waterhouse, did you speak with
·5· ·anybody during the break about the substance of
·6· ·this deposition?
·7· · · · A.· · I spoke to -- to Deb and Michelle.
·8· · · · Q.· · About the substance of the
·9· ·deposition?
10· · · · A.· · Yes.
11· · · · Q.· · Can you tell me what you talked
12· ·about?
13· · · · · · · MS. DANDENEAU:· No.· We object on
14· · · · the basis of privilege.
15· · · · Q.· · Okay.· You are going to follow your
16· ·counsel's objection here?
17· · · · A.· · Yes.
18· · · · Q.· · Okay.
19· · · · · · · MR. MORRIS:· Can we put up on the
20· · · · screen Exhibit 35.
21· · · · · · · (Exhibit 35 marked.)
22· · · · Q.· · Are you able to see that document,
23· ·sir?
24· · · · A.· · Yes.
25· · · · Q.· · Have you ever seen an incumbency


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·2· ·certificate before?
·3· · · · A.· · I have.
·4· · · · Q.· · Do you have a general understanding
·5· ·of what an incumbency certificate is?
·6· · · · A.· · I have a general understanding.
·7· · · · Q.· · What is your general understanding?
·8· · · · A.· · You know, those -- my general
·9· ·understanding is that the incumbency
10· ·certificate basically lists folks that can --
11· ·are like authorized signers.
12· · · · Q.· · Okay.· And do you see that this is
13· ·an incumbency certificate for Highland Capital
14· ·Management Fund Advisors, L.P.?
15· · · · A.· · Yes.
16· · · · Q.· · Okay.· And if we could scroll down
17· ·just a little bit, do you see that it's dated
18· ·effective as of April 11th, 2019?
19· · · · A.· · Yes, I see that.
20· · · · Q.· · Okay.· And is that your signature in
21· ·the middle of the signature block?
22· · · · A.· · Yes, it is.
23· · · · Q.· · And by signing it, did you accept
24· ·appointment as the treasurer of HCMFA effective
25· ·as of April 11th, 2019?


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·2· · · · A.· · Again, I'm not the legal -- I don't
·3· ·know if this makes me the treasurer or the
·4· ·appointment.· I don't know -- I don't know
·5· ·that, so I don't -- I don't know if that
·6· ·document -- again, I think -- again, I'm not
·7· ·the legal expert.· I think isn't there --
·8· ·aren't there other legal documents that detail
·9· ·who the officers are that could be incorporated
10· ·or things like that?· Again, I don't want to
11· ·play armchair attorney here.
12· · · · Q.· · I'm not asking you for a legal
13· ·conclusion.· I'm asking you for your knowledge
14· ·and understanding.· When you signed this
15· ·document, did you understand that you were
16· ·accepting an appointment as the treasurer of
17· ·HCMFA?
18· · · · · · · MS. DANDENEAU:· Objection to form.
19· · · · · · · MS. DEITSCH-PEREZ:· Objection, form.
20· · · · A.· · Again, I don't think this -- that
21· ·wasn't my understanding.· I don't think this
22· ·makes -- this document makes me the treasurer.
23· · · · Q.· · What do you think this document --
24· ·why did you sign this document?
25· · · · · · · MS. DEITSCH-PEREZ:· Objection to


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·2· · · · form.
·3· · · · · · · MR. MORRIS:· You're objecting to the
·4· · · · form of the question when I asked him why
·5· · · · did you sign the document?· What is the
·6· · · · basis for the objection?
·7· · · · · · · MS. DEITSCH-PEREZ:· Because, John, I
·8· · · · think that it does call for a legal
·9· · · · conclusion other than -- with him saying
10· · · · because somebody told me to sign this
11· · · · document.· But if you want to go there,
12· · · · that is fine.
13· · · · · · · MR. MORRIS:· Okay.
14· · · · · · · MS. DANDENEAU:· I don't think --
15· · · · he's already said he's not a lawyer.
16· · · · · · · MR. MORRIS:· I'll allow the witness
17· · · · to answer this question.
18· · · · Q.· · Why did you sign this document, sir?
19· · · · A.· · I mean, our -- our legal group would
20· ·bring by these incumbency certificates from
21· ·time to time.· I have no idea why they're being
22· ·updated, and I was asked to sign.
23· · · · Q.· · Did you ask anybody, what is this
24· ·document?
25· · · · A.· · No.


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·2· · · · Q.· · Did anybody tell you why they needed
·3· ·you to sign the document?
·4· · · · A.· · Not that I can recall.
·5· · · · Q.· · You testified earlier that you
·6· ·understood that you served as the acting
·7· ·treasurer for HCMFA; correct?
·8· · · · A.· · Yes.
·9· · · · Q.· · How did you become the acting
10· ·treasurer of HCMFA?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · I don't -- I don't know the legal --
13· ·I don't know the legal mechanic of how I became
14· ·the acting treasurer.
15· · · · Q.· · I'm not asking for the legal
16· ·mechanic.· I'm asking you as the person who
17· ·is --
18· · · · · · · MS. DANDENEAU:· John, you said --
19· · · · · · · MR. MORRIS:· Stop.
20· · · · · · · MS. DANDENEAU:· -- how did you
21· · · · become the treasurer.· That is --
22· · · · · · · MR. MORRIS:· Please stop.
23· · · · · · · MS. DANDENEAU:· That is a legal
24· · · · question.
25· · · · · · · MR. MORRIS:· I am not asking any


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·2· · · · legal questions, to be clear.· I'm asking
·3· · · · for this witness' understanding as to how
·4· · · · he became the acting treasurer of HCMFA.
·5· · · · If he doesn't know, he can say he doesn't
·6· · · · know, but this legal stuff is nonsense, and
·7· · · · I really object to it.
·8· · · · Q.· · Sir, I'm asking you a very simple
·9· ·question.
10· · · · · · · MS. DANDENEAU:· Argumentative.
11· · · · Q.· · You testified -- you testified that
12· ·you became the acting treasurer of HCM --
13· ·HCMFA; correct?
14· · · · A.· · Yes.
15· · · · Q.· · How did that happen?
16· · · · · · · MS. DANDENEAU:· Again, object to
17· · · · form.
18· · · · · · · MR. MORRIS:· I can't wait to do this
19· · · · in a courtroom.· Good God.
20· · · · Q.· · Go ahead, sir.
21· · · · A.· · I don't know the exact process of
22· ·how that happened.
23· · · · Q.· · Do you have any idea whether signing
24· ·this document was part of the process?
25· · · · · · · MR. MORRIS:· You know what --


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·2· · · · ·MS. DANDENEAU:· Objection.
·3· · · · ·MR. MORRIS:· -- withdrawn.· You guys
·4· ·want to do this, I can't wait.· I can't
·5· ·wait.· This is the craziest stuff ever.
·6· · · · ·MS. DANDENEAU:· John, he said he's
·7· ·not a lawyer, and you are asking him for a
·8· ·legal conclusion, and he says he doesn't
·9· ·know, and you persist.
10· · · · ·MR. MORRIS:· Okay.
11· · · · ·MS. DANDENEAU:· So you can ask these
12· ·questions --
13· · · · ·MR. MORRIS:· Did anyone -- please
14· ·stop talking.
15· · · · ·MS. DANDENEAU:· -- at another
16· ·point -- no, no, no, I'm entitled to talk,
17· ·too; right?· If you're going to make these
18· ·accusations as if we're trying to stonewall
19· ·you, this is not the witness to ask that
20· ·question.
21· · · · ·MR. MORRIS:· I can't -- I can't
22· ·wait -- I can't wait to do this in a
23· ·courtroom.· I will just leave it at that.
24· · · · ·MS. DANDENEAU:· That's right, I'm
25· ·sure you can't.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Did anyone ever tell you, sir, that
·3· ·even though you were the acting treasurer of
·4· ·HCMFA, that you were not authorized to sign the
·5· ·two promissory notes that we looked at before
·6· ·lunch?
·7· · · · A.· · I'm not sure I understand the
·8· ·question.· I wasn't -- I mean, I'm -- I'm the
·9· ·current acting treasurer.
10· · · · Q.· · Did anybody ever tell you at any
11· ·time that even though you were the acting
12· ·treasurer of HCMFA, that you were not
13· ·authorized to sign the two promissory notes
14· ·that we looked at before lunch?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · A.· · Not that I recall.
17· · · · Q.· · Did anybody ever tell you at any
18· ·time that you were not authorized to sign the
19· ·two promissory notes that we looked at before
20· ·lunch?
21· · · · A.· · Not that I recall.
22· · · · Q.· · Did anybody ever tell you at any
23· ·time that you should not have signed the two
24· ·promissory notes that we looked at before
25· ·lunch?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Not that I recall.
·3· · · · Q.· · Did you ever tell anybody at any
·4· ·time that you weren't authorized to sign the
·5· ·two promissory notes that we looked at before
·6· ·lunch?
·7· · · · A.· · Not that I recall.
·8· · · · Q.· · Did you ever tell anybody at any
·9· ·time that you made a mistake when you signed
10· ·the two promissory notes that we looked at
11· ·before lunch?
12· · · · A.· · Not that I recall.
13· · · · Q.· · As you sit here right now, do you
14· ·have any reason to believe that you were not
15· ·authorized to sign the two documents that we
16· ·looked at before lunch?
17· · · · · · · MS. DANDENEAU:· Objection to form.
18· · · · A.· · If -- if this is the -- the valid
19· ·incumbency certificate, I mean, this does --
20· ·this does detail who the signers are.
21· · · · Q.· · Okay.· And looking at that document,
22· ·does that give you comfort that you were
23· ·authorized to sign the two promissory notes
24· ·that we looked at before lunch?
25· · · · · · · MS. DEITSCH-PEREZ:· Object to the


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·2· · · · form.
·3· · · · · · · MS. DANDENEAU:· Objection, form.
·4· · · · A.· · Yes.
·5· · · · Q.· · As of October 20th -- withdrawn.
·6· · · · · · · I'm trying to take your mind back to
·7· ·a year ago, October 2020.· Do you recall at
·8· ·that time that the boards of the retail funds
·9· ·were making inquiries about obligations that
10· ·were owed by the advisors to Highland in
11· ·connection with their 15(c) review?
12· · · · · · · MS. DANDENEAU:· Objection to form.
13· · · · A.· · I don't -- I don't recall.
14· · · · Q.· · As of October 2020, you had no
15· ·reason to believe you weren't authorized to
16· ·sign the two promissory notes that we just
17· ·looked at; correct?
18· · · · · · · MS. DANDENEAU:· Objection, form.
19· · · · · · · MS. DEITSCH-PEREZ:· Objection to
20· · · · form.
21· · · · A.· · I didn't think about it in October
22· ·of 2020, but I mean --
23· · · · Q.· · Did you have any reason to believe
24· ·at that time that you weren't authorized to
25· ·sign the two notes that we just looked at?


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·2· · · · A.· · Not that I'm aware, no.
·3· · · · Q.· · Did you have any reason to believe a
·4· ·year ago that you made a mistake when you
·5· ·signed those two notes?
·6· · · · A.· · Not that I'm aware.
·7· · · · Q.· · A year ago you believed that HCMFA
·8· ·owed Highland the unpaid principal amounts that
·9· ·were due under those two notes; correct?
10· · · · A.· · They're -- they're promissory notes
11· ·that were -- as you presented, that were --
12· ·that were executed.· Whether they're valid or
13· ·if there's other reasons, I didn't -- I don't
14· ·know.
15· · · · Q.· · I'm not asking you whether they're
16· ·valid or not.· I'm asking you for your state of
17· ·mind.· A year ago you believed that HCMFA
18· ·was -- was obligated to pay the unpaid
19· ·principal amount under the two notes that you
20· ·signed; correct?
21· · · · A.· · Yeah, I'm -- I'm -- yes.
22· · · · Q.· · Thank you.· Are you aware -- you're
23· ·aware that -- that in 2017, NexPoint issued a
24· ·note in favor of Highland in the approximate
25· ·amount of $30 million; correct?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I'm -- I'm -- I'm generally aware.
·3· · · · Q.· · Okay.· And are you generally aware
·4· ·that from time to time, after the note was
·5· ·issued by NexPoint, that moneys were applied to
·6· ·principal and interest that were due under the
·7· ·NexPoint note?
·8· · · · A.· · Yes, I'm generally aware.
·9· · · · Q.· · Okay.· And did anybody ever tell you
10· ·that the payments that were made against the
11· ·NexPoint notes were made by mistake?
12· · · · A.· · Yes.
13· · · · Q.· · And is it the one payment that we
14· ·talked about earlier today?
15· · · · A.· · We talked about a lot of things
16· ·today.· What payment are we talking about?
17· · · · Q.· · Okay.· Who told you that any payment
18· ·made against the NexPoint note was made by
19· ·mistake?
20· · · · A.· · D.C. Sauter.
21· · · · Q.· · When did Mr. Sauter tell you that?
22· · · · A.· · I don't -- I don't remember
23· ·specifically.
24· · · · Q.· · Do you remember what payments --
25· · · · A.· · Sometime -- sometime this year.


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·2· · · · Q.· · Sometime in 2021?
·3· · · · A.· · Yes.
·4· · · · Q.· · Do you remember what payment he was
·5· ·referring to?
·6· · · · A.· · It was the -- the payment made in
·7· ·January of 2021 or -- yeah, January of -- of
·8· ·this -- January of 2021.
·9· · · · Q.· · Okay.· So did anybody ever tell you
10· ·at any time that any payment that was made
11· ·against principal --
12· · · · A.· · And -- and -- and -- hold on, and it
13· ·may have been other -- again, it may have been
14· ·that payment or -- or there may have been what
15· ·he was explaining, a misapplication of prior
16· ·payments as well.
17· · · · Q.· · Can you -- can you give me any
18· ·specificity -- withdrawn.
19· · · · · · · Withdrawn.· Can you tell me
20· ·everything that Mr. Sauter told you about --
21· ·about errors in relation to payments made
22· ·against principal and interest due under the
23· ·NexPoint note?
24· · · · · · · MS. DANDENEAU:· Can I just --
25· · · · · · · MR. RUKAVINA:· Hold on.· Hold on.


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·2· · · · I'm going to object here, and I'm going to
·3· · · · instruct the witness not to answer
·4· · · · depending on the discussion that you had --
·5· · · · Mr. Waterhouse, I'm the lawyer for
·6· · · · NexPoint, and as everyone here knows, D.C.
·7· · · · Sauter is in-house counsel.
·8· · · · · · · So if you and Mr. Sauter were having
·9· · · · a factual discussion and him preparing his
10· · · · affidavit, et cetera, then go ahead and
11· · · · answer that.· But if you were having a
12· · · · discussion as to our legal strategy in this
13· · · · lawsuit, or anything having to do with
14· · · · that, then do not answer that.
15· · · · · · · And if you need to talk to either
16· · · · your counsel or me about that, then we need
17· · · · to have that discussion now.
18· · · · A.· · Okay.· Yeah, I don't -- I don't
19· ·really know how to make that distinction, so
20· ·maybe I need to talk to counsel before I
21· ·answer, or if I can answer.
22· · · · Q.· · Let me just ask you this question:
23· ·Did -- did you have any conversation with
24· ·Mr. Sauter about any payment of principal and
25· ·interest prior to the time that you left


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Highland's employment, or did it happen after
·3· ·you left Highland's employment?
·4· · · · A.· · I don't -- I don't recall if -- I
·5· ·don't recall.· I mean, it was sometime in 2021.
·6· ·I don't remember if it was before or after I
·7· ·was let go from Highland.
·8· · · · Q.· · Okay.· So -- so nobody told you
·9· ·prior to 2021 that any error or mistake was
10· ·made in the application of payments against
11· ·principal and interest due on the NexPoint
12· ·note.· Do I have that right?
13· · · · A.· · Yeah, I don't -- I don't recall this
14· ·being in 2020.
15· · · · Q.· · Okay.· And it didn't happen in 2019;
16· ·correct?
17· · · · A.· · I don't recall that happened.
18· · · · Q.· · And it didn't happen in 2018;
19· ·correct?
20· · · · A.· · I don't -- I don't recall that
21· ·happening.
22· · · · Q.· · And it didn't happen in 2017;
23· ·correct?
24· · · · A.· · I don't recall.
25· · · · Q.· · But -- but you believe the


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·2· ·conversation took place in 2021.· You just
·3· ·don't remember if it was before or after you
·4· ·left Highland's employment.· Do I have that
·5· ·right?
·6· · · · A.· · It was sometime this year.                      I
·7· ·don't -- I don't remember.
·8· · · · Q.· · Okay.· Did you report this
·9· ·conversation to Mr. Seery at any point?
10· · · · A.· · I don't believe so.
11· · · · Q.· · Did you report this conversation to
12· ·anybody at DSI at any time?
13· · · · A.· · I don't recall.
14· · · · Q.· · Do you have -- you don't have a
15· ·recollection of ever doing that; correct?
16· · · · A.· · Yeah, that's right.· I don't recall
17· ·doing that.
18· · · · Q.· · Do you recall telling anybody at
19· ·Pachulski Stang about the conversation you
20· ·recall with Mr. Sauter?
21· · · · A.· · No, I don't -- I don't recall.
22· · · · Q.· · Did you tell any of the independent
23· ·board members about your conversation with
24· ·Mr. Sauter?
25· · · · A.· · I don't recall.


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·2· · · · Q.· · Did you tell any of the employees at
·3· ·Highland before you left Highland's employment
·4· ·about this call that you had with Mr. Sauter?
·5· · · · · · · MS. DANDENEAU:· Objection to form.
·6· · · · A.· · No, I don't -- no, I don't recall.
·7· · · · Q.· · NexPoint -- to the best of your
·8· ·knowledge, did NexPoint ever file a proof of
·9· ·claim against Highland to try to recover moneys
10· ·that were mistakenly paid against the principal
11· ·and interest due under the note?
12· · · · A.· · Okay.· Hold on.· You are saying did
13· ·NexPoint Advisors file a proof of claim to
14· ·Highland for errors related to payments under
15· ·the NexPoint note to Highland?
16· · · · Q.· · Correct.
17· · · · A.· · I'm -- I'm -- I'm not -- I'm not
18· ·aware.
19· · · · Q.· · Are you aware --
20· · · · A.· · I'm not the legal person here, I
21· ·don't know.
22· · · · Q.· · I'm just asking for your knowledge,
23· ·sir.
24· · · · A.· · Yeah, I don't know.· I'm not aware.
25· · · · Q.· · Are you aware of any claim of any


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·kind that NexPoint has ever made to try to
·3· ·recover the amounts that it contends were -- or
·4· ·that Mr. Sauter contend were mistakenly applied
·5· ·against principal and interest due under the
·6· ·NexPoint note?
·7· · · · A.· · I'm not aware.
·8· · · · · · · MS. DANDENEAU:· Objection to form.
·9· · · · Q.· · Okay.· The advisors' agreements with
10· ·the retail funds are subject to annual renewal;
11· ·correct?
12· · · · A.· · Yes.
13· · · · Q.· · And do you participate in the
14· ·renewal process each year?
15· · · · A.· · Yes.
16· · · · Q.· · What role do you play in the renewal
17· ·process?
18· · · · A.· · I'm -- I'm asked by the retail board
19· ·to walk-through the advisors financials.
20· · · · Q.· · And do you do that in the context of
21· ·a board meeting?
22· · · · A.· · Yes, it is -- yes, it is typically
23· ·done in a board meeting.
24· · · · Q.· · And do you recall the time --
25· ·does -- does the renewal process happen around


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·the same time each year?
·3· · · · A.· · Yes, it is -- it is around the same
·4· ·time every year.
·5· · · · Q.· · And what -- what time period of the
·6· ·year does the renewal process occur?
·7· · · · A.· · Approximately the September
·8· ·timeframe.
·9· · · · Q.· · During that process, in your
10· ·experience, does the board typically conduct
11· ·its own diligence and ask for information?
12· · · · A.· · Does the board ask for lots of -- I
13· ·mean, just -- I mean, lots of information as a
14· ·part of that -- that -- as part of that board
15· ·meeting and that process.
16· · · · Q.· · Okay.· And do you recall that the
17· ·process in 2020 spilled into October?
18· · · · A.· · Yes.· Yes.
19· · · · Q.· · Okay.· And as part of the process in
20· ·2020, the retail board asked -- asked what are
21· ·referred to as 15(c) questions; right?
22· · · · A.· · I guess I don't want to be -- they
23· ·asked 15(c) -- are you saying they asked 15(c)
24· ·questions and this is why it went into October
25· ·or --


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · No, I apologize.
·3· · · · · · · Do you have an understanding of
·4· ·what -- of what 15(c) refers to in the context
·5· ·of the annual renewal process?
·6· · · · A.· · Yes, generally.
·7· · · · Q.· · All right.· What is your general
·8· ·understanding of the term "15(c)" in the
·9· ·context of the annual renewal process?
10· · · · A.· · I -- I think 15(c) is the section
11· ·that -- that -- you know, that -- that the
12· ·board has to evaluate every year, the retail
13· ·board.· They have to, you know, go through,
14· ·evaluate, and go through that approval process
15· ·on a yearly basis.
16· · · · Q.· · Okay.
17· · · · · · · MR. MORRIS:· Can we put up on the
18· · · · screen Exhibit 36, please.
19· · · · · · · (Exhibit 36 marked.)
20· · · · · · · MR. MORRIS:· I guess let's just
21· · · · start at the bottom so Mr. Waterhouse can
22· · · · see what is here.
23· · · · Q.· · You see this begins with an email
24· ·from Blank Rome to a number of people.
25· · · · · · · MR. MORRIS:· And if we can scroll


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · up -- keep going just a little bit.
·3· · · · Q.· · You will see that there is an email
·4· ·from Lauren Thedford to Thomas Surgent and
·5· ·others where she reports that she was attaching
·6· ·and reproducing below additional 15(c)
·7· ·follow-up questions from the board.
·8· · · · · · · Do you see that?
·9· · · · A.· · Yes.
10· · · · Q.· · And do you see Question No. 2 asks
11· ·whether there are any material outstanding
12· ·amounts currently payable or due in the future
13· ·(e.g., notes) to HCMLP by HCMFA or NexPoint
14· ·Advisors or any other affiliate that provides
15· ·services to the funds?
16· · · · · · · Do you see that?
17· · · · A.· · Yes.
18· · · · Q.· · And -- and did you -- do you recall
19· ·that in -- in October of 2020 the retail boards
20· ·were asking for that information?
21· · · · A.· · I don't recall it, but there --
22· ·they're obviously asking in this email.
23· · · · Q.· · Okay.
24· · · · · · · MR. MORRIS:· Can we scroll up a
25· · · · little bit, please.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And then do you see that
·3· ·Ms. Thedford includes you on the email string
·4· ·on Tuesday, October 6th, at 5:52?
·5· · · · A.· · Yes.
·6· · · · Q.· · And she asks you and Dave Klos and
·7· ·Kristin Hendrix for advice on that particular
·8· ·Request No. 2 that I have just read; right?
·9· · · · A.· · Yes.
10· · · · Q.· · Okay.· Can you tell me who
11· ·Ms. Thedford is?
12· · · · A.· · She was an attorney that was in the
13· ·legal group.
14· · · · Q.· · At Highland Capital Management,
15· ·L.P.?
16· · · · A.· · I'm -- I'm -- I'm -- I don't
17· ·remember if she was an employee of Highland or
18· ·any of the advisors.
19· · · · Q.· · Okay.· Do you know if she served as
20· ·the corporate secretary for both HCMFA and
21· ·NexPoint?
22· · · · A.· · Yes.
23· · · · Q.· · And -- okay.
24· · · · · · · Do you know whether Ms. Thedford
25· ·held any positions in relation to the retail


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·funds as we defined that term?
·3· · · · A.· · Yes.
·4· · · · Q.· · What is your understanding of the
·5· ·positions that Ms. Thedford held at the retail
·6· ·funds?
·7· · · · A.· · I -- I recall her being an officer.
·8· ·I don't recall her title.
·9· · · · Q.· · Okay.· Is she still an officer at
10· ·any of the retail funds today?
11· · · · A.· · No.
12· · · · Q.· · Do you know when she ceased to be an
13· ·officer of the retail funds?
14· · · · A.· · Approximately.
15· · · · Q.· · And when did she approximately cease
16· ·to be an officer of the retail funds?
17· · · · A.· · It was in -- it was in early of
18· ·2021.
19· · · · Q.· · Okay.· Do you know when she became
20· ·an officer of the retail funds?
21· · · · A.· · I don't recall.
22· · · · Q.· · To the best of your recollection,
23· ·was she an officer of the retail funds in
24· ·October of 2020?
25· · · · A.· · I believe so.


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·2· · · · Q.· · Okay.· Do you know what title she
·3· ·held in her capacity as an officer, if any?
·4· · · · A.· · I told you I don't remember.
·5· · · · Q.· · Okay.· So she sends this email to
·6· ·you at 5:52 p.m. on October 6th.
·7· · · · · · · And if we can scroll up to the
·8· ·response, you responded a minute later with a
·9· ·one-word answer:· Yes.
10· · · · · · · Do you see that?
11· · · · A.· · Yes.
12· · · · Q.· · And -- and yes is -- yes was in
13· ·response to the retail board's Question No. 2,
14· ·right, whether there are any material
15· ·outstanding amounts currently payable or due in
16· ·the future?
17· · · · A.· · Yes.
18· · · · · · · MR. MORRIS:· And can we scroll up to
19· · · · see what happened next.
20· · · · Q.· · So Ms. Thedford writes back to you a
21· ·few minutes later and she asks whether you
22· ·could provide the amounts.
23· · · · · · · Do you see that?
24· · · · A.· · Yes.
25· · · · Q.· · And then you respond further and you


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·refer her to the balance sheet that was
·3· ·provided to the board as part of the 15(c)
·4· ·materials.
·5· · · · · · · Do you see that?
·6· · · · A.· · Yes.
·7· · · · Q.· · And -- and did the advisors provide
·8· ·to the board certain balance sheets in 2020 in
·9· ·connection with the 15(c) review?
10· · · · A.· · Yes, they did.
11· · · · Q.· · Okay.· And were the amounts that
12· ·were outstanding or that were to be due in the
13· ·future by the advisors to Highland included in
14· ·the liability section of the balance sheet that
15· ·was given to the retail board?
16· · · · A.· · Yes.· Notes would be reflected as
17· ·liabilities.
18· · · · Q.· · Okay.· And --
19· · · · A.· · If I'm understanding your question
20· ·correctly.
21· · · · Q.· · You are.· And -- and -- and those
22· ·liabilities you -- you were -- you believed
23· ·were responsive to the retail board's question;
24· ·correct?
25· · · · A.· · Yes.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· And then if we can scroll up,
·3· ·you see Ms. Thedford responds to you
·4· ·nine minutes later with a draft response.
·5· · · · · · · Do you see that?
·6· · · · A.· · Yes.
·7· · · · Q.· · And she says that she is taking from
·8· ·the 6/30 financials certain information about
·9· ·amounts that were due to HCMLP and affiliates
10· ·as of June 30th, 2020.
11· · · · · · · Do you see that?
12· · · · A.· · I do.
13· · · · Q.· · Okay.· And did you believe, as the
14· ·treasurer of NexPoint and HCMFA and as the CFO
15· ·of Highland, that the information that
16· ·Ms. Thedford obtained from the 6/30 financials
17· ·was accurate and responsive in relation to the
18· ·retail fund board's question?
19· · · · A.· · I just want to make sure I
20· ·understand the question.
21· · · · · · · Are you saying that the financial
22· ·information provided to the retail board as
23· ·part of the 15(c) process, which included
24· ·financial statements as of June 30th of 2021,
25· ·did I feel like those were responsive to their


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·questions?
·3· · · · Q.· · Yes.
·4· · · · A.· · Yes.
·5· · · · Q.· · Thank you.
·6· · · · · · · MS. DEITSCH-PEREZ:· John, it is not
·7· · · · in the chat yet.· Can you just make sure it
·8· · · · gets put in there.
·9· · · · · · · MR. MORRIS:· Sure.
10· · · · · · · MS. CANTY:· I put it in there.                        I
11· · · · think maybe I just sent it directly, so let
12· · · · me make sure it says to everyone.· But I
13· · · · did put it in there.· I will try again.
14· · · · · · · MR. MORRIS:· Thank you, La Asia.
15· · · · · · · MS. DANDENEAU:· What number is it.
16· · · · · · · MR. MORRIS:· What, the Bates number?
17· · · · · · · MS. DEITSCH-PEREZ:· No, the --
18· · · · this -- yeah, 36 is not in the chat.
19· · · · · · · MR. MORRIS:· Okay.· We'll get it.
20· · · · · · · MS. DANDENEAU:· I think that
21· · · · Ms. Canty just sent it to me originally.
22· · · · Sorry.
23· · · · · · · MR. MORRIS:· Okay.· We will get it
24· · · · there.
25· · · · · · · MS. CANTY:· Okay.· It is there now


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · for everyone.
·3· · · · · · · MS. DEITSCH-PEREZ:· Got it.· Thank
·4· · · · you.
·5· · · · Q.· · Do you recall if the proposed
·6· ·response that Ms. Thedford crafted was
·7· ·delivered to the retail board with the -- with
·8· ·the yellow dates having been completed?
·9· · · · A.· · I don't know.
10· · · · · · · MR. MORRIS:· Davor, I'm going to ask
11· · · · that the advisors and -- the advisors of
12· · · · both HCMFA and NexPoint produce to me any
13· · · · report that was given to the retail board
14· · · · concerning the promissory notes at issue,
15· · · · including the obligations under the notes.
16· · · · Q.· · Do you know -- do you know if
17· ·ultimately NexPoint informed the retail board
18· ·in response to its question that NexPoint owed
19· ·Highland approximately 23 or $24 million?
20· · · · · · · MS. DANDENEAU:· Objection to the
21· · · · form.
22· · · · A.· · Sorry, are you asking, did NexPoint
23· ·tell the retail board that it owed Highland?
24· · · · Q.· · Let me ask a better question,
25· ·Mr. Waterhouse.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · Did -- do you know if anybody ever
·3· ·answered the retail board's question that was
·4· ·Number 2?
·5· · · · A.· · I don't -- I can't say for sure.
·6· · · · Q.· · Okay.· Do you recall -- I think you
·7· ·testified earlier that you walked through the
·8· ·advisors' financials with the retail board;
·9· ·correct?
10· · · · A.· · Yes.
11· · · · Q.· · And as part of that process, did you
12· ·disclose to the retail board the obligations
13· ·that NexPoint and HCMFA had to Highland under
14· ·promissory notes?
15· · · · A.· · The retail board, as I stated
16· ·earlier, receives financial information,
17· ·balance sheet, income statement information
18· ·from the advisors.· That information is
19· ·provided to the retail board in connection with
20· ·the 15(c) process.
21· · · · · · · So any notes between the advisors
22· ·and the Highland would be -- anything would be
23· ·detailed in those financial statements.
24· · · · Q.· · Do you recall in 2020 ever speaking
25· ·with the retail board about the advisors'


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·2· ·obligations under the notes to Highland?
·3· · · · · · · MS. DANDENEAU:· Objection to form.
·4· · · · · · · MS. DEITSCH-PEREZ:· Object to the
·5· · · · form.
·6· · · · A.· · I don't recall specifically.
·7· · · · Q.· · Do you have any general recollection
·8· ·of discussing with the retail board the
·9· ·advisors' obligations to Highland under the
10· ·notes that they issued?
11· · · · · · · MS. DANDENEAU:· Object to the form.
12· · · · · · · MS. DEITSCH-PEREZ:· Object to the
13· · · · form.
14· · · · A.· · I just recall generally just -- it
15· ·is just -- I present the financial statements,
16· ·and if they have questions, I answer their
17· ·questions and walk them through.
18· · · · · · · I don't recall what they asked.                           I
19· ·don't recall where the discussion went.                       I
20· ·don't recall anything of that nature.
21· · · · Q.· · Okay.· Do you know if anybody on
22· ·behalf of HCMF -- HCMFA ever told the retail
23· ·board that HCMFA had no obligations under the
24· ·two 2019 notes that you signed?· Withdrawn.
25· · · · · · · Do you know whether anybody on


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·behalf of HCMFA ever told the retail boards
·3· ·that you weren't authorized to sign either of
·4· ·the two 2019 notes?
·5· · · · · · · MS. DANDENEAU:· Objection to form.
·6· · · · A.· · I'm not aware.
·7· · · · Q.· · Are you aware of anybody on behalf
·8· ·of HCMFA ever telling the retail boards that
·9· ·your execution of the two 2019 notes was a
10· ·mistake?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · I'm not aware.
13· · · · Q.· · Are you aware of anybody on behalf
14· ·of HCMFA ever telling the retail boards that
15· ·HCMFA did not have to pay the amounts reflected
16· ·in the two notes that you signed in 2019?
17· · · · A.· · I'm not aware.
18· · · · Q.· · Do you know whether anybody ever
19· ·told the retail boards -- withdrawn.
20· · · · · · · Do you know whether anybody ever
21· ·told the retail boards that Highland has
22· ·commenced a lawsuit to recover on the two notes
23· ·that you signed in 2019?
24· · · · A.· · I'm not aware.
25· · · · Q.· · Are you aware of anybody informing


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·the retail boards that Highland has sued to
·3· ·recover on the NexPoint note?
·4· · · · A.· · I'm not aware.
·5· · · · Q.· · Do you know whether anybody ever
·6· ·told the retail board that Highland had
·7· ·declared a default with respect to the two
·8· ·HCMFA notes that you signed in 2019?
·9· · · · A.· · I'm not aware.
10· · · · Q.· · Are you aware of anybody ever
11· ·informing the retail boards that Highland had
12· ·declared a default under the NexPoint note?
13· · · · A.· · I'm not aware.
14· · · · Q.· · Are you aware of anybody telling the
15· ·retail board that Highland made a demand for
16· ·payment under the 2019 notes that you signed on
17· ·behalf of HCMFA?
18· · · · A.· · I'm not aware.
19· · · · Q.· · Let's -- let's see if there is a
20· ·response to Ms. Thedford's email, if we can
21· ·scroll up.
22· · · · · · · Do you see you responded to
23· ·Ms. Thedford five minutes after she provided
24· ·the draft response to you?
25· · · · A.· · Yes.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· And do you see that Dustin
·3· ·Norris is copied on this email?
·4· · · · A.· · Yes, he is.
·5· · · · Q.· · Great.· Do you know whether
·6· ·Mr. Norris held any positions at either of the
·7· ·advisors as of October 6, 2020?
·8· · · · A.· · I will go back to -- I'm not the
·9· ·legal expert of what appoints you or how or
10· ·why, but you did see Dustin's name on the
11· ·incumbency certificate that you produced
12· ·earlier.
13· · · · Q.· · Do you know what his title was in
14· ·October of 2020?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · A.· · I don't -- I don't recall.
17· · · · Q.· · Was he -- did he have a title with
18· ·each of the advisors, to the best of your
19· ·recollection?
20· · · · A.· · I don't recall.
21· · · · Q.· · Do you know why he is included on
22· ·this email string?
23· · · · A.· · I didn't add Dustin.· It looks like
24· ·Lauren did.· I don't know why she added him or
25· ·not.· You would have to ask her.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Does Mr. Norris play a role in
·3· ·formulating the advisors' responses to the
·4· ·questions asked by the retail board in
·5· ·connection with the 15(c) annual review?
·6· · · · · · · MS. DANDENEAU:· Objection to form.
·7· · · · A.· · He -- Dustin Norris is there in the
·8· ·board meetings.· But -- so he has a role, yes.
·9· · · · Q.· · Okay.· And does Mr. Norris hold any
10· ·positions, to the best of your knowledge, in
11· ·relation to any of the retail funds?
12· · · · A.· · I don't -- I don't believe he does.
13· · · · Q.· · How about Mr. Post, do you know
14· ·whether Mr. Post holds any position in either
15· ·of the advisors?
16· · · · A.· · I mean, he -- he -- yes.
17· · · · Q.· · What is your understanding of the
18· ·positions that Mr. Post holds in relation to
19· ·the advisors?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · He is an employee of NexPoint
22· ·Advisors.· He is also the chief compliance
23· ·officer for -- for NexPoint.
24· · · · Q.· · Who is the chief compliance officer
25· ·for HCMFA, if you know?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MS. DANDENEAU:· Objection to form.
·3· · · · A.· · That would be Jason as well.
·4· · · · Q.· · Okay.· Now, looking at your
·5· ·response, you noted initially that nothing was
·6· ·owed under shared services.· Do I have that
·7· ·right in substance?
·8· · · · A.· · Yeah.· I think I'm being responsive
·9· ·to Lauren's question here, whether any of the
10· ·shared service invoices are outstanding.
11· · · · Q.· · Right.
12· · · · A.· · Yes.
13· · · · Q.· · And that is because -- and that is
14· ·because the retail the retail board has asked
15· ·for the disclosure of all material obligations
16· ·that were owed to HCMLP either then or in the
17· ·future; isn't that right?
18· · · · · · · MS. DANDENEAU:· Objection to form.
19· · · · Q.· · We can go back down and look.
20· · · · A.· · Look, I don't know if that's a
21· ·material item, I mean, again, but sure.
22· · · · Q.· · Okay.· But there were no shared
23· ·services outstanding; correct?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · That is what this email seems to


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·2· ·indicate.
·3· · · · Q.· · And you wouldn't have written it if
·4· ·you didn't believe it to be true at the time;
·5· ·correct?
·6· · · · A.· · Correct.
·7· · · · Q.· · And when you referred to shared
·8· ·services outstanding, what you meant there was
·9· ·that neither NexPoint nor HCMFA owed Highland
10· ·any money under the shared services agreements
11· ·that they had with Highland as of October 6th,
12· ·2020; right?
13· · · · A.· · I don't know if it is as of October
14· ·6, 2020 or if it was from -- like through the
15· ·financials -- through the date of the
16· ·financials as of June 30.
17· · · · Q.· · Okay.· And then you noted that
18· ·HCMA -- the HCMFA note is a demand note; right?
19· · · · A.· · Yes.
20· · · · Q.· · And then you referred Ms. Thedford
21· ·to Kristin Hendrix for the term of the NexPoint
22· ·note.· Do I have that right?
23· · · · A.· · Yes.
24· · · · Q.· · And then you refer to that agreement
25· ·that is referenced in the 2018 audited


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·2· ·financials about Highland's agreement not to
·3· ·make demand upon HCMFA until May 2021; correct?
·4· · · · A.· · Correct.
·5· · · · Q.· · And then -- and then the next thing
·6· ·you write is that the attorneys think that BK
·7· ·doesn't change that, but don't know for sure at
·8· ·the end of the day.
·9· · · · · · · Do you see that sentence?
10· · · · A.· · Yes.
11· · · · Q.· · Which attorneys were you referring
12· ·to?
13· · · · A.· · I don't remember.
14· · · · Q.· · Did you have a conversation with
15· ·attorneys concerning whether the bankruptcy
16· ·would change or alter in any way the agreement
17· ·not to make a demand under the HCMFA note?
18· · · · A.· · Look, yeah, I mean, I don't
19· ·specifically remember, but generally, I mean,
20· ·it is in this email.· I don't -- I don't -- I
21· ·don't -- I don't remember who I talked to or,
22· ·you know, was it inside counsel, outside
23· ·counsel, but obviously I talked to somebody.
24· · · · Q.· · Do you have any recollection --
25· · · · A.· · Well, I don't even know if it's --


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·2· ·actually, it may not even have been me.· I say
·3· ·the attorneys in, you know, a lot of -- like I
·4· ·talked about the team.
·5· · · · · · · It could have been someone on the
·6· ·team, like, hey, we need to run this down, and
·7· ·maybe they talked to attorneys again and
·8· ·relayed that information to me.
·9· · · · · · · So I really don't know if I spoke or
10· ·someone else did or -- or, I mean, and maybe it
11· ·wasn't even from corporate accounting.· Maybe
12· ·it was, you know, other -- I'm kind of
13· ·summarizing, you know, again, so I don't really
14· ·know -- I can't really say for sure.· I don't
15· ·remember how I came about of this knowledge.
16· · · · Q.· · I appreciate your efforts,
17· ·Mr. Waterhouse, but I will just tell you that
18· ·if I ask a question and you don't know the
19· ·answer or you don't recall, I'm happy to accept
20· ·that.· I don't -- I don't want you to
21· ·speculate, so I want to be clear about that.
22· ·So I appreciate it.
23· · · · · · · Let me just ask you simply:· Do you
24· ·know what attorneys -- can you identify any of
25· ·the attorneys who thought that the bankruptcy


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·2· ·process didn't change the agreement?
·3· · · · A.· · I don't recall.
·4· · · · Q.· · Okay.· Perfect.
·5· · · · · · · And then let's look at the last
·6· ·sentence.· It says, quote:· The response should
·7· ·include, as I covered in the board meeting,
·8· ·that both entities have the full faith and
·9· ·backing from Jim Dondero, and to my knowledge
10· ·that hasn't changed.
11· · · · · · · Do you see that?
12· · · · A.· · Yes.
13· · · · Q.· · Okay.· Prior to October 6th, 2020,
14· ·had you told the retail board that HCMFA and
15· ·NexPoint have the full faith and backing from
16· ·Jim Dondero?
17· · · · A.· · Yes.
18· · · · Q.· · Do you remember in the context in
19· ·which you told the retail board that?
20· · · · A.· · I mean, generally, yes.
21· · · · Q.· · Tell me what you recall.
22· · · · A.· · So we were walking through the
23· ·financials from the advisors; right?· So as I
24· ·described to you, you have got HCMFA and NPA.
25· ·And these -- the financials, you know, show


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·2· ·they have liabilities on them that exceed
·3· ·assets.
·4· · · · · · · So the retail board has asked, okay,
·5· ·you know, how -- you know, if -- if these
·6· ·liabilities come due or they're payable, you
·7· ·know, how does that come about?
·8· · · · · · · And, you know, the response is,
·9· ·well, the advisors have the -- the full faith
10· ·and backing from -- from Jim Dondero.
11· · · · Q.· · And how did you know that the
12· ·advisors had the full faith and backing from
13· ·Jim Dondero?· What was the basis for that
14· ·statement that you made to the retail board?
15· · · · A.· · I talked to Jim about it at some
16· ·point in the past.
17· · · · Q.· · And did you tell Mr. Dondero that
18· ·you were going to inform the retail board that
19· ·the advisors had his full faith and backing
20· ·before you actually told that to the retail
21· ·board?
22· · · · A.· · I don't recall having that
23· ·conversation.
24· · · · Q.· · Do you recall if you ever informed
25· ·Mr. Dondero that you had disclosed or told the


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·2· ·retail board that the advisors had the full
·3· ·faith and backing of Mr. -- Mr. Dondero?
·4· · · · · · · MS. DEITSCH-PEREZ:· Object to the
·5· · · · form.
·6· · · · A.· · I don't recall discussing that with
·7· ·him at the time.
·8· · · · Q.· · When you told this to the board, was
·9· ·Mr. Dondero participating in the discussion?
10· · · · A.· · Not that I recall.
11· · · · Q.· · Withdrawn.· Was it not -- withdrawn.
12· · · · · · · Do you recall whether -- when you
13· ·covered this issue with the board, was that in
14· ·a -- a Zoom call or a Webex call?· Was it a
15· ·telephone call?· Was it in-person?· Like where
16· ·were you physically in relation to the board?
17· · · · A.· · I believe I was at home.
18· · · · Q.· · Okay.· Can you identify every person
19· ·that you recall who was present for this
20· ·disclosure other than -- other than the board
21· ·members themselves?
22· · · · · · · MS. DEITSCH-PEREZ:· Object to the
23· · · · form.
24· · · · A.· · I don't recall everyone on the call.
25· · · · Q.· · Can you identify anybody who was on


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·the call?
·3· · · · A.· · Other than the board members?
·4· · · · Q.· · Yes.
·5· · · · A.· · Lauren Thedford.· I mean, there
·6· ·are -- there are many -- my section is just one
·7· ·of many sections that are just -- you know, as
·8· ·you can appreciate, this is a long board
·9· ·meeting.
10· · · · · · · I can't recall specifically, really
11· ·even generally, or who was on when this was
12· ·discussed.· But Lauren was typically on for the
13· ·entire time.
14· · · · Q.· · I apologize if I asked you this, but
15· ·do either of Mr. Norris or Mr. Post hold any
16· ·positions relative to the retail funds?
17· · · · A.· · I think you asked me this already,
18· ·John.
19· · · · Q.· · Okay.· I just don't recall.· Can you
20· ·just refresh my recollection if I did, in fact,
21· ·ask you the question?
22· · · · A.· · I don't believe -- if we can go
23· ·back.· I don't believe Mr. Norris has a title
24· ·at the retail funds.· Mr. -- and Mr. Post is
25· ·the CCO of the advisor, the advisors.


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·2· · · · Q.· · Okay.· Do you know if either of them
·3· ·have a position with the retail board -- with
·4· ·the retail funds?
·5· · · · A.· · I don't believe Mr. Norris has a
·6· ·position with the retail funds.
·7· · · · Q.· · All right.· What about Mr. Post?
·8· · · · A.· · Mr. Post is the CCO of the advisors.
·9· · · · Q.· · Okay.· Does he hold any position --
10· · · · A.· · I don't believe so.
11· · · · Q.· · -- with the retail funds?
12· · · · A.· · I don't believe so.
13· · · · Q.· · Okay.
14· · · · A.· · I don't know if being the CCO for
15· ·the advisor conveys something for the retail
16· ·funds.· Again, I am not -- that is the legal
17· ·compliance part of it.· I don't know.
18· · · · Q.· · Why did you tell the retail board
19· ·that the advisors have the full faith and
20· ·backing from Mr. Dondero?
21· · · · · · · MS. DANDENEAU:· Objection to form.
22· · · · A.· · It is -- it is -- it is what has
23· ·been discussed with them prior.
24· · · · Q.· · And were you -- were you trying to
25· ·give them comfort that even though the


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·2· ·liabilities exceeded the assets that the
·3· ·advisors would still be able to meet their
·4· ·obligations as they become due?
·5· · · · · · · MS. DANDENEAU:· Objection to form.
·6· · · · · · · MS. DEITSCH-PEREZ:· Object form.
·7· · · · A.· · I -- I can't -- I don't remember
·8· ·specifically the conversation, but generally --
·9· ·you know, generally, yes.· And that is why --
10· ·but, you know, again, in this email saying, you
11· ·know, I am sure I qualified it with the retail
12· ·board, you know, as I said I like -- you know,
13· ·to my knowledge, that hasn't changed.· But,
14· ·again, generally -- generally that is what I
15· ·remember.
16· · · · Q.· · Okay.· Do you recall if in the
17· ·advisors' response to the retail board's
18· ·question if the response included any statement
19· ·concerning Mr. Dondero and -- and the full
20· ·faith and backing that he was giving to the
21· ·advisors?
22· · · · · · · MS. DEITSCH-PEREZ:· Object to the
23· · · · form.
24· · · · A.· · I don't -- I don't remember
25· ·specifically what was provided.


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·2· · · · Q.· · Okay.
·3· · · · A.· · And I don't really -- I don't really
·4· ·remember generally either.
·5· · · · Q.· · Okay.
·6· · · · · · · MR. MORRIS:· So -- so, again, I'm
·7· · · · just going to ask Mr. Rukavina if your
·8· · · · clients can produce as soon as possible the
·9· · · · 15(c) response, the written response that
10· · · · the advisors made, if any, to the board's
11· · · · Question No. 2.
12· · · · · · · I'm not looking for the whole
13· · · · response, but I certainly want the response
14· · · · to Question No. 2.
15· · · · Q.· · Do you have a general understanding
16· ·as to the amount by which -- withdrawn.
17· · · · · · · Did -- did the assets of --
18· ·withdrawn.
19· · · · · · · Did the liabilities of HCMFA exceed
20· ·its assets in 2020?
21· · · · · · · MS. DANDENEAU:· Objection to form.
22· · · · · · · MS. DEITSCH-PEREZ:· Objection, form.
23· · · · A.· · I believe I have already answered
24· ·that question earlier, I think.· I believe I
25· ·said yes.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· And did the liabilities of
·3· ·NexPoint exceed its assets in 2020?
·4· · · · · · · MS. DEITSCH-PEREZ:· Objection to
·5· · · · form.
·6· · · · A.· · I don't believe so.
·7· · · · Q.· · Okay.· So -- so it was only one of
·8· ·the two advisors who had liabilities that
·9· ·exceeded the value of the assets.
10· · · · · · · Do I have that right?
11· · · · · · · MS. DEITSCH-PEREZ:· Objection to
12· · · · form.
13· · · · · · · MS. DANDENEAU:· Form.
14· · · · A.· · Yes.
15· · · · Q.· · And do you know, ballpark, the
16· ·amount by which the value of HCMFA's
17· ·liabilities exceeded their assets in 2020?
18· · · · · · · MS. DANDENEAU:· Objection to form.
19· · · · A.· · I don't -- I don't recall.
20· · · · · · · MR. MORRIS:· I had specifically
21· · · · requested in discovery the audited
22· · · · financial reports for both advisors and
23· · · · NexPoint.· I think I may have gotten one
24· · · · for NexPoint but I'm still waiting for the
25· · · · balance.· And I'm going to renew my request


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · for those documents too.
·3· · · · Q.· · Let's go to the next exhibit, which
·4· ·is Number 10.· So I think it is in your stack,
·5· ·Mr. Waterhouse.
·6· · · · · · · MR. MORRIS:· And we can take the one
·7· · · · down from the screen and put up Number 10
·8· · · · for everybody.
·9· · · · · · · (Exhibit 10 marked.)
10· · · · Q.· · And I don't know if you have ever
11· ·seen this before, but I'm really putting it up
12· ·on the screen for purposes of turning to the
13· ·very last page of the document.
14· · · · · · · So this is a document that we have
15· ·been -- that we premarked as Exhibit 10.· And
16· ·we're turning to the last page of the document,
17· ·which is a document that was filed in the
18· ·adversary proceeding 21-3004.· And -- no, I
19· ·apologize, I think we -- right there.· Perfect.
20· · · · · · · And it is page 31 of 31.
21· · · · · · · MR. MORRIS:· I think there may have
22· · · · been some something erroneously stapled to
23· · · · the hard copy that I gave you folks, but
24· · · · I'm looking for page 31 of 31 in the
25· · · · document that begins with the first page of


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·2· · · · Exhibit 10.
·3· · · · Q.· · Do you have that, Mr. Waterhouse?
·4· · · · A.· · I don't have it yet.· I'm looking.
·5· · · · Q.· · All right.· If you look at the top
·6· ·right-hand corner, you will see it says page
·7· ·hopefully something of 31?
·8· · · · A.· · Yes, I've got it now.
·9· · · · Q.· · Okay.· You have got 31 of 31.· You
10· ·can take a moment to read that, if you would
11· ·like.
12· · · · A.· · (Reviewing document.)· Okay.
13· · · · Q.· · Have you ever seen this before?
14· · · · A.· · I don't know if I have seen this
15· ·specific document, but, you know, I've --
16· ·I'm -- I'm aware of it.
17· · · · Q.· · And is this the document that you
18· ·had in mind when you sent that email to
19· ·Ms. Thedford that we just looked at where you
20· ·said that Highland had agreed not to make a
21· ·demand upon HCMFA until May 2021?
22· · · · A.· · Honestly, I don't -- it wasn't this
23· ·document.· I mean, it's something like this,
24· ·yes.· I mean, yes.
25· · · · Q.· · Well --


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · It is something like this, but I
·3· ·don't think it was this specific document.
·4· · · · Q.· · Well, but this document does say in
·5· ·the last sentence that Highland agreed not to
·6· ·seek -- not to demand payment from HCMFA prior
·7· ·to May 31, 2021; right?
·8· · · · A.· · Yes.
·9· · · · Q.· · And are you aware of any other
10· ·document that was ever created pursuant to
11· ·which Highland agreed not to demand payment on
12· ·amounts owed by HCMFA before May 31, 2021?
13· · · · A.· · Hold on.· Are you asking, am I aware
14· ·of a document that by HCMFA that basically says
15· ·otherwise?
16· · · · Q.· · No.· Let me try again.
17· · · · · · · Are you aware of any other document
18· ·pursuant to which -- pursuant to which Highland
19· ·agreed not to make a demand on HCMFA until May
20· ·31st, 2021?
21· · · · A.· · I'm -- I think there was something
22· ·in connection with -- with the -- with the
23· ·audit that basically says the same thing.
24· · · · Q.· · Okay.· And do you think that the
25· ·audit is referring to this particular document?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't know.
·3· · · · Q.· · All right.· This document is dated
·4· ·April 15, 2019.· Do you see that?
·5· · · · A.· · I do.
·6· · · · Q.· · And do you remember that the audit
·7· ·was completed on June 3rd, 2019?
·8· · · · A.· · Yes.
·9· · · · Q.· · And do you recall that the audited
10· ·financials -- and I'm happy to pull them up if
11· ·you would like, but do you recall that the
12· ·audited financials included a reference to the
13· ·agreement pursuant to which Highland agreed not
14· ·to make a demand until May 31st, 2021?
15· · · · A.· · Yes, I remember.
16· · · · Q.· · And as part of the process, would
17· ·you have expected the corporate accounting team
18· ·to have provided a copy of this document to
19· ·PwC?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · Yes, I would have expected something
22· ·like this, or again, you know, some document
23· ·that basically states -- states the deferral
24· ·till May 31 of 2020.
25· · · · Q.· · Okay.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · May 31 of 2021, excuse me.
·3· · · · Q.· · And this document states the
·4· ·deferral that you just described; correct?
·5· · · · A.· · It does.
·6· · · · Q.· · And this document states the
·7· ·deferral that was described in the audited
·8· ·financial statements that we looked at before;
·9· ·correct?
10· · · · A.· · It does.
11· · · · · · · MR. MORRIS:· Okay.· Can we scroll
12· · · · down just a little bit to see who signed on
13· · · · behalf of the acknowledgment there.
14· · · · Q.· · Okay.· So Mr. Dondero signed this
15· ·document on behalf of both HCMFA and Highland;
16· ·do you see that?
17· · · · A.· · I do.
18· · · · Q.· · Okay.· Did you discuss this document
19· ·or the -- withdrawn.
20· · · · · · · Did you discuss the concept of the
21· ·deferral with Mr. Dondero in the spring of
22· ·2019?
23· · · · A.· · I think I testified I don't recall.
24· · · · Q.· · Okay.· Do you know whose idea it was
25· ·to issue the acknowledgment in this form?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't recall.
·3· · · · · · · MR. MORRIS:· Can we scroll back up
·4· · · · to the document, please.
·5· · · · Q.· · Do you see in the beginning it says,
·6· ·reference is made to certain outstanding
·7· ·amounts loaned from Highland to HCMFA for
·8· ·funding ongoing operations.
·9· · · · · · · Do you see that?
10· · · · A.· · Yes.
11· · · · Q.· · And were you aware as the CFO of
12· ·Highland and as the treasurer of HCMFA that as
13· ·of April 15, 2019, Highland had made certain
14· ·loans to HCMFA to fund HCMFA's ongoing
15· ·operations?
16· · · · A.· · Yes.
17· · · · Q.· · And were you aware that those loans
18· ·were payable on demand and remained outstanding
19· ·as of December 31st, 2018?
20· · · · A.· · Yes.
21· · · · Q.· · And were you aware that those
22· ·amounts were payable on demand, and they
23· ·remained outstanding as of April 15, 2019?
24· · · · · · · MS. DEITSCH-PEREZ:· Object to the
25· · · · form.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Well, this -- this document dated
·3· ·April 15, 2019 says they have been deferred to
·4· ·May 31, 2021.
·5· · · · Q.· · Right.· But I'm just sticking to the
·6· ·first paragraph where they refer to the
·7· ·outstanding amounts.· And in the end it says
·8· ·the -- it remained outstanding on December
·9· ·31st, 2018, and I think you told me that you
10· ·understood that, and then I'm just trying to
11· ·capture the last piece of it.
12· · · · · · · Did you understand that there were
13· ·amounts outstanding from the loan that Highland
14· ·made to HCMFA to fund ongoing operations as of
15· ·April 15th, 2019?
16· · · · A.· · Yes.
17· · · · Q.· · Thank you.· Let's look at the next
18· ·sentence.· HCMFA expects that it may be unable
19· ·to repay such amounts should they become due
20· ·for the period commencing today and continuing
21· ·through May 31st, 2021.
22· · · · · · · Do you see that?
23· · · · · · · MS. DANDENEAU:· Objection to form.
24· · · · A.· · I do.
25· · · · Q.· · As the CFO -- withdrawn.


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·2· · · · · · · As the treasurer of HCMFA, did you
·3· ·believe that -- do you believe that statement
·4· ·was true and accurate at the time it was
·5· ·rendered?
·6· · · · A.· · I mean, it -- it -- the answer to
·7· ·that is I really didn't have any -- I didn't
·8· ·have an opinion really.
·9· · · · Q.· · Did you do anything to educate
10· ·yourself in April of 2019 on the issue of
11· ·whether HCMFA could repay the amounts that it
12· ·owed to Highland should they become due?
13· · · · A.· · I don't believe so.
14· · · · Q.· · Did you at any time form any
15· ·opinions as to HCMFA's ability to repay all
16· ·amounts due to Highland should they become due?
17· · · · A.· · Not really.· I guess I don't...
18· · · · Q.· · Well, you told the retail board that
19· ·HCMFA's liabilities exceeded their assets in
20· ·2020; correct?
21· · · · A.· · Yes.
22· · · · Q.· · Based on the work that you did to
23· ·prepare for the retail board, did you form any
24· ·view as to whether HCMFA would be unable to
25· ·repay the amounts that it owed to Highland


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·2· ·should they become due?
·3· · · · · · · MS. DANDENEAU:· Objection to form.
·4· · · · A.· · I mean, I -- when you look at that,
·5· ·to answer you, completely, you know, again,
·6· ·if -- the response I gave the retail board was,
·7· ·you know, the -- the advice -- HCMFA advisors
·8· ·have the -- have the full faith and backing of
·9· ·Jim Dondero.· So I didn't form an opinion of
10· ·whether the advisor could pay it or not.
11· · · · Q.· · Did you form any view as to whether
12· ·the advisors could repay the amounts that it
13· ·owed to Highland should they become due without
14· ·the full faith and backing of Mr. Dondero?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · · · · MS. DEITSCH-PEREZ:· Form.
17· · · · A.· · I mean, if you -- if you -- if you
18· ·take that last statement out, I mean, it would
19· ·be difficult for HCMFA to pay back demand notes
20· ·at that time.
21· · · · Q.· · And it was precisely for that reason
22· ·that you told the retail board that -- that the
23· ·retail -- that the advisors had the full faith
24· ·and backing of Mr. Dondero; correct?
25· · · · · · · MS. DANDENEAU:· Objection to form.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I mean, yes, as the mouthpiece, I
·3· ·was relaying information.
·4· · · · Q.· · Okay.· And you relayed that
·5· ·information with the knowledge and approval of
·6· ·Mr. Dondero; correct?
·7· · · · · · · MS. DEITSCH-PEREZ:· Object to the
·8· · · · form.
·9· · · · A.· · As I stated in the email, I don't
10· ·believe, and I think I testified I don't
11· ·believe I had conversations with Mr. Dondero at
12· ·the time of that board meeting.
13· · · · Q.· · Did you tell the retail board that
14· ·the advisors had the full faith and backing of
15· ·Mr. Dondero without Mr. Dondero's prior
16· ·approval?
17· · · · A.· · Yeah, I -- I -- yes, I'm -- like I
18· ·said, I think I testified earlier, I'm sure I
19· ·qualified it as well.
20· · · · Q.· · What do you mean by that?
21· · · · · · · MS. DANDENEAU:· Objection to form.
22· · · · A.· · Again -- again, like I said in the
23· ·email, it has the full faith and backing of Jim
24· ·Dondero unless that has changed.
25· · · · Q.· · Actually that is not what you said,


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·so let's put the email back up.
·3· · · · A.· · It is -- it is -- it is in the
·4· ·email.
·5· · · · Q.· · Let's put the email back up.· You
·6· ·didn't say unless it has changed.· You said you
·7· ·believe it hasn't changed; right?
·8· · · · A.· · Okay.· And to my knowledge that
·9· ·hasn't changed, that is what it says.
10· · · · Q.· · That's right.
11· · · · A.· · But, again, I mean, that is -- I
12· ·don't know everything.· And I'm not in every
13· ·conversation.· I'm not -- to presume that I am,
14· ·is -- and you have to put myself -- as you
15· ·started this out, Mr. Morris, I was at home in
16· ·October of 2020 with COVID -- or, you know,
17· ·under these COVID times that we described is
18· ·very difficult.
19· · · · · · · We have all been working at home for
20· ·really the first time ever, undergoing
21· ·processes, procedures, control environments
22· ·that have been untested, and there is poor
23· ·communication.
24· · · · · · · So I am relaying, as I'm telling you
25· ·now, what is in the email.· And unless


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·something has changed -- to my knowledge, it
·3· ·hasn't changed, but it could have changed.
·4· · · · Q.· · When you say that the advisors have
·5· ·the full faith and backing from Mr. Dondero,
·6· ·did you intend to convey that, to the extent
·7· ·the advisors were unable to satisfy their
·8· ·obligations as they become due, Mr. Dondero
·9· ·would do it for them?
10· · · · · · · MS. DANDENEAU:· Object to the form.
11· · · · · · · MS. DEITSCH-PEREZ:· Object to the
12· · · · form.
13· · · · · · · And, John, we have given you a lot
14· · · · of leeway here but this does not seem
15· · · · relevant to this case.· You seem sort of
16· · · · taking a complete sort of diversion into
17· · · · the allegations and the complaint just
18· · · · filed on Friday, and so I would ask you to
19· · · · move on because --
20· · · · · · · MR. MORRIS:· And I will tell you --
21· · · · I will tell you that I have never read that
22· · · · complaint cover-to-cover.· I have nothing
23· · · · to do with the prosecution of those claims.
24· · · · And this issue that we're talking about
25· · · · right now is related solely to the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · promissory notes that your clients refuse
·3· · · · to pay.
·4· · · · · · · So I'm going to continue to ask my
·5· · · · questions, and I would ask the court
·6· · · · reporter to read back my last question.
·7· · · · · · · · · · · · ·(Record read.)
·8· · · · · · · MS. DEITSCH-PEREZ:· And then I
·9· · · · believe there were objections to form.
10· · · · Q.· · You can answer the question.
11· · · · A.· · Yes.
12· · · · Q.· · Thank you very much, sir.
13· · · · · · · MR. MORRIS:· Can we go back to the
14· · · · other document, please?
15· · · · Q.· · Mr. Waterhouse, do you know if this
16· ·document was ever shared with the retail board?
17· · · · A.· · I don't recall.
18· · · · Q.· · Did you ever share it with the
19· ·retail board?
20· · · · A.· · I don't recall.
21· · · · Q.· · Did you ever tell the retail board
22· ·about the substance of this document?
23· · · · A.· · I don't recall.
24· · · · Q.· · Did you ever tell the retail board
25· ·that Highland had agreed not to make a demand


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·against HCMFA until May 2021?
·3· · · · A.· · I don't recall.
·4· · · · Q.· · Do you know whether anybody on
·5· ·behalf of the advisors ever informed the retail
·6· ·board that Highland had agreed on April 15,
·7· ·2019, not to make a demand against HCMFA under
·8· ·the promissory notes?
·9· · · · A.· · I don't recall.
10· · · · Q.· · Did you instruct Ms. Thedford or
11· ·anybody else responding to the retail board's
12· ·15(c) inquiry to disclose this document?
13· · · · A.· · Did I instruct Ms. Thedford or
14· ·anyone else to -- to -- to produce this, to
15· ·disclose this document?· Is that what you -- I
16· ·just want to make sure.
17· · · · Q.· · Uh-huh.
18· · · · A.· · Yeah, I don't -- I don't recall.
19· · · · Q.· · Did you instruct anybody to inform
20· ·the retail board, in response to their question
21· ·as part of the 15(c) process, to -- to tell the
22· ·retail board about Highland's agreement not to
23· ·make a demand until 2021?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · I don't recall.


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·2· · · · Q.· · Did you ever inform PwC that HCMFA's
·3· ·liabilities exceeded its assets?
·4· · · · · · · MS. DANDENEAU:· Object to the form.
·5· · · · A.· · I don't -- I don't think I told
·6· ·them.· I mean, they -- they audited the
·7· ·financial statements.
·8· · · · Q.· · Did -- do you know if anybody on
·9· ·behalf of Highland ever informed
10· ·PricewaterhouseCoopers that HCMFA may be unable
11· ·to repay amounts owing to Highland, should they
12· ·become due?
13· · · · · · · MS. DANDENEAU:· Objection to form.
14· · · · A.· · Yes.· Again, I think I testified
15· ·earlier that -- that this was communicated to
16· ·the auditors.
17· · · · Q.· · Ideally --
18· · · · A.· · I don't know who exactly did that.
19· ·I don't recall doing it, but, yeah, it was --
20· ·it was communicated.· And that is why -- I
21· ·mean, there is a disclosure in the financial
22· ·statements; right?
23· · · · Q.· · There is, and that disclosure
24· ·relates to the last sentence of this document;
25· ·correct?


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·2· · · · A.· · Yes.
·3· · · · Q.· · Do you recall looking in the
·4· ·document and seeing anything that was disclosed
·5· ·with respect to the sentence above that?
·6· · · · A.· · No.
·7· · · · Q.· · Do you know whether anybody on
·8· ·behalf of Highland ever informed
·9· ·PricewaterhouseCoopers that HCMFA expects that
10· ·it may be unable to repay amounts due and owing
11· ·to Highland should they become due?
12· · · · · · · MS. DEITSCH-PEREZ:· Object to the
13· · · · form.· I think that is the third time.
14· · · · A.· · I don't recall.· Again, as I said,
15· ·we -- all of this was given to the auditors.
16· · · · Q.· · Do you know if Highland received
17· ·anything of value in exchange for its agreement
18· ·not to demand payment on amounts owed by HCMFA
19· ·prior to May 31st, 2021?
20· · · · · · · MS. DEITSCH-PEREZ:· Object to the
21· · · · form.· That is the second time.
22· · · · · · · MS. DANDENEAU:· Object to the form.
23· · · · A.· · I have answered this question.
24· · · · · · · MR. RUKAVINA:· Hold on.· Object to
25· · · · legal conclusion.· Go ahead.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I have answered this question
·3· ·before.
·4· · · · Q.· · And the answer was no?
·5· · · · A.· · I'm not aware.
·6· · · · Q.· · Now, this acknowledgment can't
·7· ·possibly apply to the two notes that you signed
·8· ·on behalf of HCMFA because those notes were
·9· ·signed on May 2nd and May 3rd, 2019; is that
10· ·right?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · Unless there is a drafting error.
13· · · · Q.· · Okay.· Are you aware of a drafting
14· ·error?
15· · · · A.· · I'm not aware.· I didn't -- I wasn't
16· ·part of -- I didn't sign this note or this
17· ·acknowledgment.· I didn't draft it.
18· · · · Q.· · But you do see it is dated April 15,
19· ·2019; right?
20· · · · A.· · Yes.
21· · · · Q.· · And this was a document that was
22· ·actually included by the advisors in a pleading
23· ·they filed with the Court; right?
24· · · · · · · MR. RUKAVINA:· Well, I don't know
25· · · · that so I object to form.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Let's go to the first page of
·3· ·the document and just confirm that.
·4· · · · · · · MR. AIGEN:· Mr. Morris, I just note
·5· · · · that you already said there was some error
·6· · · · with the document that is listed as
·7· · · · exhibit --
·8· · · · · · · MR. MORRIS:· No.· No, no, no.
·9· · · · · · · MS. DEITSCH-PEREZ:· Oh, okay.
10· · · · · · · MR. MORRIS:· What I said is that
11· · · · there is a few pages that were mistakenly
12· · · · stapled to the end of the document.
13· · · · · · · MS. DEITSCH-PEREZ:· Okay.
14· · · · · · · MR. MORRIS:· There is no problem
15· · · · with this document.
16· · · · · · · MS. DEITSCH-PEREZ:· And just so
17· · · · we're clear that the document -- the pages
18· · · · that start with defendant's amended answer
19· · · · are not intended to be part of this
20· · · · document?
21· · · · · · · MR. MORRIS:· That's correct.
22· · · · · · · MS. DEITSCH-PEREZ:· And that the --
23· · · · but it is your representation that the rest
24· · · · of the document is -- is -- is correct
25· · · · because we don't -- we don't have any way


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · of verifying that, we're just --
·3· · · · · · · MR. MORRIS:· You do, actually.· You
·4· · · · could just go to Docket No. 21-3004.
·5· · · · · · · MS. DEITSCH-PEREZ:· If you want to
·6· · · · stop this deposition so we can go and pull
·7· · · · that document up, we're happy to do it.· So
·8· · · · I am just asking you for your
·9· · · · representation.
10· · · · · · · MR. MORRIS:· Sure.· I gave that.
11· · · · · · · MS. DEITSCH-PEREZ:· Okay.
12· · · · Q.· · So do you see that this is a
13· ·document that was actually filed with the Court
14· ·by Highland Capital Management Fund Advisors?
15· · · · A.· · No.· I get with the first page in
16· ·the section.· Maybe I'm looking at the wrong
17· ·thing.· It says, Highland Capital Management.
18· · · · Q.· · Don't worry about it.· Don't worry
19· ·about it.
20· · · · A.· · Maybe I went back -- okay.
21· · · · · · · MR. MORRIS:· All right.· Can we put
22· · · · up on the screen Exhibit 2.
23· · · · · · · (Exhibit 2 marked.)
24· · · · · · · MR. MORRIS:· I think it is
25· · · · Exhibit 1.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MS. DANDENEAU:· I'm sorry, John, did
·3· · · · you say Exhibit 2 or Exhibit 1?
·4· · · · · · · MR. MORRIS:· It is Exhibit 2 in the
·5· · · · binders so it is premarked Exhibit 2.· And
·6· · · · now I'm asking -- right there -- going to
·7· · · · Exhibit 1 to the document that was marked
·8· · · · as Exhibit 2.
·9· · · · · · · MS. DANDENEAU:· Got it.· In the
10· · · · binder there is no --
11· · · · · · · MS. DEITSCH-PEREZ:· There is no
12· · · · Exhibit 1.
13· · · · · · · MR. MORRIS:· All right.· So look at
14· · · · the one on the screen.
15· · · · Q.· · Do you see, Mr. Waterhouse, that
16· ·this is a promissory note dated May 31st, 2017,
17· ·in the approximate amount of $30.7 million?
18· · · · A.· · Yes.
19· · · · Q.· · And do you see that the maker of the
20· ·note is NexPoint?
21· · · · A.· · Yes.
22· · · · Q.· · And that Highland is the payee; is
23· ·that right?
24· · · · A.· · Yes.
25· · · · Q.· · Okay.· And do you see in Paragraph 2


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·this is an annual installment note?
·3· · · · A.· · Can you scroll down.
·4· · · · Q.· · Sure.
·5· · · · · · · MR. MORRIS:· Can we scroll down --
·6· · · · yeah, there you go.
·7· · · · A.· · Right there, yeah.· Yes.
·8· · · · · · · MR. MORRIS:· And can we scroll down
·9· · · · to the signature line.
10· · · · Q.· · And do you recognize that as
11· ·Mr. Dondero's signature?
12· · · · A.· · Yes.
13· · · · Q.· · And is this the promissory note that
14· ·we talked about earlier where NexPoint had made
15· ·certain payments in the aggregate amount of
16· ·about 6 to $7 million against principal and
17· ·interest?
18· · · · A.· · I don't recall discussing the
19· ·aggregate principal amounts of 6 to $7 million,
20· ·but -- so I don't -- I don't recall that prior
21· ·discussion with those amounts.
22· · · · Q.· · All right.· Let's take a look.
23· ·NexPoint always included this promissory note
24· ·as a liability on its audited financial
25· ·statements; right?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes.
·3· · · · Q.· · And NexPoint had its financial
·4· ·statements audited; isn't that correct?
·5· · · · A.· · Yes.
·6· · · · Q.· · And was the process of NexPoint's
·7· ·audit similar to the process you described
·8· ·earlier for Highland and HCMFA?
·9· · · · A.· · Yes, it is similar.
10· · · · Q.· · Okay.
11· · · · · · · MR. MORRIS:· Can we put up
12· · · · NexPoint's audited financials and let
13· · · · everybody know what exhibit number it is,
14· · · · La Asia?
15· · · · · · · MS. CANTY:· It is going to be
16· · · · Exhibit 46.
17· · · · · · · (Exhibit 46 marked.)
18· · · · Q.· · And do you see, sir, that we've put
19· ·up NexPoint Advisors' consolidated financial
20· ·statements and supplemental information for the
21· ·period ending December 31st, 2019?
22· · · · A.· · Yes.
23· · · · Q.· · Did you participate in the process
24· ·whereby these audited financial statements were
25· ·issued?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I didn't participate directly, as
·3· ·I've described before, about the -- the team
·4· ·performing the audit.
·5· · · · Q.· · Do you recall when the audit of
·6· ·NexPoint's financial statements for the period
·7· ·ending December 31st, 2019 was completed?
·8· · · · A.· · Yes.
·9· · · · Q.· · And when do you recall it being
10· ·completed?
11· · · · A.· · In January of 2021.
12· · · · Q.· · Do you know why the 2019 audit
13· ·report wasn't completed until January of 2021?
14· · · · A.· · Yes.
15· · · · Q.· · Why was the NexPoint audit report
16· ·for the period ending 12/31/19 not completed
17· ·until January 2021?
18· · · · A.· · Because we had to deal with working
19· ·from home from -- with COVID, and on top of all
20· ·of our daily responsibilities and job duties
21· ·at -- at providing -- at Highland providing
22· ·services to NexPoint, we had to do all of this
23· ·extra work for a bankruptcy that was filed in
24· ·October of 2019.
25· · · · · · · MR. MORRIS:· Can we go to the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · balance sheet on page 3?· Okay.· Stop right
·3· · · · there.
·4· · · · Q.· · Do you see under the liabilities
·5· ·section, the last item is note payable to
·6· ·affiliate?
·7· · · · A.· · Yes.
·8· · · · Q.· · And is that the note that we just
·9· ·looked at?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · Q.· · Withdrawn.
12· · · · · · · Is that the approximately
13· ·$30 million note that we just looked at that
14· ·was dated from 2017?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · A.· · I believe no.
17· · · · Q.· · Okay.· You're not aware of any other
18· ·note that was outstanding from NexPoint to
19· ·Highland as of the end of the year 2019, other
20· ·than that one $30 million note; right?
21· · · · A.· · I don't recall.
22· · · · Q.· · And as of the end of 2019, the
23· ·principal amount that was due on the note was
24· ·approximately $23 million; right?
25· · · · · · · MS. DEITSCH-PEREZ:· Object to the


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·2· · · · form.
·3· · · · A.· · Approximately.
·4· · · · Q.· · And does that refresh your
·5· ·recollection that between the time the note was
·6· ·executed and the end of 2019, that NexPoint had
·7· ·paid down approximately $7 million?
·8· · · · A.· · Yes.· If we are just doing the math,
·9· ·yes.
10· · · · Q.· · Okay.· Did NexPoint complete its
11· ·audit from 2020?
12· · · · A.· · Sorry, you kind of broke up.· Do
13· ·NexPoint complete?
14· · · · Q.· · The audit of its financial
15· ·statements for the period ending December 31st,
16· ·2020?
17· · · · A.· · No.
18· · · · Q.· · No, it's not complete?
19· · · · A.· · No, it is not complete.
20· · · · Q.· · Did HCMFA complete its audit for the
21· ·year ending December 31st, 2020?
22· · · · A.· · No.
23· · · · · · · MR. MORRIS:· Can we go to page 15,
24· · · · please, the paragraph at the bottom.
25· · · · Q.· · Do you see that NexPoint has


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·2· ·included under notes payable to Highland a
·3· ·reference to the amounts that were outstanding
·4· ·as of the year-end 2019 under the note that we
·5· ·looked at just a moment ago?
·6· · · · A.· · Yes.· Are you talking about the
·7· ·second paragraph?
·8· · · · Q.· · I'm actually talking about first
·9· ·paragraph.· Do you understand that the first
10· ·paragraph is a reference to the 2017 note, and
11· ·the amounts that were -- the principal amount
12· ·that was outstanding as of the end of 2019?
13· · · · · · · MS. DANDENEAU:· Objection to form.
14· · · · John, do you mean the first paragraph of
15· · · · that page?
16· · · · · · · MR. MORRIS:· No, the first paragraph
17· · · · under notes payable to Highland.
18· · · · A.· · Yeah, I see the paragraph, and
19· ·again, this is what I answered earlier.                       I
20· ·believe so, just because I don't -- again, this
21· ·is a number in a balance sheet, and without
22· ·matching it up and seeing the detail with the
23· ·schedule like I kind of talked about for
24· ·Highland's financial statements, it is a little
25· ·bit more difficult to tie everything in


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·perfectly together.
·3· · · · Q.· · Okay.· But you're not aware of any
·4· ·note that was outstanding at the end of 2019
·5· ·from NexPoint to Highland other than whatever
·6· ·principal was still due and owing under the
·7· ·$30 million note issued in 2017; correct?
·8· · · · A.· · Well, it -- I don't -- there is
·9· ·reference in the second paragraph.· I don't --
10· ·I don't -- I don't recall what that is
11· ·referring to, so I don't -- I don't know.
12· · · · Q.· · Well, if you listen carefully to my
13· ·question, right, I'm asking about notes that
14· ·were outstanding at the end of 2019, and if we
15· ·look at the paragraph you just referred to, it
16· ·says that during the year there were new notes
17· ·issued totaling $1.5 million, but by the end of
18· ·the year, no principal or interest was
19· ·outstanding on the notes.
20· · · · · · · Do you see that?
21· · · · A.· · Oh, I do, yes.
22· · · · Q.· · So does that refresh your
23· ·recollection that there were no notes
24· ·outstanding from NexPoint to Highland other
25· ·than the principal remaining under the original


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·$30 million 2017 note that we looked at a
·3· ·moment ago?
·4· · · · A.· · Well, we're at the bottom of the
·5· ·page.· Is there anything on page 16?
·6· · · · Q.· · That is a fair question, sure.· That
·7· ·is it.
·8· · · · A.· · Okay.· So it appears that that is
·9· ·the only note that is detailed in the notes in
10· ·the financial statement.
11· · · · Q.· · And you don't have any memory of any
12· ·other note other than the 2017 note, right,
13· ·being outstanding as of the end of the year?
14· · · · A.· · I deal with thousands of
15· ·transactions every year.· I don't really have a
16· ·very specific memory for what exactly was
17· ·outstanding.
18· · · · · · · MR. MORRIS:· Why don't we take a
19· · · · break now.· We've been going for a little
20· · · · while.· It's 3:26.· Let's come back at
21· · · · 3:40.
22· · · · · · · VIDEOGRAPHER:· We're going off the
23· · · · record at 3:26 p.m.
24· · · · (Recess taken 3:26 p.m. to 3:39 p.m.)
25· · · · · · · VIDEOGRAPHER:· We are going back on


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · the record at 3:39 p.m.
·3· · · · Q.· · All right.· Mr. Waterhouse, we -- I
·4· ·don't think we have a lot more here.
·5· · · · · · · To the best of your knowledge and
·6· ·recollection, were all affiliate loans and all
·7· ·loans made to Mr. Dondero recorded on
·8· ·Highland's books and records as assets of
·9· ·Highland?
10· · · · · · · MS. DANDENEAU:· Object to the form,
11· · · · asked and answered.
12· · · · A.· · To my knowledge, yes.
13· · · · Q.· · Okay.· Can you recall any loan to
14· ·any affiliate or Mr. Dondero that was not
15· ·recorded on Highland's books and records as an
16· ·asset?
17· · · · A.· · Like during my time as CFO?· I don't
18· ·recall.
19· · · · Q.· · How about after the time that you
20· ·were CFO?· Did you recall that there was a loan
21· ·by Highland to an affiliate or to Mr. Dondero
22· ·that hadn't been previously recorded on
23· ·Highland's books as an asset?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · I guess I don't understand the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·question.· I left Highland as of -- I'm not
·3· ·aware of -- I left Highland in February --
·4· ·probably the last day of February of 2021.
·5· · · · Q.· · Okay.
·6· · · · A.· · I'm not -- I'm not aware of any --
·7· ·I'm not aware of anything past that date.
·8· · · · Q.· · Okay.· While you were the CFO at
·9· ·Highland, did Highland prepare in the ordinary
10· ·course of business a document that reported
11· ·operating results on a monthly basis?
12· · · · A.· · Yes.
13· · · · Q.· · And are you generally familiar with
14· ·the monthly operating reports?
15· · · · A.· · Yeah.· You are referring to the
16· ·reports that we filed to the Court every month?
17· · · · Q.· · I apologize, I'm not.· I'm taking
18· ·you back to the pre-petition period.· There was
19· ·a report that I have seen that I'm going to
20· ·show you, but I'm just asking for your
21· ·knowledge.
22· · · · · · · MR. MORRIS:· Let's put it up on the
23· · · · screen, Exhibit 39.
24· · · · · · · (Exhibit 39 marked.)
25· · · · Q.· · Do you see this is a document that


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·is called operating results?
·3· · · · A.· · Yeah, that's the title of it.
·4· · · · Q.· · Okay.· And was a report of operating
·5· ·results prepared by Highland on a monthly basis
·6· ·during the time that you served as CFO?
·7· · · · A.· · No.
·8· · · · Q.· · Are you familiar with a document of
·9· ·this type?· And we can certainly look at the
10· ·next page or two to refresh your recollection.
11· · · · A.· · I'm just looking at the title.                        I
12· ·don't really -- again, as I discussed before, I
13· ·don't have any records or documents or emails
14· ·or appointments or anything that I was able to
15· ·use prior to -- prior to this deposition, so
16· ·I'm doing the best I can.
17· · · · Q.· · Okay.· You don't need to apologize.
18· ·I'm just asking you if you are familiar with
19· ·the document called Operating Results that was
20· ·prepared on a monthly basis at Highland?
21· · · · · · · MS. DEITSCH-PEREZ:· Object to the
22· · · · form.
23· · · · Q.· · If you're not, you're not.
24· · · · A.· · I don't believe this was prepared on
25· ·a monthly basis.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Do you see that this one
·3· ·is -- is dated February 2018?
·4· · · · A.· · Yes.
·5· · · · Q.· · Do you have -- do you believe --
·6· ·have you ever seen a document that was
·7· ·purporting to report operating results for
·8· ·Highland?
·9· · · · · · · MS. DANDENEAU:· Objection to form.
10· · · · A.· · Yes.
11· · · · Q.· · Okay.· And when you say that you
12· ·don't believe it was produced on a monthly
13· ·basis, was it produced on any periodic bases to
14· ·the best of your recollection?
15· · · · A.· · I believe it was -- it was prepared
16· ·on an annual basis.
17· · · · Q.· · Okay.
18· · · · · · · MR. MORRIS:· Can we look at the next
19· · · · page.
20· · · · Q.· · Do you see that there is a statement
21· ·here called:· Significant items impacting
22· ·HCMLP's balance sheet?
23· · · · · · · And it is dated February 2018.
24· · · · A.· · Yes.
25· · · · Q.· · Do you recall that there was a


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·report that Highland prepared that identified
·3· ·significant items impacting the balance sheet?
·4· · · · A.· · A report that was prepared.
·5· · · · Q.· · Let me ask a better question:· Did
·6· ·Highland prepare reports to the best of your
·7· ·recollection that identified significant items
·8· ·that impacted its balance sheet?
·9· · · · A.· · Well, so Highland prepared a -- a
10· ·monthly close package.· And maybe I'm
11· ·getting -- and -- and maybe change names at one
12· ·time or maybe I'm just -- again, just
13· ·misremembering -- but in that, yes, there is a
14· ·page that would detail just changes in -- you
15· ·know, just changes month over month on the
16· ·balance sheet.
17· · · · Q.· · Okay.· And maybe it is my fault.
18· ·Maybe I didn't know the proper name for it.
19· ·But let's use the phrase "monthly close
20· ·package."
21· · · · · · · Did Highland prepare a monthly close
22· ·package in the ordinary course of business
23· ·during the time that you served as CFO?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · Yes.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And did the monthly close package
·3· ·that Highland prepared include information
·4· ·concerning significant items that impacted
·5· ·Highland's balance sheet?
·6· · · · A.· · Yes, it had a page like that is --
·7· ·that is on the screen that detailed items
·8· ·like -- of that nature.
·9· · · · Q.· · And do you know who -- was there
10· ·anybody at Highland who was responsible for
11· ·overseeing the preparation of the monthly
12· ·reporting package?
13· · · · A.· · That would have been -- again, it
14· ·varies over time during my tenure as CFO.
15· ·It -- it varied over -- over time, but -- but
16· ·typically a -- a corporate accounting manager.
17· · · · Q.· · And who were the corporate
18· ·accounting managers during your tenure as CFO?
19· · · · A.· · It would have been Dave Klos and
20· ·Kristin Hendrix.
21· · · · Q.· · And did the corporate accounting
22· ·manager deliver to you drafts of the monthly
23· ·close package before it was finalized?
24· · · · A.· · Sometimes.
25· · · · Q.· · Was that the practice even if there


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·were exceptions to the practice?
·3· · · · A.· · The practice meaning that they
·4· ·sometimes lured them to me?
·5· · · · Q.· · That that was the expectation even
·6· ·if circumstances prevented that from happening
·7· ·from time to time.
·8· · · · · · · MS. DEITSCH-PEREZ:· Object to the
·9· · · · form.
10· · · · A.· · I -- I would say it started out that
11· ·way but over the years it -- it was not
12· ·enforced.
13· · · · Q.· · Okay.· So you were -- you reviewed
14· ·and approved monthly -- monthly reporting
15· ·packages for a certain period of time and then
16· ·over time you stopped doing that.
17· · · · · · · Do I have that right?
18· · · · · · · MS. DANDENEAU:· Objection to form.
19· · · · A.· · Yes, I mean, if you're talking about
20· ·a formal meeting where we sit down and go
21· ·through and approve it.· I would say that was
22· ·standard practice a decade -- you know, early
23· ·on.· And as time went on that -- that -- that
24· ·practice wasn't followed.
25· · · · Q.· · Okay.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · And, quite frankly, I don't even
·3· ·know if these were -- these were sent to me
·4· ·even in any capacity.
·5· · · · Q.· · What was the purpose of preparing
·6· ·the monthly reporting package -- withdrawn.
·7· · · · · · · What was the purpose of preparing
·8· ·the monthly close package?
·9· · · · · · · MS. DEITSCH-PEREZ:· Object to the
10· · · · form.
11· · · · A.· · The -- the original purpose was so
12· ·that it would just -- it would be a report that
13· ·was reviewed monthly with senior management.
14· · · · Q.· · Who was included in the idea of
15· ·senior management?
16· · · · A.· · You know, I think originally when
17· ·this was conceived that would have been like
18· ·Jim Dondero and Mark Okada.
19· · · · Q.· · Were monthly reporting -- withdrawn.
20· · · · · · · Were monthly close packages prepared
21· ·to the best of your knowledge until the time
22· ·you left Highland?
23· · · · A.· · To my knowledge -- I don't know,
24· ·actually.· I mean, to my knowledge, I believe
25· ·it was being -- that was still being done.                           I


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·don't know because, again, I wasn't reviewing
·3· ·them.· I hadn't reviewed a close package for --
·4· ·for a long time.· But I believe the standard
·5· ·practice that was still being carried out.
·6· · · · Q.· · Did you ever have any discussions
·7· ·with the debtor's independent board concerning
·8· ·any promissory notes that were issued by any of
·9· ·the affiliates or Mr. Dondero?
10· · · · A.· · I can't -- I can't -- I can't recall
11· ·specifically.
12· · · · Q.· · Did you speak with the independent
13· ·board from time to time?
14· · · · A.· · Yes, from -- from -- from time to
15· ·time I had discussions with the independent
16· ·board members, you know, either -- either, you
17· ·know, by themselves or wholly, you know, as --
18· ·as a -- as a combined work.
19· · · · Q.· · Okay.· Before we talk about
20· ·Mr. Seery, do you recall ever having a
21· ·conversation with Mr. Nelms or Mr. Dubel
22· ·concerning any promissory note that was
23· ·rendered by one of the affiliates or
24· ·Mr. Dondero to Highland?
25· · · · A.· · I don't recall any conversations


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·specifically.
·3· · · · Q.· · Do you know if the topic was ever
·4· ·discussed, even if you don't remember it
·5· ·specifically?
·6· · · · · · · MS. DANDENEAU:· Objection to form.
·7· · · · A.· · It -- it -- it may have.· I don't
·8· ·know.· I don't recall.
·9· · · · Q.· · Do you recall ever discussing any
10· ·promissory note issued by any of the affiliates
11· ·or Mr. Dondero with James Seery?
12· · · · A.· · I don't -- I don't recall
13· ·specifically.
14· · · · Q.· · Do you recall generally ever
15· ·discussing the topic of promissory notes issued
16· ·by any of the affiliates or Mr. Dondero to
17· ·Highland with Mr. Seery?
18· · · · A.· · Nothing -- nothing is really jumping
19· ·out at me.
20· · · · Q.· · Do you recall if you ever told
21· ·Mr. Seery that any of the affiliates or
22· ·Mr. Dondero didn't have an obligation to pay
23· ·all amounts due and owing under their notes?
24· · · · A.· · I don't recall having that
25· ·conversation.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Did you ever tell Mr. Seery that you
·3· ·had any reason to believe that the amounts
·4· ·reflected in the notes issued by the affiliates
·5· ·and Mr. Dondero were invalid for any reason?
·6· · · · A.· · I don't -- I don't recall.
·7· · · · Q.· · Did you tell Mr. Dondero -- did you
·8· ·tell Mr. Seery that you thought the promissory
·9· ·notes issued by the advisors and Mr. Dondero
10· ·that were outstanding as of the petition date
11· ·were assets of the estate?
12· · · · A.· · I don't recall having a specific
13· ·conversation about those -- you know, those
14· ·notes outstanding as -- as of the petition date
15· ·being assets on the estate.· I mean, we put
16· ·together -- you know, they're in the books and
17· ·records of the financial statements.· I don't
18· ·recall having a specific conversation.
19· · · · Q.· · Did you ever prepare any documents
20· ·that were delivered to Mr. Seery that concerned
21· ·the promissory notes issued by any of the
22· ·affiliates or Mr. Dondero?
23· · · · · · · MS. DANDENEAU:· Objection to form.
24· · · · A.· · Did I produce any that concerned --
25· ·you mean did I just -- did I give Mr. Seery


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·anything that -- that said I have concerns over
·3· ·these notes?
·4· · · · Q.· · No.· Let me try again.· Maybe it was
·5· ·my question.
·6· · · · · · · Did you ever give Mr. Seery any
·7· ·information concerning any of the notes that
·8· ·were issued by any of the affiliates or
·9· ·Mr. Dondero?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · I don't recall if I did or not.                           I
12· ·don't -- I don't remember.· I mean, you have my
13· ·emails.· You may have asked.· Again, I don't --
14· ·I don't know.
15· · · · · · · MR. MORRIS:· Can we put up the
16· · · · document that has been premarked as Exhibit
17· · · · 39?
18· · · · · · · MS. DANDENEAU:· John, that is this
19· · · · document, isn't it?
20· · · · · · · MR. MORRIS:· Oh, yeah, it might be,
21· · · · as a matter of fact.· Let's go to Number
22· · · · 40.
23· · · · · · · (Exhibit 40 marked.)
24· · · · Q.· · During the bankruptcy,
25· ·Mr. Waterhouse, did you prepare documents that


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·were filed with the bankruptcy court?
·3· · · · A.· · I didn't -- I didn't prepare them
·4· ·personally.
·5· · · · Q.· · Did people prepare them under your
·6· ·direction?
·7· · · · A.· · Yes.· There were members of the team
·8· ·that prepared them, and they worked in -- you
·9· ·know, there were members of DSI that were
10· ·involved in the process as well.
11· · · · Q.· · To the best of your knowledge, did
12· ·DSI rely on the employees of Highland for the
13· ·information that they used to prepare the
14· ·bankruptcy filings?
15· · · · A.· · Yes.· The books and records were
16· ·with the Highland personnel.
17· · · · Q.· · Okay.· And do you see on the screen
18· ·here, there is a document that we have marked
19· ·as Exhibit 40 that is -- that is titled Summary
20· ·of Assets and Liabilities?
21· · · · A.· · Uh-huh.
22· · · · Q.· · Okay.· And do you recall reviewing
23· ·any summary of assets and liabilities before it
24· ·was filed with the bankruptcy court?
25· · · · A.· · Yes, I recall reviewing this at a


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·high level.
·3· · · · Q.· · And did you believe that it was
·4· ·accurate at the time it was filed?
·5· · · · A.· · I didn't have any other reason to
·6· ·believe otherwise.
·7· · · · Q.· · Okay.· Do you see that the total
·8· ·value of all properties listed in Part 1 is
·9· ·approximately $410 million?
10· · · · · · · MS. DEITSCH-PEREZ:· Objection to
11· · · · form.
12· · · · A.· · Yes, it is in 1c.
13· · · · Q.· · Yes.
14· · · · A.· · Yes, I see that.
15· · · · Q.· · Okay.· If we go to the second page,
16· ·now I think I may just have excerpts here, just
17· ·so everybody is clear, but if we scroll down to
18· ·the second page, you will see that there is
19· ·a -- a little further.· There you go.· You will
20· ·see there is a reference to Item 71, notes
21· ·receivable.
22· · · · · · · Do you see that?
23· · · · A.· · I do.
24· · · · Q.· · And that was a reference to the
25· ·notes receivable from the affiliates and


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Mr. Dondero, among others; is that right?
·3· · · · · · · MS. DANDENEAU:· Objection to form.
·4· · · · A.· · Yes.· The affiliate notes and the
·5· ·Dondero notes were in this amount, but they
·6· ·weren't -- again, like you said, and among
·7· ·others.
·8· · · · Q.· · Okay.· We will look at the
·9· ·specificity because I'm not playing gaming
10· ·here, but do you know if the $150 million of
11· ·notes receivable was included within the
12· ·$410 million of total value of the debtor's
13· ·assets?
14· · · · · · · MS. DANDENEAU:· Objection to form.
15· · · · A.· · I -- I -- I believe so.
16· · · · Q.· · Right.· And so is it fair to say
17· ·that as of the date this document was prepared,
18· ·the notes receivable were more than one-third
19· ·of the value of the debtor's assets?
20· · · · · · · MS. DEITSCH-PEREZ:· Object to the
21· · · · form.
22· · · · · · · MS. DANDENEAU:· Object to the form.
23· · · · A.· · Again, if you are just taking the
24· ·math, 150 divided by whatever the $400 million
25· ·number is above, then yes, you get there.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.
·3· · · · A.· · You know, but as of the time of this
·4· ·filing, that is what was put in this filing,
·5· ·right, but, you know, I mean, numbers --
·6· ·numbers change, facts and circumstances change.
·7· · · · Q.· · But as the CFO of Highland, the
·8· ·debtor in bankruptcy, did you believe that this
·9· ·number accurately reflected the total amount
10· ·due under the notes receivable?
11· · · · A.· · That is what we had in our books and
12· ·records.
13· · · · Q.· · Okay.· And did you believe as the
14· ·CFO that the books and records accurately
15· ·reported the then value of the debtor's assets?
16· · · · · · · MS. DANDENEAU:· Objection to form.
17· · · · A.· · We didn't -- as part of this filing,
18· ·there was no fair value measurement or
19· ·anything.· These were just accounting entries
20· ·for the promissory notes.· There is no analysis
21· ·for impairment or fair market value adjustments
22· ·or anything of that nature.· This is purely
23· ·taking numbers and putting them in our form.
24· · · · Q.· · Did you do any impairment analysis
25· ·at any time while you were employed by


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Highland?
·3· · · · A.· · Yes, we did do impairment analysis
·4· ·on -- on assets.
·5· · · · Q.· · Okay.· Did you ever do an impairment
·6· ·analysis on any of the promissory notes that
·7· ·were given to Highland by any of the affiliates
·8· ·or Mr. Dondero?
·9· · · · A.· · Not that I recall.
10· · · · Q.· · Under what circumstances do you
11· ·prepare impairment analyses?
12· · · · A.· · As -- as -- if you're preparing
13· ·financials in accordance with GAAP, generally
14· ·accepted accounting principles, if you're
15· ·preparing full GAAP financials, you should be
16· ·preparing -- you should be undergoing on a
17· ·periodic basis any fair market value
18· ·adjustments to assets.
19· · · · · · · As I was instructed at the time of
20· ·the petition date, we weren't producing GAAP
21· ·financials.· So this wasn't something I was
22· ·worried about nor concerned about.
23· · · · Q.· · Okay.· Were NexPoint and HCMFA and
24· ·Highland's audited financial statements
25· ·prepared in accordance with GAAP?


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·2· · · · A.· · The audited financials -- yes,
·3· ·audited financial statements are prepared in
·4· ·accordance with GAAP.
·5· · · · Q.· · Do you recall whether any of
·6· ·Highland or HCMFA or NexPoint ever made a fair
·7· ·market value adjustment to any of the notes
·8· ·issued by any of the affiliates or Mr. Dondero
·9· ·to Highland?
10· · · · A.· · I do not recall that happening, but
11· ·the -- it is because under -- under GAAP,
12· ·the -- the treatment of liabilities is
13· ·different than assets.
14· · · · Q.· · Okay.· So then let's just focus on
15· ·Highland's audited financial statements.
16· · · · · · · The last audited financial
17· ·statements were for the period ending December
18· ·31st, 2018; correct?
19· · · · A.· · That is my understanding.
20· · · · Q.· · And you had -- you had an obligation
21· ·to disclose anything to PricewaterhouseCoopers
22· ·concerning any subsequent events between the
23· ·end of 2018 and June 3rd, 2019; correct?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · · · · MS. DEITSCH-PEREZ:· Form.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Correct.
·3· · · · Q.· · Okay.· To the best of your
·4· ·knowledge, as Highland's CFO, did Highland ever
·5· ·make any fair market value adjustments to any
·6· ·of the promissory notes that were carried on
·7· ·its balance sheet and that were issued by any
·8· ·of the affiliates or Mr. Dondero?
·9· · · · A.· · I think I answered that question
10· ·earlier.· I don't recall doing that for any of
11· ·the -- those -- those notes.· So it would have
12· ·included the audit for the -- for the 2018
13· ·period.
14· · · · Q.· · Okay.
15· · · · · · · MR. MORRIS:· Can we go to the next
16· · · · page.
17· · · · Q.· · Do you see this is a note a list of
18· ·notes receivable?· Do you see that?
19· · · · A.· · Yes, I do.
20· · · · Q.· · And do you see that this ties into
21· ·the page that we were just looking?
22· · · · A.· · I'm sorry, can we go back to the
23· ·prior page?· I mean, it was at 150,331,222.· It
24· ·was on the prior page.· Next page.· Yes, it
25· ·agrees.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· So now let's look at that
·3· ·schedule.· So this was the face amount of all
·4· ·of the promissory notes that Highland held at
·5· ·the time this document was filed with the
·6· ·bankruptcy court; right?
·7· · · · A.· · Yes.
·8· · · · Q.· · There is a footnote there that says,
·9· ·doubtful or uncollectible accounts are
10· ·evaluated at year-end.
11· · · · · · · Do you see that?
12· · · · A.· · I do.
13· · · · Q.· · Okay.· And is it fair to say that as
14· ·of the year-end 2018, the year before this,
15· ·that to the extent any of these notes were
16· ·outstanding at that time, they weren't deemed
17· ·to be doubtful or uncollectible?
18· · · · A.· · Yeah.· For the 2018 audit, there
19· ·weren't any -- there weren't any adjustments to
20· ·fair value.
21· · · · Q.· · Okay.· And during the bankruptcy, do
22· ·you recall that Highland subsequently reserved
23· ·for the Hunter Mountain Investment Trust note?
24· · · · A.· · Yes.
25· · · · Q.· · Why did Highland -- were you


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·2· ·involved in the decision to reserve the Hunter
·3· ·Mountain Investment Trust note?
·4· · · · A.· · I was not.
·5· · · · Q.· · Do you know why Highland decided to
·6· ·reserve for the Hunter Mountain Investment
·7· ·Trust note?
·8· · · · A.· · I don't know yet decision was made.
·9· ·I believe it was made by someone at DSI.
10· · · · Q.· · Okay.· I'm just asking if you know
11· ·why.
12· · · · · · · Did you ever ask anyone why they
13· ·reserved for that particular note?
14· · · · A.· · I don't recall.
15· · · · Q.· · Do you know whether the debtor
16· ·reserved for any other note on this list during
17· ·the bankruptcy?
18· · · · A.· · Again, I don't recall.· I wasn't
19· ·part of any process of -- again, like any fair
20· ·value adjustments or anything to that degree.
21· ·Like I said, a lot of that was done by DSI and
22· ·it was kind of out of our court.
23· · · · Q.· · Okay.· Do you know if any note
24· ·receivable on this list was ever deemed by the
25· ·debtor to be doubtful or uncollectible?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't -- I don't have a
·3· ·recollection of every filing, so I don't know.
·4· · · · Q.· · Did you ever have a discussion with
·5· ·anybody at any time about whether any of the
·6· ·notes receivable on this list should be deemed
·7· ·to be doubtful or uncollectible?
·8· · · · A.· · No.· As I previously stated, we were
·9· ·told we didn't have to keep GAAP financials.
10· ·We weren't having -- you know, there is no
11· ·underlying audits being performed, so I mean,
12· ·it wasn't something I worried about.
13· · · · · · · MR. MORRIS:· I move to strike.
14· · · · Q.· · Did you ever have a conversation
15· ·with anybody about any of the notes receivable
16· ·and whether they should be deemed to be
17· ·doubtful or uncollectible?· Did you have the
18· ·conversation, yes or no?
19· · · · · · · MS. DANDENEAU:· Objection to form.
20· · · · A.· · I don't recall.
21· · · · Q.· · Do you recall ever telling anybody
22· ·that you believed any of the notes receivable
23· ·on this list should be doubtful -- should be
24· ·deemed to be doubtful or uncollectible?
25· · · · · · · MS. DANDENEAU:· Objection to form.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't recall.· I mean, it may have
·3· ·happened, you know, again, when we initially
·4· ·getting DSI up to speed and going through
·5· ·financials, it may have happened, but I don't
·6· ·recall specifically.
·7· · · · Q.· · While you were the CFO of Highland
·8· ·during the time that the company was in
·9· ·bankruptcy, did you have any reason to believe
10· ·that any of the notes receivable on this list
11· ·other than Hunter Mountain Investment Trust
12· ·should have been characterized as doubtful or
13· ·uncollectible?
14· · · · · · · MS. DANDENEAU:· Objection to form.
15· · · · · · · MS. DEITSCH-PEREZ:· Form.
16· · · · A.· · I didn't know.· I didn't form an
17· ·opinion.· Bankruptcy was new to me.· It still
18· ·is new to me, even after going through this.
19· ·So I really didn't know what to expect nor
20· ·really -- you know, I didn't know.
21· · · · · · · MR. MORRIS:· I move to strike.
22· · · · Q.· · During the period of Highland's
23· ·bankruptcy when you were serving as CFO, did
24· ·you have any reason to believe any of the notes
25· ·on this list were doubtful or uncollectible?


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·2· · · · · · · MS. DEITSCH-PEREZ:· This is like the
·3· · · · fifth time you've asked it.· Object to the
·4· · · · form.
·5· · · · · · · MR. MORRIS:· I'm moving to strike,
·6· · · · if you haven't noticed, because he's not
·7· · · · answering the question.
·8· · · · · · · MS. DEITSCH-PEREZ:· He was answering
·9· · · · the question, you just didn't like it, like
10· · · · the answer.
11· · · · · · · MR. MORRIS:· Good Lord.
12· · · · Q.· · Go ahead, Mr. Waterhouse.
13· · · · A.· · Again, I don't -- we brought up a
14· ·myriad of issues at the start of the bankruptcy
15· ·case.· I don't recall if this was one of them,
16· ·but, again, there are a lot of things we
17· ·couldn't change.· Even, you know, I was told
18· ·status quo, blah, blah, blah, right, there is a
19· ·stay, you can't -- you know, I don't recall
20· ·specifically, but that doesn't mean it didn't
21· ·happen.
22· · · · · · · MR. MORRIS:· I move to strike.
23· · · · Q.· · During the time that Highland was in
24· ·bankruptcy and you served as CFO, did you have
25· ·any reason to believe that any of the notes


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·receivable on this list were doubtful or
·3· ·uncollectible?
·4· · · · · · · MS. DEITSCH-PEREZ:· Object to the
·5· · · · form.
·6· · · · A.· · Potentially.
·7· · · · Q.· · Did you ever tell anybody that?
·8· · · · A.· · As I just stated like five times,
·9· ·yes, we -- at the beginning after filing and we
10· ·were getting DSI and others up to speed, you
11· ·know, we had a myriad of discussions of a lot
12· ·of things and this was likely one of them.                           I
13· ·don't -- but I don't recall specifically we
14· ·talked --
15· · · · Q.· · I don't want to know -- I don't want
16· ·to know what was --
17· · · · · · · MS. DEITSCH-PEREZ:· Wait, wait.
18· · · · Excuse me.· Mr. Morris, you did not let him
19· · · · finish his answer.
20· · · · A.· · I spoke -- we had -- we were
21· ·bringing Fred Karesa and Brad Sharp (phonetic)
22· ·up to speed on all of these items, contracts,
23· ·and investments and going through -- we had
24· ·hours and hours and hours of discussion.· And
25· ·then not only do I have to repeat this not


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·2· ·once, twice, three, four times with -- you
·3· ·know, I mean, we -- I don't -- I don't remember
·4· ·the sum culmination of all these discussions.
·5· ·They all kind of blend together.
·6· · · · · · · MR. MORRIS:· Okay.· I move to strike
·7· · · · and I will try one more time.
·8· · · · Q.· · Did you ever tell anybody at DSI
·9· ·that you believed any of the notes receivable
10· ·on this list were doubtful or uncollectible?
11· · · · · · · MS. DANDENEAU:· Object to form.
12· · · · A.· · Potentially.
13· · · · Q.· · Potentially you told them or
14· ·potentially they were doubtful or
15· ·uncollectible?
16· · · · A.· · Potentially I told them that we
17· ·needed to look at the value of these -- of
18· ·these assets.
19· · · · Q.· · Okay.· Did you -- okay.· It is
20· ·potential that you told them and it is
21· ·potentially that you didn't; right?
22· · · · · · · MS. DANDENEAU:· Objection to form.
23· · · · A.· · I've gone through that.· I don't
24· ·recall specifically.
25· · · · Q.· · So you should just -- I don't want


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·2· ·to tell what you to do.· Do you have --
·3· · · · · · · MS. DANDENEAU:· Good.
·4· · · · Q.· · Other than -- other than telling
·5· ·them that they should look at the values, do
·6· ·you have any recollection whatsoever of ever
·7· ·having told anybody at DSI that any of the
·8· ·notes receivable on this page were doubtful or
·9· ·uncollectible?
10· · · · · · · MS. DEITSCH-PEREZ:· Object to the
11· · · · form.
12· · · · · · · MS. DANDENEAU:· Objection.
13· · · · A.· · I recall having general discussions
14· ·about everything on our balance sheet which
15· ·would have included these -- these notes
16· ·receivable.
17· · · · Q.· · Okay.
18· · · · A.· · I don't recall specifically where
19· ·those discussions delved into.
20· · · · Q.· · Do you recall any discussion at all
21· ·on the topic of whether any of these notes on
22· ·this list were doubtful or uncollectible?
23· · · · · · · MR. AIGEN:· Mr. Morris, how on earth
24· · · · is that question different from the
25· · · · question that you just asked for the last


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·2· ·five times?· I mean, really I thought you
·3· ·were -- (overspeak.)
·4· · · · ·MR. MORRIS:· Because he never
·5· ·answered it.
·6· · · · ·MS. DEITSCH-PEREZ:· Are you
·7· ·listening to him?
·8· · · · ·MR. MORRIS:· You know --
·9· · · · ·MS. DEITSCH-PEREZ:· He basically
10· ·said that he had a conversation with DSI
11· ·that went over all of this stuff and that
12· ·conversation could have included the notes
13· ·but he doesn't recall specifically.
14· · · · ·What more do you want him -- to ask
15· ·of him?
16· · · · ·MR. MORRIS:· I want him -- I would
17· ·love him to say -- I would like him to
18· ·testify to the truth, and that is he has no
19· ·recollection.
20· · · · ·MS. DEITSCH-PEREZ:· Well, the truth
21· ·as you would like to see it, but -- but he
22· ·is testifying truthfully.· And I -- and, by
23· ·the way, I move to strike that comment --
24· · · · ·MR. MORRIS:· Okay.
25· · · · ·MS. DEITSCH-PEREZ:· -- because it


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·2· · · · suggests that he has not testified
·3· · · · truthfully.
·4· · · · · · · MR. MORRIS:· I will ask my question
·5· · · · again.· And if at any time you want to
·6· · · · direct him not to answer, that is your
·7· · · · prerogative.
·8· · · · Q.· · Mr. Waterhouse, do you have any
·9· ·recollection at all of ever telling anybody
10· ·from DSI that any of these notes were doubtful
11· ·or uncollectible?
12· · · · · · · MS. DANDENEAU:· Object to form.
13· · · · A.· · I don't remember specifically.
14· · · · Q.· · Do you remember generally that
15· ·specific topic?
16· · · · A.· · We generally talked about assets,
17· ·values.· If -- we had discussions of that and
18· ·collectability in nature.· I mean, of Highland,
19· ·the funds, the CLOs, the entire complex.· We
20· ·had discussions like that, which is, you know,
21· ·as you look at a billion dollar consolidated
22· ·balance sheet.
23· · · · · · · So I generally remember -- this is
24· ·billions of dollars, including these assets --
25· ·having discussions of this -- of this type.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Do you believe that an affiliate
·3· ·loan on this list was doubtful or
·4· ·uncollectible?· Would you have told that to
·5· ·DSI?
·6· · · · · · · MS. DANDENEAU:· Objection to form.
·7· · · · · · · MS. DEITSCH-PEREZ:· Object to form.
·8· · · · A.· · If we had, like -- again, if we --
·9· ·if -- if we weren't preparing financial
10· ·statements in accordance with GAAP, and -- you
11· ·know, if DSI at that point -- they were --
12· ·again, I was new to bankruptcy.
13· · · · · · · The CRO is -- we are delegating
14· ·everything to the CRO.· All the decisionmaking.
15· ·Remember -- remember when you and I went into
16· ·Delaware Court and we were saying DSI basically
17· ·does everything, remember this, Mr. Morris?
18· · · · · · · You were my counsel at the time, and
19· ·basically we're running everything through DSI.
20· ·That was what this was like in the early part.
21· · · · · · · Everything was communicated through
22· ·DSI.· So DSI says this.· DSI says that.· That
23· ·is what we're doing, and we're pointing out
24· ·things to them.
25· · · · · · · Now, they decide what direction this


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·goes.
·3· · · · Q.· · Did you point out that any of
·4· ·these --
·5· · · · A.· · I don't recall specifically.
·6· · · · Q.· · Okay.· At any time that you served
·7· ·as Highland's CFO, did you ever point out to
·8· ·DSI that any of these loans were doubtful or
·9· ·uncollectible?
10· · · · · · · MS. DEITSCH-PEREZ:· Object to the
11· · · · form.
12· · · · · · · MS. DANDENEAU:· Objection.
13· · · · A.· · If you're asking me if I had a
14· ·conversation with DSI, if any of these loans
15· ·were doubtful or uncollectible, I don't recall
16· ·specifically.
17· · · · Q.· · Do you recall that the debtor filed
18· ·on the docket monthly operating reports?
19· · · · A.· · Yes.
20· · · · Q.· · You prepared those personally,
21· ·didn't you?
22· · · · · · · MS. DEITSCH-PEREZ:· Objection to
23· · · · form.
24· · · · A.· · I didn't personally prepare them,
25· ·the team did with DSI.


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·2· · · · Q.· · But you signed them; correct?
·3· · · · A.· · My signature is on the MORs.
·4· · · · Q.· · And you signed them as the preparer
·5· ·of the document; correct?
·6· · · · A.· · Yes, I did this pursuant to DSI's
·7· ·instructions.
·8· · · · Q.· · Okay.· You wouldn't have signed the
·9· ·document if you didn't believe it to be
10· ·accurate; correct?
11· · · · A.· · If I had reason to believe it
12· ·wasn't, presumably I wouldn't have signed it.
13· · · · Q.· · Okay.· And do you have any reason to
14· ·believe right now that any monthly operating
15· ·report that has your signature on it was
16· ·inaccurate in any way?
17· · · · · · · MS. DEITSCH-PEREZ:· Object to the
18· · · · form.
19· · · · A.· · My understanding of the monthly
20· ·operating reports is we were filing them in
21· ·accordance with the standards set by the Court.
22· ·It wasn't -- you know, again, I don't -- you
23· ·know, it wasn't GAAP.· It wasn't these other
24· ·standards, so I testified I didn't have
25· ·experience in this.· The CRO was running the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·show.· I followed their advice.
·3· · · · Q.· · But you assured yourself that
·4· ·everything in the report was accurate before
·5· ·you signed them; correct?
·6· · · · · · · MS. DANDENEAU:· Objection to form.
·7· · · · A.· · I trusted the guidance from the CRO
·8· ·and their team and their experience and their
·9· ·guidance for doing this for many, many, many
10· ·years to -- to -- to categorize and put things
11· ·in ways on the form.
12· · · · · · · You know, my team had -- had not
13· ·filled out these forms before and needed all of
14· ·this guidance.· I'm not an expert in this.                           I
15· ·have oversight of it.· I signed the form.· DSI
16· ·told me to.
17· · · · Q.· · And you and your team are the source
18· ·of the information that DSI used to create the
19· ·reports; correct?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · The books and records reside with
22· ·the -- with -- with the corporate accounting
23· ·team.
24· · · · Q.· · Okay.· And the corporate accounting
25· ·team was the corporate accounting team that was


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·under your direction; correct?
·3· · · · A.· · Yes.
·4· · · · Q.· · So -- so your team was responsible
·5· ·for maintaining Highland's books and records;
·6· ·correct?
·7· · · · A.· · I'm sorry, my team was responsible?
·8· · · · Q.· · Correct.
·9· · · · A.· · Yes.· They -- they -- they were
10· ·the -- the -- the general ledger of Highland,
11· ·that responsibility was with the corporate
12· ·accounting team.
13· · · · Q.· · The corporate accounting group
14· ·reported to you; correct?
15· · · · A.· · Yes.
16· · · · · · · MR. MORRIS:· Can we put up 41,
17· · · · please.
18· · · · · · · (Exhibit 41 marked.)
19· · · · Q.· · All right.· You will see that this
20· ·is a report that is dated January 31st, 2020,
21· ·but it is for the month ending December 2019.
22· · · · · · · Do you see that?
23· · · · A.· · I do.
24· · · · Q.· · And you signed this report in your
25· ·capacity as the chief financial officer of


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Highland; correct?
·3· · · · A.· · Yes.
·4· · · · Q.· · And you're the preparer -- you're
·5· ·identified as the preparer of the report;
·6· ·correct?
·7· · · · A.· · That is correct.
·8· · · · Q.· · Do you recall participating in the
·9· ·preparation of monthly operating reports?
10· · · · A.· · As I testified earlier, it was put
11· ·together, you know, with the team.· The team
12· ·worked with DSI to put these monthly operating
13· ·reports together.· We had no experience at this
14· ·time of the monthly operating reports or things
15· ·of this nature.
16· · · · · · · MR. MORRIS:· Can you turn to the
17· · · · next page, please.
18· · · · Q.· · Do you see a line item under assets
19· ·due from affiliates?
20· · · · A.· · Yes, I do.
21· · · · Q.· · Okay.· And to the best of your
22· ·knowledge and understanding, as the person who
23· ·is identified as the preparer of this report,
24· ·does that line item include the affiliate loans
25· ·that we've been talking about?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Again, I would have to see, just
·3· ·like we did with the financial statements of
·4· ·Highland and NexPoint, I would have to see a
·5· ·detailed build, but, you know, if you look at
·6· ·the other line items, you know, the only other
·7· ·place it could be would be in -- in other
·8· ·assets.
·9· · · · Q.· · Okay.· And as a matter of
10· ·arithmetic, is it fair to say that is the value
11· ·of the assets due from affiliates was more than
12· ·25 percent of the value of Highland's total
13· ·assets as of 12/31/2019?
14· · · · · · · MS. DANDENEAU:· Objection to form.
15· · · · A.· · I'm really not doing the mental math
16· ·right now, so I've been going at this depo for
17· ·hours, so I'm really not -- you know --
18· · · · Q.· · All right.· No problem.
19· · · · A.· · -- these are millions of dollars.
20· · · · Q.· · Let's look at the Footnote 1,
21· ·please.· Do you see there is a reference to the
22· ·Hunter Mountain note?
23· · · · A.· · Yes, I see that in Footnote 1.
24· · · · Q.· · Okay.· And that's the reserve that
25· ·was taken against that note?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes, that is what this indicates.
·3· · · · Q.· · Okay.· And were you aware that the
·4· ·reserve was being taken on that it was?
·5· · · · A.· · I was -- I was aware, yeah, at some
·6· ·point, yes.
·7· · · · Q.· · Okay.· And are you aware of any
·8· ·reserve being taken with respect to any other
·9· ·note that was issued in favor of Highland?
10· · · · A.· · Again, as I testified, we didn't go
11· ·through an analysis on -- on -- on the other
12· ·notes.
13· · · · Q.· · Can we turn --
14· · · · A.· · I believe -- I believe it says that
15· ·in Footnote 1, fair value has not been
16· ·determined with respect to any of the notes.
17· · · · · · · So this footnote -- footnotes, look,
18· ·there has been no determination.
19· · · · Q.· · Okay.· The determination was made in
20· ·the audited financial statements just six
21· ·months earlier; right?· We saw that earlier?
22· · · · A.· · That was as of 12/31/18.· I mean,
23· ·things -- circumstances -- there's a bank --
24· ·circumstances change, things change -- things
25· ·change over time, you know, facts and


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·circumstances change.· Again, you have to do an
·3· ·analysis.
·4· · · · Q.· · Okay.· And you do recall that in
·5· ·Highland's 2018 financial statement, all of the
·6· ·notes issued by affiliates and Mr. Dondero that
·7· ·were due at year-end had a fair value equal to
·8· ·the carrying value; correct?· We looked at
·9· ·that?
10· · · · A.· · Yes.· That was in the -- in the
11· ·disclosure for the -- for the affiliate notes,
12· ·yes.
13· · · · Q.· · And -- and you were obligated to
14· ·share with PwC any subsequent events between
15· ·the end of 2018 and the date that you signed
16· ·your management representation letter on June
17· ·3rd, 2019; correct?
18· · · · · · · MS. DEITSCH-PEREZ:· Object to the
19· · · · form.
20· · · · A.· · Yes.· I -- I -- I signed the
21· ·management, you know, my signature is in the
22· ·management representation letter -- I hope I'm
23· ·answering your question -- that is dated in
24· ·June with the representations made in that
25· ·management representation letter.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· And there was nothing that
·3· ·caused PricewaterhouseCoopers to include in
·4· ·subsequent events any adjustment to the
·5· ·conclusion that the fair value of the affiliate
·6· ·notes and the notes issued by Mr. Dondero
·7· ·equaled the carrying value; correct?
·8· · · · · · · MS. DANDENEAU:· Objection to the
·9· · · · form.
10· · · · A.· · That is correct.· That is what was
11· ·in the -- in the -- in the footnotes.
12· · · · Q.· · Okay.· So are you aware of anything
13· ·that occurred between June 3rd, 2019 and
14· ·December 31st, 2019 that would have caused the
15· ·fair value of the notes to differ from the
16· ·carrying value?
17· · · · A.· · Yeah.· Highland filed for
18· ·bankruptcy, things changed -- I mean, there was
19· ·a bankruptcy filed in October of -- of -- of
20· ·2019, right, the petition date that we've
21· ·described earlier.
22· · · · · · · I mean, I had a -- I guess looking
23· ·back naively, I thought we were going to get an
24· ·audit from PwC for year-ended 2019, and when we
25· ·had discussions with PwC, they were like, are


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·you crazy, we're not auditing this.· Values
·3· ·change, all these things change, bankruptcy
·4· ·changes the entire scenario.· I mean -- and
·5· ·they're like, we're not -- we're not touching
·6· ·this.
·7· · · · · · · And so, you know, I was like, okay,
·8· ·sorry, I get it, okay, no an audit.
·9· · · · · · · I mean, it is -- you know, and --
10· ·you know, and we weren't preparing GAAP
11· ·financial statements.
12· · · · · · · Again, I didn't know what we were
13· ·doing in relation to our financial statements,
14· ·but these were the discussions I was having at
15· ·the time.· And yeah, I mean, filing bankruptcy
16· ·from what I got from outside auditors and
17· ·others involved changed things dramatically.
18· · · · Q.· · Okay.· Highland wasn't the obligor
19· ·under any of the notes that we're talking
20· ·about; correct?
21· · · · A.· · No.
22· · · · Q.· · So --
23· · · · A.· · That's right.
24· · · · Q.· · So can you identify any fact that
25· ·would cause the fair value to deviate from the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·carrying value during the seven-month period
·3· ·between June 3rd and the end of the year, 2019?
·4· · · · · · · MS. DANDENEAU:· Objection to form.
·5· · · · A.· · No.· I mean, I'm putting myself back
·6· ·at that time, right.· Hindsight is 2020, but we
·7· ·didn't do an analysis, but we would have done a
·8· ·fulsome analysis and looked at all of the facts
·9· ·and circumstances at the time, but asset values
10· ·change.· You know, there could have been a
11· ·market crash in hindsight in 2020, which --
12· ·which affected entities' abilities.
13· · · · · · · There could have been all of these
14· ·things, right, that -- that happen.· It is --
15· ·it is easy to look back in hindsight, but when
16· ·you are looking at this in -- in realtime, the
17· ·analysis is different, and again, we didn't do
18· ·an analysis.
19· · · · Q.· · Okay.· You didn't do an analysis.
20· · · · · · · Do I have that right?
21· · · · A.· · I don't -- I don't recall doing one
22· ·or maybe -- you know, I don't recall doing one.
23· · · · · · · MR. MORRIS:· Okay.· I'm going to
24· · · · take a break.· I may be done, so the time
25· · · · now is -- is 4:30 your time.· Let's just


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · take a short break until 4:40 your time.
·3· · · · · · · MS. DANDENEAU:· Okay.
·4· · · · · · · VIDEOGRAPHER:· We're going off the
·5· · · · record, 4:31 p.m.
·6· · · · (Recess taken 4:31 p.m. to 4:43 p.m.)
·7· · · · · · · VIDEOGRAPHER:· We are back on the
·8· · · · record at 4:43 p.m.
·9· · · · · · · MR. MORRIS:· I have no further
10· · · · questions.
11· · · · · · · MR. RUKAVINA:· Okay.
12· · · · Mr. Waterhouse, I will go next.
13· · · · · · · · · · ·EXAMINATION
14· ·BY MR. RUKAVINA:
15· · · · Q.· · Sir, my name is Davor Rukavina.· I'm
16· ·the lawyer for --
17· · · · · · · MR. MORRIS:· Hey, Davor, just before
18· · · · you begin, I just want to put on the record
19· · · · Highland's objection to documents that were
20· · · · produced to me 10 minutes before the
21· · · · deposition began.
22· · · · · · · MR. RUKAVINA:· What the basis of
23· · · · your objection?
24· · · · · · · MR. MORRIS:· That they were due
25· · · · quite some time ago, and the fact that you


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·2· · · · had -- I just think it's appropriate to --
·3· · · · to dump documents on somebody 10 minutes
·4· · · · before the deposition.· I just think
·5· · · · that's --
·6· · · · · · · MR. RUKAVINA:· Well, these are
·7· · · · documents Highland produced.· I'm not aware
·8· · · · of any rule I have to give you advance
·9· · · · documents when I know for the record that
10· · · · other than the exhibits that you sent to us
11· · · · last week, most of the exhibits you used
12· · · · today you did not provide to me prior to
13· · · · this deposition.
14· · · · · · · MR. MORRIS:· No, but the documents
15· · · · were produced by me in -- in litigation,
16· · · · right?
17· · · · · · · MR. RUKAVINA:· I'm going to use
18· · · · primarily, John, the documents that you
19· · · · produced to me today, but you may.
20· · · · · · · MR. MORRIS:· Primarily.· I've got --
21· · · · I've got my objection.· You have got your
22· · · · response.· Proceed.
23· · · · Q.· · Mr. Waterhouse, again, I represent
24· ·the advisors, HCMFA and NexPoint Advisors.
25· · · · · · · Do you understand that?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes.
·3· · · · Q.· · You and I have never met or talked
·4· ·before today, have we?
·5· · · · A.· · No, I have -- I have heard your
·6· ·voice on calls before.
·7· · · · Q.· · Okay.
·8· · · · · · · MR. RUKAVINA:· Madam Court Reporter,
·9· · · · I will use a few exhibits today.· My
10· · · · associate, Mr. Nguyen, will find some way
11· · · · to get them to you.· I don't know how to do
12· · · · that, but it looks like you guys do.
13· · · · · · · I am going to use numbers as well.
14· · · · But to differentiate them from Mr. Morris
15· · · · we're going to mark mine with the prefix A
16· · · · for advisors.
17· · · · · · · Do you understand?
18· · · · · · · COURT REPORTER:· Yes.
19· · · · · · · MR. RUKAVINA:· Okay.· Perfect.
20· · · · Q.· · Okay.· So, Mr. Waterhouse, let's
21· ·start with those two HCMFA notes that you were
22· ·asked about, one for 5 million and one for
23· ·2.4 million.
24· · · · · · · Do you recall those notes?
25· · · · A.· · Yes.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Were you ever the CFO of HCMFA?
·3· · · · A.· · I don't recall.
·4· · · · Q.· · So to the best of your recollection,
·5· ·you were still an officer of HCMFA in 2019,
·6· ·just that your title was treasurer?
·7· · · · · · · MR. MORRIS:· Object to the form of
·8· · · · the question.· There is no leading here.
·9· · · · He works for your client.
10· · · · · · · MS. DANDENEAU:· That is not -- that
11· · · · is not true.
12· · · · · · · MR. MORRIS:· He's the treasurer --
13· · · · he is the treasurer of your client.                        I
14· · · · don't -- I'm going to object every time you
15· · · · try to lead, so...
16· · · · · · · MR. RUKAVINA:· Totally fine to
17· · · · object.
18· · · · · · · MR. MORRIS:· Okay.
19· · · · Q.· · Please answer my question,
20· ·Mr. Waterhouse.
21· · · · A.· · I'm sorry, could you repeat?· There
22· ·was...
23· · · · Q.· · Yes.· You were -- you testified
24· ·earlier that in 2019 you were an officer of
25· ·HCMFA; correct?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes, I testified that I was the
·3· ·treasurer and I didn't know if that incumbency
·4· ·certificate, you know, was one that appointed
·5· ·me as a treasurer, but yes.
·6· · · · Q.· · I'm just trying to confirm that
·7· ·sitting here today, to the best of your
·8· ·recollection, at that time you were -- your
·9· ·title was treasurer.· It was not chief
10· ·financial officer.
11· · · · A.· · I don't recall that being my title.
12· · · · Q.· · Okay.· And in May of 2019, however,
13· ·I think you testified you were the chief
14· ·financial officer of the debtor; correct?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · Yes, I was -- yes.
18· · · · Q.· · Okay.· As such, in May of 2019, did
19· ·you have the authority, to your understanding,
20· ·to unilaterally loan $5 million or $2.4 million
21· ·to anyone on behalf of the debtor?
22· · · · · · · MR. MORRIS:· Objection to the form
23· · · · of the question.
24· · · · A.· · Sorry, can you repeat that?
25· · · · Q.· · Yes.· So in your capacity as the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·chief financial officer of the debtor, Highland
·3· ·Capital Management, L.P., in May of 2019, did
·4· ·you believe that you unilaterally, just Frank
·5· ·Waterhouse, had the authority to loan on behalf
·6· ·of the debtor to anyone $5 million and
·7· ·$2.4 million?
·8· · · · · · · MR. MORRIS:· Objection to the form
·9· · · · of the question.
10· · · · A.· · No.
11· · · · Q.· · Is it because loans of that amount
12· ·would have had to be approved by someone else?
13· · · · A.· · Yes.
14· · · · Q.· · Who in '20 -- in May of 2019, if
15· ·Highland wanted to loan 5 million or
16· ·$2.4 million to someone, what would have been
17· ·the internal approval procedure?
18· · · · · · · MR. MORRIS:· Objection to the form
19· · · · of the question.
20· · · · A.· · If -- if we had loans of that nature
21· ·that needed to be made due to their size, we
22· ·would have gotten approval from the -- the
23· ·president of Highland.
24· · · · Q.· · And who that was individual?
25· · · · A.· · It was James Dondero.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Now, I'm going to ask you a
·3· ·similar question but for a different entity.
·4· · · · · · · In May of 2019, as the treasurer of
·5· ·HCMFA, did you believe that you unilaterally
·6· ·had the ability to cause HCMFA to become the
·7· ·borrower of a $5 million loan and a
·8· ·$2.4 million loan?
·9· · · · · · · MR. MORRIS:· Objection to the form
10· · · · of the question.
11· · · · A.· · No.
12· · · · Q.· · What would -- what would the
13· ·approval have taken place -- strike that.
14· · · · · · · What would the approval process have
15· ·been like in May of 2019 at HCMFA for HCMFA to
16· ·take out a $7.4 million loan?
17· · · · · · · MR. MORRIS:· Objection to the form
18· · · · of the question.
19· · · · A.· · The process would have been similar
20· ·to what we just discussed on -- for Highland to
21· ·make a loan to others.· So, again, you know,
22· ·we -- we would have -- either myself or someone
23· ·on the team would have discussed this with
24· ·the -- the president and owner of -- of HCMFA.
25· · · · Q.· · And who was that individual?


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·2· · · · A.· · That was James -- Jim Dondero.
·3· · · · Q.· · So do I understand that in May of
·4· ·2019, on behalf of both the lender, Highland,
·5· ·and the borrower, HCMFA, Mr. Dondero would have
·6· ·had to approve $7.4 million in loans?
·7· · · · · · · MR. MORRIS:· Objection to the form
·8· · · · of the question.
·9· · · · A.· · Yes.
10· · · · Q.· · You mentioned when Mr. Morris was
11· ·asking you the NAV error, N-A-V error, with
12· ·respect to TerreStar, without writing us a
13· ·novel, unless you feel like you have to, can
14· ·you summarize what that NAV error was?· What
15· ·happened?
16· · · · A.· · There was a -- in the Highland
17· ·Global Allocation Fund, it owned at the time an
18· ·equity interest in a company called TerreStar.
19· ·And TerreStar is -- at the time was a private
20· ·company, and it may still be today.· Again, I'm
21· ·putting myself back then as a private company.
22· · · · · · · We had -- sorry, I don't mean we --
23· ·the fund and the advisor used Houlihan Lokey
24· ·to -- to value that investment.· And during
25· ·that time there was some trades that were


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·2· ·executed at market levels that were much lower
·3· ·than the Houlihan Lokey model.
·4· · · · · · · And based on information and
·5· ·discussions with the portfolio managers and,
·6· ·you know, principals that were very familiar
·7· ·with TerreStar, it was determined that those
·8· ·trades were non-orderly and they were not
·9· ·considered in the valuation as consulted with
10· ·Houlihan Lokey and PricewaterhouseCoopers at
11· ·the time.
12· · · · · · · Subsequent to a -- I can't remember
13· ·the exact circumstances of why the SEC got
14· ·involved.· I think it was due to this -- this
15· ·investment became a material position in the
16· ·fund.· It triggered an SEC, kind of, inquiry.
17· ·And as part of that inquiry, they questioned
18· ·the valuation methodology.· "They" meaning the
19· ·SEC.
20· · · · · · · And at the culmination of that
21· ·process -- this is all summarized -- the value
22· ·that was -- that ultimately had to be used in
23· ·the fund's NAV was different than -- materially
24· ·different than what the original valuation at
25· ·Houlihan Lokey provided.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · And given that there was this fund
·3· ·was, as we discussed -- I don't know if we
·4· ·discussed it, but it was an open-ended fund
·5· ·that was going -- that was converting to a
·6· ·close-end fund.
·7· · · · · · · Due to the fact that it was an
·8· ·open-ended fund, you had to recalculate NAV and
·9· ·see what the impact was on people -- on
10· ·investors coming in and out of the fund and if
11· ·there is a detrimental impact and to calculate
12· ·what that -- what that impact was and if there
13· ·was any amounts owed to the fund pursuant to
14· ·the error.
15· · · · Q.· · Were you personally involved
16· ·internally at either Highland or HCMFA with
17· ·these investigations and discussions with the
18· ·SEC?
19· · · · A.· · I was.
20· · · · Q.· · Which other key people or senior
21· ·people at Highland were involved, to your
22· ·recollection?
23· · · · A.· · Myself, Thomas Surgent, David Klos,
24· ·Lauren Thedford, Jason Post.
25· · · · Q.· · Mr. Dondero, was he --


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·2· · · · A.· · I believe Cliff Stoops.· I'm trying
·3· ·to think.· And maybe that is -- that is -- that
·4· ·is -- that is all kind I can recall at the
·5· ·moment.
·6· · · · Q.· · Do you recall whether it was
·7· ·determined that the fund suffered losses as a
·8· ·result of this error?
·9· · · · A.· · The -- the fund -- the -- the --
10· ·because the open-ended nature of the fund,
11· ·there were losses that were attributable to
12· ·investors.· Meaning they -- they would have
13· ·redeemed and got a less money or -- or they
14· ·subscribed in and maybe because they didn't get
15· ·enough shares and then they later sold and then
16· ·they were harmed in that fashion.
17· · · · · · · And there is -- there is -- there
18· ·were very -- there were very detailed
19· ·calculations and, you know, all these different
20· ·scenarios that we had to -- I'm sorry, I keep
21· ·saying "we" -- that the individuals involved
22· ·had to calculate and quantify.
23· · · · Q.· · Well, do you recall whether HCMFA
24· ·admitted certain fault and liability for this
25· ·error?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't recall specifically.
·3· · · · Q.· · Do you recall whether HCMFA caused
·4· ·any funds to be paid to the investors and the
·5· ·fund the subject of the NAV error?
·6· · · · A.· · Yes.
·7· · · · Q.· · Do you recall the approximate amount
·8· ·of funds, moneys paid to the investors and the
·9· ·fund?
10· · · · A.· · It was -- it was approximately
11· ·$7 million.
12· · · · Q.· · If I was to suggest 7.8 million,
13· ·would that ring more true or are you sticking
14· ·with your original answer?
15· · · · A.· · It was -- it was approximately 7 --
16· ·7 to $8 million.· Again, I don't remember the
17· ·exact number, but it was in that ballpark.
18· · · · Q.· · So regardless of whether HCMFA
19· ·accepted fault or liability, it caused some
20· ·$7 million or more to be paid out to affected
21· ·investors in the fund?
22· · · · · · · MR. MORRIS:· Objection to the form
23· · · · of the question.
24· · · · A.· · And I want to make sure I'm
25· ·understanding your question because there is a


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·lot of different entities that are going on to
·3· ·my head.
·4· · · · · · · I think what you are saying is based
·5· ·on this error, shareholders were harmed by this
·6· ·approximately $7.8 million -- by approximately
·7· ·$7.8 million.· Is that what you are asking?
·8· · · · Q.· · Yes, sir.
·9· · · · A.· · Yes, that was -- again, I don't have
10· ·the exact numbers.· If I take -- it was -- it
11· ·was in that ballpark, and there is a detail
12· ·calculation and write-up that could, that --
13· ·that exists someplace.
14· · · · Q.· · Now, at that time, at the time that
15· ·the NAV error occurred, was there a contract in
16· ·place between HCMFA and the debtor pursuant to
17· ·which the debtor was providing services to
18· ·HCMFA?
19· · · · · · · MR. MORRIS:· Objection to the form
20· · · · of the question.
21· · · · A.· · Yes.
22· · · · Q.· · Was that contract generally called a
23· ·shared services agreement?
24· · · · A.· · It was generally called that, but
25· ·there were -- there were -- I mean, it -- it --


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·it depends on who you talk to, but yes,
·3· ·generally, there were -- there are multiple
·4· ·agreements.
·5· · · · Q.· · Pursuant to one or more of those
·6· ·agreements, was the debtor providing certain
·7· ·services to HCMFA?
·8· · · · · · · MR. MORRIS:· Objection to the form
·9· · · · of the question.
10· · · · A.· · Yes.
11· · · · Q.· · And can you at a very high level
12· ·summarize in 2018 and 2019 what those services
13· ·were?
14· · · · A.· · Yes, there was a -- yes.
15· · · · Q.· · Okay.· Please -- please go -- go
16· ·through a short summary.
17· · · · A.· · There was a -- a cost reimbursement
18· ·agreement between Highland Capital Management
19· ·Fund Advisors and Highland Capital Management,
20· ·L.P.· That agreement was for what we referred
21· ·to as front office services, so investment
22· ·management, things of that nature.
23· · · · · · · There was I think what most people
24· ·refer to as the shared services agreement that
25· ·was -- that agreement was between Highland


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Capital Management Fund Advisors and Highland
·3· ·Capital Management for back office services.
·4· · · · Q.· · And can you summarize what you mean
·5· ·by back office services?
·6· · · · A.· · Those services were for accounting,
·7· ·finance, tax, valuation, HR, IT, you know,
·8· ·legal compliance, things of -- things of those
·9· ·nature -- or things of that nature, excuse me.
10· · · · Q.· · So in the spring of 2019, do you
11· ·recall whether HCMFA took the position that it
12· ·was actually Highland that caused the NAV error
13· ·to occur pursuant to the valuation services
14· ·that Highland was providing?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · I do not recall.
18· · · · Q.· · Did you ever have any discussions
19· ·with anyone, Jim Dondero or anyone in the first
20· ·half of 2019 as to whether Highland, the
21· ·debtor, that is, had any liability to HCMFA
22· ·related to the NAV error?
23· · · · · · · MR. MORRIS:· Objection to the form
24· · · · of the question.
25· · · · A.· · I do not recall.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And then you mentioned that the fund
·3· ·was being closed and some compensation related
·4· ·to that.· Can you -- can you elaborate?· What
·5· ·were you referring to?
·6· · · · A.· · Right.· So the advisor, pursuant to
·7· ·board approval, put a proposal in front of the
·8· ·shareholders of the Highland Global Allocation
·9· ·Fund to convert it from an open-ended fund to a
10· ·closed-end fund.
11· · · · · · · So an open-ended fund, when
12· ·shareholders subscribe to the fund or redeem
13· ·into the fund, they do it at NAV.
14· · · · · · · When it is -- when you have a
15· ·closed-end fund, closed-end funds are -- are
16· ·publicly-traded, like on the New York Stock
17· ·Exchange, exchanges like that, and -- and
18· ·shareholders or investors, they're not --
19· ·they're -- they're not subscribing and
20· ·redeeming with the fund.· They are like shares
21· ·of Apple.
22· · · · · · · Those shares of the Highland Global
23· ·Allocation Fund trade on an exchange, and that
24· ·is how you, you know, that is how, you know,
25· ·you become an equity owner in the fund or you


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·2· ·sell your shares and you are no longer an
·3· ·equity owner.
·4· · · · · · · As part of that proposal, the
·5· ·advisor told shareholders if you -- if you vote
·6· ·for this proposal to -- to convert it from an
·7· ·open-ended fund to a closed-end fund, we will
·8· ·pay you some amounts of money.· I forgot -- a
·9· ·certain number of points.· I think it was
10· ·like -- it was like two to three points or
11· ·something -- something like that.
12· · · · Q.· · Okay.· You mentioned when Mr. Morris
13· ·was asking you, going back to those two
14· ·promissory notes, you will recall the 5 million
15· ·and 2.4 million, you mentioned something to the
16· ·effect that Mr. Dondero told -- told you to pay
17· ·some moneys out of Highland.· Do you remember
18· ·that discussion with Mr. Morris?
19· · · · A.· · I do.
20· · · · Q.· · So, to the best of your
21· ·recollection, did you have a discussion with
22· ·Mr. Dondero about making some payments in May
23· ·of 2019 out of Highland?
24· · · · A.· · I recall, as I testified earlier,
25· ·that I had a conversation with Mr. Dondero


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·for -- for these amounts attributable to -- it
·3· ·was either the error -- you know, the error,
·4· ·and in that conversation he said, go get the
·5· ·money from Highland.· I believe that is what I
·6· ·testified earlier, and that -- that is my
·7· ·recollection.
·8· · · · Q.· · Do you recall if that was an
·9· ·in-person meeting or some other mode for the
10· ·meeting?
11· · · · A.· · I -- I -- I recall that being
12· ·in-person.
13· · · · Q.· · Do you recall if anyone else was
14· ·present, or was it just you and Mr. Dondero?
15· · · · A.· · I recall just he and I.
16· · · · Q.· · And the moneys that he told you to
17· ·find from -- or get from Highland, was that in
18· ·the amount of $5 million and $2.4 million?
19· · · · · · · MR. MORRIS:· Objection to the form
20· · · · of the question.
21· · · · A.· · I believe so, but I would have to go
22· ·back and look and see when those moneys were
23· ·actually paid into the -- into the fund and,
24· ·you know, when those transfers were done.· If
25· ·they were all done around that same time, then


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·yes, I would say it was -- it was all related
·3· ·to that.
·4· · · · Q.· · Did Mr. Dondero tell you that those
·5· ·funds would be a loan from Highland to HCMFA?
·6· · · · A.· · I don't recall.
·7· · · · · · · MR. MORRIS:· Objection to the form
·8· · · · of the question.
·9· · · · Q.· · Now, and forgive me, I'm probably
10· ·the only non-American born here, but I speak
11· ·reasonably well in English.· I don't recall,
12· ·does that mean you don't remember or does that
13· ·mean it didn't happen?
14· · · · · · · MR. MORRIS:· Objection to the form
15· · · · of the question.
16· · · · A.· · It -- it means I don't -- I don't
17· ·remember.
18· · · · Q.· · Did Mr. Dondero tell you to have
19· ·those two promissory notes prepared?
20· · · · A.· · I don't recall.
21· · · · Q.· · When you -- again, when you say, I
22· ·don't recall today, that means that sitting
23· ·here today, you just don't remember one way or
24· ·the other.· Is that accurate?
25· · · · A.· · Yes.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Is it possible that you, having
·3· ·heard what Mr. Dondero said and seeing funds
·4· ·being transferred, assumed that that would be a
·5· ·loan without him actually telling you that
·6· ·would be a loan?
·7· · · · · · · MR. MORRIS:· Objection to the form
·8· · · · of the question.
·9· · · · A.· · Sorry, I want to make sure -- did I
10· ·ask the amounts that were transferred that I --
11· ·that -- that I assumed that that was a loan?
12· · · · Q.· · Well, let me -- let me take -- let
13· ·me try again.
14· · · · · · · So you have established already that
15· ·there were quite a number of promissory notes
16· ·back and forth -- I'm sorry, quite a number of
17· ·promissory notes with affiliated companies and
18· ·individuals owing Highland money; right?
19· · · · A.· · Yes.
20· · · · Q.· · And you have established that there
21· ·were many transactions and transfers going back
22· ·and forth over the years; right?
23· · · · · · · MS. DANDENEAU:· Objection to form.
24· · · · A.· · In -- yes, in my capacity as CFO and
25· ·my employment, yes, that is -- yes.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And that's part of the reason why
·3· ·you just can't remember some of the details
·4· ·today because this -- this happened years ago,
·5· ·and there were a number of transactions.· Is
·6· ·that accurate?
·7· · · · · · · MS. DANDENEAU:· Objection to the
·8· · · · form.
·9· · · · · · · MR. MORRIS:· Objection to the form
10· · · · of the question.
11· · · · A.· · I mean, I deal with thousands of --
12· ·of -- of -- of transactions, you know, whether
13· ·it has -- the processing of transactions, you
14· ·know, if it has got, you know, more -- more
15· ·zeros, you know, behind it than others.
16· · · · · · · When you look at thousands of
17· ·transactions over the years for funds and
18· ·advisors and -- and, you know, financial
19· ·statements, I mean, it is -- it is very hard
20· ·going back in -- in -- in my -- you know,
21· ·14-ish year career at -- at Highland to
22· ·remember a lot of those details, especially
23· ·when I don't have any records or books or
24· ·anything like that, and -- and going back many
25· ·years.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And that is fine.· That -- that --
·3· ·that is why I asked the question.
·4· · · · · · · Is it possible in May of 2019 when
·5· ·Mr. Dondero told you to transfer the funds from
·6· ·Highland, you just assumed on your own that
·7· ·those would be loans without him actually
·8· ·telling you that those would be loans?
·9· · · · · · · MR. MORRIS:· Objection to the form
10· · · · of the question.
11· · · · A.· · I don't know.
12· · · · Q.· · I'm sorry, you --
13· · · · A.· · I said I don't know.
14· · · · Q.· · Okay.· Well, as the -- as the CFO
15· ·for Highland, if you saw $7.4 million going
16· ·out, you would feel some responsibility to
17· ·account for that, wouldn't you?
18· · · · · · · MR. MORRIS:· Objection to the form
19· · · · of the question.
20· · · · A.· · Yes.
21· · · · Q.· · Is it fair to say that those would
22· ·be in the range large enough to rise up to your
23· ·level?
24· · · · · · · MR. MORRIS:· Objection to the form
25· · · · of the question.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · If -- I don't know if I understand
·3· ·your question.· Those amounts would arise to my
·4· ·level where I would be involved or...
·5· · · · Q.· · You would want to know what a
·6· ·transfer for that amount, $7.4 million, was all
·7· ·about, as the CFO of Highland, wouldn't you?
·8· · · · · · · MR. MORRIS:· Objection to the form
·9· · · · of the question.
10· · · · A.· · Yes, I make it -- I mean, I -- I
11· ·review all sorts of payments, I mean, even
12· ·smaller dollar payments on a periodic basis,
13· ·you know, to -- to -- to understand and to make
14· ·sure that we are paying things in a -- you
15· ·know, in -- in -- in an informed way.· And, you
16· ·know -- and we're -- and we're paying things
17· ·pursuant to vendor contracts and things like
18· ·that.
19· · · · Q.· · So as part of that, is it possible
20· ·that seeing $7.4 million go out you would have
21· ·promissory notes made in order to keep a paper
22· ·trail, assuming that those were loans, when
23· ·perhaps they were never intended to be loans by
24· ·Mr. Dondero?
25· · · · · · · MR. MORRIS:· Objection to the form


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·2· · · · of the question.
·3· · · · A.· · I don't know.· As I testified
·4· ·earlier, I had conversations with Mr. Dondero
·5· ·about -- about the -- the -- the moneys that
·6· ·were needed for the NAV error.· And I recall
·7· ·him saying go get it from Highland -- or get it
·8· ·from Highland.
·9· · · · Q.· · Well, why did you sign those
10· ·promissory notes and why didn't you have him
11· ·sign them?
12· · · · · · · MR. MORRIS:· Objection to the form
13· · · · of the question.
14· · · · A.· · I don't know.· I don't know.
15· · · · Q.· · You mentioned earlier that you
16· ·typically don't sign promissory notes.· Am I
17· ·remembering your testimony correctly?
18· · · · · · · I mean, promissory notes on behalf
19· ·of the entities.· Not yourself, obviously.
20· · · · A.· · Yes, that is what I said earlier.
21· · · · Q.· · Do you recall any other promissory
22· ·notes in the million-plus range that you had
23· ·ever signed before on behalf of any entity?
24· · · · A.· · There is -- there has been a lot of
25· ·transactions over the years.· I don't -- I


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·don't -- I don't recall generally.· I don't --
·3· ·I don't recall.
·4· · · · Q.· · So -- but to the best of your
·5· ·recollection, it was on your initiative,
·6· ·following your discussion with Mr. Dondero,
·7· ·that you had someone draft those two promissory
·8· ·notes; is that correct?
·9· · · · · · · MR. MORRIS:· Objection to the form
10· · · · of the question.
11· · · · A.· · Yes, we would have -- the team, as I
12· ·stated earlier, we don't draft promissory
13· ·notes.· "The team" meaning the accounting and
14· ·finance team.
15· · · · · · · So the team would have worked with
16· ·the legal group at Highland to draft any notes.
17· · · · Q.· · Do you believe or do you have any
18· ·recollection as to whether you would have done
19· ·that pursuant to an email or telephone call or
20· ·in-person meeting?
21· · · · · · · MR. MORRIS:· Objection to the form
22· · · · of the question.
23· · · · A.· · Are you asking if I would have -- if
24· ·those notes would have been drafted pursuant to
25· ·an email or phone call?


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·2· · · · Q.· · Strike that.
·3· · · · · · · Do you recall whether you sent an
·4· ·email to anyone asking them to draft those two
·5· ·promissory notes?
·6· · · · A.· · I don't recall because, again,
·7· ·once -- I would have instructed -- likely
·8· ·instructed the team to -- to work with the
·9· ·legal group to draft these documents.
10· · · · · · · I -- I -- I -- yeah, I didn't -- I
11· ·mean, that is more an operational-type
12· ·procedure.· So, you know, a manager or a
13· ·controller or working with legal.· You know,
14· ·they -- they can certainly handle that task to
15· ·get that -- you know, to request that from
16· ·legal.
17· · · · Q.· · And who on your team do you think
18· ·you would have asked to do that?
19· · · · · · · MR. MORRIS:· Objection --
20· · · · Q.· · Who would have been the logical
21· ·person or people, if you don't remember their
22· ·name today?
23· · · · · · · MR. MORRIS:· Objection to the form
24· · · · of the question.
25· · · · A.· · It -- it -- there is only two


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·2· ·managers of the group.· That would have been
·3· ·Dave Klos or Kristin Hendrix.
·4· · · · · · · Dave was the -- one of his duties
·5· ·was managing the valuation team, and so he was
·6· ·intimately involved with this process.· So, you
·7· ·know...
·8· · · · Q.· · Okay.
·9· · · · A.· · I don't recall specifically but, I
10· ·mean, my general -- you know, I -- I -- I
11· ·likely would have talked to Dave first about it
12· ·versus someone like Kristin who hadn't been
13· ·intimately involved.
14· · · · Q.· · And -- and do you have a view as to
15· ·whether it is most likely that you would have
16· ·done that by email or in-person or how would
17· ·you believe you would have communicated that to
18· ·Mr. Klos?
19· · · · · · · MR. MORRIS:· Objection to the form
20· · · · of the question.
21· · · · A.· · I likely would have done that in
22· ·person.· Again, if things of this nature
23· ·that -- again, you have to put ourselves back
24· ·to, we have been working on this very stressful
25· ·project for many, many months.· And once the


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·2· ·go-ahead was to -- you know, we see the light
·3· ·at the end of the tunnel with wrapping this up
·4· ·and making shareholders whole -- sorry to say
·5· ·"we" -- you know, the -- so the folks that are
·6· ·involved in it.
·7· · · · · · · I like to talk to people
·8· ·face-to-face and -- and -- and go to -- and go
·9· ·to their desk, because that shows if I'm going
10· ·to their desk that -- that is something that I
11· ·want done, you know.
12· · · · Q.· · And do you remember, Mr. Waterhouse,
13· ·getting those two promissory notes in paper
14· ·format or by email before they were executed?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · I don't recall.
18· · · · Q.· · For whatever was the ordinary course
19· ·back then in May 2019, would you expect to have
20· ·received them only on paper or would you have
21· ·expected to have received them in Word document
22· ·or PDF document by email?
23· · · · · · · MR. MORRIS:· Objection to the form
24· · · · of the question.
25· · · · A.· · I -- I didn't sign -- I signed very


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·few documents via email.· I can't say that it
·3· ·never happened, but people either stopped by my
·4· ·office and physically walked in documents for
·5· ·signature that we discussed face-to-face.
·6· · · · · · · Or documents were -- if -- if --
·7· ·if -- if -- let's say I wasn't there or I
·8· ·wasn't available, documents were dropped off.
·9· ·I had -- I had some in- and outboxes in front
10· ·of my -- my office there at the Crescent.
11· · · · · · · Documents would be dropped off for
12· ·signature.· There would be a cover sheet that
13· ·would be -- have been applied to those
14· ·documents detailing, you know, who dropped it
15· ·off, the purpose, why, what time.
16· · · · · · · And then, you know, as I stated, I
17· ·don't draft documents and I always go to the
18· ·legal group and the compliance group to make
19· ·sure that they're in the loop.· And there is
20· ·a -- a box or section that says, Has legal
21· ·reviewed or approved, or something to that
22· ·nature.
23· · · · · · · Again, I don't -- I don't have
24· ·access to that cover sheet anymore, but it
25· ·was -- it was something to that effect.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · And my assistant, you know, if she
·3· ·was there, she would review that -- you know,
·4· ·whatever was being dropped off.· And if that
·5· ·has legal, you know, reviewed or -- reviewed or
·6· ·approved it, if that wasn't -- if that stuff
·7· ·hadn't been done, it was like she would just
·8· ·tell them like, go -- go -- go to the legal
·9· ·group, because --
10· · · · Q.· · Let me -- let me pause --
11· · · · · · · MS. DANDENEAU:· Let him finish.
12· · · · · · · MR. MORRIS:· Thank you.· Go ahead.
13· · · · A.· · I take -- go to the legal group
14· ·because that -- that was my -- you know, I
15· ·didn't -- I didn't review anything that -- that
16· ·they weren't -- you know, or there wasn't some
17· ·representation made to me that they had
18· ·reviewed, approved in some capacity.
19· · · · · · · Again, my -- my -- my goal, as CFO,
20· ·is to provide transparency and make sure that
21· ·groups like compliance and other things -- and
22· ·the other group in legal are -- are in -- you
23· ·know, their -- they're made aware of
24· ·transactions of -- you know, that are crossing
25· ·my desk.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · Because I'm not in every
·3· ·conversation.· They're not in every
·4· ·conversation -- meaning legal compliance -- and
·5· ·I just want to make sure that -- that everyone
·6· ·is in sync to, you know, to -- to the extent
·7· ·possible.
·8· · · · Q.· · So if we summarize, you don't
·9· ·specifically remember signing these two notes,
10· ·but most likely it would have been that they
11· ·would have presented -- been presented to you
12· ·physically on paper?
13· · · · · · · MR. MORRIS:· Objection to the form
14· · · · of the question.
15· · · · A.· · They would -- they would have been
16· ·presented physically on paper most likely or
17· ·someone would have left it.· But, I mean,
18· ·again, I don't -- I don't recall.
19· · · · Q.· · I understand.· Understand.
20· · · · · · · When you signed -- when you signed
21· ·documents, when you personally signed
22· ·documents, did you typically use a ink pen or
23· ·did you use a stamp?
24· · · · A.· · No, I -- I -- I use a -- an -- an
25· ·ink pen.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Do you know -- was there a file at
·3· ·Highland kept anywhere with ink-signed
·4· ·originals of a promissory notes in general or
·5· ·these two promissory notes specifically?
·6· · · · · · · MR. MORRIS:· Objection to the form
·7· · · · of the question.
·8· · · · A.· · Sorry, I just want to make sure I
·9· ·understand your question.· Are you saying is
10· ·there a file somewhere that has ink-signed
11· ·originals of these two promissory notes?
12· · · · Q.· · Yes.
13· · · · A.· · I would -- I would assume they're
14· ·some place.· I mean --
15· · · · Q.· · Well, was there a -- was there a
16· ·place where Highland generally kept originals
17· ·of promissory notes owed to it?
18· · · · A.· · I wouldn't -- no.
19· · · · · · · MR. RUKAVINA:· Mr. Nguyen, would you
20· ·please pull up my A7, alpha 7.
21· · · · Q.· · These are the two promissory notes,
22· ·Mr. Waterhouse.
23· · · · · · · (Exhibit A7 marked.)
24· · · · Q.· · And please -- Mr. Waterhouse, please
25· ·command my associate to scroll down as you need


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·to, but I want you to take a very close look at
·3· ·your two signatures here and tell me whether
·4· ·you believe, in fact, that you ink signed them
·5· ·or whether you --
·6· · · · · · · MS. DANDENEAU:· Mr. Rukavina,
·7· · · · Mr. Waterhouse has the copies.
·8· · · · · · · MR. RUKAVINA:· Perfect.· Then you
·9· · · · can take this down, Mr. Nguyen.
10· · · · A.· · These -- these -- these signatures
11· ·are identical, now that I stare at them, and I
12· ·mean, they are so close -- I mean, they're
13· ·identical that, I mean, even with my chicken
14· ·scratch signature, I don't know if I can -- you
15· ·know, I do this 100 times, could I do that
16· ·as -- as precisely as I see between the two
17· ·notes.
18· · · · Q.· · Well, that is why I ask.
19· ·Mr. Waterhouse, now that you have examined
20· ·them, does it seem like it is more likely that
21· ·you actually electronically signed these?
22· · · · · · · MR. MORRIS:· Objection to the form
23· · · · of the question.
24· · · · A.· · Is -- I don't -- I don't recall
25· ·specifically.· As I said before, my assistant


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·did have a -- an electronic signature, and that
·3· ·was used from time to time.· It wasn't as
·4· ·common practice back in 2019.· It definitely
·5· ·was more common practice when we had to work
·6· ·from home and remotely for COVID because it
·7· ·that made it almost impossible to, right,
·8· ·provide wet signatures since we're all working
·9· ·from home remotely.
10· · · · Q.· · Well, going just for these two
11· ·promissory notes, Mr. Waterhouse, in light of
12· ·your inability to remember any details, are you
13· ·sure you actually signed either or both of
14· ·those notes?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · A.· · I don't recall specifically
17· ·signing -- actually physically signing these
18· ·notes.· As I said before, I don't recall doing
19· ·that.· This -- this looks like my signature,
20· ·but yet these two signatures are identical.
21· · · · Q.· · So you don't recall physically
22· ·signing them, and I take it you don't recall
23· ·electronically signing them either?
24· · · · A.· · I don't recall.· You know, Highland
25· ·has all my emails.· If that occurred, you know,


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·you know, I don't have any of these records is
·3· ·what I'm saying.· I don't have any of those
·4· ·records.
·5· · · · Q.· · That is why I'm asking you these
·6· ·questions in great detail because I don't have
·7· ·those emails.· I'm trying to -- I'm hoping that
·8· ·you will give me some names or some details so
·9· ·I can go look for more emails, but again, you
10· ·don't remember any -- any individual, other
11· ·than Mr. Dondero that we've discussed, you
12· ·don't remember any individual with whom you
13· ·discussed these promissory notes prior to their
14· ·execution?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · I don't recall discussing it with
18· ·anybody else.
19· · · · Q.· · Okay.
20· · · · A.· · I mean, prior --
21· · · · Q.· · I understand.
22· · · · A.· · You know, there was no one else --
23· ·there was no one else in that meeting that I
24· ·recall with Mr. Dondero.
25· · · · Q.· · Now, when you established that by


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·May of 2019 --
·3· · · · A.· · And -- and from what I recall, and
·4· ·the reason why I was by myself is -- is, you
·5· ·know, I don't -- I don't want to speculate, I'm
·6· ·sorry.
·7· · · · Q.· · Okay.· We have established that by
·8· ·May of 2019, in your view, the liabilities of
·9· ·HCMFA exceeded its assets; correct?
10· · · · A.· · Yeah.· I mean, again, I don't have
11· ·financial statements in front of me, but I
12· ·think, if I recall, we'd have to go through the
13· ·testimony with Mr. Morris, I believe that was
14· ·the case.
15· · · · Q.· · In fact, you will recall that in
16· ·April of 2019, Mr. Dondero signed a document
17· ·that extended the demand feature of two prior
18· ·notes to May 31, 2019.· Do you recall that?
19· · · · · · · MS. DEITSCH-PEREZ:· I think you
20· · · · might -- maybe have the court reporter read
21· · · · that back.· You might have misspoke.
22· · · · · · · (Record read.)
23· · · · · · · MR. RUKAVINA:· And I did misspeak.
24· · · · Q.· · I meant to say to May 31, 2021.· Do
25· ·you recall that, sir?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MR. MORRIS:· Objection to the form
·3· · · · of the question.
·4· · · · A.· · Yes.
·5· · · · · · · MR. RUKAVINA:· And, Mr. Nguyen, just
·6· ·so that the record is clear, will you please
·7· ·pull up my Exhibit Alpha 10, A10.
·8· · · · · · · (Exhibit A10 marked.)
·9· · · · Q.· · You don't have this one in front of
10· ·you, Mr. Waterhouse?· This is the one that
11· ·Mr. Morris used earlier.· Do you see that
12· ·document, sir?
13· · · · A.· · Yes, I do.
14· · · · Q.· · And this is what you were testifying
15· ·about before when Mr. Morris was asking you.
16· ·Do you remember that?
17· · · · A.· · Yes.
18· · · · Q.· · So here is my question for you,
19· ·Mr. Waterhouse:· As the chief financial officer
20· ·of Highland, was it prudent for Highland less
21· ·than three weeks later to be lending
22· ·$7.2 million to an insolvent entity that
23· ·couldn't even then pay its debts back to
24· ·Highland?
25· · · · · · · MS. DANDENEAU:· Objection to form.


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·2· · · · · · · MR. MORRIS:· Objection to the form
·3· · · · of the question.
·4· · · · A.· · Sorry, I just want to make sure --
·5· ·are you asking me, did you say, was it prudent
·6· ·for Highland to loan $7.4 million to HCMFA a
·7· ·few weeks after this document was executed?
·8· · · · Q.· · Yes, and at a time when HCMFA's
·9· ·liabilities exceeded its assets.
10· · · · · · · MR. MORRIS:· Objection to the form
11· · · · of the question.
12· · · · A.· · I don't -- it is odd.· I don't know.
13· · · · · · · MR. RUKAVINA:· You can take this
14· ·exhibit down, Mr. Nguyen.
15· · · · Q.· · Do you recall asking anyone,
16· ·Mr. Dondero or -- or anyone outside as to
17· ·whether Highland ought to be lending
18· ·$7.4 million to HCMF regarding HCMF's
19· ·creditworthiness?
20· · · · · · · MR. MORRIS:· Objection to the form
21· · · · of the question.
22· · · · A.· · I don't recall.
23· · · · Q.· · Did you receive personally any of
24· ·that $7.4 million?
25· · · · A.· · No.


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·2· · · · Q.· · Did you even --
·3· · · · · · · MR. MORRIS:· I didn't hear that
·4· · · · question, sir.
·5· · · · · · · MR. RUKAVINA:· The one that he
·6· · · · answered, John, or my new one?
·7· · · · · · · MR. MORRIS:· No, no, your question,
·8· · · · Davor.
·9· · · · · · · MR. RUKAVINA:· I had asked him
10· · · · whether he received any of the
11· · · · $7.4 million.· He said no.
12· · · · · · · MR. MORRIS:· Yeah.· I thought there
13· · · · was a question after that.· Maybe I was
14· · · · mistaken.· I apologize.
15· · · · · · · MR. RUKAVINA:· I had started a new
16· · · · question, so here, let me start the new
17· · · · question again.
18· · · · Q.· · Did you personally receive any
19· ·direct benefit from those two notes for
20· ·$7.4 million?
21· · · · A.· · No.
22· · · · Q.· · Did you ever personally consider
23· ·yourself obligated to repay either or both of
24· ·those notes?
25· · · · A.· · No.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MR. RUKAVINA:· Pull up those notes
·3· ·again, Mr. Nguyen.
·4· · · · Q.· · You can have them in front of you,
·5· ·Exhibit 7, Mr. Waterhouse, whatever is easier
·6· ·for you.· If you go to your signature page, my
·7· ·question to you is, why did you not include
·8· ·your title as treasurer by your name, Frank
·9· ·Waterhouse?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · I didn't -- I didn't draft this
12· ·document.
13· · · · Q.· · So you relied on whoever drafted it
14· ·to draft it correctly?
15· · · · A.· · Yes.
16· · · · Q.· · Okay.· But back then when you signed
17· ·this, did it ever cross your mind that you were
18· ·the maker on these notes?
19· · · · A.· · No.
20· · · · Q.· · Back then when you signed this
21· ·document, did it ever cross your mind that you
22· ·could be a co-obligor on these notes?
23· · · · A.· · No.· I didn't receive $7.4 million,
24· ·I mean...
25· · · · Q.· · But can you say that HCMFA received


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·$7.4 million?
·3· · · · A.· · I would have to go back and look and
·4· ·check in, you know, the -- the financial
·5· ·records and the bank statements.
·6· · · · · · · MR. RUKAVINA:· You can take this
·7· ·exhibit down, Mr. Nguyen.
·8· · · · Q.· · Mr. Waterhouse, I'm not trying to be
·9· ·a smart-ass, but if the law says that because
10· ·of the way that you signed this promissory
11· ·note, if that is what the law says, that that
12· ·made you personally -- personally liable, then
13· ·you would agree with me that that was never
14· ·your intent?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · That was never -- I wouldn't sign a
18· ·note and not get consideration in return.
19· · · · Q.· · So putting all other issues aside,
20· ·if the law -- if the law says that you were
21· ·liable for those notes because of how you
22· ·signed them, then would you agree with me that
23· ·these notes are a mistake?
24· · · · · · · MR. MORRIS:· Objection to the form
25· · · · of the question.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MS. DANDENEAU:· Objection to the
·3· · · · form.
·4· · · · A.· · Yes.
·5· · · · Q.· · So do you agree with me that it's
·6· ·odd -- I think that is the word you used --
·7· ·that Highland would be loaning $7.4 million a
·8· ·few weeks after that extension to an entity
·9· ·whose liabilities exceeded its assets, and you
10· ·would agree with me that it was never your
11· ·intention to be in any way liable for these two
12· ·promissory notes; correct?
13· · · · · · · MR. MORRIS:· Objection to the form
14· · · · of the question.
15· · · · A.· · Sorry, you -- you asked a lot there.
16· · · · · · · MR. RUKAVINA:· I will strike it and
17· ·I will move on.
18· · · · · · · Let's go to -- pull up Exhibit 9,
19· ·please Mr. Nguyen -- Alpha 9, I'm sorry, Alpha
20· ·9, A9.
21· · · · · · · (Exhibit A9 marked.)
22· · · · Q.· · Sir, take a moment to look at this,
23· ·but this is an email, and you will see attached
24· ·July 31, 2020 affiliate notes.
25· · · · · · · Do you see that attachment?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes.
·3· · · · Q.· · Okay.· And do you see an entry for
·4· ·Highland Capital Management Fund Advisors?
·5· · · · · · · MR. MORRIS:· I'm sorry, hold on.
·6· · · · Where are you looking?
·7· · · · · · · MR. RUKAVINA:· Last page, John.
·8· · · · · · · MR. MORRIS:· Is it the page on the
·9· · · · screen?
10· · · · · · · MR. RUKAVINA:· Oh, I'm sorry.
11· · · · Mr. Nguyen just did it.· Yes, the last page
12· · · · there.
13· · · · · · · MR. MORRIS:· Thank you.
14· · · · Q.· · Do you see an entry there for HCMFA?
15· · · · A.· · Yes.
16· · · · Q.· · About $10.5 million.
17· · · · · · · Do you see that?
18· · · · A.· · I do.
19· · · · Q.· · And, now, do you have any
20· ·explanation for why if HCMFA owed $7.4 million,
21· ·plus the 5.3 million that had been extended,
22· ·why that amount was only 10.5 million?
23· · · · A.· · I don't know.· Okay.
24· · · · · · · MR. RUKAVINA:· Close this one and
25· · · · pull up, Mr. Nguyen, the schedules,


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · schedule of assets.· What exhibit is this
·3· · · · of ours, Mr. Nguyen?
·4· · · · · · · MR. NGUYEN:· This is A11.
·5· · · · · · · MR. RUKAVINA:· Oh, this will be A11.
·6· · · · · · · (Exhibit A11 marked.)
·7· · · · Q.· · You don't have this in front of you,
·8· ·Mr. Waterhouse?
·9· · · · A.· · Okay.
10· · · · Q.· · This is what Mr. Morris used
11· ·earlier.· Do you remember looking at this with
12· ·Mr. Morris?
13· · · · A.· · Yes.
14· · · · · · · MR. RUKAVINA:· You might have to
15· · · · zoom in a little.· Okay.
16· · · · Q.· · Now, I see Affiliate Note A, B, and
17· ·C.
18· · · · · · · Do you have any recollection as to
19· ·why the names of the affiliates are omitted?
20· · · · A.· · I don't.· I testified earlier that,
21· ·you know, the team worked with DSI in providing
22· ·these.· I -- I don't -- I don't know.
23· · · · Q.· · Can we deduce -- is it logical to
24· ·deduce that Affiliate Note A would be NexPoint
25· ·given its size of $24.5 million?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MR. MORRIS:· Objection to the form
·3· · · · of the question.
·4· · · · A.· · I mean, it -- it is a -- it is -- it
·5· ·is approximate.
·6· · · · Q.· · Well, can we -- can we deduce -- or,
·7· ·I'm sorry, strike that.
·8· · · · · · · Can you, sitting here today,
·9· ·logically conclude that Affiliate Note B or C
10· ·represents HCMFA?
11· · · · · · · MR. MORRIS:· Objection to the form
12· · · · of the question.
13· · · · A.· · I don't know.· I don't know.                       I
14· ·can't.
15· · · · Q.· · Okay.· As of the petition date, we
16· ·have established that HCMFA, under promissory
17· ·notes, owed $7.4 million and $5.3 million to
18· ·the debtor; correct?
19· · · · · · · MR. MORRIS:· Objection to the form
20· · · · of the question.
21· · · · A.· · Yes.
22· · · · Q.· · Okay.· And by my reckoning, that
23· ·would be somewhere approaching $13 million.
24· · · · · · · MR. MORRIS:· Objection to the form
25· · · · of the question.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · It would be $12.7 million.· Is that
·3· ·generally correct?
·4· · · · A.· · Sorry, the amounts were 7.4, 5.3.
·5· · · · Q.· · Yes.
·6· · · · A.· · Okay.· Yeah, that -- that -- I can
·7· ·do that math, yes.
·8· · · · Q.· · Do you have any explanation or any
·9· ·understanding of why there is no similar entry
10· ·listed here on the schedule of assets filed
11· ·with the bankruptcy court?
12· · · · · · · MR. MORRIS:· Objection to the form
13· · · · of the question.
14· · · · A.· · I don't know.· We have to look at
15· ·the supporting schedules, like I talked about
16· ·other -- presumably there is -- there is a
17· ·build to the schedule that would provide the
18· ·detail.
19· · · · Q.· · Well, that was going to be my next
20· ·question.· You anticipated it.
21· · · · · · · MR. RUKAVINA:· You can -- you can
22· · · · take this down, Mr. Nguyen.
23· · · · Q.· · Do you believe that whenever you and
24· ·your team provided the underlying data to the
25· ·financial advisor that the actual names of the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·affiliates for Affiliate Note A, B, and C would
·3· ·have been listed there?
·4· · · · A.· · Are you asking we provided the names
·5· ·to the financial advisor?· I don't -- I don't
·6· ·understand who the financial advisor is.
·7· · · · Q.· · I'm sorry, DSI.
·8· · · · · · · Let me ask the question this way,
·9· ·Mr. Waterhouse.
10· · · · · · · Whenever you provided information
11· ·about the affiliate notes to DSI, do you
12· ·believe that you would have included the actual
13· ·names of the affiliates, you or your team, or
14· ·that you would have done the Affiliate Note A,
15· ·Note B, Note C?
16· · · · · · · MR. MORRIS:· Objection to the form
17· · · · of the question.
18· · · · · · · MS. DANDENEAU:· Objection to the
19· · · · form.
20· · · · A.· · We -- like I testified earlier, when
21· ·we were -- we gave everything to -- to DSI.· We
22· ·were giving all of our records, all of our
23· ·files, everything to DSI.· We weren't redacting
24· ·information or saying, hey, here is a note,
25· ·here is Affiliate Note A or B.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · I mean, it was -- our job and our
·3· ·focus -- and I testified in court back in 2019;
·4· ·right -- was -- was to be transparent and, you
·5· ·know, get DSI up to speed on -- on the matters
·6· ·at Highland.· So I can't see us redacting at
·7· ·that point.
·8· · · · · · · MR. RUKAVINA:· Mr. Nguyen, will you
·9· · · · please pull up Mr. Morris' Exhibit 36.
10· · · · Just the very first page, the very top
11· · · · email.· You might zoom in a little bit.
12· · · · Q.· · Now, you recall being asked about
13· ·this by Mr. Morris?
14· · · · A.· · Yes, I do.
15· · · · Q.· · And you wrote:· The HCMFA note is a
16· ·demand note.
17· · · · · · · You wrote that; right?
18· · · · A.· · Yes.
19· · · · Q.· · And, in fact, weren't there by that
20· ·point in time several notes?
21· · · · A.· · Yes, there were.· Again, I don't --
22· ·I don't remember everything specifically.                        I
23· ·mean --
24· · · · Q.· · I understand.· I understand.
25· · · · · · · So this is an example where -- where


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·you might have made a mistake by referring to a
·3· ·singular instead of a plural; right?
·4· · · · A.· · Yes.
·5· · · · Q.· · Okay.· And you -- you wrote -- a
·6· ·couple of sentences later, you wrote:· There
·7· ·was an agreement between HCMLP and HCMFA the
·8· ·earliest they could demand is May 2021.
·9· · · · · · · You wrote that; right?
10· · · · A.· · Yes.
11· · · · Q.· · But I think you -- you agreed with
12· ·Mr. Morris that that can't possibly apply to
13· ·the May 2019 notes, can it?
14· · · · · · · MR. MORRIS:· Objection to the form
15· · · · of the question.· That is not what he
16· · · · testified to.
17· · · · Q.· · Let me ask -- let me ask a different
18· ·question.
19· · · · · · · Sitting here today -- or if you can
20· ·answer me from your memory on October 6,
21· ·2020 -- did the April acknowledgment that
22· ·extended the maturity date apply to the
23· ·May 2019 notes also?
24· · · · A.· · I don't recall specifically.
25· · · · Q.· · Well, you recall that the notes that


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·you signed were demand notes; right?
·3· · · · A.· · Yes.
·4· · · · Q.· · Do you find it logical, based on
·5· ·your experience, that had they intended to have
·6· ·a different or a set maturity date, you would
·7· ·have instructed that that set maturity date be
·8· ·included instead of a demand feature?
·9· · · · · · · MR. MORRIS:· Objection to the form
10· · · · of the question.
11· · · · A.· · Sorry, just want to make sure I
12· ·understand.· You are saying that -- that the
13· ·$5 million note, the $2.4 million note, if
14· ·those were supposed to be a term note, that I
15· ·would have made sure that those were a term
16· ·note?
17· · · · Q.· · I'm saying -- I'm saying,
18· ·Mr. Waterhouse, that on May the 2nd and May the
19· ·3rd, 2019, if you intended that those two
20· ·promissory notes could not be called until May
21· ·2021, would you have included such language in
22· ·those two promissory notes?
23· · · · · · · MR. MORRIS:· Objection to the form
24· · · · of the question.
25· · · · A.· · I guess -- I'm sorry, I don't recall


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·putting language in those May notes.· I don't
·3· ·remember what language you are referring to.
·4· · · · Q.· · Well, let's read this again.
·5· · · · · · · There was an agreement between HCMLP
·6· ·and HCMFA the earliest they could demand is May
·7· ·2021.
·8· · · · · · · Do you recall that agreement?
·9· · · · A.· · Yes, that was the agreement we
10· ·looked at earlier; correct?
11· · · · Q.· · Okay.· Yes.
12· · · · · · · Do you -- do you understand now that
13· ·that agreement that we looked at earlier also
14· ·applied to the May 2019 notes that you signed?
15· · · · A.· · I don't -- I don't know.
16· · · · Q.· · But as of October 6, 2020, you're
17· ·writing that there is one demand note and
18· ·you're categorizing that demand note as not
19· ·being demandable on May 2021; correct?
20· · · · A.· · Yes.
21· · · · Q.· · And you know now that you made at
22· ·least one mistake in this email; correct?
23· · · · · · · MR. MORRIS:· Objection to the form
24· · · · of the question.
25· · · · A.· · Yes.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MR. RUKAVINA:· You can pull this
·3· · · · down, Mr. Nguyen.
·4· · · · Q.· · So, Mr. Waterhouse, you don't
·5· ·remember Mr. Dondero telling you to make these
·6· ·loans or not.· HCMLP was loaning $7.4 million
·7· ·to someone that their assets were less than
·8· ·their liabilities.
·9· · · · · · · We don't see on the July list of
10· ·notes, where there is $12.7 million of notes,
11· ·we don't see that on the bankruptcy schedules,
12· ·and we have this Exhibit 36 where you are
13· ·confused.
14· · · · · · · Are you prepared to tell me, sir,
15· ·today that you might have made a mistake in
16· ·executing those two promissory notes?
17· · · · · · · MR. MORRIS:· Objection to the form
18· · · · of the question.
19· · · · A.· · I -- I don't know.
20· · · · Q.· · And if it turns out that you're
21· ·personally liable for those promissory notes,
22· ·it would certainly be a mistake, wouldn't it?
23· · · · · · · MS. DANDENEAU:· Objection to the
24· · · · form.
25· · · · · · · MR. MORRIS:· Join.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes.
·3· · · · Q.· · If Mr. Dondero testifies that he
·4· ·never told you to make these loans, would you
·5· ·disagree with his testimony?
·6· · · · · · · MR. MORRIS:· Objection to the form
·7· · · · of the question.
·8· · · · A.· · Like I testified earlier with my
·9· ·conversation with Mr. Dondero, all I recall is
10· ·he said, get the money from Highland.
11· · · · Q.· · And if Mr. Dondero testifies that
12· ·he, in consultation with other senior personnel
13· ·at Highland, decided that Highland needed to
14· ·pay HCMFA $7.4 million as compensation for the
15· ·NAV error and not a loan, would you have any
16· ·reason to disagree with Mr. Dondero?
17· · · · · · · MR. MORRIS:· Objection to the form
18· · · · of the question.
19· · · · A.· · If that was -- if that was his
20· ·intent, yes, it would -- I would --
21· · · · Q.· · Do you have any reason to disagree
22· ·with him?
23· · · · · · · MR. MORRIS:· Objection to the form
24· · · · of the question.
25· · · · A.· · If that was his intent, I don't


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·know.· I don't know how I disagree with that.
·3· · · · Q.· · And just to confirm, you don't
·4· ·remember ever asking Mr. Dondero whether you
·5· ·should have two promissory notes prepared?
·6· · · · A.· · No.
·7· · · · Q.· · And you don't remember discussing
·8· ·with Mr. Dondero what the terms of those two
·9· ·promissory notes should be?
10· · · · A.· · I don't recall -- I testified all I
11· ·recall is he said, get the money from Highland.
12· ·I don't -- the -- the terms of the note, I
13· ·don't recall ever having a discussion around
14· ·the terms of the note, but since I don't draft
15· ·the notes, that -- there could have been a
16· ·conversation with other people later.
17· · · · Q.· · Do you have any memory of whether
18· ·after the notes were drafted, but before you
19· ·signed them, that you communicated with
20· ·Mr. Dondero in any way to just confirm or -- or
21· ·get his blessing or ratification to signing
22· ·those notes?
23· · · · · · · MR. MORRIS:· Objection to the form
24· · · · of the question.
25· · · · A.· · I don't recall.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Again, the only thing you remember,
·3· ·sitting here today, was Mr. Dondero said, get
·4· ·the money from Highland, and that is it, that
·5· ·is all you remember?
·6· · · · · · · MR. MORRIS:· Objection to the form
·7· · · · of the question.
·8· · · · A.· · I testified to that several times.
·9· ·This was over two years ago.· A lot has
10· ·happened.· That is all I recall.
11· · · · Q.· · And help me here.· I'm not very
12· ·technologically astute.· When you -- and I -- I
13· ·recognize that you do it rarely, but when you
14· ·sign a document electronically, do you believe
15· ·that there is an electronic record of you
16· ·having authorized or signed a document
17· ·electronically?
18· · · · · · · MR. MORRIS:· Objection to the form
19· · · · of the question.
20· · · · A.· · I -- I don't know the tech answer to
21· ·that, but, you know, since I don't have -- I
22· ·don't ever attach my signature block
23· ·electronically, my assistant would have done
24· ·that, and if that is done over email like we
25· ·did several times -- you know, multiple,


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·multiple times over COVID, she would attach my
·3· ·signature block and then email it out to
·4· ·whatever party.
·5· · · · Q.· · What was your assistant's name in
·6· ·May 2019?
·7· · · · A.· · It was Naomi Chisum.
·8· · · · Q.· · Is she the only one?· I'm sorry, was
·9· ·she your only assistant that would have maybe
10· ·facilitated logistically something like you
11· ·just described?
12· · · · A.· · You know, she was out on maternity
13· ·leave at some point.· I don't -- I don't recall
14· ·those dates where she was out for maternity
15· ·leave.· There was -- there were folks backing
16· ·her up.· I don't recall specifically who
17· ·those -- who those, you know, administrative
18· ·assistants were, and I don't recall
19· ·specifically if she was out during this time on
20· ·maternity leave.
21· · · · · · · I do know that that she was out for
22· ·a period of time, or who knows, or she could
23· ·have been on vacation that day or, you know, I
24· ·don't know.
25· · · · Q.· · Switching gears now, the two


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·complaints that have been filed that is against
·3· ·HCMFA and NexPoint, did you see any drafts of
·4· ·those complaints before they were filed?
·5· · · · · · · MR. MORRIS:· Objection to the form
·6· · · · of the question, and to the extent that you
·7· · · · had any communications with counsel or you
·8· · · · were shown drafts of the complaints by
·9· · · · counsel while you were employed by
10· · · · Highland, I direct you not to answer.
11· · · · A.· · I -- I reviewed documents yesterday
12· ·with counsel here.· I believe that is the first
13· ·time I have ever seen those.
14· · · · Q.· · Okay.· Did you ever discuss with
15· ·Mr. Seery these two lawsuits before or after
16· ·they were filed?
17· · · · A.· · I don't recall.
18· · · · Q.· · Were you ever interviewed by legal
19· ·counsel, to your knowledge, about these
20· ·promissory notes before the complaints were
21· ·filed?· Without going into what was said, were
22· ·you ever interviewed by legal counsel?
23· · · · · · · MR. MORRIS:· Objection to the form
24· · · · of the question.
25· · · · A.· · I don't recall.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Obviously with COVID, it changed,
·3· ·but -- but before COVID, did you used to meet
·4· ·with Mr. Seery from time to time in-person?
·5· · · · A.· · Yeah, I mean, so before COVID -- so
·6· ·we're talking kind of late March, early April,
·7· ·right, there was about -- I don't remember the
·8· ·specific date when the board for Highland was
·9· ·appointed.· I believe it was around February of
10· ·2020, so maybe there was a month-and-a-half,
11· ·two-month window where we were meeting
12· ·in-person or, you know, like we were actually
13· ·in the office, excuse me, we were in the
14· ·office.
15· · · · · · · And, you know, when they were first
16· ·appointed, the board members and Mr. Seery
17· ·were -- were definitely down here more
18· ·in-person.
19· · · · Q.· · Did you ever see Mr. Seery taking
20· ·written notes of -- of his meetings with you or
21· ·others?
22· · · · A.· · I don't recall.
23· · · · Q.· · Do you recall on any Zoom or video
24· ·conference with Mr. Seery, seeing him take
25· ·notes, written notes?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · The Zoom calls we had, I don't
·3· ·recall having seen video or, you know, or if it
·4· ·was on Zoom, I just remember it being -- well,
·5· ·no, you know what, there were some -- you know,
·6· ·I take that back.
·7· · · · · · · So there were -- there were some
·8· ·times that I did remember seeing Mr. Seery
·9· ·on -- on some of the Zoom calls.
10· · · · Q.· · Well, let me --
11· · · · A.· · I don't -- sorry, I'm thinking.· I'm
12· ·thinking -- I'm going back.· I'm trying to
13· ·process this.
14· · · · Q.· · I can make it much quicker,
15· ·Mr. Waterhouse.· I have heard -- I have heard
16· ·that Mr. Seery is a copious note taker.
17· · · · · · · Do you have any knowledge about
18· ·that?
19· · · · A.· · No.
20· · · · Q.· · Okay.· Switching gears yet again,
21· ·and this will be last theme.· Do you need a
22· ·restroom break, or are you good to go for
23· ·another half an hour?
24· · · · · · · MS. DEITSCH-PEREZ:· I need a
25· · · · restroom break.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MR. RUKAVINA:· Can we make it five
·3· · · · minutes?
·4· · · · · · · THE WITNESS:· Five minutes would be
·5· · · · great.
·6· · · · · · · VIDEOGRAPHER:· We're going off the
·7· · · · record at 5:53 p.m.
·8· · · · (Recess taken 5:53 p.m. to 5:59 p.m.)
·9· · · · · · · VIDEOGRAPHER:· We are back on the
10· · · · record at 5:59 p.m.
11· · · · Q.· · Mr. Waterhouse, I had asked you
12· ·earlier about contracts between HCMFA and the
13· ·debtor, and now I'm going to talk about
14· ·contracts between the debtor and NexPoint
15· ·Advisors.· Okay?
16· · · · A.· · Okay.
17· · · · Q.· · Now, were there contracts similar to
18· ·the ones with HCMFA that NexPoint had in the
19· ·nature of employee reimbursement and shared
20· ·services?
21· · · · A.· · Yes, they -- NexPoint Advisors and
22· ·Highland Capital Management Fund Advisors had
23· ·cost reimbursement and shared services
24· ·agreements with Highland Capital Management,
25· ·L.P.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And was that shared services
·3· ·agreement, to the best of your understanding,
·4· ·in place as of December 31, 2020?
·5· · · · A.· · It was -- it was terminated at some
·6· ·point, and I remember the contracts had
·7· ·different termination dates, but I think the --
·8· ·the date of termination was January 31st of
·9· ·2021, after the termination was put in.
10· · · · · · · So yeah, it would be in place at the
11· ·end of the year of December -- it would be in
12· ·place at December 31st, 2020.
13· · · · Q.· · And pursuant to that agreement as of
14· ·December 31st, 2020, was the debtor providing
15· ·what you would describe as back office services
16· ·to NexPoint?
17· · · · A.· · Yes.
18· · · · Q.· · Would those have included accounting
19· ·services?
20· · · · A.· · Yes.
21· · · · Q.· · And as part of those accounting
22· ·services, would the debtor have assisted
23· ·NexPoint with paying its bills?
24· · · · · · · MR. MORRIS:· Objection to the form
25· · · · of the question.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes.
·3· · · · Q.· · So let's break that up.· You were a
·4· ·treasurer of NexPoint as well in December of
·5· ·2020?
·6· · · · · · · MR. MORRIS:· Objection to the form
·7· · · · of the question.
·8· · · · A.· · Yes.
·9· · · · Q.· · Okay.· And in December of 2020, did
10· ·NexPoint have its own bank accounts?
11· · · · A.· · Yes.
12· · · · Q.· · And did it use those bank accounts
13· ·to pay various of its obligations?
14· · · · A.· · Yes.
15· · · · Q.· · Did employees of the debtor have the
16· ·ability to cause transfers to be made from
17· ·those bank accounts on behalf of NexPoint?
18· · · · A.· · Yes.
19· · · · Q.· · And is that one of services that the
20· ·debtor provided NexPoint, basically ensuring
21· ·that accounts payable and other obligations
22· ·would be paid?
23· · · · A.· · Yes.
24· · · · · · · MR. MORRIS:· Objection to the form
25· · · · of the question.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · You answered yes?
·3· · · · A.· · Yes.
·4· · · · Q.· · And the payments, though, whose
·5· ·funds would they be made from?
·6· · · · A.· · From the bank account of NexPoint
·7· ·Advisors.· If they were NexPoint advisor
·8· ·obligations, it would be made from NexPoint
·9· ·Advisors' bank account.
10· · · · Q.· · So let's pull up Exhibit Alpha 1.
11· ·You should have that -- it is my Tab 1 or my
12· ·Exhibit 1.
13· · · · · · · (Exhibit A1 marked.)
14· · · · Q.· · So this is a -- this is a series of
15· ·emails, Mr. Waterhouse.· Let's look at the
16· ·first page here, November 25, 2020, between
17· ·Kristin Hendrix and yourself.
18· · · · · · · Do you see that, sir?
19· · · · A.· · I do.
20· · · · Q.· · And do you see where Ms. Hendrix
21· ·writes:· NPA.
22· · · · · · · Do you know what NPA stood for?
23· · · · A.· · Yes.
24· · · · Q.· · And what does it stand for?
25· · · · A.· · NexPoint Advisors.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And was that how you-all internally
·3· ·at Highland refer to NexPoint Advisors, L.P.?
·4· · · · A.· · I mean, yes, amongst other things.
·5· · · · Q.· · And she writes at the bottom of her
·6· ·email:· Okay to release?
·7· · · · · · · Do you see that?
·8· · · · A.· · Yes, I do.
·9· · · · Q.· · So what --
10· · · · · · · MR. MORRIS:· Hold on one second.
11· · · · · · · Okay.· Go ahead.
12· · · · · · · MR. RUKAVINA:· Yeah.
13· · · · Q.· · So what is -- what is Ms. Hendrix
14· ·here on November 25 asking of you?
15· · · · A.· · She is asking me -- so she -- these
16· ·are -- these are payments -- typically we would
17· ·do an accounts payable run every week at the
18· ·end of every Friday.· But looking at this date,
19· ·it is Wednesday, November 25th, which means, to
20· ·me, it is likely Thanksgiving weekend.
21· · · · · · · So this is the day before
22· ·Thanksgiving, so this is the last kind of --
23· ·kind of day before the holidays and vacation
24· ·and things of that nature.· So it is
25· ·effectively the Friday of that week.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · So she is -- she is putting in all
·3· ·the payments for the week because we batch
·4· ·payments weekly.· And these are the payments
·5· ·that go out that week, and she is informing me
·6· ·of the payments and -- you know, again, at the
·7· ·bottom of the email, she is asking for my okay
·8· ·to -- to release these payments in the wire
·9· ·system.
10· · · · Q.· · So these would be accounts payable
11· ·of NexPoint?
12· · · · A.· · I mean, it would be accounts payable
13· ·for all of these entities listed on this email.
14· · · · Q.· · And who was Ms. Hendrix employed by
15· ·in November and December of 2020?
16· · · · A.· · Highland Capital Management.
17· · · · Q.· · Okay.· So -- so part of the services
18· ·that NexPoint had contracted with was for
19· ·Highland to ensure that NexPoint timely paid
20· ·its accounts payable; is that accurate?
21· · · · · · · MR. MORRIS:· Objection to the form
22· · · · of the question.· You have got to be
23· · · · kidding me.
24· · · · Q.· · Is that accurate?
25· · · · A.· · Yes.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And did NexPoint rely on employees
·3· ·of the debtor to ensure that NexPoint's
·4· ·accounts payable were timely paid?
·5· · · · · · · MR. MORRIS:· Objection to the form
·6· · · · of the question.
·7· · · · A.· · Yes.
·8· · · · · · · MR. RUKAVINA:· Let's flip to the
·9· · · · next page, Mr. Nguyen, if you will please
10· · · · scroll to the next page.
11· · · · Q.· · So this is an email similar to the
12· ·prior one, November 30th.
13· · · · · · · Do you see where it says, NPA HCMFA,
14· ·USD $325,000 one-day loan?
15· · · · · · · Do you see that, sir?
16· · · · A.· · I do.
17· · · · Q.· · Do you have any memory of what that
18· ·was?
19· · · · A.· · I don't recall what that -- what
20· ·that payment was for.
21· · · · Q.· · Did it sometimes occur that one
22· ·advisor would, on very short-terms, make loans
23· ·to another advisor?
24· · · · A.· · Yes.· This -- this -- this occurred
25· ·from -- from -- from time to time.· It actually


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·looking at -- I'm -- I'm looking at the date of
·3· ·this email.· It is November 30th.· It is the
·4· ·last day of the month.
·5· · · · · · · HCMFA has obligations it needs to
·6· ·pay to its broker-dealer, which is HCFD.· And
·7· ·it likely was short funds to make those
·8· ·obligations under that -- under its agreement,
·9· ·and so it provided a one-day loan because on
10· ·the next business day on 12/1 -- or the next
11· ·business day in December, it would receive
12· ·management fees from the underlying funds that
13· ·it managed and it would be able to pay back
14· ·that loan to NexPoint Advisors.
15· · · · Q.· · So -- so here Ms. Hendrix was
16· ·seeking your approval to transfer $325,000 from
17· ·NexPoint to HCMFA for a one-day loan; is that
18· ·correct?
19· · · · A.· · That is correct.
20· · · · Q.· · Let's flip to the next page, sir.
21· · · · · · · MR. RUKAVINA:· And, Mr. Nguyen, if
22· · · · you will please scroll down.
23· · · · Q.· · Now we have as an entry for
24· ·$325,000, 11/30 loan payment.
25· · · · · · · Do you see that, sir?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes.
·3· · · · Q.· · And that is probably the loan that
·4· ·was approved on the prior page?
·5· · · · A.· · Yes, most likely.
·6· · · · Q.· · So is it also true, sir, that in
·7· ·addition to accounts payable debtor employees
·8· ·would be assisting NexPoint with respect to
·9· ·paying back its debt?
10· · · · · · · MR. MORRIS:· Objection to the form
11· · · · of the question.
12· · · · A.· · I mean, yes, for loans of this
13· ·nature, yes.
14· · · · Q.· · Well, what about long term loans?
15· ·Was it reasonable for NexPoint to expect debtor
16· ·employees to ensure that NexPoint timely paid
17· ·its obligations under long-term notes?
18· · · · · · · MR. MORRIS:· Objection to the form
19· · · · of the question.
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · I mean, that is one of the things
22· ·that the Highland personnel did provide to the
23· ·advisors.· Yes, we would -- we would -- over
24· ·the years, yes, we -- we -- we -- we did do
25· ·that generally.· Again, I don't remember


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·specifically but, yes, generally we -- you
·3· ·know, we did do that.
·4· · · · Q.· · So do you recall -- and we can pull
·5· ·it up, if need be -- that under the NexPoint
·6· ·note that Mr. Morris asked you about earlier,
·7· ·the one for more than $30 million, that
·8· ·NexPoint was obligated to make an annual
·9· ·payment of principal and interest?
10· · · · · · · MR. MORRIS:· Objection to the form
11· · · · of the question.
12· · · · A.· · Yes, it was -- yes, it -- it was an
13· ·amortizing note.· It was -- you know, from what
14· ·we reviewed earlier, it was payable by
15· ·December 31st of each year.· So -- but are --
16· ·are you asking me --
17· · · · Q.· · I'm just asking you, sir, if you
18· ·recall the note.
19· · · · A.· · Yes, the $30 million note, yes, we
20· ·reviewed it earlier, yes.
21· · · · Q.· · And do you recall Mr. Morris had you
22· ·go through the fact that NexPoint had made
23· ·payments in years prior to 2020 on that note?
24· · · · A.· · I do.
25· · · · Q.· · And do you believe that employees of


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·the debtor would have played any role in
·3· ·NexPoint having made those prior payments?
·4· · · · · · · MR. MORRIS:· Objection to the form
·5· · · · of the question.
·6· · · · A.· · Yes.
·7· · · · Q.· · And what role in years prior to 2020
·8· ·would employees of the debtor have had with
·9· ·respect to NexPoint making that annual payment?
10· · · · A.· · We -- we -- we would have -- I keep
11· ·saying "we."· The team would have calculated
12· ·any amounts due under that loan and other
13· ·loans, as -- as standard course.
14· · · · · · · We would -- since we provided
15· ·treasury services to the advisors, we would
16· ·inform the -- the -- the -- we informed
17· ·Mr. Dondero of any cash obligations that are
18· ·forthcoming, whether we do cash projections.
19· · · · · · · If, you know, any of these payments
20· ·would have -- or, you know, the sum total of
21· ·all of these payments, including any note
22· ·payments, if there were any cash shortfalls, we
23· ·would have informed Mr. Dondero of any cash
24· ·shortfalls.· We could adequately plan, you
25· ·know, in instances like that.


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·2· · · · · · · Or, sorry, we -- I say "we" -- I
·3· ·keep saying "we" -- I keep wearing my -- again,
·4· ·my -- my treasurer hat.
·5· · · · · · · But, yes, it is to -- it is to
·6· ·inform Mr. Dondero of the obligations of the
·7· ·advisors in terms of cash and obligations that
·8· ·are -- are upcoming and that -- and that are --
·9· ·are scheduled to be paid.
10· · · · Q.· · And would those obligations that are
11· ·upcoming and scheduled to be paid prior to 2020
12· ·have incurred the annual payment on that
13· ·NexPoint $30 million note?
14· · · · · · · MS. DANDENEAU:· Objection to form.
15· · · · · · · MS. DEITSCH-PEREZ:· Davor, I think
16· · · · you misspoke.· You might want to just
17· · · · repeat the question.
18· · · · Q.· · Okay.· Let me repeat the question,
19· ·sir.
20· · · · · · · Prior to 2020, those services that
21· ·you just described, would that -- on behalf of
22· ·the debtor, would that have included NexPoint's
23· ·payments on the $30 million note?
24· · · · A.· · Yes.
25· · · · Q.· · So someone at the debtor in treasury


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·2· ·or accounting would have sent some schedule or
·3· ·a reminder that a payment would be coming due
·4· ·in the future.· Is that generally the practice?
·5· · · · A.· · Yes, we would -- you know, again, I
·6· ·didn't -- I didn't micromanage the teams, but
·7· ·we had a -- a corporate accounting calendar
·8· ·that we use as kind of a tickler file to keep
·9· ·track of payments.
10· · · · · · · I actually, you know, don't know how
11· ·actively they're using that in -- in prior to
12· ·2020, but it was actively used at some point.
13· · · · · · · We did look at NexPoint cash
14· ·periodically and cash for the other advisors as
15· ·well and payments.· You know, we -- payments
16· ·like this would have appeared in our cash
17· ·projections, in the advisor's cash projections.
18· · · · · · · And, again, as like I said earlier,
19· ·they would have appeared there, so there would
20· ·be time to plan for making any of these
21· ·payments.
22· · · · Q.· · And based on your experience, would
23· ·it have been reasonable for NexPoint to rely on
24· ·the debtors' employees to inform NexPoint of an
25· ·upcoming payment due on the $30 million


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·2· ·promissory note?
·3· · · · · · · MR. MORRIS:· Objection to form of
·4· · · · the question.
·5· · · · · · · MS. DANDENEAU:· Objection to form.
·6· · · · A.· · Yes.· Yes, they did.· I mean, but I
·7· ·mean, but I don't think these -- these notes
·8· ·were any secret to anybody.
·9· · · · Q.· · I understand, and I'm not suggesting
10· ·otherwise.
11· · · · · · · MR. RUKAVINA:· Please pull up Alpha
12· ·2, Mr. Nguyen.
13· · · · · · · (Exhibit A2 marked.)
14· · · · Q.· · Now, this document is similar to the
15· ·ones we've seen before as of December 31, 2020,
16· ·and I don't see under NTA anything there for
17· ·paying the promissory note to Highland.
18· · · · · · · Do you see anything like that?
19· · · · A.· · I do not.
20· · · · · · · MR. RUKAVINA:· You can pull that --
21· ·that exhibit down, Mr. Nguyen.
22· · · · Q.· · You are aware, of course, by now
23· ·that, in fact, NexPoint failed to make the
24· ·payment due December 31, 2020, are you not?
25· · · · A.· · I am aware, and yes, I do understand


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·2· ·it.
·3· · · · Q.· · Were you aware that Highland
·4· ·accelerated that $30 million promissory note?
·5· · · · A.· · I am aware.
·6· · · · Q.· · Were you aware of that acceleration
·7· ·at the time that it occurred?
·8· · · · A.· · I don't remember specifically.
·9· · · · Q.· · Do you recall whether anyone asked
10· ·you -- prior to the acceleration, anyone asked
11· ·you at Highland, what Highland should do with
12· ·respect to the missed payment?
13· · · · A.· · Did anyone ask me what Highland
14· ·should do about the missed payment?
15· · · · Q.· · Yes, before acceleration.
16· · · · · · · MR. MORRIS:· Objection to the form
17· · · · of the question.
18· · · · A.· · I mean, what -- what I recall is
19· ·there was the -- sorry, are you asking me --
20· · · · · · · MS. DANDENEAU:· Why don't you just
21· · · · repeat the question, Mr. Rukavina.
22· · · · Q.· · Let me try again, Mr. Waterhouse,
23· ·let me try again.
24· · · · · · · I am saying you're the CFO of
25· ·someone, in this case, Highland, and the


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·2· ·borrower failed to make the required payment.
·3· ·Are you with me so far?
·4· · · · A.· · I am.
·5· · · · Q.· · Did anyone then ask you, what should
·6· ·we do with respect to our rights against the
·7· ·borrower that missed the payment?
·8· · · · A.· · Not that I recall.
·9· · · · Q.· · Did you play a role in the decision
10· ·to accelerate that $30 million promissory note?
11· · · · A.· · I did not.
12· · · · Q.· · Do you recall whether Mr. Seery ever
13· ·asked you before the acceleration as to whether
14· ·he should accelerate the note?
15· · · · A.· · I don't recall.
16· · · · Q.· · And you don't recall when you
17· ·learned of the acceleration itself?
18· · · · · · · MR. MORRIS:· Objection to the form
19· · · · of that question.
20· · · · A.· · It was -- it was sometime in
21· ·early -- in early 2021.· I don't remember
22· ·specifically.
23· · · · Q.· · But do you recall whether it was
24· ·after the acceleration had already been
25· ·transmitted?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MS. DANDENEAU:· Objection to the
·3· · · · form of the question.
·4· · · · A.· · I don't recall.
·5· · · · Q.· · Do you recall in early to mid
·6· ·January of 2021, after the default, discussing
·7· ·the default with Mr. Dondero?
·8· · · · A.· · I do recall discussing with
·9· ·Mr. Dondero after December 31, 2020?
10· · · · Q.· · Yes, the fact of the default.
11· · · · A.· · I don't recall.
12· · · · · · · MR. RUKAVINA:· Let's pull up my
13· ·Exhibit 6, Alpha 6.
14· · · · · · · (Exhibit A6 marked.)
15· · · · · · · MR. RUKAVINA:· And, Mr. Nguyen, if
16· · · · you will please scroll down.
17· · · · Q.· · This email chain begins with you
18· ·writing to Ms. Hendrix on January the 12th:
19· ·NexPoint note to HCMLP.
20· · · · · · · Do you see that, sir?
21· · · · A.· · I do.
22· · · · Q.· · Were you discussing this same
23· ·$30 million note we're talking about right now
24· ·with Ms. Hendrix?
25· · · · A.· · Yes.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Do you recall what prompted
·3· ·you to send that email to her?
·4· · · · A.· · Yes, I had -- I had a conversation
·5· ·with Jim.
·6· · · · Q.· · Okay.· And what -- what did you
·7· ·discuss with Jim that led to this email chain?
·8· · · · A.· · He -- he called me and he said he
·9· ·wanted to make payment on the NexPoint note,
10· ·and I didn't -- I didn't know the -- the amount
11· ·offhand, so I reached out to Kristin and got
12· ·the details and relayed that to him.
13· · · · Q.· · And you see you sent that email to
14· ·her at 11:15 a.m.· Does that help you remember
15· ·when you had this discussion with Mr. Dondero?
16· ·In other words, was it that morning or the day
17· ·before, or can you -- can you --
18· · · · A.· · No, it was -- it was that morning.
19· · · · Q.· · And do you recall how you had that
20· ·conversation with him?
21· · · · · · · MR. MORRIS:· Objection to the form
22· · · · of the question.
23· · · · Q.· · By telephone, by email, in-person?
24· · · · A.· · Yeah, he -- he called me.· I was at
25· ·home.· We were working from home here in


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·2· ·December of 2020.· He called me from home.· He
·3· ·said he was in court.· He wanted to -- he asked
·4· ·about, you know, making payment on the note and
·5· ·the amount, and so I didn't have those numbers
·6· ·in front of me, so I said I would get back to
·7· ·him.· I wanted all the details, so here is
·8· ·this -- so I reached out to Kristin.
·9· · · · Q.· · And then she gave you that
10· ·$1,406,000 figure?
11· · · · · · · MR. RUKAVINA:· Mr. Nguyen, if you
12· ·will scroll up, please.
13· · · · A.· · Yes.· Yeah, she -- the $1,406,112.
14· · · · Q.· · And do you recall whether you
15· ·conveyed that amount to Mr. Dondero?
16· · · · A.· · Yes.· I -- I called him back and
17· ·gave him -- gave him this amount.
18· · · · Q.· · Are you aware of whether NexPoint,
19· ·in fact, then made that 1 million 406 and
20· ·change payment?
21· · · · A.· · Yes, they did.
22· · · · Q.· · Did you discuss with Mr. Dondero at
23· ·that time, either the first conference or the
24· ·second conference that day -- strike that.
25· · · · · · · When you conveyed the number to


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·2· ·Mr. Dondero, was -- was it also on January
·3· ·12th?
·4· · · · A.· · Sorry, when I conveyed the
·5· ·$1.4 million number?
·6· · · · Q.· · Yes.
·7· · · · A.· · Yes, yes, it was that -- it was --
·8· · · · Q.· · So you had --
·9· · · · A.· · It was that point.
10· · · · Q.· · Well, to the best of your
11· ·recollection, you had a conference with
12· ·Mr. Dondero by the telephone in the morning,
13· ·and then another conference with him by
14· ·telephone after 11:40 a.m. that morning?
15· · · · A.· · Yeah, I can't remember -- yeah, it
16· ·was either that morning or it could have been,
17· ·you know, early afternoon, but again, I
18· ·remember calling him back, relaying this
19· ·information to him, and he said, okay, pay --
20· ·you know, make -- make this payment.
21· · · · Q.· · And during either of those two
22· ·calls, did you tell Mr. Dondero anything to the
23· ·effect that making those -- I'm sorry, making
24· ·that payment would not de-accelerate the
25· ·promissory note?


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·2· · · · A.· · No.
·3· · · · Q.· · Did you tell him anything to the
·4· ·effect that making that payment would not cure
·5· ·the default?
·6· · · · A.· · No.
·7· · · · Q.· · Did you discuss that in any way with
·8· ·him?
·9· · · · A.· · No, I did not.
10· · · · Q.· · Did he say why he wanted to have
11· ·that $1.4 million payment made?
12· · · · · · · MR. MORRIS:· Objection to the form
13· · · · of the question.
14· · · · A.· · He -- he -- he didn't go into
15· ·specifics.
16· · · · Q.· · Did he say anything to you to the
17· ·effect that if NexPoint makes that payment,
18· ·then the note will be de-accelerated?
19· · · · · · · MR. MORRIS:· Objection to the form
20· · · · of the question.
21· · · · A.· · I don't recall.
22· · · · · · · MR. RUKAVINA:· You can put this one
23· · · · down, Mr. Nguyen.
24· · · · Q.· · And, again, when you say you don't
25· ·recall, you mean you don't remember right now


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·either way; correct?
·3· · · · A.· · Yeah, I don't remember.· I don't
·4· ·remember us discussing that.
·5· · · · Q.· · Now -- and we're almost done, I
·6· ·promise.· I'm just going to -- I don't know how
·7· ·to ask this question, so I'm just going to try
·8· ·to do my best.
·9· · · · · · · Prior to the default on December 31,
10· ·2020, did Mr. Seery ever tell you any words to
11· ·the effect that you or someone at Highland
12· ·should ensure that NexPoint doesn't make its
13· ·payment?
14· · · · A.· · No.
15· · · · Q.· · Did you have any hint or any belief
16· ·that anyone at NexPoint -- I'm sorry, strike
17· ·that.
18· · · · · · · Did you have any reason to believe
19· ·that anyone with Highland was actively trying
20· ·to get NexPoint to make that default by not
21· ·paying on December 31?
22· · · · · · · MR. MORRIS:· Objection to the form
23· · · · of the question.
24· · · · A.· · Are you asking, did any Highland
25· ·employees actively work to make -- to


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·somehow --
·3· · · · Q.· · Yes.· Let me take a step back.· Let
·4· ·me take a step back.
·5· · · · · · · So you are aware now that as a
·6· ·result of that default, what was still some
·7· ·25-year note was accelerated and became
·8· ·immediately due.· You are aware of that now;
·9· ·right?
10· · · · A.· · Yes.
11· · · · Q.· · And can you see how someone at
12· ·Highland might actually have been pleased with
13· ·that development?
14· · · · · · · MR. MORRIS:· Objection to the form.
15· · · · Q.· · Not that they were --- not that they
16· ·were pleased, but you can see how someone at
17· ·Highland might have been pleased with that
18· ·development?
19· · · · · · · MR. MORRIS:· Objection to the form
20· · · · of the question.
21· · · · · · · MS. DANDENEAU:· Object to form.
22· · · · A.· · I don't know how they would have
23· ·reacted to that.
24· · · · Q.· · Okay.· But you're not -- you're not
25· ·aware of any instructions or any actions being


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·2· ·given or taken at Highland by Mr. Seery, the
·3· ·independent board, DSI, that -- that would have
·4· ·basically led Highland to ensure that NexPoint
·5· ·would fail to make that payment?
·6· · · · A.· · I'm not aware.
·7· · · · Q.· · In other words, there wasn't a trick
·8· ·or a settlement; right?
·9· · · · · · · MS. DEITSCH-PEREZ:· Objection to
10· · · · form.
11· · · · · · · MS. DANDENEAU:· Object to form.
12· · · · · · · MR. MORRIS:· Object to form.
13· · · · A.· · I'm not aware.
14· · · · · · · Look, I'm not aware.· I'm not in
15· ·every conversation.· I mean, and I'm just --
16· ·again, I'm sitting at home.· It is the end of
17· ·the year.· Again, I'm not aware.
18· · · · Q.· · That is a perfectly legitimate
19· ·answer.· I don't know why -- why you think
20· ·otherwise.
21· · · · · · · Okay.· Just give me one second to
22· ·compose my thoughts.
23· · · · · · · MS. DEITSCH-PEREZ:· While you're
24· · · · taking your one second, why don't we take
25· · · · three minutes.· I will be right back.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · VIDEOGRAPHER:· Do we want to go off
·3· · · · the record?
·4· · · · · · · MR. RUKAVINA:· Yes.
·5· · · · · · · VIDEOGRAPHER:· All right.· We're
·6· · · · going off the record at 6:27 p.m.
·7· · · · (Recess taken 6:27 p.m. to 6:30 p.m.)
·8· · · · · · · VIDEOGRAPHER:· We are back on the
·9· · · · record at 6:30 p.m.
10· · · · · · · MR. HORN:· Is Deb back?
11· · · · · · · MS. DANDENEAU:· Are you asking about
12· · · · me?· I'm here.
13· · · · · · · MR. HORN:· Oh, okay.· I don't see
14· · · · you, sorry.
15· · · · Q.· · Actually, yeah, Mr. Waterhouse, so
16· ·when you had --
17· · · · · · · MS. DANDENEAU:· Are you asking about
18· · · · Deb Dandeneau or Deborah?· I mean, there
19· · · · are a lot -- as we talked about, a lot of
20· · · · Debs.· I'm here.
21· · · · · · · MS. DEITSCH-PEREZ:· I'm here.
22· · · · · · · MR. HORN:· Yes, I was asking about
23· · · · DDP.
24· · · · · · · MS. DEITSCH-PEREZ:· Oh, DDP is here.
25· · · · · · · MR. HORN:· Okay.· Here we go.· I'm


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · going back on mute.
·3· · · · · · · MS. DANDENEAU:· Get the right
·4· · · · nomenclature.
·5· · · · Q.· · Mr. Waterhouse, on January 12th,
·6· ·2021, when you had those talks with Mr. Dondero
·7· ·about the $1.4 million payment, did you have a
·8· ·communication or a conversation with Mr. Seery
·9· ·about that payment after January 12th, 2021?
10· · · · A.· · I don't recall.
11· · · · Q.· · Well, in response to Mr. Dondero
12· ·reaching out to you, do you recall on that day,
13· ·January 12th, talking to Mr. Seery or anyone at
14· ·Highland other than the email chain we just saw
15· ·about Mr. Dondero's call with you?
16· · · · A.· · Did I talk to -- I spoke with
17· ·Kristin -- I don't know if I spoke to her.                           I
18· ·likely spoke to Kristin Hendrix because we had
19· ·to get the wire on NexPoint's behalf to make
20· ·the payment to Highland.
21· · · · Q.· · So it is true, then, that -- that
22· ·employees of the debtor did actually cause that
23· ·payment to be made when it was made after
24· ·January 12th?
25· · · · A.· · Yes, I mean, we -- we -- as I


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·2· ·testified earlier, we provided that accounting
·3· ·finance treasury function as -- under the
·4· ·shared services agreement.· And so once I
·5· ·got the -- I talked to Jim, got the approval to
·6· ·make this payment, we have to then make the
·7· ·payment, or the team does, and so the payment
·8· ·was made.
·9· · · · Q.· · Okay.· But -- okay.· And -- and
10· ·sitting here right now, after Jim called you,
11· ·you don't remember talking to anyone other than
12· ·the -- the couple of people you mentioned,
13· ·talking to anyone about something to the effect
14· ·that, hey, Jim wants to make this payment now?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · I don't -- I don't recall.
18· · · · Q.· · And does that include legal counsel?
19· · · · · · · Without going into any detail, on
20· ·January 12th or before that payment was made,
21· ·did you consult with legal counsel about
22· ·anything having to do with the $1.4 million
23· ·payment?
24· · · · A.· · I don't recall.
25· · · · Q.· · Okay.· Thank you, sir, for your


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·time.
·3· · · · · · · MR. RUKAVINA:· Pass the witness.
·4· · · · · · · MR. MORRIS:· I just have a few
·5· · · · questions, if I may.
·6· · · · · · · MS. DEITSCH-PEREZ:· Don't you go at
·7· · · · the end?
·8· · · · · · · MR. MORRIS:· Oh, I apologize.· He is
·9· · · · your witness.· I'm surprised you want to
10· · · · ask him questions, but go right ahead.
11· · · · · · · MS. DEITSCH-PEREZ:· Just have a
12· · · · couple of things.
13· · · · · · · MR. RUKAVINA:· And I will just
14· · · · object to that, that he's our witness.
15· · · · That's not --
16· · · · · · · MR. MORRIS:· I'm not talking to you.
17· · · · I'm not talking to you.
18· · · · · · · MS. DANDENEAU:· Also, Mr. Morris, it
19· · · · is -- it is --
20· · · · · · · MS. DEITSCH-PEREZ:· He is not my
21· · · · witness.· He's been subpoenaed by you.
22· · · · Okay?
23· · · · · · · That is no offense, Mr. Waterhouse,
24· · · · I'm -- I'm not -- okay.· Anyway.
25· · · · · · · · · · ·EXAMINATION


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·BY MS. DEITSCH-PEREZ:
·3· · · · Q.· · Good evening.· I'm very sorry to be
·4· ·going last and I know you have had a long and
·5· ·taxing day, so I thank you for indulging me.
·6· · · · · · · The kinds of services that you
·7· ·describe that the -- that Highland provided for
·8· ·NexPoint, did Highland also provide similar
·9· ·services to that to HCRE and HCMS?
10· · · · A.· · Yes.
11· · · · · · · MR. MORRIS:· Objection to the form
12· · · · of the question.
13· · · · Q.· · What kind of services did Highland
14· ·provide to HCRE and HCMS?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · · · · MS. DEITSCH-PEREZ:· What is your
18· · · · objection, John?
19· · · · · · · MR. MORRIS:· It is vague and
20· · · · ambiguous.· Unlike the advisors and
21· · · · NexPoint, they actually had shared services
22· · · · agreements.
23· · · · · · · MS. DEITSCH-PEREZ:· I got -- I
24· · · · understand your objection.· That is fine.
25· · · · Q.· · Let's take them one at a time.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · What kinds of services did Highland
·3· ·provide to HCRE?
·4· · · · · · · MR. MORRIS:· Objection to the form
·5· · · · of the question.
·6· · · · A.· · HCMS, Highland employees provided
·7· ·accounting services, treasury management
·8· ·services, potentially legal services.                      I
·9· ·don't -- but I wouldn't have been directly
10· ·involved in that.· But as far as the teams that
11· ·I manage, it was accounting, treasury, things
12· ·of that nature.
13· · · · Q.· · Okay.· And that was for HCM, LLP --
14· · · · A.· · And -- and, sorry, it would also be
15· ·any asset valuation if needed as well.
16· · · · Q.· · Okay.· We went back and forth on
17· ·each other and I apologize, so just to clarify.
18· · · · · · · You were talking about the services
19· ·that Highland Capital Management provided to
20· ·HCMS; is that right?
21· · · · A.· · HCMS.· So, again, yes.· And
22· ·accounting, treasury, valuation, and also tax
23· ·services too.
24· · · · Q.· · Okay.
25· · · · A.· · Tax services.· Look, I'm expanding


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·this, their HR services as well.
·3· · · · Q.· · Okay.· And did that include bill
·4· ·paying?
·5· · · · · · · MR. MORRIS:· Objection to the form
·6· · · · of the question.
·7· · · · Q.· · Did the services that HCM provided
·8· ·to HCMS include bill paying?
·9· · · · · · · MR. MORRIS:· Objection to the form
10· · · · of the question.
11· · · · A.· · Yes.
12· · · · Q.· · And did the services that HCMLP
13· ·provided to HCMS include scheduling upcoming
14· ·bills?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · Yes.
18· · · · Q.· · And did HCMLP regularly pay -- cause
19· ·to be paid the payments on loans HCMS had from
20· ·HCMLP?
21· · · · · · · MR. MORRIS:· Objection to the form
22· · · · of the question.
23· · · · A.· · Yes.
24· · · · Q.· · Typically -- if there is a
25· ·typically, how far in advance of due dates did


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·HCMLP cause HCMS to pay its bills?
·3· · · · · · · MR. MORRIS:· Objection to the form
·4· · · · of the question.
·5· · · · A.· · I mean, it -- it -- it depend -- it
·6· ·depended on the nature of the payment and the
·7· ·vendor, but, you know, if there were -- if
·8· ·there were larger scheduled payments, you know,
·9· ·I would like to give at least 30 days notice.
10· · · · · · · And that is -- that is kind of my
11· ·rule of thumb so no one is surprised.
12· · · · Q.· · Okay.· And was it generally HCMLP's
13· ·practice to timely pay HCMS' bills?
14· · · · · · · MR. MORRIS:· Objection to the form
15· · · · of the question.
16· · · · A.· · It -- it -- it -- that depended on
17· ·the nature of the payment.
18· · · · Q.· · Okay.· And can you explain what you
19· ·mean by that?
20· · · · A.· · Yeah, I mean if -- if it was -- I
21· ·mean -- if there was some professional fees
22· ·that weren't -- you know, they were due but
23· ·they weren't urgent, those fees may not be paid
24· ·as timely as others that have a due date or --
25· ·or things like that.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Are loan payments the kinds
·3· ·of thing that HCMLP would pay on time because
·4· ·of potential consequences of not paying on
·5· ·time?
·6· · · · · · · MR. MORRIS:· Objection to the form
·7· · · · of the question.
·8· · · · A.· · Yes.· As I testified earlier, we
·9· ·would want to give, you know, notice on -- on
10· ·-- on larger payments and -- and things of that
11· ·nature so we didn't miss due dates.
12· · · · Q.· · Okay.· And over the course of time,
13· ·did HCMLP generally pay HCMS' loan payments in
14· ·a timely fashion?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · I can't remember specifically, but
18· ·generally, yes.
19· · · · Q.· · Okay.· Now, did HCMLP provide
20· ·similar services to HCRE that you have
21· ·described it provided to HCMS?
22· · · · · · · MR. MORRIS:· Objection to the form
23· · · · of the question.
24· · · · A.· · Yes, but I don't think it -- it
25· ·provided -- I don't think it provided HR


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·services.
·3· · · · Q.· · Can you describe the accounting and
·4· ·treasury services that HCMLP provided for HCRE?
·5· · · · A.· · Yeah, it -- it would provide
·6· ·bookkeeping services on a -- on a periodic
·7· ·basis.· It would make payments, you know, as
·8· ·needed.
·9· · · · Q.· · Okay.· So did it provide --
10· · · · A.· · And -- and I believe it -- it -- it
11· ·provided tax services as well.
12· · · · Q.· · Okay.· And so did it provide the
13· ·same kind of bill -- did HCMLP provide the same
14· ·kind of bill-paying services for HCRE that it
15· ·provided for HCMS and NexPoint?
16· · · · · · · MR. MORRIS:· Objection to the form
17· · · · of the question.
18· · · · A.· · Yes.
19· · · · Q.· · And over the course of time, did
20· ·HCMLP generally cause to be made the loan
21· ·payments that HCRE owed to HCMLP?
22· · · · · · · MR. MORRIS:· Objection to the form
23· · · · of the question.
24· · · · A.· · Yes.
25· · · · Q.· · Did HCMLP make loan payment -- the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·loan payment that was due from HCMS to HCMLP in
·3· ·December of 2020?
·4· · · · · · · MR. MORRIS:· Objection to the form
·5· · · · of the question.
·6· · · · A.· · I don't believe that payment --
·7· ·payment was made.
·8· · · · Q.· · Okay.· And when HCMLP caused HCMS in
·9· ·the past to make loan payments, whose money did
10· ·it use to make those payments?
11· · · · · · · MR. MORRIS:· Objection to the form
12· · · · of the question.
13· · · · A.· · It was the -- the money in HCMS's
14· ·operating account would be made to that --
15· ·those moneys would be used to make payment to
16· ·Highland Capital Management.
17· · · · Q.· · Okay.· And Highland -- is it correct
18· ·that Highland Capital Management personnel had
19· ·the access to HCMS's accounts to be able to
20· ·cause such payments to be made?
21· · · · A.· · Yes, Highland personnel had access
22· ·to those accounts.
23· · · · Q.· · Okay.· And so now for HCRE, whose
24· ·money was used when HCMLP caused HCRE
25· ·payments -- loan payments to Highland to be


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·made?
·3· · · · · · · MR. MORRIS:· Objection to the form
·4· · · · of the question.
·5· · · · A.· · It was -- it was cash in HCRE's bank
·6· ·account that would be used to make payments to
·7· ·Highland Capital Management.
·8· · · · Q.· · Okay.· And so did Highland Capital
·9· ·Management have access to HCRE's funds in order
10· ·to be able to make such payments?
11· · · · · · · MR. MORRIS:· Objection to the form
12· · · · of the question.
13· · · · A.· · Personnel at Highland Capital
14· ·Management had access to HCRE's bank account to
15· ·effectuate the payments.
16· · · · Q.· · Okay.· And was the payment due from
17· ·HCRE to HCMLP due in December of 2020 made?
18· · · · A.· · It --
19· · · · Q.· · In December of 2020.
20· · · · A.· · It was not.
21· · · · Q.· · Okay.· And was there money in HCRE's
22· ·account that would have enabled the payment to
23· ·be made had HCM personnel attempted to make the
24· ·payment?
25· · · · · · · MR. MORRIS:· Objection to the form


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · of the question.
·3· · · · A.· · I -- I don't recall.
·4· · · · Q.· · Do you have any reason to believe
·5· ·that either HCRE or HCMS simply didn't have the
·6· ·funds on hand to make the December 2020
·7· ·payments?
·8· · · · A.· · I don't know.
·9· · · · Q.· · I guess I'm asking, do you have any
10· ·reason to believe that they didn't have the
11· ·funds?
12· · · · A.· · We managed cash for so many
13· ·different entities and funds, and I don't
14· ·recall, you know, where the cash position was
15· ·for HCRE and HCMS at 12/31/2020.
16· · · · Q.· · Okay.
17· · · · A.· · I just don't recall, and I don't --
18· ·and I don't remember what the loan payment
19· ·obligations were from HCRE to Highland, and
20· ·from HCMS to Highland.· I don't recall.                       I
21· ·don't recall, I mean...
22· · · · Q.· · Let me come at it a different way.
23· ·Were the -- were the payments that would
24· ·otherwise have been due in December of 2020
25· ·made in January of 2021 for HCMS and HCRE?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I believe the HCRE payment was made
·3· ·in January of 2021.· I don't recall any
·4· ·payments being made from HCMS to Highland.
·5· · · · Q.· · If it -- how is it the HCRE payment
·6· ·came to be made?· Why did you make it -- why
·7· ·did HCM make the payment in January of 2021?
·8· · · · A.· · Jim -- Jim called me and instructed
·9· ·me to -- to make the payment on behalf of HCRE,
10· ·Jim Dondero -- Jim Dondero.
11· · · · Q.· · Did he seem upset that -- that the
12· ·payment had not been made?
13· · · · A.· · Yeah.· On the note that was, you
14· ·know, that was the term note, yes, he -- he was
15· ·displeased that the -- that the payment had not
16· ·been made by year-end.
17· · · · Q.· · Okay.· And did you make the -- cause
18· ·the payment to be made as -- as requested?
19· · · · A.· · Yes.
20· · · · Q.· · And did anyone else from HCM
21· ·participate with you in causing the payment to
22· ·be made to -- on the HCRE loan?
23· · · · A.· · Yes.· It would have been Kristin
24· ·Hendrix.· I -- again, I don't -- as I testified
25· ·earlier, I'm not an officer of HCRE.· I don't


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·believe I'm an authorized signer.· So I
·3· ·can't -- other personnel have to make payment
·4· ·from HCRE to -- to -- to -- to Highland.
·5· · · · Q.· · Okay.· And in the conversation
·6· ·that -- that you had with Mr. Dondero when he
·7· ·requested the payment to be made, did you say
·8· ·to him words to the effect, Jim, this loan is
·9· ·going to stay in default, what are you making
10· ·the payment for, anything like that?
11· · · · A.· · No.
12· · · · Q.· · In fact, did you have the impression
13· ·from him that he thought that the loan would
14· ·be -- the default would be cured by making the
15· ·payment?
16· · · · · · · MR. MORRIS:· Objection to the form
17· · · · of the question.
18· · · · A.· · Did I get the impression from Jim
19· ·Dondero that the loan would be cured if the
20· ·payment from HCRE --
21· · · · Q.· · Yeah, if that is what he thought.
22· · · · · · · MR. MORRIS:· Objection to the form
23· · · · of the question.
24· · · · A.· · I didn't get any impression from him
25· ·on that at the time.


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·2· · · · Q.· · Do you know whether there was an
·3· ·HCMS term loan that had a payment due in
·4· ·December of 2020?
·5· · · · A.· · I don't recall.
·6· · · · Q.· · Okay.· And so the reason you don't
·7· ·recall whether or not there was a payment in
·8· ·January of 2021 is because you just don't
·9· ·remember whether there was such a loan at all?
10· · · · · · · MR. MORRIS:· Objection to the form
11· · · · of the question.
12· · · · A.· · I don't remember.· There is -- there
13· ·is so many notes, and I mean, demands, and I
14· ·don't -- I don't remember.· It's a lot to keep
15· ·track in your head.
16· · · · Q.· · I understand, and -- and I hear your
17· ·frustration when you have explained that the
18· ·debtor has your documents and you don't, and so
19· ·I fully appreciate it, and this is no knock on
20· ·you.· It's a knock on somebody else on this
21· ·call.
22· · · · · · · MR. MORRIS:· I move to strike.· That
23· · · · was pretty obnoxious, but go ahead.
24· · · · Q.· · Okay.· But so, Mr. Waterhouse, if --
25· ·if a payment on the HCMS loan was made in


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·2· ·January of 2021, do you think it was part of
·3· ·the same conversation where Jim Dondero said,
·4· ·hey, why didn't that get paid, please make
·5· ·that -- get that payment done?
·6· · · · · · · MR. MORRIS:· I object to the form of
·7· · · · the question.
·8· · · · A.· · Yes.· Likely it would have been -- I
·9· ·mean, again, I don't recall a payment being
10· ·made, but, you know, again, I don't remember
11· ·everything.
12· · · · Q.· · Okay.· Did -- at the time you were
13· ·communicating with Kristin Hendrix about the
14· ·payment being made, whichever payments were
15· ·made in January, did she say anything to you
16· ·about the payments not curing the loan
17· ·defaults?
18· · · · A.· · No.
19· · · · Q.· · Okay.· All right.· So I'm going to
20· ·take you back to very early in the deposition
21· ·when Mr. Morris was asking you about the --
22· ·the -- the -- the agreement with respect to
23· ·the -- the forgiveness element of the loans, so
24· ·that is just to orient you.
25· · · · · · · Do you remember that there was a


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·time that you and Mr. Dondero were
·3· ·communicating about potential means of
·4· ·resolving the Highland bankruptcy by what was
·5· ·colloquially referred to as a pot plan?
·6· · · · A.· · Yes.
·7· · · · Q.· · Okay.· And can you tell me generally
·8· ·when that was?
·9· · · · A.· · Like mid -- mid 2020, sometime in
10· ·2020, mid 2020.
11· · · · Q.· · Okay.· And did the process of trying
12· ·to figure out what the numbers should be
13· ·involve looking at what one should pay for the
14· ·Highland assets?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · Yes.
18· · · · Q.· · Okay.· And did there come a time
19· ·when you were proposing some potential numbers
20· ·and Mr. Dondero said something to you like,
21· ·well, why are you including payment for the
22· ·related party notes, those, you know, were
23· ·likely to be forgiven as part of my deferred
24· ·executive compensation?
25· · · · · · · MR. MORRIS:· Objection to the form


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · of the question.
·3· · · · A.· · Yes, we did have that conversation.
·4· · · · Q.· · Okay.· Was that conversation in
·5· ·connection with trying to figure out the right
·6· ·numbers for a pot plan?
·7· · · · A.· · Yeah.· I mean, it was -- it was -- I
·8· ·mean, Jim -- Jim would ask for, you know,
·9· ·most -- most recent asset values, you know, for
10· ·Highland, and -- and myself and the team
11· ·provided those to him, so it was in that
12· ·context.
13· · · · Q.· · Okay.· And does that refresh your
14· ·recollection that these communications were in
15· ·2020 rather than 2021?
16· · · · · · · MR. MORRIS:· Objection to the form
17· · · · of the question.
18· · · · A.· · The -- the -- the executive
19· ·compensation discussions were definitely in
20· ·2020.
21· · · · Q.· · Okay.· Now, did you ever make
22· ·proposals that took into account Jim's comment
23· ·that the notes were likely to end up forgiven
24· ·as part of his compensation?
25· · · · · · · MR. MORRIS:· Objection to the form


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · of the question.
·3· · · · A.· · Yes, we -- the team and myself put
·4· ·together, you know, asset summaries of Highland
·5· ·at various times for all the assets of
·6· ·Highland, and not including the notes.
·7· · · · Q.· · Okay.· And were those presentations
·8· ·communicated to -- to Mr. Seery?
·9· · · · A.· · No.· Well, look, I didn't tell -- I
10· ·didn't tell Mr. Seery.· I don't know what
11· ·Mr. Dondero did with the information.
12· · · · Q.· · Okay.
13· · · · A.· · I did not have conversations with
14· ·Mr. Seery.
15· · · · Q.· · Okay.· Do you know who saw the
16· ·presentations that you put together that didn't
17· ·include the value of the related party notes?
18· · · · A.· · We're talking presentations -- these
19· ·are -- these are Excel spreadsheets?
20· · · · Q.· · Uh-huh.
21· · · · A.· · I don't know who -- these were given
22· ·to -- to Jim Dondero.· I don't know what was
23· ·done with them after that.
24· · · · Q.· · Okay.· You also mentioned earlier
25· ·that sometime during your tenure at Highland


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·you knew of the practice of giving forgivable
·3· ·loans to executives.
·4· · · · · · · MR. MORRIS:· Objection to the form
·5· · · · of the question.
·6· · · · Q.· · Can you -- can you tell me what you
·7· ·recall about that practice?
·8· · · · · · · MR. MORRIS:· Objection to the form
·9· · · · of the question.
10· · · · A.· · Yes, so there were -- there were --
11· ·during my tenure at Highland, there were loans
12· ·or -- given to employees that were later
13· ·forgiven at a future date and time.
14· · · · Q.· · Okay.· And when the loans were
15· ·given, did the notes, to your recollection, say
16· ·anything about the potential forgiveness term?
17· · · · · · · MR. MORRIS:· Objection to the form
18· · · · of the question.
19· · · · A.· · When you say "did the notes," did
20· ·the promissory notes detail the forgiveness?
21· · · · Q.· · Yes.
22· · · · A.· · Not that I recall.
23· · · · Q.· · And until such time as whatever was
24· ·to trigger the forgiveness occurred, were the
25· ·notes bona fide notes as far as you were


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·concerned?
·3· · · · · · · MR. MORRIS:· Objection to the form
·4· · · · of the question.
·5· · · · A.· · Yes, similar to -- yes.
·6· · · · Q.· · Okay.· You were going to say similar
·7· ·to what?
·8· · · · A.· · Mr. Morris earlier today showed
·9· ·notes of the financial statements about various
10· ·affiliate loans.· I -- I -- I do recall these
11· ·notes because I -- at that time personally
12· ·worked on the -- the financial statements of
13· ·Highland.· That was, you know, in my role as a
14· ·corporate accountant.
15· · · · · · · And there were -- those loans
16· ·were -- to the partners were detailed in the
17· ·notes to the financial statements, similar to
18· ·what we went through earlier today in the prior
19· ·testimony about what we saw with Highland
20· ·and -- and -- and the -- and HCMFA.
21· · · · Q.· · Is it fair to say that on Highland's
22· ·balance sheet there were any number of assets
23· ·that the value of which could be affected by
24· ·subsequent events?
25· · · · · · · MR. MORRIS:· Objection to the form


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · of the question.
·3· · · · A.· · Yes.· I mean, yes, that -- there
·4· ·are.· And that is -- yes.
·5· · · · Q.· · Okay.· And is it typical accounting
·6· ·practice that until there is some certainty
·7· ·about those potential future events, that asset
·8· ·value listed on -- on the books doesn't take
·9· ·into account those potential future events?
10· · · · · · · MR. MORRIS:· Objection to the form
11· · · · of the question.
12· · · · A.· · Yeah, if those -- yes.· If -- if
13· ·those future events, you know, at the time of
14· ·issuance are not known or knowable, like I
15· ·discussed earlier with, like, market practice,
16· ·asset dislocation, or, you know, I mean, things
17· ·like that, you -- I mean, it -- it could affect
18· ·its fair value --
19· · · · Q.· · Okay.
20· · · · A.· · -- in the future.
21· · · · Q.· · And am I correct you wouldn't feel
22· ·compelled to footnote in every possible change
23· ·in -- in an asset when those possibilities are
24· ·still remote?
25· · · · · · · MR. MORRIS:· Objection to the form


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · of the question.
·3· · · · A.· · The accounting standard is you have
·4· ·to estimate to the best -- you know, to -- to
·5· ·the best of your ability, the fair value of an
·6· ·asset as of the balance sheet date under --
·7· ·under GAAP.
·8· · · · Q.· · Did -- strike that.
·9· · · · · · · Okay.· Give me a minute.· I'm
10· ·close -- I'm close to done.· Let me just go off
11· ·and look at my notes for a second.· So take two
12· ·minutes.
13· · · · · · · VIDEOGRAPHER:· We're going off the
14· · · · record at 7:02 p.m.
15· · · · (Recess taken 7:02 p.m. to 7:03 p.m.)
16· · · · · · · VIDEOGRAPHER:· We are back on the
17· · · · record at 7:03 p.m.
18· · · · Q.· · Mr. Waterhouse, is it generally your
19· ·understanding that people you work with now
20· ·have been asking the debtor for full and
21· ·unfetterred access to their own former files?
22· · · · · · · MR. MORRIS:· Objection to the form
23· · · · of the question.
24· · · · A.· · Yes, I am -- I am generally aware.
25· · · · Q.· · Okay.· And do you think you could


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·have been better prepared for this deposition
·3· ·if the debtor had complied with those requests?
·4· · · · · · · MR. MORRIS:· Objection to the form
·5· · · · of the question.
·6· · · · A.· · I -- I -- I most certainly -- yes.
·7· ·I mean, again, these are multiple years,
·8· ·multiple years ago, lots and lots of
·9· ·transactions.
10· · · · · · · You know, we asked about NAV errors
11· ·and, you know, things like that and these
12· ·are -- it would make this process a lot more --
13· ·a lot easier and if we had -- if we had access
14· ·to that.
15· · · · Q.· · Okay.· And has the debtor -- is the
16· ·debtor suing you right now?
17· · · · A.· · Yes.
18· · · · Q.· · And is the debtor trying to renege
19· ·on deals that it had previously made with you?
20· · · · · · · MR. MORRIS:· Objection to the form
21· · · · of the question.
22· · · · A.· · Sorry, I need to -- it is my
23· ·understanding that the litigation trust is
24· ·suing me.· And not being a lawyer, I don't
25· ·know -- is that the debtor?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · Is that -- I don't know the
·3· ·relationship.· So, again, I'm not the lawyers.
·4· ·I've said many times.· But my understanding is
·5· ·the litigation trust is suing me.· I could be
·6· ·wrong there.· I don't know.
·7· · · · Q.· · Okay.· I understand.
·8· · · · · · · Someone with some connection to the
·9· ·Highland debtor has brought a claim against
10· ·you; is that fair?
11· · · · · · · MR. MORRIS:· Objection to the form
12· · · · of the question.
13· · · · A.· · Yes.
14· · · · Q.· · Okay.· And is there also some motion
15· ·practice in the bankruptcy where the debtor or
16· ·someone associated with the debtor is
17· ·attempting to undo something that was
18· ·previously resolved with you?
19· · · · A.· · Yes.
20· · · · Q.· · And so in one action somebody is
21· ·associated with the debtors trying to --
22· ·threatening you with trying to take money from
23· ·you, and then in the other -- and trying to --
24· ·and in the other they are threatening not to
25· ·pay you things that had previously been agreed;


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·is that correct?
·3· · · · · · · MR. MORRIS:· Objection to the form
·4· · · · of the question.
·5· · · · A.· · I want to be -- yes, I -- there
·6· ·is -- I'm being sued, again, on -- on something
·7· ·that was agreed to with Mr. Seery and myself.
·8· ·I don't -- I don't -- I don't own that claim.
·9· · · · Q.· · Okay.
10· · · · A.· · To be transparent, I don't own that
11· ·claim.· So it is not my personal property.
12· · · · Q.· · Okay.
13· · · · A.· · And -- and being the nonlawyer, I
14· ·don't know how I can get sued for something
15· ·that I don't owe or, like, I don't own
16· ·anything.· I'm not the lawyer.· But, I mean, if
17· ·that is -- if I'm understanding the facts
18· ·correctly.
19· · · · Q.· · Okay.· And the lawsuit that was
20· ·filed that names you, that was just filed
21· ·this -- this past week; is that right?
22· · · · · · · MS. DANDENEAU:· Ms. Deitsch-Perez, I
23· · · · do want to interrupt at this point because
24· · · · just as I told Mr. Morris, that this is a
25· · · · deposition about the noticed litigation.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · I really don't want to go -- go
·3· · · · afield --
·4· · · · · · · MS. DEITSCH-PEREZ:· Yeah.
·5· · · · · · · MS. DANDENEAU:· -- and open up a
·6· · · · whole new line of inquiry about the lawsuit
·7· · · · or the -- the motion and the bankruptcy
·8· · · · court.· We will be here all night.
·9· · · · · · · MS. DEITSCH-PEREZ:· And I
10· · · · understand.
11· · · · Q.· · My -- my point is:· Do you feel
12· ·like -- like there is some effort by these
13· ·parties related to the debtor to intimidate
14· ·you -- not that you -- I'm not saying you are
15· ·or you aren't.
16· · · · · · · But do you feel like there is some
17· ·effort to intimidate you and maybe an effort to
18· ·deter you from being as prepared as you might
19· ·be in this deposition?
20· · · · · · · MR. MORRIS:· Objection to the form
21· · · · of the question.
22· · · · A.· · I was -- I was surprised by the
23· ·lawsuit, by me being named, because, again, I
24· ·don't own the asset and things like that.
25· ·Yeah, I just -- I want to move forward with my


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·life at Skyview.
·3· · · · · · · MS. DEITSCH-PEREZ:· Thank you.
·4· · · · · · · THE WITNESS:· Thank you.
·5· · · · · · · · ·FURTHER EXAMINATION
·6· ·BY MR. MORRIS:
·7· · · · Q.· · If I may, I just have a few
·8· ·questions.
·9· · · · · · · Mr. Waterhouse, we saw a number of
10· ·documents that Mr. Rukavina put up on the
11· ·screen where Ms. Hendrix would send you a
12· ·schedule of payments that were due on behalf of
13· ·certain Highland affiliates.
14· · · · · · · Do you remember that?
15· · · · A.· · Yes.
16· · · · Q.· · And in each instance she asked for
17· ·your approval to make the payments; is that
18· ·right?
19· · · · A.· · Yes, she did.
20· · · · Q.· · And was that the -- was that the
21· ·practice in the second half of 2020 whereby
22· ·Ms. Hendrix would prepare a list of payments
23· ·that were due on behalf of Highland associates
24· ·and ask for approval?
25· · · · A.· · Yes.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And I think you said that there was
·3· ·a -- a --
·4· · · · A.· · It was -- I think I testified to
·5· ·this earlier when we talked about procedures
·6· ·and policy, you know, again, I want to be
·7· ·informed of -- of -- of -- of -- of any
·8· ·payments that are going out.· I want to be made
·9· ·aware of these payments, and that was just a
10· ·general policy, not just for 2020.
11· · · · Q.· · Okay.· So it went beyond 2020?
12· · · · A.· · Yes.
13· · · · Q.· · Is that right?
14· · · · A.· · Yes.
15· · · · Q.· · Okay.· And the corporate accounting
16· ·group would prepare a calendar that would set
17· ·forth all of the payments that were anticipated
18· ·in the -- in the three weeks ahead; is that
19· ·right?
20· · · · A.· · I -- like I testified earlier, we
21· ·had a corporate calendar that was set up, you
22· ·know, to -- to provide reminders or, you know,
23· ·of anything of any nature, whether it is
24· ·payments or -- or financial statements or, you
25· ·know, whatever it is, you know, to meet


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·deadlines.
·3· · · · · · · I don't know how, as I testified
·4· ·earlier, how much they were using that
·5· ·calendar.
·6· · · · Q.· · Okay.· But -- but you did get notice
·7· ·and a request to approve the payments that were
·8· ·coming due on behalf of Highland's affiliates.
·9· ·Do I have that right?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · I mean, generally, yes.· I mean, you
12· ·know, as we saw with these emails, generally, I
13· ·mean, did that encompass everything, no.
14· · · · Q.· · Okay.· Do you know why the
15· ·payment -- do you know why there was no payment
16· ·made by NexPoint at the end of 2020?
17· · · · A.· · Yes.· There was -- there was -- we
18· ·talked about these agreements between the
19· ·advisors and Highland, the shared services and
20· ·the cost reimbursement agreement.
21· · · · · · · And in late 2020, there were
22· ·overpayments, large overpayments that had been
23· ·made over the years on these agreements, and it
24· ·was my understanding that the advisors were --
25· ·were talking with -- like Jim Seery and others


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·to offset any obligations that the advisors
·3· ·owed to Highland as offset to the overpayments
·4· ·on these agreements.
·5· · · · Q.· · Okay.· Did you participate in any of
·6· ·those conversations?
·7· · · · A.· · I did not.
·8· · · · Q.· · Okay.· Do you know -- do you recall
·9· ·that the -- at the end of November, the debtor
10· ·did notice to the advisors of their intent to
11· ·terminate the shared services agreements?
12· · · · A.· · Like I testified earlier, there
13· ·was -- the agreements weren't identical, from
14· ·what I recall, and there is one that had a
15· ·longer notice period, which I think had a
16· ·60-day notice period.· I don't recall which one
17· ·that was, so not all of them were -- notice
18· ·hadn't been given as of November 30th, for all
19· ·of the agreements.
20· · · · Q.· · Upon the receipt of the -- the
21· ·termination notices that you recall, do you
22· ·know if the advisors decided at that point not
23· ·to make any further payments of any kind to
24· ·Highland?
25· · · · · · · MR. RUKAVINA:· Objection, form.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · No.· The advisors -- the advisors
·3· ·had stopped making payments prior to that
·4· ·notice.
·5· · · · Q.· · Okay.· And how do you know that the
·6· ·advisors stopped making -- making payments
·7· ·prior to the notice?
·8· · · · A.· · I had -- I had a conversation
·9· ·with -- with Jim Dondero.
10· · · · Q.· · And did Mr. Dondero tell you that
11· ·the advisors would no longer make payments to
12· ·Highland?
13· · · · · · · MS. DEITSCH-PEREZ:· Object to the
14· · · · form.
15· · · · A.· · Yes, he -- he -- again, he said
16· ·they -- they -- the advisors have overpaid on
17· ·these agreements, to not make any future
18· ·payments, and that there needs to be offsets,
19· ·and they're working on getting offsets to these
20· ·overpayment.
21· · · · Q.· · Do you know if anybody ever
22· ·instructed Highland's employees to make the
23· ·payment that was due by NexPoint at the end of
24· ·the year?
25· · · · A.· · Did anyone instruct Highland's


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·employees to make that payment?
·3· · · · Q.· · Correct.
·4· · · · A.· · Anyone -- not that I'm aware.
·5· · · · Q.· · Were any of Highland's employees
·6· ·authorized to make the payments on behalf of
·7· ·its affiliates -- withdrawn.
·8· · · · · · · Was any of Highland's employees
·9· ·authorized to effectuate the payment on behalf
10· ·of NexPoint that was due at the end of the year
11· ·without getting approval from either you or
12· ·Mr. Dondero?
13· · · · A.· · They had the -- they had the ability
14· ·to make the payment, but they didn't -- you
15· ·know, that -- that payment needed to be
16· ·approved.
17· · · · Q.· · Okay.· And it needed to be approved
18· ·by you or Mr. Dondero; is that right?
19· · · · A.· · I mean, I'm not going to make the
20· ·unilateral decision.
21· · · · Q.· · Is that a decision that you
22· ·understood had to be made by Mr. Dondero?
23· · · · A.· · Yes.· Sitting back in December of
24· ·2020, the -- that -- there was this off --
25· ·offset negotiation that -- that was happening,


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·2· ·so I mean, until those negotiations were
·3· ·resolved, you know, there wasn't any
·4· ·payments -- there weren't any payments.
·5· · · · Q.· · And -- and there were no payments
·6· ·until the negotiations were resolved because
·7· ·that was the directive that you received from
·8· ·Mr. Dondero; correct?
·9· · · · A.· · I don't think he said -- I mean, I
10· ·think -- yeah, I mean -- I'm trying to recall
11· ·the conversation.· It was -- you know, there
12· ·is -- there is these negotiations.· There's --
13· ·there needs to be these offsets.· They're
14· ·talking with the debtor.· So, you know, until
15· ·this is resolved, right, I mean, depending on
16· ·how, whatever that resolution was, were we to
17· ·take any action.
18· · · · Q.· · Okay.· How about with respect to
19· ·HCMS, did HCMS have a term payment due at the
20· ·end of the year?
21· · · · A.· · Again, I don't -- I don't recall.
22· · · · Q.· · Okay.· You discussed briefly two
23· ·payments that were made in January of 2021, one
24· ·on behalf of NexPoint, and one on behalf of
25· ·HCMS.· Do I have that right?


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·2· · · · A.· · No.· The two payments I recall were
·3· ·NexPoint and HCRE.
·4· · · · Q.· · Okay.· And those two payments --
·5· ·thank you for the correction.· And those two
·6· ·payments were made because Mr. Dondero
·7· ·authorized those payments to be made; correct?
·8· · · · A.· · Yes.
·9· · · · Q.· · And they hadn't been made before
10· ·that because Mr. Dondero had not authorized
11· ·them to be made?
12· · · · · · · MS. DEITSCH-PEREZ:· Object to the
13· · · · form.
14· · · · A.· · Yes, because of these negotiations.
15· · · · Q.· · Okay.· Just a couple of more
16· ·questions.
17· · · · · · · Did anybody, to the best of your
18· ·knowledge, on behalf of HCMFA, ever tell the
19· ·SEC that HCMLP was responsible for the mistakes
20· ·that were made on the TerreStar valuation?
21· · · · A.· · Did anyone from Highland on HCMFA's
22· ·behalf tell the SEC that Highland -- that
23· ·Highland was responsible for there -- I just
24· ·want to make sure --
25· · · · Q.· · It was a little bit different, so


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·2· ·let me try again.
·3· · · · A.· · These are very long questions, John.
·4· ·I'm not trying to be --
·5· · · · Q.· · That is good.· Do you know whether
·6· ·anybody -- do you know whether anybody on
·7· ·behalf of HCMS -- HCMFA ever told the SEC that
·8· ·Highland was the responsible party for the
·9· ·TerreStar valuation error?
10· · · · A.· · Not that I'm aware.
11· · · · Q.· · Okay.· Did anybody on behalf of
12· ·the -- on behalf of HCMFA ever tell the retail
13· ·board that Highland was responsible for the
14· ·TerreStar valuation error?
15· · · · A.· · Not that I'm aware.
16· · · · Q.· · Do you know if HCMFA made an
17· ·insurance claim with respect to the damages
18· ·that were incurred in relation to the TerreStar
19· ·valuation error?
20· · · · A.· · Yes.
21· · · · Q.· · And do you know why they made that
22· ·insurance claim?
23· · · · A.· · Because there was an error.                       I
24· ·mean --
25· · · · Q.· · Was the insured's claim made -- was


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·2· ·the insurance claim made under HCMFA's policy?
·3· · · · A.· · Yes.
·4· · · · Q.· · Did HCMFA at any time prior to the
·5· ·petition date -- withdrawn.
·6· · · · · · · You were asked a couple of questions
·7· ·where -- where you said that Mr. Dondero told
·8· ·you that he was ascribing zero value to the
·9· ·notes as part of a pot plan because he believed
10· ·that the notes were part of executive
11· ·compensation.
12· · · · · · · Do I have that right?
13· · · · · · · MS. DEITSCH-PEREZ:· Object to the
14· · · · form.
15· · · · A.· · Yes.
16· · · · Q.· · Okay.· Have you ever heard that
17· ·before the time that Mr. Dondero told you that
18· ·in the conversation about the pot plan?
19· · · · A.· · Had I heard that prior to my
20· ·conversation with Mr. Dondero?
21· · · · Q.· · Yes.
22· · · · A.· · No, I had not heard that prior.
23· · · · Q.· · Okay.· And that was in the context
24· ·of his formulation of the settlement proposal;
25· ·is that right?


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·2· · · · A.· · I mean, generally, yes.· You know,
·3· ·we were asked to provide asset values, right,
·4· ·and he was having settlement discussions.
·5· ·Again, I don't know who those went to
·6· ·ultimately.· I don't recall.
·7· · · · · · · MR. MORRIS:· I have no further
·8· · · · questions.· Thank you very much for your
·9· · · · patience.· I apologize for the late hour.
10· · · · · · · MS. DEITSCH-PEREZ:· John, you stay
11· · · · on about your email when --
12· · · · · · · MR. RUKAVINA:· Hold on, I'm not
13· · · · done.
14· · · · · · · MS. DEITSCH-PEREZ:· Oh, okay.· Davor
15· · · · still has questions.· Sorry.· I was going
16· · · · to say both John and Davor, could you stay
17· · · · on afterwards just to talk about the
18· · · · requests.
19· · · · · · · · ·FURTHER EXAMINATION
20· ·BY MR. RUKAVINA:
21· · · · Q.· · Mr. Waterhouse, you were just now
22· ·testifying about a discussion you had with
23· ·Mr. Dondero where he said something like no
24· ·more payments.
25· · · · · · · Do you remember that testimony?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes.
·3· · · · Q.· · Okay.· And was that late November or
·4· ·early December of 2020?
·5· · · · A.· · It was, I would say, first or second
·6· ·week of November.
·7· · · · Q.· · Okay.· Do you recall whether --
·8· ·whenever you had that discussion, whether
·9· ·Mr. Dondero had already been fired by the
10· ·debtor?
11· · · · A.· · Yes, I -- I believe he was not an
12· ·employee of the debtor anymore at that time.
13· · · · Q.· · And when you were discussing this
14· ·with Mr. Dondero and he said no more payments,
15· ·you were discussing the two shared services
16· ·agreements and employee reimbursement
17· ·agreements we testified -- you testified about
18· ·before; is that correct?
19· · · · · · · MR. MORRIS:· Objection to the form
20· · · · of the question.
21· · · · A.· · That is correct.
22· · · · Q.· · And had your office or you -- and we
23· ·will talk at a future deposition about the
24· ·administrative claim.
25· · · · · · · But had -- by that time that you


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·2· ·talked to Mr. Dondero, had your office or you
·3· ·done any estimate of what the alleged
·4· ·overpayments were?
·5· · · · · · · MR. MORRIS:· Objection to the form
·6· · · · of the question.
·7· · · · A.· · Yes, we had -- there was a -- there
·8· ·was a detailed analysis that was put together
·9· ·by David Klos at the time.
10· · · · Q.· · And do you recall just generally
11· ·what the total amount for both advisors of the
12· ·overpayments was?
13· · · · A.· · It was in excess of $10 million.
14· · · · Q.· · Was it in excess of $14 million?
15· · · · · · · MR. MORRIS:· Objection to the form
16· · · · of the question.
17· · · · A.· · I -- I remember it was an
18· ·eight-figure number.· I don't remember
19· ·specifically.
20· · · · Q.· · Okay.· And did you convey that
21· ·number to Mr. Dondero when you had that
22· ·conversation?
23· · · · A.· · Yes.
24· · · · Q.· · What was his reaction?
25· · · · A.· · I mean, he wasn't happy.


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·2· · · · Q.· · Is it fair to say he was upset?
·3· · · · A.· · Yes.
·4· · · · Q.· · Did Mr. Dondero ever expressly tell
·5· ·you to not have NexPoint make the required
·6· ·December 31, 2020, payment?
·7· · · · A.· · Yes, I recall him saying don't make
·8· ·the payment because it was being negotiated, as
·9· ·I discussed with Mr. Morris, this offset
10· ·concept.· So there were obligations due by the
11· ·advisors to Highland, they should be offset
12· ·that -- you know, those obligations should be
13· ·offset by this -- by this overpayment.
14· · · · Q.· · And when did he tell you that?
15· · · · A.· · I would say -- I would say around --
16· ·probably December -- December-ish.
17· · · · Q.· · Early December, late December?
18· · · · A.· · I don't recall with as much
19· ·specificity as -- as -- as -- as stopping the
20· ·shared services payments, because we had
21· ·actually made one shared services payment in
22· ·November.· So that is why I need to remember
23· ·that one more clearly.· I don't remember where
24· ·exactly in December that conversation occurred.
25· · · · Q.· · Did Mr. Dondero expressly use the


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·word "NexPoint" when he was saying don't make
·3· ·these payments?
·4· · · · · · · MR. MORRIS:· Objection to the form
·5· · · · of the question, asked and answered.
·6· · · · A.· · Yeah, we were -- we were discussing
·7· ·advisor obligations.· So it was -- you know, it
·8· ·was just obligations from the advisors.
·9· · · · · · · And -- and he specifically talked
10· ·about the NexPoint payment as well.
11· · · · Q.· · Okay.· And it is your testimony that
12· ·he expressly told you not to make that NexPoint
13· ·December 31 payment?
14· · · · · · · MR. MORRIS:· Objection, asked and
15· · · · answered twice.
16· · · · A.· · Yes, he -- he did, during that
17· ·conversation.
18· · · · Q.· · And did you ever follow up with him
19· ·after that about whether NexPoint should or
20· ·shouldn't make that payment?
21· · · · A.· · I did not.
22· · · · Q.· · Did you ever, on or about
23· ·December 31, 2020, remind him and say, hey,
24· ·this payment is due, what shall I -- what
25· ·should I do?


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I did not.
·3· · · · Q.· · So sitting here today, you -- you
·4· ·remember distinctly that Dondero in December of
·5· ·2020 expressly told you not to have NexPoint
·6· ·make that payment?
·7· · · · · · · MR. MORRIS:· Objection, asked and
·8· · · · answered three times.
·9· · · · A.· · Yes.
10· · · · Q.· · Can you say categorically it wasn't
11· ·just some general discussion where he told you
12· ·not to make payments?
13· · · · · · · MR. MORRIS:· Objection, asked and
14· · · · answer four times.
15· · · · · · · MR. HORN:· Four times now.· Go for
16· · · · five.
17· · · · A.· · Yes.
18· · · · Q.· · Did you tell Mr. Seery that?
19· · · · A.· · I don't believe I did.· I don't
20· ·recall.
21· · · · Q.· · And was this an in-person discussion
22· ·or telephone or email?· Do you remember?
23· · · · A.· · This was a phone -- a phone
24· ·conversation.
25· · · · Q.· · Okay.· Would you have a record of --


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·on your cell phone of when that conversation
·3· ·might have taken place?
·4· · · · · · · I'm sorry, strike that.
·5· · · · · · · Was that by cell phone?
·6· · · · A.· · I believe -- yes, because we -- I
·7· ·was at home.· I mean, I don't have a landline.
·8· ·All I have is my cell phone.
·9· · · · Q.· · Do you know whether your cell phone
10· ·still has records of conversations from
11· ·December 2020 on it?
12· · · · A.· · My call log doesn't go back that
13· ·far.
14· · · · Q.· · Okay.· Thank you.
15· · · · · · · MR. RUKAVINA:· I will pass the
16· ·witness.
17· · · · · · · MS. DEITSCH-PEREZ:· Just a couple
18· · · · quick questions.
19· · · · · · · · ·FURTHER EXAMINATION
20· ·BY MS. DEITSCH-PEREZ:
21· · · · Q.· · With respect to HCRE and HCMS, am I
22· ·correct there was -- there was no direction not
23· ·to pay those loan payments?
24· · · · · · · MR. MORRIS:· Objection to the form
25· · · · of the question.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes, I don't recall having
·3· ·conversations about, you know, those -- those
·4· ·entities.
·5· · · · Q.· · And, in fact, what was the tone that
·6· ·Mr. Dondero had when he talked to you about the
·7· ·fact that HCRE and HCMS payments hadn't been
·8· ·made when he found out that they hadn't been
·9· ·paid?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · · · · MR. MORRIS:· Objection to form.
12· · · · Q.· · What was the tone he took with you?
13· · · · A.· · Oh, it was -- it was -- it was -- it
14· ·was very negative.· I mean, I think he cursed
15· ·at me and he doesn't usually curse.
16· · · · Q.· · Okay.· And in your mind, is that
17· ·consistent with the fact that he was surprised
18· ·that those payments hadn't been made?
19· · · · · · · MR. MORRIS:· Objection to the form
20· · · · of the question.
21· · · · A.· · Yes.
22· · · · Q.· · Okay.· Thank you.
23· · · · · · · MR. MORRIS:· I have nothing further.
24· · · · Thank you so much, Mr. Waterhouse.
25· · · · · · · MR. HORN:· I have no questions.


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·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Thank you, Mr. Waterhouse.· We appreciate
·3· · · · your time.· I am logging off the discussion
·4· · · · and I will talk to y'all tomorrow.
·5· · · · · · · MR. MORRIS:· Super.
·6· · · · · · · VIDEOGRAPHER:· If there are no
·7· · · · further questions, this ends the
·8· · · · deposition -- excuse me.· This ends the
·9· · · · deposition, and we are going off the record
10· · · · at 7:30 p.m.
11· · · · (Deposition concluded at 7:30 p.m.)
12
13· · · · · · · · · · · _________________________
14· · · · · · · · · · · FRANK WATERHOUSE
15
16· ·Subscribed and sworn to before me
17· ·this· · · day of· · · · · · · 2021.
18
19· ·---------------------------------
20
21
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·2· · · · · · · C E R T I F I C A T E
·3
·4· · · · I, SUSAN S. KLINGER, a certified shorthand
·5· ·reporter within and for the State of Texas, do
·6· ·hereby certify:
·7· · · · That FRANK WATERHOUSE, the witness whose
·8· ·deposition is hereinbefore set forth, was duly
·9· ·sworn by me and that such deposition is a true
10· ·record of the testimony given by such witness.
11· · · · I further certify that I am not related to
12· ·any of the parties to this action by blood or
13· ·marriage; and that I am in no way interested in
14· ·the outcome of this matter.
15· · · · IN WITNESS WHEREOF, I have hereunto set my
16· ·hand this 19th of October, 2021.
17
18· · · · · · · · · · _________________________
19· · · · · · · · · · Susan S. Klinger, RMR-CRR, CSR
20· · · · · · · · · · Texas CSR# 6531
21
22
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·2· ·NAME OF CASE:· In re:· Highland Capital
·3· ·DATE OF DEPOSITION:· October 19, 2021
·4· ·NAME OF WITNESS:· Frank Waterhouse
·5· ·Reason Codes:
·6· · · · 1.· To clarify the record.
·7· · · · 2.· To conform to the facts.
·8· · · · 3.· To correct transcription errors.
·9· ·Page____Line_____Reason______________________
10· ·From_______________to________________________
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